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                               No. 22-10312



     IN THE UNITED STATES COURT OF APPEALS
             FOR THE NINTH CIRCUIT


                   UNITED STATES OF AMERICA,

                                   Plaintiff-Appellee,

                                         v.

                       ELIZABETH A. HOLMES

                                   Defendant-Appellant.

            On Appeal from the United States District Court
                for the Northern District of California
                          No. 5:18-CR-00258
                        Hon. Edward J. Davila


                    EXCERPTS OF RECORD
              VOL. XVIII of LVII | ER-4754 to ER-5051


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 1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                               SAN JOSE DIVISION

 5
        UNITED STATES OF AMERICA,            )    CR-18-00258-EJD
 6                                           )
                           PLAINTIFF,        )    SAN JOSE, CALIFORNIA
 7                                           )
                    VS.                      )    VOLUME 8
 8                                           )
        ELIZABETH A. HOLMES,                 )    SEPTEMBER 17, 2021
 9                                           )
                           DEFENDANT.        )    PAGES 1060 - 1239
10                                           )

11
                        TRANSCRIPT OF TRIAL PROCEEDINGS
12                   BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:       UNITED STATES ATTORNEY'S OFFICE
15                               BY: JOHN C. BOSTIC
                                      JEFFREY B. SCHENK
16                               150 ALMADEN BOULEVARD, SUITE 900
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17
                                 BY:  ROBERT S. LEACH
18                                    KELLY VOLKAR
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20           (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
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                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                 TRANSCRIPT PRODUCED WITH COMPUTER



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 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
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                                 OFFICE OF THE U.S. ATTORNEY
12                               BY: LAKISHA HOLLIMAN, PARALEGAL
                                      MADDI WACHS, PARALEGAL
13
                                 WILLIAMS & CONNOLLY
14                               BY: TIMIKA ADAMS-SHERMAN, PARALEGAL

15                               TBC
                                 BY:   BRIAN BENNETT, TECHNICIAN
16

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 6
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 7        DIRECT EXAM BY MR. LEACH                      P. 1144
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           1       SAN JOSE, CALIFORNIA                              SEPTEMBER 17, 2021

           2                                 P R O C E E D I N G S

08:31AM    3               (COURT CONVENED AT 8:31 A.M.)

08:31AM    4            (JURY OUT AT 8:31 A.M.)

08:32AM    5                    THE COURT:    LET'S GO ON THE RECORD IN UNITED STATES

08:32AM    6       V. HOLMES.

08:32AM    7            LET'S CAPTURE THE APPEARANCES, PLEASE, FOR THE RECORD.

08:32AM    8                    MR. LEACH:    GOOD MORNING, YOUR HONOR.

08:32AM    9            ROBERT LEACH, JOHN BOSTIC, AND JEFF SCHENK ON BEHALF OF

08:32AM   10       THE UNITED STATES.

08:32AM   11                    THE COURT:    THANK YOU.   GOOD MORNING EVERYONE.

08:32AM   12                    MR. WADE:    GOOD MORNING, YOUR HONOR.

08:32AM   13            LANCE WADE ON BEHALF OF MS. HOLMES.

08:32AM   14            WITH ME TODAY ARE MR. DOWNEY, MR. LEMENS, MS. TREFZ, AND

08:32AM   15       MR. CLINE, AND MS. HOLMES IS PRESENT IN THE COURTROOM THIS

08:32AM   16       MORNING.

08:32AM   17                    THE COURT:    THANK YOU.   GOOD MORNING EVERYONE.

08:32AM   18            WE'RE OUTSIDE OF THE PRESENCE OF THE JURY, AND I JUST

08:32AM   19       THOUGHT I WOULD MEET WITH YOU TO TALK ABOUT SOME THINGS.

08:32AM   20            I RECEIVED YESTERDAY DOCUMENT 1025 WHICH WAS THE

08:32AM   21       GOVERNMENT'S -- EXCUSE ME.      THIS IS THE GOVERNMENT'S RESPONSE

08:32AM   22       TO A MOTION FILED BY MS. HOLMES'S TEAM, WHICH WAS

08:33AM   23       DOCUMENT 1023.    THIS WAS MS. HOLMES'S NOTICE REGARDING

08:33AM   24       TESTIMONY OF MS. GANGAKHEDKAR, AND THE GOVERNMENT'S RESPONSE TO

08:33AM   25       THAT.



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08:33AM    1            I THOUGHT WE WOULD TALK A LITTLE BIT ABOUT THOSE THINGS

08:33AM    2       THIS MORNING.

08:33AM    3            BUT I WANTED TO GO BACK TO OUR DISCUSSION YESTERDAY

08:33AM    4       REGARDING, AND DAYS BEFORE REGARDING 803.6 AND THE BUSINESS

08:33AM    5       RECORDS EXCEPTIONS FOR THESE EMAILS.

08:33AM    6            WE'VE HAD SOME CONVERSATION ABOUT THAT, AND I KNOW THE

08:33AM    7       PARTIES HAVE -- THE DEFENSE HAS MADE SOME OBJECTIONS, THE COURT

08:33AM    8       HAS MADE SOME RULINGS.

08:33AM    9            I WAS LOOKING AT REVIEWING MY NOTES, AND THE THOUGHT

08:33AM   10       OCCURRED TO ME THAT I THINK MR. BOSTIC LAID FOUNDATIONS UNDER

08:33AM   11       803.6, BUT WHAT I WOULD INVITE YOU TO DO, IF YOU WISH TO,

08:34AM   12       MR. BOSTIC, IS TO SECURE MORE INFORMATION, IF POSSIBLE, FROM

08:34AM   13       THE WITNESS, MS. CHEUNG, REGARDING ANY OBLIGATIONS, DUTIES TO

08:34AM   14       MAINTAIN RECORDS.

08:34AM   15            I UNDERSTAND FROM LOOKING AT THE INFORMATION WE HAVE SO

08:34AM   16       FAR THAT THE WITNESS INDICATED IT WAS USED IN THE NORMAL COURSE

08:34AM   17       OF BUSINESS.    I'M JUST GOING THROUGH THE FACTORS FOR 803.6.

08:34AM   18            AND I BELIEVE SHE INDICATED THAT IT WAS -- EMAILS FOR THE

08:34AM   19       PURPOSE OF THE LABORATORY REPORTING WAS SOMETHING THAT WAS

08:34AM   20       REGULARLY USED IN THERANOS AT THAT TIME.

08:34AM   21            I'M JUST CURIOUS WHETHER OR NOT YOU WISH TO INQUIRE AS TO

08:34AM   22       IF THERE WAS DUTY, OBLIGATION, TO MAINTAIN AND USE THOSE

08:34AM   23       RECORDS FOR THAT PURPOSE.

08:34AM   24            I THINK SHE SPOKE ABOUT THAT, BUT IT MIGHT BE BETTER TO

08:35AM   25       ENHANCE THE RECORD ON THAT.



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08:35AM    1                   MR. BOSTIC:    THANK YOU, YOUR HONOR.   I APPRECIATE

08:35AM    2       THE COURT'S COMMENTS.

08:35AM    3            MS. CHEUNG TESTIFIED THAT THOSE EMAILS COULD BE RESERVED

08:35AM    4       SO THEY CAN BE REFERENCED LATER, BUT I THINK WE CAN DEVELOP THE

08:35AM    5       RECORD FURTHER IF THE COURT THINKS IT WOULD BE HELPFUL AS TO

08:35AM    6       THE DUTY TO PRESERVE THOSE EMAILS.     I'LL BE HAPPY TO HANDLE

08:35AM    7       THAT ON REDIRECT.

08:35AM    8                   THE COURT:    THANK YOU.

08:35AM    9            SO I DID -- LET'S GO BACK THEN TO YOUR PLEADINGS THAT WERE

08:35AM   10       FILED, MR. WADE.

08:35AM   11            I NOTED THEM AND THE GOVERNMENT'S RESPONSE.       I APPRECIATE

08:35AM   12       YOU BRINGING TO THE COURT'S ATTENTION YOUR OBJECTIONS

08:35AM   13       ANTECEDENT OF THE JURY COMING OUT HERE, BUT SOME OF THESE NEED

08:35AM   14       TO BE DEVELOPED, I THINK, SOME OF YOUR OBJECTIONS WOULD NEED TO

08:35AM   15       BE DEVELOPED ON THE RECORD I THINK.

08:35AM   16                   MR. WADE:    WE WILL DEFER TO THE COURT'S PREFERENCE

08:35AM   17       ON THAT.    WE'RE HOPEFUL TO GET THE TEMPERATURE ON THE PORRIDGE

08:36AM   18       ON THESE ISSUES JUST RIGHT ONE OF THESE TIMES AND SATISFY

08:36AM   19       EVERYONE.

08:36AM   20            IT'S OBVIOUSLY OUR GOAL TO GIVE AS MUCH NOTICE, AND WE DID

08:36AM   21       SEND MANY OF THESE ISSUES TO THE GOVERNMENT ON SATURDAY.          WE

08:36AM   22       SENT A NOTICE WITH RESPECT DO OUR INTENT TO OBJECT.

08:36AM   23            JUST GIVEN A COUPLE OF THESE MAY REQUIRE A NEED TO

08:36AM   24       APPROACH, WE THOUGHT WE WOULD JUST RAISE THEM AND DEFER TO THE

08:36AM   25       COURT'S PREFERENCE.



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08:36AM    1            I DO NOTE, SINCE THE COURT BROUGHT UP BUSINESS RECORDS AND

08:36AM    2       WE'RE LEARNING SORT OF THE CONTOURS OF THE APPLICATION OF THAT

08:36AM    3       IN THIS CASE, I WILL JUST NOTE THAT I THINK EXHIBITS 10 AND 11

08:36AM    4       TO OUR PLEADING, WHICH ARE EXHIBITS 1065 AND EXHIBIT 3961

08:36AM    5       RESPECTIVELY, ARE JUST THE KINDS OF CASUAL CONVERSATIONS THE

08:36AM    6       COURT WAS REFERRING TO.

08:36AM    7                  THE COURT:    SURE.

08:37AM    8                  MR. WADE:    PART IT WAS JUST AN EXERCISE IN GIVING

08:37AM    9       THE PARTIES SOME GUIDANCE AS TO WHERE WE ARE GOING FORWARD

08:37AM   10       HERE.

08:37AM   11                  THE COURT:    NO.   I APPRECIATE THAT.

08:37AM   12            WHAT I'VE NOTICED IS THAT AS YOU SAY TAKING THE

08:37AM   13       TEMPERATURE OF THINGS HERE, WHAT I'VE NOTICED IS THAT THE

08:37AM   14       PLEADINGS, FOR SOME REASON, THE PAGE AMOUNTS HAVE BEEN REDUCED

08:37AM   15       A LITTLE BIT.   SO MAYBE THAT'S A FUNCTION OF THE TRIAL PROCESS

08:37AM   16       AS WELL AND GETTING FAMILIARITY WITH HOW WE'RE GOING TO GO

08:37AM   17       FORWARD.   SO I APPRECIATE THAT.

08:37AM   18            I THINK I KNOW WHAT YOU'RE TALKING ABOUT AS TO THOSE TWO,

08:37AM   19       AND I LOOKED AT THOSE AND IT SEEMED TO ME THAT THERE'S AN EMAIL

08:37AM   20       CHAIN -- AND I DON'T MEAN TO SPEAK IN FRONT OF THE WITNESS OR

08:37AM   21       IN FRONT OF WHAT THAT TESTIMONY WOULD BE.      IT COULD BE THAT I

08:37AM   22       LOOKED AT THAT AND THAT THAT WAS A RESPONSE TO -- AN

08:37AM   23       INTERCOMPANY RESPONSE AND REACTION TO -- THIS WAS, I THINK,

08:37AM   24       THERE WAS SOME SOFTWARE ENGINEERS WHO WERE UP UNTIL 3:00 A.M.

08:37AM   25       AND RESPONSES, COLLOQUY ABOUT WHY THAT HAPPENED, WHAT HAPPENED,



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08:38AM    1       AND THEM WHAT WE SHOULD DO IN REMEDIAL ACTION.

08:38AM    2             SO I LOOKED AT THAT, AND IT MIGHT BE A CONTINUATION OF

08:38AM    3       THAT CONVERSATION.      BUT, AGAIN, I DON'T WANT TO PREJUDGE

08:38AM    4       ANYTHING.   IT MIGHT NOT BE ASKED.

08:38AM    5                   MR. WADE:    SURE.     I UNDERSTAND, YOUR HONOR.   AND

08:38AM    6       THEY MAY NOT OFFER IT.

08:38AM    7                   THE COURT:    RIGHT.

08:38AM    8                   MR. WADE:    I WOULD JUST SUGGEST IN THAT PARTICULAR

08:38AM    9       INSTANCE, IF THAT CONVERSATION, IF WE COULD JUST IMAGINE IT TO

08:38AM   10       BE HAPPENING FACE TO FACE, THAT WOULD BE A HEARSAY COMMENT EVEN

08:38AM   11       IF IT'S A RESPONSE TO THE COMMENT.

08:38AM   12             BUT WE'LL DEFER TO THE COURT.       WE'RE HAPPY TO DO IT.

08:38AM   13             YOU DO NOTE HOW HARD SOME OF THESE FOLKS ARE WORKING, AND

08:38AM   14       I NOTE THAT MANY IN THE COURT ARE WORKING ON THIS, AND SO WE'RE

08:38AM   15       ATTEMPTING TO STREAMLINE THESE ISSUES AND MAKE SURE EVERYONE

08:38AM   16       HAS THE MATERIAL IN FRONT OF THEM AND WE'RE HAPPY TO WAIT FOR

08:38AM   17       THE COURT AND WAIT FOR THE WITNESS ON IT.

08:38AM   18                   THE COURT:    THANK YOU.    THAT'S WHY RESERVE BETWEEN

08:38AM   19       8:30 AND 9:00 O'CLOCK, OR IF YOU EVER NEED TIME TO COME IN AT

08:38AM   20       7:00 A.M., I'M SURE YOU'LL LET ME KNOW THAT AS WELL.

08:38AM   21             MR. BOSTIC, ANYTHING ELSE FROM YOUR TABLE?

08:39AM   22             MR. LEACH?

08:39AM   23                   MR. LEACH:    THANK YOU, YOUR HONOR.

08:39AM   24             JUST BRIEFLY ON 1065 AND 3961.       I THINK THERE'S A NUMBER

08:39AM   25       OF POSSIBLE HEARSAY EXCEPTIONS IN PLAY HERE, NOT JUST THE



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08:39AM    1       BUSINESS RECORDS EXCEPTION, BUT I ALSO BELIEVE THAT THE

08:39AM    2       STATEMENTS BY MS. GANGAKHEDKAR, THEY'RE STATEMENTS OF AN AGENT,

08:39AM    3       SHE REPORTS DIRECTLY TO MS. HOLMES, SHE IS ON SOME LEVEL

08:39AM    4       FEEDING DIRECTIONS FROM MS. HOLMES TO HER TEAM, AND SO I THINK

08:39AM    5       THIS IS QUITE CLEARLY STATEMENTS OF AN EMPLOYEE OR AN AGENT IN

08:39AM    6       THE COURSE OF HER DUTIES.

08:39AM    7             SO TO THE EXTENT THAT THEY'RE STATEMENTS BY THAT WITNESS,

08:39AM    8       I THINK THERE'S MULTIPLE EXCEPTIONS THAT COULD POSSIBLY APPLY.

08:39AM    9             AND IF THERE ARE ADDITIONAL EXHIBITS RAISED IN THE

08:39AM   10       PLEADING, WE'RE HAPPY TO ADDRESS THEM NOW.        I DIDN'T VIEW ANY

08:39AM   11       OF THESE EXHIBITS AS THE TYPE THAT IF I ASKED FOUNDATIONAL

08:39AM   12       QUESTIONS OF THE WITNESS, THAT THAT WOULD SOMEHOW BE

08:39AM   13       INAPPROPRIATE FOR THE JURY.

08:40AM   14             WE APPRECIATE THE NOTICE FROM THE DEFENSE, BUT I DIDN'T

08:40AM   15       VIEW ANY OF THESE AS THINGS THAT NEEDED TO BE RAISED OUTSIDE OF

08:40AM   16       THE PRESENCE.    I THINK THE OBJECTIONS CAN BE MADE

08:40AM   17       CONTEMPORANEOUSLY.    I JUST DIDN'T WANT TO LOSE SIGHT THAT THERE

08:40AM   18       WERE MULTIPLE POSSIBLE HEARSAY EXCEPTIONS FOR A NUMBER OF

08:40AM   19       THESE.

08:40AM   20                   THE COURT:    AND YOU'RE SUGGESTING 801(D)(2)(D) AS TO

08:40AM   21       THAT STATEMENT SPECIFICALLY?

08:40AM   22                   MR. LEACH:    YES.     YES.

08:40AM   23                   THE COURT:    THANK YOU.

08:40AM   24             ONE THING THAT WAS COVERED, I THINK THERE WAS SOME CONCERN

08:40AM   25       ABOUT THE PASSING OF AN EMPLOYEE.         AS I UNDERSTAND FROM THE



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08:40AM    1       PLEADINGS, THE GOVERNMENT DOESN'T INTEND TO ASK ANY QUESTIONS

08:40AM    2       ABOUT THAT.

08:40AM    3                   MR. LEACH:    I'M SORRY.      I DIDN'T HEAR THE COURT.

08:40AM    4                   THE COURT:    IAN.     IAN.

08:40AM    5                   MR. LEACH:    OH, THAT'S CORRECT.

08:40AM    6             IN PRIOR INTERVIEWS WE'VE TALKED TO MS. GANGAKHEDKAR ABOUT

08:40AM    7       THE PASSING OF IAN GIBBONS IN MAY OF 2013.         WE DON'T INTEND TO

08:40AM    8       INTRODUCE THAT EXHIBIT OR DWELL ON THE CIRCUMSTANCES OF HIS

08:40AM    9       PASSING, SO WE DON'T INTEND TO GO THERE.

08:41AM   10                   THE COURT:    OKAY.    WILL YOU BE ASKING ANY QUESTIONS

08:41AM   11       ABOUT THAT, DO YOU KNOW?     OR CAN YOU TELL US NOW?      YOU DON'T

08:41AM   12       HAVE TO, OF COURSE.

08:41AM   13                   MR. LEACH:    I DON'T THINK THERE'S CONTROVERSY OVER

08:41AM   14       THE FACT THAT HE PASSED AWAY.        I THINK THERE'S CONTROVERSY OVER

08:41AM   15       THE CIRCUMSTANCES AND THE CONTEXT.

08:41AM   16             I DON'T PLAN TO GET INTO THE CIRCUMSTANCES OR THE CONTEXT.

08:41AM   17       IT'S POSSIBLE THE FACT THAT HE PASSED AWAY COULD COME OUT, BUT

08:41AM   18       WE'RE NOT GOING TO ASK WHY OR HOW PEOPLE FELT OR --

08:41AM   19                   THE COURT:    RIGHT.

08:41AM   20                   MR. LEACH:    -- WAS THERE SPECULATION ABOUT WHAT

08:41AM   21       HAPPENED.

08:41AM   22             SO THIS WITNESS HAD BEEN RECRUITED BY DR. GIBBONS AND HAD

08:41AM   23       SOME FAMILIARITY WITH HIM, SO THE FACT OF HIS PASSING COULD

08:41AM   24       COME OUT.   BUT I'M NOT GOING TO ASK WHY AND IF THERE'S ANY

08:41AM   25       SPECULATION.



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08:41AM    1             AND IF I UNDERSTAND THE DEFENSE'S CONCERNS, THAT'S REALLY

08:41AM    2       THE RUB IN THE MATTER.

08:41AM    3                   MR. WADE:    THAT'S COMFORTING.   IT SOUNDS LIKE

08:41AM    4       MR. LEACH IS DRAWING WHAT WE CONSIDER TO BE APPROPRIATE

08:41AM    5       BOUNDARIES THERE.

08:41AM    6             THE OTHER ISSUE I MIGHT ADDRESS, JUST BRIEFLY, THAT MAYBE

08:42AM    7       IS AN APPROPRIATE PRELIMINARY ISSUE AND NOT A MOMENT, NOT A

08:42AM    8       TRIAL OBJECTION, IS THE IMMUNITY ORDER.

08:42AM    9             OF COURSE WE ALL KNOW THAT THE FIFTH AMENDMENT IS MEANT TO

08:42AM   10       PROTECT THE INNOCENT AS WELL AS THE ACCUSED, AND WHETHER ALL OF

08:42AM   11       THE JURORS KNOW THAT OR NOT IS, YOU KNOW, IS ANOTHER QUESTION,

08:42AM   12       AND THEY COULD INFER THINGS FROM OFFERING THAT.

08:42AM   13             WE DON'T INTEND TO GO -- WE'VE ADVISED THE GOVERNMENT WE

08:42AM   14       DON'T INTEND TO, TO ATTACK THE CREDIBILITY OF THE WITNESS, YOU

08:42AM   15       KNOW, ON THIS BASIS, AND UNDER 403, WE DON'T SEE ANY NEED FOR

08:42AM   16       THE GOVERNMENT TO FRONT THE IMMUNITY ORDER, TALK ABOUT THE

08:42AM   17       IMMUNITY ORDER.    I DON'T SEE IT AS RELEVANT AND I CERTAINLY SEE

08:42AM   18       IT AS PREJUDICIAL.

08:42AM   19                   THE COURT:    WELL, THIS BRINGS UP THE ISSUE WHETHER

08:42AM   20       7.4 WOULD BE GIVEN, MODEL INSTRUCTION 7.4 WOULD BE GIVEN AT THE

08:42AM   21       CONCLUSION AND IF -- AND I DON'T KNOW WHAT MR. LEACH'S POSITION

08:42AM   22       IS ON THIS -- BUT IF THE JURY IS INFORMED THAT IMMUNITY WAS

08:43AM   23       GIVEN TO THIS WITNESS, IT SEEMS LIKE IF A PARTY REQUESTED 7.4,

08:43AM   24       I THINK THE COURT IS INCLINED TO GIVE IT.

08:43AM   25             BUT STEPPING BACKWARDS, I THINK THE ISSUES THAT WE'RE



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08:43AM    1       CONCERNED IN THE MOTION WAS WHETHER OR NOT THE GOVERNMENT WOULD

08:43AM    2       SEEK TO SUPPORT THE CREDIBILITY OF THE TESTIMONY OF THE WITNESS

08:43AM    3       BASED ON THE IMMUNITY GRANT, AND WHAT I UNDERSTAND IS THAT

08:43AM    4       YOU'RE NOT GOING TO ATTACK THE CREDIBILITY, WHICH WOULD

08:43AM    5       PRECLUDE THE GOVERNMENT THEN FROM ADVANCING THAT ISSUE.

08:43AM    6             AND, ALTHOUGH, MR. LEACH, MAYBE YOU CAN TELL US WHAT YOUR

08:43AM    7       INTENT IS.

08:43AM    8                    MR. LEACH:    MY INTENTION WAS TO BRING OUT THE FACT

08:43AM    9       THAT SHE HAS BEEN IMMUNIZED, SHE'S RECEIVED A BENEFIT FROM THE

08:43AM   10       GOVERNMENT.    THERE MAY BE JURORS WHO ARE WONDERING WHY OTHERS

08:43AM   11       WERE NOT PROSECUTED.

08:43AM   12             I THINK IT'S INCUMBENT ON AND PERMISSIBLE FOR EITHER PARTY

08:43AM   13       TO ELICIT THE FACT THAT SHE'S RECEIVED SOME FORM OF BENEFIT.

08:44AM   14             IT IS NOT THE GOVERNMENT'S INTENTION TO ADMIT THE IMMUNITY

08:44AM   15       ORDER OR TO REFER TO THE PROVISIONS OF THE IMMUNITY ORDER

08:44AM   16       THAT -- EXCEPT THE IMMUNITY FOR FALSE DECLARATION, WHICH UNDER

08:44AM   17       THE WALLACE CASE AND OTHER NINTH CIRCUIT CASES CAN BE VIEWED AS

08:44AM   18       BOLSTERING THE WITNESSES.      IT'S NOT OUR INTENTION TO DO THAT ON

08:44AM   19       OUR DIRECT EXAMINATION.

08:44AM   20             IF THE DEFENSE DOES GO THERE, LIKE WITH A PLEA AGREEMENT

08:44AM   21       OR ANY OTHER INSTANCE WHERE SOMEBODY HAS BEEN GIVEN A BENEFIT,

08:44AM   22       WE WILL SEE IF IT'S APPROPRIATE TO BRING OUT THAT FACT.

08:44AM   23             BUT I DON'T INTEND TO DWELL ON THE PROVISION OF THE

08:44AM   24       IMMUNITY ORDER THAT TALKS ABOUT THERE BEING AN EXCEPTION FOR

08:44AM   25       PERJURY, FALSE DECLARATION, OR SOMETHING ELSE TO SUGGEST THAT



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08:44AM    1       SHE'S UNDER SOME SPECIAL OBLIGATION TO TESTIFY TRUTHFULLY HERE.

08:44AM    2             BUT SHE'S BEEN GIVEN A BENEFIT.     I EXPECT THAT THE DEFENSE

08:44AM    3       IS GOING TO SEEK THE INSTRUCTION THAT YOUR HONOR IS REFERRING

08:44AM    4       TO, AND IT'S APPROPRIATE FOR EITHER SIDE TO BRING OUT THE

08:44AM    5       DIFFERENT MOTIVATIONS OF A PARTICULAR WITNESS.

08:45AM    6                   MR. WADE:    YOUR HONOR, THE COMMENT ABOUT THE JURY

08:45AM    7       WONDERING IF OTHER PEOPLE HAVE BEEN PROSECUTED AND, BY

08:45AM    8       IMPLICATION, THERE WAS CRIMINAL ACTIVITY BY THE WITNESS I THINK

08:45AM    9       IS KIND OF THE PROBLEM UNDER 4.3.      THE COMMENT THAT THE

08:45AM   10       GOVERNMENT WAS SORT OF TELLING THEM IN THAT REGARD, I DON'T

08:45AM   11       THINK THAT IS A PERMISSIBLE PURPOSE HERE AND CERTAINLY IT

08:45AM   12       SHOULD BE INADMISSIBLE UNDER 403.

08:45AM   13             THE INFERENCE THAT THEY'RE TRYING TO DRAW FROM THAT, WHICH

08:45AM   14       IS TO SUGGEST OTHER CRIMINAL ACTIVITY, IS WHAT CONCERNS THE

08:45AM   15       DEFENSE, YOUR HONOR.

08:45AM   16                   THE COURT:    WELL, AND THAT LINE OF QUESTIONING IS

08:45AM   17       NOT SOMETHING THAT YOU WERE GOING TO DO I TAKE IT, MR. LEACH,

08:45AM   18       TO TRY TO CREATE AN INFERENCE THAT THERE WERE OTHERS WHO

08:45AM   19       POSSIBLY FACED CRIMINAL LIABILITY, BUT THEY'RE NOT BEFORE THE

08:45AM   20       COURT OR SOMETHING LIKE THAT.

08:45AM   21                   MR. LEACH:    THAT'S NOT MY INTENTION, YOUR HONOR.

08:45AM   22             MY QUESTIONS WILL BE, HAVE YOU BEEN SUBPOENAED TO TESTIFY?

08:45AM   23       DO YOU UNDERSTAND THE COURT HAS ENTERED AN ORDER THAT YOUR

08:45AM   24       TESTIMONY MAY NOT BE USED AGAINST YOU?      DO YOU UNDERSTAND THAT

08:45AM   25       YOU'RE -- THAT THE COURT HAS ISSUED AN ORDER THAT YOUR



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08:46AM    1       TESTIMONY -- NOTHING CAN BE DERIVED FROM YOUR TESTIMONY?

08:46AM    2             NOTHING GREATER THAN THAT.       IT'S THE BENEFIT THAT SHE HAS

08:46AM    3       RECEIVED.   PEOPLE MIGHT BE WONDERING THE CIRCUMSTANCES FOR WHY

08:46AM    4       SHE'S TESTIFYING, AND I DON'T THINK THERE'S ANY REASON TO

08:46AM    5       CONCEAL THAT FROM THE JURY.

08:46AM    6                   MR. WADE:    I HAVE NOTHING FURTHER, YOUR HONOR.

08:46AM    7                   THE COURT:    OKAY.    THANK YOU.

08:46AM    8             LET ME JUST STATE THAT WITNESSES ARE -- THIS HAPPENS WITH

08:46AM    9       WITNESSES IN TRIAL FREQUENTLY.       AND THERE IS NOTHING FOR THE

08:46AM   10       FACT THAT THE WITNESS HAS BEEN GRANTED IMMUNITY TO COME OUT

08:46AM   11       BEFORE THE JURY.

08:46AM   12             AS I SAID, IN FINAL INSTRUCTIONS, THAT'S WHAT 7.4 IS FOR.

08:46AM   13             WHAT I THINK THE PLEADINGS -- WHAT YOUR PLEADINGS FILED

08:46AM   14       YESTERDAY SPEAK TO IS WHETHER OR NOT THAT CAN BE USED

08:46AM   15       AFFIRMATIVELY BY THE GOVERNMENT TO VOUCH FOR THE CREDIBILITY OF

08:46AM   16       A WITNESS, AND I THINK MR. LEACH KNOWS THE GROUNDWORK ON THAT.

08:46AM   17       THAT CAN'T HAPPEN UNLESS AND UNTIL THE DOOR HAS BEEN OPENED IN

08:46AM   18       SOME MANNER.

08:47AM   19             AND I THINK YOU KNOW THE DIFFERENCE, MR. WADE, BETWEEN

08:47AM   20       TURNING THE KNOB AND OPENING THE DOOR.

08:47AM   21             (LAUGHTER.)

08:47AM   22                   MR. WADE:    WE DO, YOUR HONOR.     THANK YOU.

08:47AM   23                   THE COURT:    ALL RIGHT.    ANYTHING FURTHER THIS

08:47AM   24       MORNING?

08:47AM   25             OH, LET ME TELL YOU, WHAT TIME -- DO THE PARTIES HAVE AN



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08:47AM    1       IDEA OF WHEN WE SHOULD HAVE OUR MORNING BREAK?

08:47AM    2                   MR. WADE:    THE COURT'S INDULGENCE?

08:47AM    3                   THE COURT:    SURE.

08:47AM    4             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

08:47AM    5                   MR. WADE:    MAYBE 11:00 O'CLOCK.

08:47AM    6                   MR. LEACH:    THAT'S FINE WITH THE GOVERNMENT,

08:47AM    7       YOUR HONOR.

08:47AM    8                   MR. WADE:    THANK YOU.

08:47AM    9                   THE COURT:    THANK YOU.   WE'LL SEE YOU IN A MINUTE.

08:47AM   10                   THE CLERK:    COURT IS IN RECESS.

08:47AM   11             (RECESS FROM 8:47 A.M. UNTIL 9:01 A.M.)

09:01AM   12             (JURY IN AT 9:01 A.M.)

09:01AM   13                   THE COURT:    THANK YOU.   GOOD MORNING.   WE'RE BACK ON

09:01AM   14       THE RECORD.    ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE

09:01AM   15       AGAIN.

09:01AM   16             OUR JURY IS PRESENT AND OUR ALTERNATES ARE PRESENT.

09:01AM   17             GOOD MORNING, LADIES AND GENTLEMEN.

09:01AM   18             LET ME ASK YOU THE QUESTION THAT I TOLD YOU AND I WILL BE

09:02AM   19       ASKING YOU AT THE START OF EACH DAY.      I HAVE TOLD YOU HOW

09:02AM   20       IMPORTANT IT IS FOR YOU TO MAKE YOUR DECISIONS ONLY ON THE

09:02AM   21       EVIDENCE IN THIS CASE THAT IS RECEIVED IN THIS COURTROOM, AND

09:02AM   22       SO IT'S IMPORTANT FOR ME AND THE PARTIES TO KNOW WHETHER OR NOT

09:02AM   23       ANYONE HAS RECEIVED ANY INFORMATION OUTSIDE OF THE COURTROOM,

09:02AM   24       THAT IS, BY ANY NEWS STORY, RADIO, TELEVISION, INTERNET, SOCIAL

09:02AM   25       MEDIA, OR ANYONE SPEAKING TO YOU ABOUT ANYTHING TO DO WITH THIS



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09:02AM    1       CASE.

09:02AM    2             LET ME JUST ASK FOR A SHOW OF HANDS IF ANYONE HAS HAD THAT

09:02AM    3       EXPERIENCE WHERE THEY HAVE HAD EXPOSURE TO ANY OUTSIDE

09:02AM    4       INFORMATION ABOUT THIS CASE.

09:02AM    5             AGAIN, IF YOU WANT TO SPEAK PRIVATELY, WE CAN CERTAINLY DO

09:02AM    6       THAT.

09:02AM    7             LET ME ASK FOR A SHOW OF HANDS FROM OUR JURY AND

09:02AM    8       ALTERNATES IF ANYONE HAS HAD THAT EXPERIENCE.

09:03AM    9             I SEE NO HANDS.

09:03AM   10             ALL RIGHT.   THANK YOU.      LET'S SEE.   I BELIEVE MS. CHEUNG

09:03AM   11       WAS ON THE STAND.

09:03AM   12             DID YOU HAVE ANY CONTINUING CROSS-EXAMINATION?

09:03AM   13                   MR. WADE:    I DO, YOUR HONOR.

09:03AM   14                   THE COURT:    ALL RIGHT.    THANK YOU.

09:03AM   15             COULD WE CALL THE WITNESS IN, PLEASE.

09:03AM   16             GOOD MORNING, MS. CHEUNG.      I'LL INVITE YOU TO TAKE A SEAT

09:03AM   17       AGAIN IN THE WITNESS STAND.

09:03AM   18             AGAIN, MAKE YOURSELF COMFORTABLE.         I'LL ENCOURAGE YOU TO

09:03AM   19       SPEAK DIRECTLY INTO THE MICROPHONE.

09:03AM   20             WHEN YOU ARE COMFORTABLE, WOULD YOU JUST STATE YOUR NAME

09:03AM   21       AGAIN, PLEASE.

09:03AM   22                   THE WITNESS:    MY NAME IS ERIKA CHEUNG.

09:03AM   23                   THE COURT:    THANK YOU.    AND I'LL REMIND YOU YOU'RE

09:03AM   24       STILL UNDER OATH.

09:03AM   25                   THE WITNESS:    OKAY.



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09:03AM    1                     THE COURT:    AND YOU CAN REMOVE YOUR MASK IF YOU

09:03AM    2       WISH.

09:04AM    3                     THE WITNESS:    OKAY.

09:04AM    4                           CROSS-EXAMINATION (RESUMED)

09:04AM    5       BY MR. WADE:

09:04AM    6       Q.    GOOD MORNING, MS. CHEUNG.

09:04AM    7       A.    GOOD MORNING.

09:04AM    8       Q.    I'D LIKE TO ASK SOME MORE QUESTIONS TODAY AND PICK UP IN

09:04AM    9       THE CLIA LABORATORY.

09:04AM   10       A.    I'M HAVING A LITTLE TROUBLE HEARING YOU.

09:04AM   11       Q.    THANK YOU FOR TELLING ME THAT.

09:04AM   12             IS THAT BETTER?

09:04AM   13       A.    YES.

09:04AM   14       Q.    THANK YOU.

09:04AM   15             I WOULD LIKE TO PICK UP WITH SOME QUESTIONS TODAY ABOUT

09:04AM   16       SOME OF YOUR WORK IN THE CLIA LAB AT THERANOS.

09:04AM   17       A.    OKAY.

09:04AM   18       Q.    AND DO YOU RECALL YOUR DISCUSSION ABOUT THE EDISON DEVICE,

09:04AM   19       YOU TALKED ABOUT HOW THERE WAS SOFTWARE ON THE EDISON SYSTEM?

09:04AM   20       A.    YES.

09:04AM   21       Q.    AND WAS THERE A SPECIAL TEAM OF PEOPLE WHO WERE DEDICATED

09:04AM   22       TO DOING THE SOFTWARE PROGRAMMING FOR THAT?

09:04AM   23       A.    YES.

09:04AM   24       Q.    AND DO YOU RECALL WHO THOSE FOLKS WERE?

09:04AM   25       A.    ONE OF THE PEOPLE IN CHARGE OF DOING THE SOFTWARE WAS



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09:04AM    1       MICHAEL CRAIG, C-R-A-I-G, BUT I DON'T KNOW --

09:04AM    2       Q.    AND THERE MAY HAVE BEEN OTHERS.     MR. CRAIG WAS THE ONE WHO

09:04AM    3       YOU INTERACTED --

09:05AM    4       A.    HE WAS THE ONE WHO I INTERFACED WITH THE MOST.

09:05AM    5       Q.    AND YOU ALSO TALKED ABOUT THE ALCHEMIST?

09:05AM    6       A.    YES.

09:05AM    7       Q.    AND COULD YOU JUST TELL US WHAT THAT IS?

09:05AM    8       A.    SO ALCHEMIST WAS A SOFTWARE DATABASE, AND ESSENTIALLY WHEN

09:05AM    9       THE EDISON DEVICES HAD FINISHED COMPLETING A TEST OR A RUN, IT

09:05AM   10       WOULD UPLOAD ALL OF THE INFORMATION TO ALCHEMIST, WHEREIN THAT

09:05AM   11       INFORMATION WOULD BE DOWNLOADED AND GATHERED BY PEOPLE IN THE

09:05AM   12       RESEARCH AND DEVELOPMENT TEAM OR IN THE CLINICAL LAB FOR A

09:05AM   13       PERIOD OF TIME.

09:05AM   14             EVENTUALLY THAT WAS AUTOMATED, BUT THERE WAS A PERIOD OF

09:05AM   15       TIME WHERE THAT WAS THE CASE FOR THE CLINICAL LAB THAT IT WAS

09:05AM   16       PULLED FROM ALCHEMIST.

09:05AM   17       Q.    AND WHEN IT WAS AUTOMATED, DID IT START GOING INTO A

09:05AM   18       LABORATORY INFORMATION SYSTEM?

09:05AM   19       A.    IT WAS -- THE RAW DATA OR THE PATIENT DATA?

09:05AM   20       Q.    THE PATIENT DATA.

09:05AM   21       A.    THE PATIENT DATA WENT INTO A LABORATORY INFORMATION

09:06AM   22       SYSTEM.

09:06AM   23       Q.    OKAY.

09:06AM   24       A.    BUT -- SORRY.   THAT WAS MANUALLY ENTERED WHEN I WAS

09:06AM   25       WORKING THERE.    IT WASN'T AUTOMATED INTO THE SYSTEM.



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09:06AM    1       Q.    OKAY.   AND CAN YOU TELL US WHAT LABORATORY INFORMATION

09:06AM    2       SYSTEM IS?

09:06AM    3       A.    LABORATORY INFORMATION SYSTEM IS A DATABASE THAT YOU KEEP

09:06AM    4       ALL OF THE PATIENT RECORDS AND PATIENT INFORMATION, THE

09:06AM    5       CLINICIAN INFORMATION, THE PATIENT RESULTS, YOU'LL STORE

09:06AM    6       QUALITY CONTROL INFORMATION, THE TECHNICIANS IN CHARGE OF

09:06AM    7       RUNNING THE PATIENT SAMPLE, THE CLINICAL LAB SCIENTIST WHO

09:06AM    8       WOULD BE RESPONSIBLE FOR REVIEWING THE INFORMATION.

09:06AM    9             IT'S SORT OF A COMPREHENSIVE DATABASE THAT YOU UTILIZE IN

09:06AM   10       ORDER TO RESULT OUT CLINICAL DIAGNOSTIC RESULTS, AND THAT'S

09:06AM   11       WHAT WE USED IT FOR AT THERANOS AS WELL.

09:06AM   12       Q.    IT WAS SORT OF A HUB OF ALL OF THE LAB DATA?

09:06AM   13       A.    ALL OF THE CLINICAL DATA, YES.

09:07AM   14       Q.    AND SO WOULD THAT -- IF YOU HAD ACCESS TO THAT

09:07AM   15       INFORMATION, WOULD THAT GIVE YOU A SENSE OF WHEN A PARTICULAR

09:07AM   16       TEST STARTED RUNNING IN THE LAB?

09:07AM   17       A.    SAY THAT ONE MORE TIME.

09:07AM   18       Q.    IF YOU HAD ACCESS TO DATA WITHIN THE LAB INFORMATION

09:07AM   19       SYSTEM, WOULD THAT TELL YOU WHEN A PARTICULAR TEST STARTED TO

09:07AM   20       GO LIVE IN THE LAB AND BE USED ON PATIENT TESTING?

09:07AM   21       A.    SO CAN I GIVE AN EXAMPLE JUST FOR CLARIFICATION?

09:07AM   22       Q.    SURE.

09:07AM   23       A.    SO ARE YOU SAYING -- SAY, FOR EXAMPLE, WE HAD A NEW EDISON

09:07AM   24       TEST THAT WE WERE RUNNING, WOULD IT BE LOCATED IN THE

09:07AM   25       LABORATORY INFORMATION SYSTEM WHETHER THAT TEST WENT LIVE?



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09:07AM    1       Q.    LET ME ASK IT A DIFFERENT WAY.     WHOEVER WHO WAS THE FIRST

09:07AM    2       PATIENT WHO RECEIVED THE TEST, YOU WOULD HAVE THAT INFORMATION

09:07AM    3       IN THE LABORATORY INFORMATION SYSTEM; RIGHT?

09:07AM    4       A.    CAN YOU REPEAT THAT ONE MORE TIME?

09:07AM    5       Q.    LET'S USE AN EXAMPLE.    SO VITAMIN D WAS A TEST THAT WE

09:07AM    6       TALKED ABOUT A FAIR BIT?

09:07AM    7       A.    YES.

09:07AM    8       Q.    AND YOU TALKED ABOUT THAT RUNNING ON THE EDISON DEVICE.

09:07AM    9             DO YOU RECALL THAT?

09:08AM   10       A.    YES.

09:08AM   11       Q.    AND SO AT SOME POINT THAT DEVICE STARTED RUNNING VITAMIN D

09:08AM   12       IN THE LAB.

09:08AM   13             AND IF WE WANTED TO FIGURE OUT WHEN THAT WAS, WE COULD

09:08AM   14       LOOK AT THE LABORATORY INFORMATION SYSTEM AND FIND THE FIRST

09:08AM   15       RESULT FOR AN EDISON DEVICE AND A PATIENT WHO GOT A VITAMIN D?

09:08AM   16       A.    IN THE LABORATORY INFORMATION SYSTEM?

09:08AM   17       Q.    YEAH.

09:08AM   18       A.    THERE WAS A PERIOD OF TIME WHERE, NO, THAT INFORMATION WAS

09:08AM   19       NOT FOUND THERE.    IT WAS FOUND IN SPREADSHEETS.

09:08AM   20       Q.    OKAY.

09:08AM   21       A.    BUT THEN IT MIGRATED INTO A LABORATORY INFORMATION SYSTEM

09:08AM   22       AFTERWARDS.    BUT THAT WAS AT THE TAIL END, AT LEAST FROM MY

09:08AM   23       EXPERIENCE WORKING AT THERANOS, THE TAIL END OF ME WORKING

09:08AM   24       THERE.

09:08AM   25       Q.    AND I WANT TO BACK UP AND SET A LITTLE BIT OF TIMING FRAME



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09:08AM    1       OF REFERENCE FOR THE RECORD HERE.

09:08AM    2             THE LABORATORY, CLINICAL LABORATORY AT THE TIME THAT YOU

09:09AM    3       STARTED AT THE COMPANY WAS COLLECTING AND PROCESSING SAMPLES

09:09AM    4       FROM, FROM A COLLECTION CENTER IN PALO ALTO; IS THAT RIGHT?

09:09AM    5       A.    IT WAS THE WALGREENS IN PALO ALTO, YES.

09:09AM    6       Q.    AND THERE WAS ONE LOCATION AT THE TIME THAT YOU JOINED?

09:09AM    7       A.    THERE WAS ONE LOCATION IN PALO ALTO, AND THEN WE HAD JUST

09:09AM    8       STARTED TO OPEN UP A LOCATION IN ARIZONA.

09:09AM    9       Q.    AND THE LOCATIONS IN ARIZONA, THOSE STARTED IN ABOUT

09:09AM   10       NOVEMBER 13TH, 2013?

09:09AM   11       A.    I THINK IT WAS LATER THAN THAT, BUT IT WAS AROUND

09:09AM   12       DECEMBER, JANUARY MORE SO THAN NOVEMBER.

09:09AM   13       Q.    MAYBE THERE WAS A SOFT OPENING AND TO GET -- START GETTING

09:09AM   14       THINGS SET UP?

09:09AM   15       A.    YES.

09:09AM   16       Q.    BUT YOU THINK YOU STARTED PROCESSING SAMPLES FROM ARIZONA

09:09AM   17       IN DECEMBER OR JANUARY?

09:09AM   18       A.    YES.

09:09AM   19       Q.    OKAY.   AND SO AT THAT POINT THERE WERE THREE LOCATIONS?

09:09AM   20       A.    EITHER TWO OR THREE.

09:09AM   21       Q.    AND I THINK YOU TESTIFIED ABOUT THE SEVEN TESTS THAT WERE

09:10AM   22       RUN ON THE EDISON DEVICE DURING YOUR TIME AT THE COMPANY.

09:10AM   23       A.    YES.

09:10AM   24       Q.    YES?

09:10AM   25       A.    YES.



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09:10AM    1       Q.     AND THOSE WERE VITAMIN D, TSH, FT4, TPSA, TT3, TT4, AND

09:10AM    2       TST?

09:10AM    3       A.     TST?    YES.   AND THERE WERE KIND OF A RANGE OF OTHERS, BUT

09:10AM    4       SOME OF THEM WEREN'T ACTIVE.

09:10AM    5       Q.     OKAY.   THE SEVEN WERE THE ONES THAT YOU RECALL WERE

09:10AM    6       ACTUALLY RUN IN THE CLIA LABORATORY?

09:10AM    7       A.     YES.

09:10AM    8       Q.     OKAY.   AND DO YOU RECALL THE DATE ON WHICH YOU STARTED

09:10AM    9       RUNNING THE VITAMIN D ON THE EDISON?

09:10AM   10       A.     SAY THAT ONE MORE TIME.

09:10AM   11       Q.     DO YOU RECALL THE DATE IN WHICH -- APPROXIMATELY.       I KNOW

09:11AM   12       IT WAS A LONG TIME AGO.

09:11AM   13       A.     YEAH.

09:11AM   14       Q.     DO YOU RECALL APPROXIMATELY THE DATE ON WHICH YOU STARTED

09:11AM   15       RUNNING THE VITAMIN D ASSAY ON THE EDISON?

09:11AM   16       A.     WHEN WE STARTED RUNNING --

09:11AM   17       Q.     YEAH.

09:11AM   18       A.     -- THE VITAMIN D ASSAY?

09:11AM   19              SO WE -- I HAD STARTED RUNNING THE VITAMIN D PERSONALLY ON

09:11AM   20       PATIENT SAMPLES OR IN DEVELOPMENT.

09:11AM   21       Q.     ON PATIENT SAMPLES?

09:11AM   22       A.     ON PATIENT SAMPLES.     AS EARLY IN NOVEMBER OF 2013.   IT MAY

09:11AM   23       HAVE EVEN BEEN THE LATER PART OF OCTOBER AS WELL.

09:11AM   24       Q.     OKAY.   BUT YOU THINK AROUND THE END OF OCTOBER, START OF

09:11AM   25       NOVEMBER FOR VITAMIN D?



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09:11AM    1       A.    OF 2013, YES.

09:11AM    2       Q.    AND WERE THERE, WERE THERE OTHER TESTS THAT WERE RUN IN

09:11AM    3       THAT EARLY PERIOD IN OCTOBER OR NOVEMBER OF 2013 ON THE EDISON?

09:11AM    4       A.    YES.

09:11AM    5       Q.    AND WHICH ONES?

09:11AM    6       A.    SO THE FOUR CORE WERE TSH, THYROID STIMULATING HORMONE,

09:12AM    7       TPSA, TOTAL PROSTATE SPECIFIC ANTIGEN, AND THEN FT4, WHICH IS A

09:12AM    8       FREE THYROXINE 4.

09:12AM    9       Q.    AND THEN THE THREE OTHER ASSAYS THAT WE TALKED ABOUT, TT3,

09:12AM   10       TT4, AND TST.    DO YOU RECALL ABOUT WHEN THOSE STARTED TO BE RUN

09:12AM   11       IN THE CLIA LAB?

09:12AM   12       A.    SO THOSE STARTED TO BE RUN IN THE CLIA LAB, WE STARTED TO

09:12AM   13       SEE MORE ONBOARDING FROM JANUARY ROUGHLY TO FEBRUARY, AND

09:12AM   14       DEFINITELY WITHIN MARCH.

09:12AM   15       Q.    OKAY.   SO YOU THINK THOSE THREE MAYBE CAME ON IN FEBRUARY,

09:12AM   16       MARCH?

09:12AM   17       A.    YEAH.   IT DEPENDS.   IT DEPENDED ON A COUPLE OF FACTORS

09:12AM   18       WHETHER WE WERE ABLE TO HAVE THEM WHAT WE CALL "GO LIVE."

09:12AM   19             WE NEEDED TO MAKE SURE WE HAD THE RANGES, THE CALIBRATION

09:13AM   20       SET UP, THE QC RANGES, AND THERE'S A LOT OF INFRASTRUCTURE YOU

09:13AM   21       HAD TO SET UP.    SO IT'S NOT -- IT WOULDN'T -- I WOULDN'T BE

09:13AM   22       ABLE TO TELL YOU THE EXACT DATE AT THIS TIME.

09:13AM   23       Q.    AND DO YOU RECALL THE TOTAL NUMBER OF EDISON TESTS THAT

09:13AM   24       WERE RUN IN THE CLIA LAB IN, SAY, NOVEMBER OF 2013?

09:13AM   25       A.    THE TOTAL NUMBER OF EDISON TESTS THAT WERE RUN?



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09:13AM    1       Q.     AND BY THAT LET ME BE MORE SPECIFIC.

09:13AM    2              DO YOU REMEMBER ABOUT HOW MANY PATIENT RESULTS WERE, WERE

09:13AM    3       ANALYZED AND COMMUNICATED IN NOVEMBER OF 2013?

09:13AM    4       A.     FOR JUST EDISON?

09:13AM    5       Q.     JUST EDISON DEVICES.

09:13AM    6       A.     THE TOTAL NUMBER OF PATIENTS WE PROCESSED THAT MONTH?

09:14AM    7       Q.     TOTAL.

09:14AM    8       A.     I WOULDN'T KNOW.

09:14AM    9       Q.     DOES ABOUT 17 SOUND ABOUT RIGHT?

09:14AM   10       A.     I WOULDN'T KNOW.

09:14AM   11       Q.     AND HOW ABOUT DECEMBER?   WOULD YOU BE ABLE TO KNOW THAT?

09:14AM   12       A.     NO.

09:14AM   13       Q.     TEN?   DOES THAT SOUND ABOUT RIGHT?

09:14AM   14       A.     I WOULDN'T KNOW.    I WOULDN'T KNOW THAT EXACT NUMBER.

09:14AM   15       Q.     AND YOU WOULDN'T KNOW THAT FOR THE MONTHS THAT FOLLOWED?

09:14AM   16       A.     NO.

09:14AM   17       Q.     I UNDERSTAND.   IT'S A SPECIFIC QUESTION FROM A LONG TIME

09:14AM   18       AGO.

09:14AM   19              I'D LIKE TO ASK YOU A COUPLE OF QUESTIONS ABOUT THE

09:14AM   20       HARDWARE QC FOR THE 3.5 DEVICES AFTER THEY WERE IN THE CLINICAL

09:14AM   21       LAB.

09:14AM   22       A.     UH-HUH.

09:14AM   23       Q.     DO YOU RECALL THE TEAM OF PEOPLE WHO WAS INVOLVED IN DOING

09:14AM   24       THAT WORK?

09:14AM   25       A.     IN THE QC OF THE ACTUAL EDISON DEVICES?



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09:15AM    1          Q.   YES, FROM A HARDWARE PERSPECTIVE AS OPPOSED TO AN ASSAY

09:15AM    2          PERSPECTIVE.

09:15AM    3          A.   SO THAT WAS SAMARTHA ANEKAL'S TEAM, SO IT WOULD BE PEOPLE

09:15AM    4          LIKE DAVID PHILIPPEDES, JARED O'LEARY, ALPHONSO NGUYEN, AND

09:15AM    5          THERE ARE A COUPLE OF OTHER ENGINEERS ON THAT TEAM.

09:15AM    6          Q.   OKAY.   DO YOU STILL HAVE THE BINDER I GAVE YOU ON

09:15AM    7          WEDNESDAY UP THERE?

09:15AM    8          A.   YES.

09:15AM    9          Q.   COULD I CALL YOUR ATTENTION TO DX 10480.

09:15AM   10          A.   CAN YOU SAY THAT NUMBER AGAIN?

09:15AM   11          Q.   SURE.   10480.

09:16AM   12          A.   I DON'T BELIEVE I HAVE THAT DOCUMENT.

09:16AM   13               OH, OH, OH.    SORRY.   IT WAS IN THE BACK.

09:16AM   14          Q.   WAS IT IN THE BACK THERE?

09:16AM   15          A.   YES.

09:16AM   16          Q.   DO YOU HAVE IT IN FRONT OF YOU NOW?

09:16AM   17          A.   YES.

09:16AM   18          Q.   AND WHAT IS 10480?

09:16AM   19          A.   DOCUMENT 10480 IS AN EMAIL THAT IS SENT TO THE ELISA TEAM

09:16AM   20          ABOUT THE DAILY QC PROCEDURE THAT SAMARTHA ANEKAL'S TEAM IS

09:17AM   21          PERFORMING ON THE EDISON DEVICES.

09:17AM   22          Q.   AND IS THIS A DOCUMENT THAT YOU RECEIVED WHEN YOU WERE

09:17AM   23          WORKING THERE?

09:17AM   24          A.   YES.

09:17AM   25          Q.   AND YOU TALKED WITH MR. BOSTIC YESTERDAY ABOUT THE WAY IN



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09:17AM    1       WHICH EMAILS WERE COMMUNICATED AND THE IMPORTANCE OF EMAILS AND

09:17AM    2       MAKING SURE THAT THEY WERE ACCURATE.

09:17AM    3             DO YOU RECALL THAT?

09:17AM    4       A.    YES.

09:17AM    5       Q.    AND YOU RECALLED SOME TESTIMONY ABOUT HOW THESE WERE

09:17AM    6       MAINTAINED, YOU KNOW, IN THE REGULAR COURSE OF BUSINESS?

09:17AM    7       A.    YES.

09:17AM    8       Q.    AND THIS PARTICULAR DOCUMENT IS COMMUNICATING SORT OF A

09:17AM    9       POLICY AND PRACTICE THAT WAS TO BE FOLLOWED WITHIN THE LAB?

09:17AM   10       A.    YES.

09:17AM   11       Q.    OKAY.

09:17AM   12             I'D MOVE THE ADMISSION OF 10480.

09:17AM   13                     MR. BOSTIC:    NO OBJECTION.

09:17AM   14                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:17AM   15             (DEFENDANT'S EXHIBIT 10480 WAS RECEIVED IN EVIDENCE.)

09:18AM   16       BY MR. WADE:

09:18AM   17       Q.    MS. CHEUNG, IF I COULD JUST CALL YOUR ATTENTION TO --

09:18AM   18                     THE COURT:    THAT WAS MINE.

09:18AM   19       BY MR. WADE:

09:18AM   20       Q.    IF I COULD JUST CALL YOUR ATTENTION TO THE TOP OF THE

09:18AM   21       EMAIL.   THIS WAS AN EMAIL THAT WAS SENT NOVEMBER 27TH, 2013?

09:18AM   22       A.    YES.

09:18AM   23       Q.    AND YOU MENTION THE ELISA TEAM.        I THINK WE TALKED ABOUT

09:18AM   24       THE ELISA TEAM.

09:18AM   25             DO YOU THINK THIS GROUP OF PEOPLE AT THE TOP, THOSE ARE



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09:18AM    1       THE ELISA TEAM MEMBERS?

09:18AM    2       A.    YES.

09:18AM    3       Q.    AND DO YOU SEE YOUR NAME IN THERE?

09:18AM    4       A.    YES.

09:18AM    5       Q.    AND CAN YOU EXPLAIN TO US -- I'LL CALL YOUR ATTENTION TO

09:18AM    6       THE BODY OF THE EMAIL.

09:19AM    7             NOW, THE SUBJECT LINE WAS 3.5 READER QUALITY CONTROL TEST;

09:19AM    8       RIGHT?

09:19AM    9       A.    YES.

09:19AM   10       Q.    OKAY.   AND CAN YOU EXPLAIN TO US -- WELL, LET ME START

09:19AM   11       WITH, WHO IS MR. O'LEARY?

09:19AM   12       A.    SO JARED O'LEARY IS AN ENGINEER ON SAMARTHA ANEKAL'S TEAM,

09:19AM   13       AND I DON'T REMEMBER THE NAME OF THE TEAM, BUT IT'S THE DEVICE

09:19AM   14       ENGINEERING TEAM.

09:19AM   15       Q.    OKAY.   AND WHO IS GARY FRENZEL?

09:19AM   16       A.    I'M SORRY?

09:19AM   17       Q.    GARY FRENZEL?   DO YOU KNOW --

09:19AM   18       A.    I DON'T KNOW GARY FRENZEL.

09:19AM   19       Q.    AND CAN YOU EXPLAIN WHAT MR. O'LEARY WAS SETTING FORTH IN

09:19AM   20       THIS EMAIL?

09:19AM   21       A.    THIS EMAIL IS A QC PROCEDURE IN ORDER TO DETERMINE HOW

09:19AM   22       WELL THE EDISON DEVICE AND THE HARDWARE OF THE EDISON DEVICE IS

09:20AM   23       PERFORMING, AND HIS TEAM ESSENTIALLY AGGREGATED ALL OF THE

09:20AM   24       INFORMATION AND PUT IT INTO A SPREADSHEET OR A DOCUMENT TO LET

09:20AM   25       US KNOW.



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09:20AM    1       Q.    OKAY.   WE TALKED YESTERDAY ABOUT -- OR ON WEDNESDAY ABOUT

09:20AM    2       QUALITY CONTROL THAT YOU WERE RESPONSIBLE FOR.

09:20AM    3             DO YOU RECALL THAT?

09:20AM    4       A.    YES.

09:20AM    5       Q.    THIS IS A COMPLETELY SEPARATE PROCESS FROM THAT; CORRECT?

09:20AM    6       A.    YES.

09:20AM    7       Q.    AND BECAUSE THIS RELATES TO THE HARDWARE OPERATIONS OF THE

09:20AM    8       MACHINE?

09:20AM    9       A.    YES.

09:20AM   10       Q.    AND IT ASKS -- DO YOU SEE IN THE SECOND PARAGRAPH THERE

09:20AM   11       WHERE IT POINTS TO A DRIVE, S DRIVE?

09:20AM   12       A.    YES.

09:20AM   13       Q.    AND DO YOU SEE THAT?

09:20AM   14       A.    YES.

09:20AM   15       Q.    AND WHAT IS THAT DRIVE?

09:20AM   16       A.    SO THE S DRIVE IS A DATA DRIVE THAT WE HAD THAT WAS SHARED

09:20AM   17       AMONGST DIFFERENT DEPARTMENTS.     SO EACH DRIVE HAD DIFFERENT --

09:21AM   18       LIKE THE J DRIVE, FOR EXAMPLE, WAS FOR RESEARCH AND

09:21AM   19       DEVELOPMENT; CLIA HAD ITS OWN RESTRICTED DRIVE; AND SO THE S

09:21AM   20       DRIVE WAS ANOTHER ONE OF THESE SORT OF DATA DRIVES THAT WE HAD

09:21AM   21       AT THERANOS IN ORDER TO SHARE INFORMATION.

09:21AM   22       Q.    AND WAS THERE A REQUEST THAT THE DATA THAT WAS DERIVED AS

09:21AM   23       A PART OF THIS PROCESS WAS STORED THERE SO EVERYONE COULD HAVE

09:21AM   24       ACCESS TO IT?

09:21AM   25       A.    YES.



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09:21AM    1       Q.    OKAY.   AND LET ME FOCUS ON THE TOP PARAGRAPH IF I COULD.

09:21AM    2             HERE THERE'S A MENTION TO THE SIV TEAM.       WHAT IS THE SIV

09:21AM    3       TEAM?

09:21AM    4       A.    I DON'T REMEMBER WHAT THE ACRONYM STANDS FOR.

09:21AM    5       Q.    WAS IT MAYBE SYSTEMS INTEGRATION?

09:21AM    6       A.    I BELIEVE SO, BUT I'M NOT CERTAIN.

09:21AM    7       Q.    OKAY.   AND IT TALKS HERE ABOUT HOW THEY'RE GOING TO DO

09:21AM    8       THIS, THEIR ONLY DAILY QC PROCEDURE, ON THE DEVICES.

09:22AM    9             DO YOU SEE THAT?

09:22AM   10       A.    YES.

09:22AM   11       Q.    OKAY.   AND DO YOU RECALL THEM DOING THAT WHEN YOU WERE

09:22AM   12       THERE?

09:22AM   13       A.    YES.

09:22AM   14       Q.    AND I THINK WE SAW A SPREADSHEET YESTERDAY WHERE YOU WERE

09:22AM   15       TRACKING SOME ISSUES WITH RESPECT TO SOFTWARE AND THE LIKE.

09:22AM   16             DO YOU RECALL THAT?

09:22AM   17       A.    YES.

09:22AM   18       Q.    AND WAS THAT PART OF THIS PROCESS?

09:22AM   19       A.    NO.

09:22AM   20       Q.    THAT WAS A SEPARATE PROCESS?

09:22AM   21       A.    THAT WAS A SEPARATE PROCESS.

09:22AM   22       Q.    OKAY.   BUT I TAKE IT YOU FOLLOWED THIS PROCESS, TOO?

09:22AM   23       A.    YES.

09:22AM   24       Q.    OKAY.   AND IF I COULD MOVE YOUR ATTENTION DOWN TO THE

09:22AM   25       PORTION OF THE DOCUMENT STARTING WITH "ONCE," AND THEN GOING



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09:22AM    1       THROUGH THE NUMBERED PARAGRAPHS THERE.

09:23AM    2             NOW, HERE THEY WERE TALKING ABOUT IF THE DEVICE'S

09:23AM    3       PERFORMANCE WAS DETERIORATING OVER TIME, THEY WANTED YOU TO

09:23AM    4       MAKE NOTE OF THAT; RIGHT?

09:23AM    5       A.    CAN I READ IT REALLY QUICKLY?

09:23AM    6       Q.    DID YOUR SCREEN GO DARK?

09:23AM    7       A.    NO.

09:23AM    8       Q.    OH, YEAH, SURE.      READ IT.   PLEASE.

09:23AM    9                    THE CLERK:    IS YOURS ON, COUNSEL?

09:23AM   10             (PAUSE IN PROCEEDINGS.)

09:23AM   11                    MR. WADE:    IF WE MIGHT LOOK TO MAKE SURE THE JURORS

09:23AM   12       ARE ABLE TO SEE THE DOCUMENT?         I CAN'T, BUT I CAN WORK WITHOUT

09:23AM   13       IT.

09:23AM   14                    THE COURT:    IS THIS UP ON THE MONITOR?

09:23AM   15             I'M SEEING AFFIRMATIVE NODS.

09:23AM   16                    THE WITNESS:    OKAY.

09:24AM   17                    MR. WADE:    MS. KRATZMANN DID THE RELIABLE

09:24AM   18       TURN-OFF-AND-ON TRICK.

09:24AM   19             (PAUSE IN PROCEEDINGS.)

09:24AM   20       BY MR. WADE:

09:24AM   21       Q.    HAVE YOU HAD A CHANCE TO LOOK AT IT, MS. CHEUNG?

09:24AM   22       A.    YES.

09:24AM   23       Q.    AND DO YOU RECALL THIS WAS ASKING IF YOU SAW A

09:24AM   24       DETERIORATION IN THE PERFORMANCE OF THE DEVICE OR IMPRECISION

09:24AM   25       OR INACCURACY TO MAKE NOTE OF THAT AND PUT IT INTO THAT DRIVE?



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09:24AM    1       A.    SO THIS IS ACTUALLY SAYING THAT THEY TRACK THIS

09:24AM    2       INFORMATION.

09:24AM    3             SO THE SIV TEAM ESSENTIALLY TRACKS THE PERFORMANCE OF THE

09:24AM    4       DEVICES, AND THEY ARE CREATING A GRAPH TO ALLOW US TO KNOW IF

09:24AM    5       WE ARE HAVING AN ISSUE ON THE DEVICE SIDE OR ON THE CHEMISTRY

09:24AM    6       SIDE.

09:24AM    7             SO THEY WERE COLLECTING A WHOLE BUNCH OF QC DATA TO ALLOW

09:24AM    8       US TO KNOW WHETHER THERE WAS DETERIORATION OVER TIME IN THE

09:24AM    9       DEVICE PERFORMANCE.

09:24AM   10             SO WE DIDN'T ACTUALLY AGGREGATE THAT INFORMATION.        THE SIV

09:25AM   11       TEAM IS AGGREGATING THAT AND TELLING US THAT WE CAN LOOK OVER

09:25AM   12       IT IN THIS DOCUMENT THAT THEY PUT ON THE S DRIVE.

09:25AM   13       Q.    AND THAT TEAM WAS DOING A COMPLETELY SEPARATE PROCESS

09:25AM   14       INDEPENDENT OF YOU, BUT SHARING THOSE RESULTS WITH YOU SO THAT

09:25AM   15       YOU COULD ACCESS THEM IF YOU HAD QUESTIONS?

09:25AM   16       A.    EXACTLY.

09:25AM   17       Q.    AND PUT THEM IN A PLACE WHERE EVERYONE COULD SEE THEM?

09:25AM   18       A.    YES.

09:25AM   19       Q.    OKAY.   COULD I CALL YOUR ATTENTION TO EXHIBIT 9909 WHICH I

09:25AM   20       THINK IS IN YOUR BINDER AS WELL.

09:26AM   21       A.    YEAH, I HAVE IT, BUT THE BINDER -- I DIDN'T REALIZE IT WAS

09:26AM   22       UNCLASPED, SO GIVE ME ONE SECOND.

09:26AM   23             I'M GOING TO JUST SET THIS SEPARATELY HERE.      OKAY.

09:26AM   24       Q.    DO WHATEVER IS CONVENIENT FOR YOU.     WE CAN FIX IT LATER.

09:26AM   25       A.    ALL RIGHT.   EXCELLENT.



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09:26AM    1              YES, I SEE THE DOCUMENT.

09:26AM    2       Q.     AND WHAT IS THIS DOCUMENT?

09:26AM    3       A.     THIS IS A STANDARD QUALITY OPERATING PROCEDURE FOR THE

09:26AM    4       CLIA LABORATORY.

09:26AM    5       Q.     AND WHAT IS THE PURPOSE OF THE QUALITY OPERATING PROCEDURE

09:26AM    6       WITHIN THE CLIA LABORATORY?

09:26AM    7       A.     IN THIS CASE WHAT THEY'RE DOING IS CORRECTIVE AND

09:26AM    8       PREVENTATIVE ACTION.    SO IF YOU'RE SEEING AN ISSUE, TO BE ABLE

09:26AM    9       TO ESSENTIALLY RECORRECT FOR THE ISSUES OR THE ERRORS THAT YOU

09:26AM   10       SEE.

09:26AM   11       Q.     OKAY.   THERE'S A RECOGNITION THAT SOME ERRORS WOULD

09:26AM   12       HAPPEN?

09:26AM   13       A.     YEAH.

09:26AM   14       Q.     AND THAT THIS SET THE POLICY FOR HOW TO DEAL WITH THOSE

09:27AM   15       ERRORS?

09:27AM   16       A.     YES.

09:27AM   17       Q.     OKAY.   AND IS THIS A DOCUMENT THAT YOU REFERRED TO WHILE

09:27AM   18       YOU WERE AT THE COMPANY?

09:27AM   19       A.     I HAD NEVER SEEN THIS DOCUMENT.

09:27AM   20       Q.     OH, YOU HAD NOT SEEN THIS DOCUMENT?

09:27AM   21       A.     NO.

09:27AM   22       Q.     OKAY.   DO YOU RECOGNIZE THAT THE DOCUMENT WAS ONE THAT WAS

09:27AM   23       KEPT AS A MATTER OF RECORD IN THE CLIA LAB BASED ON THE FORMAT

09:27AM   24       AND THE LOGGING OF THE DOCUMENT?

09:27AM   25       A.     YES.



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09:27AM    1                     MR. WADE:    I'D MOVE THE ADMISSION OF EXHIBIT 9909.

09:27AM    2                     MR. BOSTIC:    YOUR HONOR, OBJECTION UNDER 602 AND

09:27AM    3       901.

09:27AM    4                     THE COURT:    OVERRULED.   IT'S ADMITTED.   IT'S

09:27AM    5       ADMITTED.

09:27AM    6              (DEFENDANT'S EXHIBIT 9909 WAS RECEIVED IN EVIDENCE.)

09:27AM    7                     MR. WADE:    THANK YOU, YOUR HONOR.

09:27AM    8              CAN WE PUBLISH?

09:27AM    9                     THE COURT:    YES.

09:28AM   10       BY MR. WADE:

09:28AM   11       Q.     IS THAT DOCUMENT IN FRONT OF YOU, MS. CHEUNG?       I'M NOT

09:28AM   12       ALWAYS SEEING WHAT YOU'RE SEEING.

09:28AM   13       A.     YEAH, IT IS.

09:28AM   14       Q.     AND JUST FOCUSSING YOU ON THE TITLE PAGE OF THIS DOCUMENT,

09:28AM   15       THIS WAS, LIKE SIMILAR POLICIES THAT YOU WERE LOOKING AT

09:28AM   16       WEDNESDAY, ONE THAT WAS PREPARED AND RATIFIED BY THE LAB

09:28AM   17       DIRECTOR AT THERANOS?

09:28AM   18       A.     YES.

09:28AM   19       Q.     AND IF WE CAN GO TO PAGE 3 OF 8 OF THE DOCUMENT, WHICH IS

09:28AM   20       THE BATES RANGE ENDING 99.

09:28AM   21              DO YOU SEE THAT?

09:28AM   22       A.     YES.

09:28AM   23       Q.     AND DO YOU SEE THAT THIS IS THE PURPOSE SECTION OF THE

09:28AM   24       DOCUMENT THAT SETS FORTH A CORRECTIVE ACTION PROGRAM?            IS THIS

09:29AM   25       WHAT YOU WERE REFERRING TO IN YOUR TESTIMONY A MINUTE AGO?



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09:29AM    1       A.    OH, JUST RIGHT PRIOR?

09:29AM    2       Q.    YES.

09:29AM    3       A.    YES.

09:29AM    4       Q.    AND IF WE CAN GO TO PAGE 4 AND LOOK AT PARAGRAPH 4, DO YOU

09:29AM    5       SEE THAT SETS FORTH THE RESPONSIBILITIES OF DIFFERENT PEOPLE

09:29AM    6       WITH RESPECT TO THAT?

09:29AM    7       A.    YES.

09:29AM    8       Q.    AND WHO ARE THE PEOPLE RESPONSIBLE FOR THE PREVENTATIVE

09:29AM    9       AND CORRECTIVE ACT?

09:29AM   10       A.    IT IS THE RESPONSIBILITY OF THE QUALITY MANAGER, LAB

09:29AM   11       DIRECTOR IN ORDER TO UNCOVER NONCONFORMANCES DURING INTERNAL

09:29AM   12       AUDITS.

09:30AM   13       Q.    IF WE CAN LOOK AT PAGE 5.    DO YOU SEE ON THAT PAGE IT SETS

09:30AM   14       FORTH KIND OF A DETAILED PRACTICE AS TO HOW YOU'RE SUPPOSED TO

09:30AM   15       GO ABOUT IMPLEMENTING THIS?

09:30AM   16       A.    YES.

09:30AM   17       Q.    AND DOES THAT CONTINUE TO PAGE 6?

09:30AM   18       A.    YES.

09:30AM   19       Q.    AND THEN IF WE CAN TURN TO PAGE 7, THAT TALKS ABOUT THE

09:30AM   20       RECORDS THAT ARE SUPPOSED TO BE MAINTAINED BY THE LAB DIRECTOR

09:30AM   21       AND QUALITY MANAGER DOCUMENTING THOSE INCIDENTS?

09:30AM   22       A.    YES.

09:30AM   23       Q.    I DON'T HAVE ANYTHING FURTHER ON THIS DOCUMENT.

09:31AM   24             IF WE CAN BRING UP -- WELL, MAYBE WE DON'T NEED THE

09:31AM   25       DOCUMENT RIGHT NOW.



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09:31AM    1              DO YOU RECALL SOME TESTIMONY, IT WAS EITHER TUESDAY OR

09:31AM    2       WEDNESDAY, ABOUT A VITAMIN D QC FAILURE THAT HAPPENED ON THE

09:31AM    3       THANKSGIVING WEEKEND?

09:31AM    4              DO YOU RECALL THAT?

09:31AM    5       A.     YES.

09:31AM    6       Q.     AND YOU TALKED ABOUT THE NORMANDY 911 EMAIL GROUP THAT WAS

09:31AM    7       CREATED?

09:31AM    8       A.     YES.

09:31AM    9       Q.     AND I WOULD LIKE TO TALK TO YOU A LITTLE BIT ABOUT THAT.

09:32AM   10              FIRST, I'D LIKE TO SET FORTH THE POLICY ON THE NORMANDY

09:32AM   11       911.    IF WE CAN LOOK AT -- DO YOU HAVE 10479 IN YOUR BOOK?

09:32AM   12       A.     YES, I HAVE IT.

09:32AM   13       Q.     AND WHAT IS THIS DOCUMENT?

09:32AM   14       A.     THIS IS AN EMAIL SENT BY SHARADA SIVARAMAN ESSENTIALLY

09:32AM   15       TELLING US THAT IF WE HAVE ANY ISSUES IN THE NORMANDY LAB WITH

09:32AM   16       ANY OF THE WALGREENS SAMPLES, THAT WE SHOULD CONTACT NORMANDY

09:32AM   17       911.

09:32AM   18       Q.     AND THIS WAS ACTUALLY THE ESTABLISHMENT OF THAT POLICY

09:32AM   19       WITHIN THE LAB?

09:32AM   20       A.     YES.

09:32AM   21       Q.     OR AT LEAST THE COMMUNICATION OF IT TO SOME FOLKS?

09:32AM   22       A.     IT WAS THE COMMUNICATION, YES.

09:32AM   23       Q.     AND WAS THIS AN EMAIL THAT YOU RECEIVED AT THE TIME THAT

09:33AM   24       YOU WERE AT THE COMPANY?

09:33AM   25       A.     YES.



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09:33AM    1       Q.     AND THIS WAS DOCUMENTING A POLICY?

09:33AM    2       A.     IN A POLICY?

09:33AM    3       Q.     THIS WAS DOCUMENTING A PRACTICE OF THE LAB?

09:33AM    4       A.     YES.

09:33AM    5       Q.     AND IS THIS EMAIL OF THE KIND THAT YOU WERE REFERRING TO

09:33AM    6       WITH MR. BOSTIC YESTERDAY?

09:33AM    7       A.     YES.

09:33AM    8                      MR. WADE:    I'D MOVE THE ADMISSION OF 10479.

09:33AM    9                      MR. BOSTIC:    NO OBJECTION, YOUR HONOR.

09:33AM   10                      THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:33AM   11              (DEFENDANT'S EXHIBIT 10479 WAS RECEIVED IN EVIDENCE.)

09:33AM   12       BY MR. WADE:

09:33AM   13       Q.     NOW THAT WE CAN SEE THE DOCUMENT, DR. SIVARAMAN IS SENDING

09:33AM   14       THIS.    I THINK THERE MAY BE A COUPLE OF NEW NAMES ON THIS

09:33AM   15       DOCUMENT.

09:33AM   16              DARREN CRANDALL.       WHO IS DARREN CRANDALL?

09:33AM   17       A.     DARREN CRANDALL WAS ONE OF THE LAB ASSOCIATES AS WELL, BUT

09:34AM   18       HE HAD ABOUT ONE TO TWO YEARS EXPERIENCE AND HE WAS PART OF THE

09:34AM   19       ELISA TEAM.

09:34AM   20       Q.     OKAY.    AND CAN YOU IDENTIFY THE OTHER FOLKS WHO GOT THE

09:34AM   21       DOCUMENT HERE?

09:34AM   22       A.     AURELIE SOUPPE WAS ALSO A LAB ASSOCIATE WITHIN THE ELISA

09:34AM   23       TEAM AND SHE ALSO ENDED UP BEING INTEGRATED INTO THE CLINICAL

09:34AM   24       LAB.

09:34AM   25              MYSELF.



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09:34AM    1             ROMINA RIENER, WHO ALSO WAS A LAB ASSOCIATE, AND SHE ALSO

09:34AM    2       GOT INTEGRATED INTO THE CLINICAL LAB.

09:34AM    3             ANDREW KIM, HE HAD WORKED AT THERANOS MAYBE ONE TO THREE

09:34AM    4       YEARS, AND HE WAS ALSO A LAB ASSOCIATE AND STAYED AND WORKED IN

09:34AM    5       ELISA IN THE RESEARCH AND DEVELOPMENT LAB.

09:34AM    6             JAMIE LIU, WHO WAS ALSO A LAB ASSOCIATE AND GOT HIRED

09:34AM    7       AROUND THE TIME THAT I DID, SHE WAS ON THE ELISA TEAM AND THEN

09:35AM    8       GOT INTEGRATED INTO THE CLINICAL LAB AS WELL.

09:35AM    9             AND THEN UYEN DO, WHO WAS A LAB ASSOCIATE AS WELL, SHE HAD

09:35AM   10       MAYBE ONE TO TWO YEARS EXPERIENCE AT THERANOS AND IN THE ELISA

09:35AM   11       RESEARCH AND DEVELOPMENT LAB.

09:35AM   12       Q.    OKAY.   AND IF WE LOOK JUST AT THE BODY OF THE EMAIL, THIS

09:35AM   13       SET FORTH THAT PRACTICE OF SENDING THE EMAIL IF SOMETHING COMES

09:35AM   14       UP?

09:35AM   15       A.    YES.

09:35AM   16       Q.    AND WAS PART OF THAT A CONCERN THAT ON A HOLIDAY WEEKEND

09:35AM   17       OR SOMETHING OF THAT NATURE, IT MAY BE HARD TO REACH PEOPLE?

09:35AM   18       A.    YES.

09:35AM   19       Q.    AND SO YOU WANTED TO MAKE SURE THAT YOU COULD SEND IT OUT

09:35AM   20       TO A BROAD GROUP SO ANYONE COULD HELP WITH THE PROBLEM?

09:35AM   21       A.    YES.

09:35AM   22       Q.    IF WE CAN BRING UP 1287, WHICH I BELIEVE IS IN EVIDENCE.

09:36AM   23       IF WE CAN FOCUS IN ON THE SECOND PAGE, AND THE EMAIL IN THE

09:36AM   24       MIDDLE.

09:36AM   25             AND CAN YOU SEE THAT?



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09:36AM    1       A.    YES.

09:36AM    2       Q.    AND I APOLOGIZE TO KEEP ASKING, BUT MY SCREEN IS

09:36AM    3       FLICKERING A LITTLE BIT.        I JUST WANT TO MAKE SURE THAT YOU CAN

09:36AM    4       SEE IT.   I HAVE A COPY.

09:36AM    5       A.    OF COURSE.

09:36AM    6       Q.    OKAY.    AND THIS EMAIL WAS BASICALLY YOU FOLLOWING THAT

09:36AM    7       POLICY; IS THAT RIGHT?

09:36AM    8       A.    YES.

09:36AM    9       Q.    OKAY.    AND SO YOU RAISED IT SO THAT WHOEVER WAS AROUND

09:37AM   10       COULD HELP YOU ADDRESS IT?

09:37AM   11       A.    YES.

09:37AM   12       Q.    OKAY.    AND IF WE CAN BRING UP 1287, BUT NOT PUBLISH,

09:37AM   13       PLEASE.

09:37AM   14                     THE COURT:    I'M SORRY, WHAT NUMBER?

09:37AM   15                     MR. WADE:    1287 -- I'M SORRY, 1288.

09:37AM   16       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

09:37AM   17       A.    THIS IS IN THE BINDER.

09:37AM   18                     THE CLERK:    I WANT TO MAKE SURE THAT EVERYONE'S

09:38AM   19       MONITORS ARE OFF?

09:38AM   20                     JUROR:   THEY'RE OFF.

09:38AM   21                     THE WITNESS:    1288.

09:38AM   22                     MR. WADE:    COULD WE PAUSE FOR MAYBE 30 SECONDS,

09:38AM   23       YOUR HONOR, AND JUST TEND TO THE SCREENS?         I THINK WE'RE HAVING

09:38AM   24       SCREEN DIFFICULTIES.        I DON'T KNOW IF THE COURT IS.

09:38AM   25                     THE COURT:    SURE.    TAKE CARE OF YOUR SCREENS ON THE



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09:38AM    1       TABLES.

09:38AM    2                     THE CLERK:    IT'S OKAY BECAUSE THE MONITORS SHOULD BE

09:38AM    3       OFF NOW.     JUST THE WITNESS WILL SHOW.

09:38AM    4                     MR. WADE:    YEAH.     OKAY.

09:38AM    5       Q.    CAN YOU SEE 1288?

09:38AM    6       A.    IT'S A LOOSE DOCUMENT, 12 --

09:38AM    7       Q.    IT MIGHT BE ON YOUR SCREEN NOW.

09:38AM    8       A.    OH, YES.

09:38AM    9       Q.    AND IS THIS A DIFFERENT VERSION OF THAT SAME CHAIN.          IF

09:38AM   10       YOU SCROLL DOWN, WE CAN SHOW YOU THE SECOND PAGE?

09:38AM   11       A.    NO, IT'S THE SAME VERSION.

09:38AM   12       Q.    OKAY.    LET'S GO TO THE FIRST PAGE.

09:38AM   13             AND IS THAT A SLIGHTLY DIFFERENT CHAIN FROM 1287?

09:39AM   14       A.    YES.

09:39AM   15       Q.    OKAY.

09:39AM   16             I'D MOVE THE ADMISSION OF 1288.

09:39AM   17                     THE COURT:    88?

09:39AM   18                     MR. BOSTIC:    YOUR HONOR, THIS VERSION CONTAINS SOME

09:39AM   19       NEW CONTENT.     JUST FOR CLARIFICATION, IS DEFENSE COUNSEL

09:39AM   20       VIEWING THAT CONTENT AS A BUSINESS RECORD?

09:39AM   21                     MR. WADE:    WE ADMITTED ESSENTIALLY THE SAME DOCUMENT

09:39AM   22       THAT THE WITNESS WAS NOT ON YESTERDAY, I JUST WANT TO BE

09:39AM   23       COMPLETE ABOUT THIS, AN EMAIL CHAIN UP ON TOP AND THERE WAS A

09:39AM   24       SLIGHTLY DIFFERENT --

09:39AM   25                     THE COURT:    WAS THAT 87?



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09:39AM    1                     MR. WADE:    THAT WAS 87.

09:39AM    2                     THE COURT:    RIGHT.

09:39AM    3                     MR. BOSTIC:    YOUR HONOR, IF THE NEW CONTENT THAT IS

09:39AM    4       COMING IN WITH THIS EXHIBIT IS BEING MOVED IN UNDER THE

09:39AM    5       BUSINESS RECORDS EXCEPTION, THEN THE GOVERNMENT HAS NO

09:39AM    6       OBJECTION.

09:39AM    7                     THE COURT:    I THINK THAT'S WHAT YOU'RE --

09:39AM    8                     MR. WADE:    THAT'S WHAT I WAS SUGGESTING, YES.

09:39AM    9                     THE COURT:    ALL RIGHT.    THANK YOU.   IT'S ADMITTED.

09:39AM   10       IT MAY NOW BE PUBLISHED.       THANK YOU.

09:39AM   11             (GOVERNMENT'S EXHIBIT 1288 WAS RECEIVED IN EVIDENCE.)

09:39AM   12                     THE CLERK:    COUNSEL, YOU CAN TURN YOUR MONITORS BACK

09:39AM   13       ON.

09:40AM   14       BY MR. WADE:

09:40AM   15       Q.    OKAY.    DO YOU SEE UP AT THE TOP THERE THERE'S AN EMAIL

09:40AM   16       FROM DANIEL YOUNG -- THERE'S AN EMAIL FROM DANIEL YOUNG ON

09:40AM   17       NOVEMBER 30TH, 2013, AT 11:17 A.M., THE BOTTOM EMAIL ON THE

09:40AM   18       SCREEN.

09:40AM   19             DO YOU SEE THAT?

09:40AM   20       A.    YES.

09:40AM   21       Q.    AND HE WAS EXPLAINING THAT ONE OF THE QC RUNS PASSED

09:40AM   22       (AFTER THE SOP WAS FOLLOWED APPROPRIATELY)?

09:40AM   23       A.    YES.

09:40AM   24       Q.    AND DID YOU THINK THE SOP WAS FOLLOWED APPROPRIATELY?

09:40AM   25       A.    IN TERMS OF THE OUTLIER DELETION?



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09:40AM    1       Q.    JUST IN TERMS OF WHETHER THE SOP WAS FOLLOWED?

09:40AM    2       A.    NO.

09:41AM    3       Q.    YOU DIDN'T -- YOU DISAGREED WITH MR. YOUNG?

09:41AM    4       A.    I DISAGREED WITH MR. YOUNG.

09:41AM    5       Q.    OKAY.    DO YOU KNOW WHETHER THERE WAS ANY RETRAINING ON THE

09:41AM    6       SOP AFTER THIS?

09:41AM    7       A.    THE RESEARCH AND DEVELOPMENT ASSOCIATE FOR UYEN DO?

09:41AM    8       Q.    JUST WITH RESPECT TO -- YEAH, WITH RESPECT TO WHETHER IT

09:41AM    9       WAS MR. DO OR WHOEVER IT WAS THAT FAILED TO FOLLOW THE QC

09:41AM   10       POLICY, DO YOU KNOW WHETHER THERE WAS ANY RETRAINING THAT

09:41AM   11       HAPPENED AS A RESULT OF THAT?

09:41AM   12       A.    I WOULDN'T KNOW FOR UYEN DO.

09:41AM   13             BUT IN OUR CASE NO.         WE -- WELL, NO.

09:42AM   14       Q.    OKAY.    I DON'T HAVE ANYTHING MORE ON THIS DOCUMENT.

09:42AM   15             IF WE CAN PUT UP EXHIBIT 1512, WHICH IS IN EVIDENCE.

09:42AM   16                     THE CLERK:    1512?

09:42AM   17                     MR. WADE:    YES.

09:42AM   18       Q.    IF I COULD DRAW YOU TO THE TOP OF THE SECOND PAGE.       THIS

09:42AM   19       WAS THE FEBRUARY 2014 HEPATITIS C INCIDENT?

09:42AM   20       A.    YES.

09:42AM   21       Q.    AND THIS WAS THE FIRST TIME WHERE THERANOS WAS ACTUALLY

09:42AM   22       GOING TO RUN THIS PARTICULAR ASSAY IN THE LAB; RIGHT?

09:42AM   23       A.    FOR A PATIENT, YES.

09:42AM   24       Q.    AND IF I CAN DIRECT YOU TO THIS EMAIL, DO YOU SEE FROM

09:43AM   25       MR. ROSENDORFF, AND HE SAYS, "SOP AND VALIDATION HAS BEEN



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09:43AM    1       WRITTEN, AND APPROVED."

09:43AM    2              AND THEN THERE'S DISCUSSION ABOUT GETTING SOME CARTRIDGES

09:43AM    3       READY.

09:43AM    4              DO YOU SEE THAT?

09:43AM    5       A.     YES.

09:43AM    6       Q.     AND THEN IF WE CAN GO TO THE BOTTOM OF THE FIRST PAGE,

09:43AM    7       THIS IS AT 6:29 P.M.

09:43AM    8              DO YOU SEE THAT?

09:43AM    9       A.     YES.

09:43AM   10       Q.     AND DR. SAKSENA ACTUALLY EXPRESSED SOME CONCERNS ABOUT THE

09:43AM   11       REAGENTS; CORRECT?

09:43AM   12       A.     IT SAYS THAT THERE WAS A CONCERN EXPRESSED TO ME.      SO I

09:43AM   13       HAD TALKED TO SURAJ ABOUT MY CONCERNS ABOUT THE STABILITY OF

09:43AM   14       THE REAGENTS WITH THE CAPSYS, C-A-P-S-Y-S, CARTRIDGES.

09:44AM   15       Q.     OKAY.   SO YOU HAD EXPRESSED CONCERNS TO DR. SAKSENA?

09:44AM   16       A.     YEAH.

09:44AM   17       Q.     AND HE RAISED THOSE CONCERNS UP TO THE WHOLE GROUP AT

09:44AM   18       6:29?

09:44AM   19       A.     YES.

09:44AM   20       Q.     AND THERE WAS DISCUSSION ABOUT, WELL, LET'S RUN THE

09:44AM   21       CONTROLS AND SEE WHAT HAPPENS; RIGHT?

09:44AM   22       A.     YES.

09:44AM   23       Q.     AND YOU EXPRESSED CONCERN ABOUT RUNNING THE TEST IN THE

09:44AM   24       LAB.    YOU WERE HAPPY TO RUN THE CONTROLS BECAUSE THAT'S NOT

09:44AM   25       PATIENT BLOOD; RIGHT?



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09:44AM    1       A.    YES.

09:44AM    2       Q.    BUT YOU DIDN'T WANT TO RUN THAT TEST IN THE LAB?

09:44AM    3       A.    NO.

09:44AM    4       Q.    AND THEY DIDN'T RUN THE TEST IN THE LAB; RIGHT?

09:44AM    5       A.    THEY DIDN'T RUN IT ON THE EDISON.     IT WAS RUN ON THE

09:44AM    6       ORAQUICK.

09:44AM    7       Q.    RIGHT.   YOU HAD EXPRESSED CONCERNS ABOUT RUNNING IT ON THE

09:44AM    8       EDISON?

09:44AM    9       A.    YES.

09:44AM   10       Q.    AND THEY DIDN'T RUN IT ON THE EDISON?

09:44AM   11       A.    NO.

09:44AM   12       Q.    AND, IN FACT, THEY NEVER RAN THE HEPATITIS C ASSAY ON THE

09:45AM   13       EDISON?

09:45AM   14       A.    NO.

09:45AM   15       Q.    EVER WHILE YOU WERE AT THE COMPANY?

09:45AM   16       A.    WHILE I WAS AT THE COMPANY.

09:45AM   17       Q.    I DON'T HAVE ANY MORE QUESTIONS ON THAT DOCUMENT.

09:45AM   18             THERE WERE, THERE WERE A COUPLE OF QUESTIONS THAT YOU WERE

09:45AM   19       ASKED THE OTHER DAY ABOUT A LETTER THAT YOU RECEIVED FROM A

09:45AM   20       LAWYER FOR THERANOS.

09:45AM   21             DO YOU RECALL THAT?

09:45AM   22       A.    YES.

09:45AM   23       Q.    OKAY.    I JUST WANTED TO ASK A COUPLE OF QUESTIONS ON

09:45AM   24       TIMING RELATING TO THAT.

09:45AM   25       A.    OKAY.



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09:45AM    1       Q.    OKAY.   YOU TALKED ABOUT SOME DISCUSSIONS THAT YOU HAD WITH

09:45AM    2       A "WALL STREET JOURNAL" REPORTER.

09:45AM    3             DO YOU RECALL THAT?

09:45AM    4       A.    YES.

09:45AM    5       Q.    AND I JUST WANT TO GET A DATE ON THAT.        THAT HAPPENED IN

09:45AM    6       MAYBE ABOUT MAY OF 2015?

09:45AM    7       A.    I BELIEVE IT WAS LATE MAY OR EARLY JUNE.

09:46AM    8       Q.    OKAY.   LATE MAY OR EARLY JUNE THAT YOU HAD THOSE

09:46AM    9       CONVERSATIONS OR STARTED HAVING THOSE CONVERSATIONS?

09:46AM   10       A.    I BELIEVE IT WAS -- GIVE ME ONE SECOND.       I BELIEVE IT WAS

09:46AM   11       LATE MAY.

09:46AM   12       Q.    OKAY.   AND DO YOU RECALL IN THE SUMMER OF 2015 THAT THE HR

09:46AM   13       DIRECTOR FROM THERANOS ACTUALLY TRIED TO CALL YOU AND LEFT A

09:46AM   14       MESSAGE.

09:46AM   15             DO YOU RECALL THAT?

09:46AM   16       A.    YES.

09:46AM   17       Q.    AND YOU DIDN'T RETURN THE CALL; RIGHT?

09:46AM   18       A.    NO.

09:46AM   19       Q.    AND SHE CALLED YOU AGAIN MAYBE A COUPLE WEEKS LATER?

09:46AM   20       A.    YES.

09:46AM   21       Q.    AND YOU DIDN'T RETURN THAT CALL?

09:46AM   22       A.    NO.

09:46AM   23       Q.    AND BOTH OF THOSE CALLS WERE BEFORE THE LETTER CAME;

09:46AM   24       RIGHT?

09:46AM   25       A.    YES.



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09:46AM    1       Q.    YOU TESTIMONY THAT YOU HAD YESTERDAY ABOUT SOME OF THE

09:47AM    2       WORK ON THE ASSAYS IN THE R&D SIDE OF THE HOUSE, DO YOU RECALL

09:47AM    3       SOME OF THAT TESTIMONY?

09:47AM    4       A.    YES.

09:47AM    5       Q.    AND WE TALKED ABOUT HOW FINGERSTICK ASSAYS WERE BEING

09:47AM    6       DEVELOPED THERE?

09:47AM    7       A.    YES.

09:47AM    8       Q.    AND I THINK YOU WEREN'T SURE ABOUT THE NUMBER OF ASSAYS,

09:47AM    9       BUT YOU THOUGHT ABOUT 12?

09:47AM   10       A.    IN THE RESEARCH AND DEVELOPMENT LAB?

09:47AM   11       Q.    YES.

09:47AM   12       A.    YES.

09:47AM   13       Q.    AND YOU THOUGHT ABOUT 12 ASSAYS TOTAL HAD BEEN COMPLETE.

09:47AM   14             AND I KNOW YOU'RE NOT SURE ON THE NUMBER, BUT DO YOU

09:47AM   15       RECALL WHICH ASSAYS HAD BEEN COMPLETED ON THE RESEARCH AND

09:47AM   16       DEVELOPMENT SIDE?

09:47AM   17       A.    WOULD HAVE BEEN COMPLETED?

09:47AM   18       Q.    YEAH.

09:47AM   19       A.    DO YOU WANT THE NUMBER OR NAMES?

09:47AM   20       Q.    WELL, I THINK YOU SAID ABOUT 12; IS THAT RIGHT?

09:47AM   21       A.    YES.

09:47AM   22       Q.    AND DO YOU RECALL THE NAMES?

09:48AM   23       A.    SO VITAMIN D, TPSA, FT4, TSH, TT3, TT4, TOTAL

09:48AM   24       TESTOSTERONE, TROPONIN, HEPATITIS C, HCG, FSH.       AND I BELIEVE

09:48AM   25       THAT'S IT, BUT I COULD BE MISSING ONE OR TWO.



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09:48AM    1       Q.    OKAY.   THANK YOU.

09:48AM    2             I WANT TO SHIFT TO SOME OF YOUR TESTIMONY ABOUT OUTLIERS.

09:48AM    3             DO YOU RECALL THAT?

09:48AM    4       A.    YES.

09:48AM    5       Q.    AND I WAS JUST WONDERING, DURING YOUR TIME AT THERANOS,

09:48AM    6       YOU WERE AWARE OF ANY INDUSTRY STANDARDS WITH RESPECT TO

09:48AM    7       OUTLIER REMOVAL?

09:48AM    8       A.    INDUSTRY STANDARDS?

09:48AM    9       Q.    YEAH.

09:48AM   10       A.    IN TERMS OF OUTLIER REMOVAL?

09:49AM   11       Q.    YEAH.

09:49AM   12       A.    NO.

09:49AM   13       Q.    OKAY.

09:49AM   14       A.    EXCEPT FOR IN THERANOS WE USED SOMETHING CALLED WESTGARD

09:49AM   15       RULES.

09:49AM   16       Q.    OKAY.

09:49AM   17       A.    BUT THAT WAS MORE ON THE QUALITY CONTROL SIDE OF WHAT

09:49AM   18       WOULD BE CONSIDERED AN OUTLIER FOR QC'S.

09:49AM   19       Q.    AND WESTGARD ARE QUALITY CONTROL RULES THAT WERE

09:49AM   20       INCORPORATED INTO THE QC POLICY?

09:49AM   21       A.    YES.

09:49AM   22       Q.    THAT THE COMPANY HAD?

09:49AM   23       A.    YES.

09:49AM   24       Q.    OKAY.   BUT WITH RESPECT TO OUTLIER REMOVAL SPECIFICALLY,

09:49AM   25       YOU DON'T RECALL ANY -- LEARNING OF ANY INDUSTRY STANDARDS?



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09:49AM    1       A.    NO.

09:49AM    2       Q.    OKAY.    AND WITH RESPECT TO THOSE ISSUES, BASED ON OUR --

09:49AM    3       BASED ON YOUR TESTIMONY ON WEDNESDAY, IS IT FAIR TO SAY THAT

09:49AM    4       THE IMPLEMENTATION OF POLICIES RELATING TO THESE ISSUES WOULD

09:49AM    5       HAVE BEEN THE RESPONSIBILITY OF DR. ROSENDORFF?

09:49AM    6       A.    THE IMPLEMENTATION OF AN OUTLIER POLICY?

09:49AM    7       Q.    OUTLIER AND QC POLICIES.

09:49AM    8       A.    I JUST ASSUMED IT WAS OF THE CLINICAL LAB, THAT IT WAS THE

09:49AM    9       RESPONSIBILITY OF THERANOS'S CLINICAL LAB TO IMPLEMENT THOSE

09:50AM   10       POLICIES.

09:50AM   11       Q.    RIGHT.   DO YOU RECALL WE LOOKED AT THE PERSON WHO WAS

09:50AM   12       RESPONSIBLE FOR THE IMPLEMENTATION OF THAT, THAT WAS THE LAB

09:50AM   13       DIRECTOR?

09:50AM   14       A.    AND THE QUALITY CONTROL MANAGER, YES.

09:50AM   15       Q.    YEAH.

09:50AM   16             IF I CAN BRING UP 1431, WHICH I THINK IS IN EVIDENCE, AND

09:50AM   17       JUST DIRECT YOU TO THE BOTTOM OF THE THIRD PAGE.

09:50AM   18       A.    CAN YOU GIVE ME THAT NUMBER AGAIN?     I'M SORRY.

09:50AM   19       Q.    SURE.    IT'S 1431.   AND WE CAN BRING IT UP ON THE SCREEN.

09:50AM   20       IT'S IN EVIDENCE.

09:50AM   21       A.    OKAY.

09:50AM   22       Q.    DO YOU SEE THIS EMAIL OF JANUARY 16TH, 2014?      DO YOU SEE

09:50AM   23       THAT?

09:50AM   24       A.    YES.

09:50AM   25       Q.    AND THAT WAS -- THAT'S DR. SIVARAMAN SENT THAT EMAIL?



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09:51AM    1       A.    YES.

09:51AM    2       Q.    AND SHE WAS THE PERSON IN CHARGE OF ALL OF THE ELISA

09:51AM    3       ASSAYS WITHIN R&D?

09:51AM    4       A.    AT THAT TIME, YES.

09:51AM    5       Q.    OKAY.   AND DO YOU SEE IN THAT SECOND PARAGRAPH WHERE IT

09:51AM    6       SAYS, "SINCE WE ARE ALLOWED TO REMOVE 2 DATA POINTS FROM 6

09:51AM    7       (1 CARTRIDGE OUT OF 3)."

09:51AM    8             DO YOU SEE THAT?

09:51AM    9       A.    YES.

09:51AM   10       Q.    AND SHE'S WRITING THIS TO DR. ROSENDORFF?

09:51AM   11       A.    YES.

09:51AM   12       Q.    OKAY.   AND IF I COULD DIRECT YOU TO THE TOP OF THE THIRD

09:51AM   13       PAGE.

09:51AM   14             AND DO YOU SEE IN THE SECOND PARAGRAPH MR. ROSENDORFF IS

09:51AM   15       TALKING ABOUT THE CREATION OF A PROTOCOL?

09:51AM   16       A.    YES.

09:51AM   17       Q.    AND THAT WOULD HAVE BEEN HIS RESPONSIBILITY TO FORMALIZE

09:52AM   18       THAT?

09:52AM   19       A.    YES.

09:52AM   20       Q.    AND HE WAS WORKING WITH DR. SIVARAMAN TO DO THAT?

09:52AM   21       A.    I WOULDN'T KNOW THAT.

09:52AM   22       Q.    DOES LOOKING AT THE EMAIL REFRESH YOU AT ALL?

09:52AM   23       A.    NO.

09:52AM   24       Q.    OKAY.   AND DO YOU RECALL YOU WERE ASKED A FEW QUESTIONS

09:52AM   25       ABOUT AN EMAIL THAT YOU WEREN'T ON BETWEEN MR. SHULTZ AND



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09:52AM    1       MS. HOLMES?

09:52AM    2       A.    YES.

09:52AM    3       Q.    AND THAT WAS EXHIBIT 1660.      IF WE CAN PULL THAT UP.

09:52AM    4             AND I JUST WANT TO ASK A COUPLE OF POINTS OF CLARIFICATION

09:52AM    5       ON THAT.

09:52AM    6       A.    OKAY.

09:52AM    7       Q.    IF WE CAN PULL THAT UP AND GO TO THE LAST EMAIL IN THE

09:52AM    8       BOTTOM.

09:53AM    9                     THE CLERK:    THIS IS IN EVIDENCE, COUNSEL?

09:53AM   10                     MR. WADE:    IT IS IN EVIDENCE.

09:53AM   11                     THE COURT:    I THINK THIS WAS ADMITTED FOR A LIMITED

09:53AM   12       PURPOSE.

09:53AM   13                     MR. WADE:    THANK YOU, YOUR HONOR.

09:53AM   14       Q.    AND IF WE -- DO YOU SEE THAT EMAIL AT THE BOTTOM FROM

09:53AM   15       MR. SHULTZ TO MS. HOLMES?

09:53AM   16       A.    YES.

09:53AM   17       Q.    AND THAT'S AT 3:24 P.M. ON APRIL 10TH?

09:53AM   18       A.    YEP.

09:53AM   19       Q.    OKAY.    AND THE SUBJECT THERE IS FOLLOW UP TO A PREVIOUS

09:53AM   20       DISCUSSION?

09:53AM   21       A.    YES.

09:53AM   22       Q.    AND THIS REFERENCES THE FACT THAT MR. SHULTZ AND

09:53AM   23       MS. HOLMES HAD HAD A PRIOR DISCUSSION ABOUT THAT?

09:53AM   24       A.    YES.

09:53AM   25       Q.    OKAY.    AND HE'S ASKING TO HAVE A MEETING JUST TO FOLLOW UP



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09:53AM    1       ON THAT?

09:53AM    2       A.    YES.

09:53AM    3       Q.    OKAY.   AND IF WE CAN GO TO THE NEXT EMAIL UP THE CHAIN,

09:53AM    4       WHICH I THINK IS MAYBE WITHIN THE HOUR OR ABOUT AN HOUR LATER.

09:54AM    5             DO YOU SEE THAT?

09:54AM    6       A.    YES.

09:54AM    7       Q.    SO MS. HOLMES RESPONDED WITHIN AN HOUR; RIGHT?

09:54AM    8       A.    YES.

09:54AM    9       Q.    AND SHE SAID SHE WAS TIED UP WITH GUESTS.

09:54AM   10             DO YOU SEE THAT?

09:54AM   11       A.    YES.

09:54AM   12       Q.    BUT SHE SPECIFICALLY ASKED TYLER TO WRITE EVERYTHING DOWN

09:54AM   13       THAT WAS OF CONCERN SO IT COULD BE ADDRESSED; RIGHT?

09:54AM   14       A.    YES.

09:54AM   15       Q.    AND THAT WAS WHAT PROMPTED THAT LENGTHY EMAIL THAT WE

09:54AM   16       LOOKED AT?

09:54AM   17       A.    YES.

09:54AM   18       Q.    OKAY.   AND IF WE CAN JUST GO TO THE TOP OF THAT LENGTHY

09:54AM   19       EMAIL AND JUST LOOK AT THE FIRST PARAGRAPH, THE FIRST EMAIL ON

09:54AM   20       THIS PAGE OF 1660.

09:54AM   21             AND DO YOU SEE THERE THAT IT SAYS, "IN MY MEETINGS WITH

09:54AM   22       DANIEL"?

09:55AM   23             DO YOU SEE THAT?

09:55AM   24       A.    YES.

09:55AM   25       Q.    AND DO YOU KNOW WHAT THAT REFERS TO?



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09:55AM    1       A.    TYLER HAD A MEETING WITH DANIEL YOUNG TO DISCUSS SOME OF

09:55AM    2       THESE ISSUES.

09:55AM    3       Q.    IT SAYS "MEETINGS" PLURAL.    DO YOU KNOW IF THERE WAS MORE

09:55AM    4       THAN ONE?

09:55AM    5       A.    I DON'T KNOW THAT.

09:55AM    6       Q.    BUT DO YOU THINK HE'S REFERRING TO DR. YOUNG THERE?

09:55AM    7       A.    YES.

09:55AM    8       Q.    I DON'T HAVE ANY MORE QUESTIONS ABOUT THIS.

09:55AM    9             I HAVE A COUPLE OF POINTS OF CLARIFICATION ON THE QC, THE

09:55AM   10       DAILY QC WITHIN THE CLIA LAB, THE PART THAT YOU WERE

09:55AM   11       RESPONSIBLE FOR, NOT THE HARDWARE PART.

09:55AM   12       A.    OKAY.

09:55AM   13       Q.    AND THAT WAS DONE PURSUANT TO CLIA REGULATIONS AND

09:55AM   14       POLICIES WITHIN THE LAB?

09:55AM   15       A.    YES.

09:55AM   16       Q.    AND DR. ROSENDORFF WAS ULTIMATELY RESPONSIBLE FOR THAT

09:55AM   17       PROGRAM?

09:55AM   18       A.    AGAIN, I THOUGHT IT WAS THE CLINICAL LAB, THE

09:55AM   19       RESPONSIBILITIES OF THE CLINICAL LAB, SO LANGLY GEE,

09:56AM   20       ADAM ROSENDORFF, MARK PANDORI, AND THE CLINICAL LAB SCIENTISTS.

09:56AM   21       Q.    THERE WERE A LOT OF PEOPLE WORKING ON THOSE ISSUES; RIGHT?

09:56AM   22       A.    YES.

09:56AM   23       Q.    AND ACTUALLY, DO YOU RECALL THAT THERE WAS ACTUALLY A

09:56AM   24       SPECIAL KIND OF COMMITTEE THAT WAS FORMED TO TRY TO WORK ON THE

09:56AM   25       ISSUES RELATING TO THAT?



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09:56AM    1       A.    IN THE CLINICAL LAB.

09:56AM    2       Q.    YEAH.

09:56AM    3       A.    I BELIEVE SO, BUT I CAN'T BE CERTAIN.

09:56AM    4       Q.    A SPECIAL GROUP OF PEOPLE THAT WAS FORMED TO TRY TO MAKE

09:56AM    5       IMPROVEMENTS TO THE PROCESSES AND PROCEDURES AND ADDRESS ISSUES

09:56AM    6       SO THAT THE COMPANY WAS IN A GOOD POSITION WHEN IT WENT FROM

09:56AM    7       JUST A FEW TESTS UP TO MANY MORE?

09:56AM    8       A.    YES.

09:56AM    9       Q.    DO YOU RECALL THAT?

09:56AM   10       A.    YES.

09:56AM   11       Q.    AND YOU PARTICIPATED IN THAT COMMITTEE; RIGHT?

09:56AM   12       A.    YES.

09:56AM   13       Q.    AND DO YOU RECALL WHO ELSE WAS INVOLVED IN THAT?

09:56AM   14       A.    NISHIT DOSHI, KATHRYN ROMMEL, CURTIS -- I FORGOT HIS LAST

09:56AM   15       NAME.   DANIEL YOUNG.    AND THOSE ARE THE ONLY PEOPLE THAT I CAN

09:57AM   16       REMEMBER AT THIS TIME.

09:57AM   17       Q.    DR. ROSENDORFF?

09:57AM   18       A.    I DON'T REMEMBER.

09:57AM   19       Q.    OKAY.   DR. PANDORI?

09:57AM   20       A.    I DON'T REMEMBER.

09:57AM   21       Q.    DR. SAKSENA?

09:57AM   22       A.    I DON'T REMEMBER.

09:57AM   23       Q.    THEY MAY HAVE, YOU JUST DON'T REMEMBER?

09:57AM   24       A.    YEAH, I JUST DON'T REMEMBER.

09:57AM   25       Q.    OKAY.   THAT'S FAIR.



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09:57AM    1             AND I JUST WANT TO CONFIRM THAT THE -- WHEN THERE'S A QC

09:57AM    2       FAILURE ON A MACHINE, THERE ARE NOT PATIENT SAMPLES THAT WENT

09:57AM    3       OUT ON THAT MACHINE WHEN YOU WERE RUNNING IT; RIGHT?

09:57AM    4       A.    WHEN THERE'S A QC FAILURE?

09:57AM    5       Q.    YEAH.

09:57AM    6       A.    IF THERE'S NO RESOLUTION FOR THE QC FAILURE, THEN, NO, IT

09:57AM    7       GETS RECALIBRATED.

09:57AM    8       Q.    AND IT STOPS AND, UNTIL THE MACHINE IS RIGHT, THERE ARE NO

09:57AM    9       PATIENT SAMPLES GOING OUT; RIGHT?

09:57AM   10       A.    CORRECT.

09:57AM   11       Q.    OKAY.   AND THERE WAS SOME TESTIMONY ON TUESDAY OR

09:58AM   12       WEDNESDAY THAT YOU GAVE ABOUT HOW THREE OF THE EDISON DEVICES

09:58AM   13       WERE RUNNING TWO SAMPLES EACH FOR A PATIENT.

09:58AM   14             DO YOU RECALL THAT?

09:58AM   15       A.    YES.

09:58AM   16       Q.    AND INEFFICIENCIES WITH RESPECT TO THAT PROCESS?

09:58AM   17       A.    YES.

09:58AM   18       Q.    DO YOU RECALL THAT?

09:58AM   19       A.    YES.

09:58AM   20       Q.    AND THERE WAS ACTUALLY AN EFFORT MADE LATER IN YOUR TIME

09:58AM   21       AT THE COMPANY TO TRY AND STREAMLINE THAT; RIGHT?

09:58AM   22       A.    YES.

09:58AM   23       Q.    OKAY.   AND JUST TELL US ABOUT THAT EFFORT.

09:58AM   24       A.    SO ESSENTIALLY INSTEAD OF USING THREE CARTRIDGES WITH

09:58AM   25       THREE SEPARATE MACHINES, BECAUSE THERE ARE TWO REACTION TIPS



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09:58AM    1       PER CARTRIDGE, THEY TRIED TO COMBINE THESE REACTION TIPS IN ONE

09:58AM    2       CARTRIDGE FOR ONE MACHINE.

09:58AM    3             SO YOU WOULD RUN ONE PATIENT WITH ONE TEST ON ONE

09:58AM    4       CARTRIDGE, BUT IT WOULD BE SIX TIPS OF THE SAME, SO LIKE SIX

09:58AM    5       TIPS OF VITAMIN D ON TO ONE EDISON DEVICE.

09:58AM    6       Q.    OKAY.   AND SO THE SIX WENT FROM RUNNING ACROSS THREE

09:59AM    7       MACHINES TO ONE MACHINE?

09:59AM    8       A.    EXACTLY.

09:59AM    9       Q.    OKAY.   AND THAT WAS AN IMPROVEMENT THAT WAS MADE OVER TIME

09:59AM   10       AS THE LAB HAD BEEN GOING?

09:59AM   11       A.    YES.

09:59AM   12       Q.    OKAY.   BUT THE EDISON MACHINE WAS STILL -- LET ME STRIKE

09:59AM   13       THAT.

09:59AM   14             DO YOU KNOW WHAT A LOW THROUGHPUT DEVICE IS?

09:59AM   15       A.    A LOW THROUGHPUT DEVICE?

09:59AM   16       Q.    YEAH.

09:59AM   17       A.    I DON'T REMEMBER AT THIS TIME.

09:59AM   18       Q.    OKAY.   THE EDISON DEVICE WAS DESIGNED TO RUN ONE TEST AT A

09:59AM   19       TIME; RIGHT?

09:59AM   20       A.    YES.

09:59AM   21       Q.    BECAUSE I THINK YOU TALKED ABOUT THE ULTIMATE GOAL WAS TO

09:59AM   22       DEPLOY THE DEVICE IN WALGREENS LOCATIONS AND OTHER PLACES AFTER

09:59AM   23       FDA APPROVAL; RIGHT?

09:59AM   24       A.    CORRECT.

09:59AM   25       Q.    BUT IT WAS FUNCTIONING AT THIS POINT IN THE CENTRAL LAB?



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09:59AM    1       A.    YES.

09:59AM    2       Q.    BUT IT WAS, IT WAS -- AND IT WOULD ONLY RUN ONE PATIENT AT

09:59AM    3       A TIME?

09:59AM    4       A.    ONE PATIENT, ONE TEST AT A TIME, YES.

10:00AM    5       Q.    YEAH.    AND THOSE, THOSE ADVIA 1800 DEVICES THAT YOU TALKED

10:00AM    6       ABOUT --

10:00AM    7       A.    YES.

10:00AM    8       Q.    -- THOSE CAN RUN 1800 TESTS AN HOUR; IS THAT RIGHT?

10:00AM    9       A.    1800 TESTS AN HOUR?

10:00AM   10       Q.    YEAH.    IS IT CORRECT THAT THE 1800 COMES FROM THE NUMBER

10:00AM   11       OF TESTS THAT IT CAN RUN PER HOUR?

10:00AM   12       A.    I DON'T KNOW.

10:00AM   13       Q.    OKAY.    BUT IT COULD RUN A LOT?

10:00AM   14       A.    YES.

10:00AM   15       Q.    OKAY.    AND YOU TALKED ABOUT HOW THERANOS DEVELOPED A

10:00AM   16       METHOD FOR RUNNING SMALL SAMPLES ON THOSE MACHINES?

10:00AM   17       A.    YES.

10:00AM   18       Q.    DO YOU RECALL THAT?

10:00AM   19             AND BEFORE IT HAD DEVELOPED THAT METHOD, THAT WASN'T

10:00AM   20       POSSIBLE ON THAT MACHINE; RIGHT?

10:00AM   21       A.    SAY THAT ONE MORE TIME.    BEFORE WE DEVELOPED THAT METHOD,

10:00AM   22       IT WASN'T POSSIBLE ON THAT MACHINE?

10:00AM   23       Q.    RIGHT.

10:00AM   24       A.    YES.

10:00AM   25       Q.    AND WERE YOU AWARE OF ANY OTHER MACHINE THAT COULD RUN



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10:01AM    1       HIGH VOLUME SMALL SAMPLES?

10:01AM    2       A.    HIGH VOLUME SMALL SAMPLES?

10:01AM    3       Q.    YEAH.

10:01AM    4       A.    NO.

10:01AM    5       Q.    BUT THERANOS COULD AFTER IT IMPLEMENTED THE T-CUP

10:01AM    6       PRACTICES; IS THAT RIGHT?

10:01AM    7       A.    IN THE DILUTION.     SO IN THE TECAN, THE DILUTION, AND THE

10:01AM    8       T-CUP.

10:01AM    9       Q.    YEP.    YOU DIDN'T WORK ON THE ENGINEERING RELATED TO THAT

10:01AM   10       DEVELOPMENT, DID YOU?

10:01AM   11       A.    NO.

10:01AM   12       Q.    AND THERANOS HAD A SEPARATE HARDWARE TEAM?

10:01AM   13       A.    YES.

10:01AM   14       Q.    WITH PRODUCT ENGINEERS?

10:01AM   15       A.    YES.

10:01AM   16       Q.    AND, IN FACT, DID THEY HAVE A WHOLE MANUFACTURING SORT OF

10:01AM   17       INFRASTRUCTURE WITH DIFFERENT MACHINES AND THE LIKE; RIGHT?

10:01AM   18       A.    IN ORDER TO PRODUCE THE T-CUPS AND THE CARTRIDGES, THEY

10:01AM   19       HAD, LIKE, A 3D PRINTING, YEAH, MANUFACTURING FLOOR ON THE

10:01AM   20       FIRST FLOOR.

10:01AM   21       Q.    RIGHT.   WHERE THEY DID THE TOOTLING AND THE ROBOTICS

10:02AM   22       RELATING TO THE PRODUCTION OF THOSE ITEMS.

10:02AM   23             DO YOU RECALL THAT?

10:02AM   24       A.    YES.    YES.

10:02AM   25       Q.    OKAY.    AND THE -- WERE YOU AWARE THAT THERANOS RECEIVED A



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10:02AM    1       PATENT FOR THE IMPROVEMENTS THAT IT DEVELOPED FOR THE SYSTEM IT

10:02AM    2       DEVELOPED FOR USE IN THE ADVIA MACHINE?

10:02AM    3       A.    NO.

10:02AM    4       Q.    LET ME CALL YOUR ATTENTION TO 9645.

10:03AM    5             YOUR HONOR, I BELIEVE THIS IS A SELF-AUTHENTICATING PUBLIC

10:03AM    6       RECORD.     I WOULD MOVE FOR ITS ADMISSION.

10:03AM    7                    MR. BOSTIC:    YOUR HONOR, WE STIPULATED TO THE

10:03AM    8       AUTHENTICITY.    NO OBJECTION.

10:03AM    9                    THE COURT:    THANK YOU.   IT IS RECEIVED, AND IT MAY

10:03AM   10       BE PUBLISHED.

10:03AM   11             (DEFENDANT'S EXHIBIT 9645 WAS RECEIVED IN EVIDENCE.)

10:03AM   12       BY MR. WADE:

10:03AM   13       Q.    DO YOU HAVE THE DOCUMENT UP IN FRONT OF YOU, MS. CHEUNG?

10:03AM   14       A.    YES.

10:03AM   15       Q.    AND DO YOU SEE THAT THIS WAS A PATENT THAT WAS ISSUED ON

10:03AM   16       AUGUST 27TH, 2019?

10:03AM   17       A.    YES.

10:03AM   18       Q.    AND DO YOU SEE ON THE -- IN THE LEFT-HAND COLUMN THERE

10:03AM   19       WHERE IT SAYS THE APPLICANT WAS THERANOS INC.?

10:03AM   20       A.    YES.

10:03AM   21       Q.    AND CAN YOU IDENTIFY FOR US THE INVENTORS THAT ARE

10:03AM   22       IDENTIFIED IN THIS PATENT, PLEASE.

10:03AM   23       A.    SO SAM GONG -- I DON'T REMEMBER WHAT HE DID AT THERANOS;

10:04AM   24       DANIEL YOUNG, WHO WAS THE VICE PRESIDENT AT THERANOS; AND THEN

10:04AM   25       WILLIAM WESTRICK.    I DON'T --



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10:04AM    1       Q.    I'M SORRY?

10:04AM    2       A.    I DON'T KNOW WHO WILLIAM WESTRICK IS.

10:04AM    3       Q.    OKAY.   WERE THEY ENGINEERS AT THE COMPANY?     DO YOU KNOW?

10:04AM    4       A.    SAM GONG AND DANIEL -- SAM GONG WAS.

10:04AM    5       Q.    AND YOU DON'T KNOW MR. WESTRICK?

10:04AM    6       A.    NO.

10:04AM    7       Q.    AND ARE YOU FAMILIAR -- ARE YOU FAMILIAR WITH PATENTS

10:04AM    8       GENERALLY?

10:04AM    9       A.    NO.

10:04AM   10       Q.    OKAY.   WELL, I WON'T SPEND A LOT OF TIME GOING THROUGH IT

10:04AM   11       THEN.

10:04AM   12             BUT LET ME JUST DRAW YOUR ATTENTION DOWN TO THE BOTTOM OF

10:04AM   13       THE PAGE.

10:04AM   14             DO YOU SEE THAT DRAWING THERE?

10:04AM   15       A.    YES.

10:04AM   16       Q.    AND THAT, THAT IS THE INVENTION THAT WE WERE TALKING ABOUT

10:04AM   17       A MINUTE AGO?

10:04AM   18       A.    THE T-CUP?

10:04AM   19       Q.    YEAH.

10:04AM   20       A.    YES.

10:04AM   21       Q.    AND IF WE GO ON TO THE SECOND PAGE, SOME OF THE

10:04AM   22       ENGINEERING DRAWINGS I THINK RELATING TO THAT ARE IDENTIFIED?

10:05AM   23       A.    YEAH.

10:05AM   24       Q.    AND CAN YOU SEE THOSE?

10:05AM   25       A.    YEP.



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10:05AM    1       Q.    AND THEN THE THIRD PAGE, ONE MORE.

10:05AM    2       A.    YES.

10:05AM    3       Q.    AND THEN I'LL JUST GO TO ONE MORE ON THE FOURTH PAGE.

10:05AM    4             DO YOU SEE THAT?

10:05AM    5       A.    YES.

10:05AM    6       Q.    AND THEN VERY BRIEFLY.     ON THE FIFTH PAGE, DO YOU SEE IT

10:05AM    7       STARTS TO TALK ABOUT THE DEVICES, METHODS, AND SYSTEMS FOR

10:05AM    8       REDUCING THE SAMPLE VOLUME?

10:05AM    9             DO YOU SEE THAT?     IT'S IN THE HEADING AT THE TOP THERE.

10:05AM   10       A.    YES.

10:05AM   11       Q.    AND THIS WAS A PATENT THAT RELATED TO THE DEVICES,

10:05AM   12       METHODS, AND SYSTEMS FOR REDUCING SAMPLE VOLUME?

10:05AM   13       A.    YES.

10:05AM   14       Q.    OKAY.   AND I WON'T BORE EVERYONE BY GOING THROUGH THE NEXT

10:06AM   15       20 PAGES OR SO.

10:06AM   16             BUT IF WE CAN GO TO THE LAST PAGE.     DO WE HAVE UP -- AND

10:06AM   17       THERE WE ARE.

10:06AM   18             DO YOU SEE THE CLAIMS FOR THE PATENT THERE?

10:06AM   19       A.    YES.

10:06AM   20       Q.    AND THAT IDENTIFIES 13 DIFFERENT CLAIMS?

10:06AM   21       A.    YES.

10:06AM   22       Q.    PATENT LAWYERS TOLD ME THAT'S AN IMPORTANT PART OF THE

10:06AM   23       PATENT.

10:06AM   24             ARE YOU AWARE OF THAT?

10:06AM   25       A.    THIS WAS AFTER MY TIME AT THE COMPANY.        THIS WAS IN 2016,



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10:06AM    1       SO, NO, I WASN'T AWARE OF ANY OF THIS.

10:06AM    2       Q.    OKAY.    I DON'T HAVE ANY MORE QUESTIONS ON THAT.

10:06AM    3             IF WE COULD GO TO 3471A.

10:07AM    4       A.    WHAT WAS THAT NUMBER?

10:07AM    5       Q.    3471A.    IT WAS A LIST OF TESTS.       IT WAS IN THE

10:07AM    6       GOVERNMENT'S BINDER.

10:07AM    7       A.    OKAY.

10:07AM    8                     THE CLERK:    I BELIEVE IT'S 3741A.

10:07AM    9                     MR. WADE:    MY APOLOGIES.   I TRANSPOSED THE NUMBERS.

10:07AM   10             3741A.    THANKS, MS. KRATZMANN.

10:07AM   11                     THE WITNESS:    THAT'S IN THE BINDER?

10:07AM   12                     MR. WADE:    I BELIEVE IT IS.    WE CAN PUT IT UP ON THE

10:07AM   13       SCREEN.   IT'S IN EVIDENCE.

10:07AM   14                     THE COURT:    OKAY.

10:08AM   15                     THE CLERK:    PAGES 1 THROUGH 7 ONLY, YOUR HONOR.

10:08AM   16                     MR. WADE:    WE WON'T GO BEYOND PAGE 7, YOUR HONOR.

10:08AM   17       Q.    DO YOU RECALL TESTIFYING ABOUT THIS DOCUMENT ON DIRECT

10:08AM   18       EXAMINATION?

10:08AM   19       A.    YES.

10:08AM   20       Q.    AND THE FIRST FOUR PAGES OF THIS DOCUMENT ARE LISTS OF

10:08AM   21       TESTS THAT WERE OFFERED AT THERANOS?

10:08AM   22       A.    YES.

10:08AM   23       Q.    AND I THINK YOU TALKED ABOUT THE MISSION OF THERANOS, AS

10:08AM   24       PART OF YOUR TESTIMONY, TO OFFER LOW PRICES.

10:08AM   25             DO YOU RECALL THAT?



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10:08AM    1       A.    YES.

10:08AM    2       Q.    AND THIS IDENTIFIES, ACTUALLY IDENTIFIES THE PRICES?

10:08AM    3       A.    YES.

10:08AM    4       Q.    AND IT WAS PRETTY WIDELY AVAILABLE; RIGHT?      ANYONE COULD

10:08AM    5       LOOK ON THE WEBSITE?

10:08AM    6       A.    YES.

10:08AM    7       Q.    AND FIND THOSE PRICES.

10:08AM    8             AND WERE YOU AWARE THAT THEY CHARGED INSURED AND UNINSURED

10:08AM    9       PATIENTS THE SAME PRICE?

10:08AM   10       A.    UH, NO, I WASN'T AWARE OF THAT.

10:08AM   11       Q.    OH, YOU WEREN'T.

10:09AM   12             IF WE COULD GO TO -- I'M SORRY.     IF WE CAN GO BACK TO THE

10:09AM   13       FIRST PAGE, IT MAY BE THE EASIEST WAY TO LOOK AT IT.       I'M NOT

10:09AM   14       GOING TO GO THROUGH AND HAVE US COUNT THESE.

10:09AM   15             BUT IS IT FAIR TO SAY IN THESE FIRST FEW PAGES THERE ARE

10:09AM   16       SEVERAL HUNDRED TESTS?

10:09AM   17       A.    YES.

10:09AM   18       Q.    AND THE ELISA ASSAYS THAT YOU MENTIONED BEFORE WERE SEVEN

10:09AM   19       OF THESE, I THINK, OR --

10:09AM   20       A.    YES.

10:09AM   21       Q.    AND THEN IF WE CAN GO TO THE FORM 15291.

10:09AM   22             DO YOU RECALL THAT YOU GAVE SOME TESTIMONY RELATING TO

10:09AM   23       THIS FORM AS WELL?

10:09AM   24       A.    YES.

10:09AM   25       Q.    AND THIS, LIKE THE PRICING SHEETS, WAS SOMETHING THAT WAS



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10:09AM    1       WIDELY AVAILABLE; RIGHT?

10:09AM    2       A.    YES.

10:09AM    3       Q.    AND WOULD BE FILLED OUT AND WOULD BE IN THE DOCUMENTS OF

10:10AM    4       THE COMPANY AND IT WOULD BE WITH DOCTORS AND --

10:10AM    5       A.    WITH CLINICIANS, YES.

10:10AM    6       Q.    RIGHT.   AND AT ALL OF THE DIFFERENT LOCATIONS?

10:10AM    7       A.    YES.

10:10AM    8       Q.    AND IF YOU COULD JUST ZOOM IN ON THE TOP THERE.

10:10AM    9             AND DO YOU SEE THERE'S A BOX THERE WHERE YOU CAN CHECK

10:10AM   10       MICRO SAMPLE, PATIENT'S CHOICE, OR TRADITIONAL PHLEBOTOMY?

10:10AM   11       A.    YES.

10:10AM   12       Q.    DO YOU SEE THAT?

10:10AM   13             SO ALL OF THE DIFFERENT OPTIONS ARE IDENTIFIED THERE?

10:10AM   14       A.    YES.

10:10AM   15       Q.    AND THE TRADITIONAL PHLEBOTOMY, THAT'S VENOUS DRAW?

10:10AM   16       A.    YES.

10:10AM   17       Q.    I HAVE NO FURTHER QUESTIONS ABOUT THAT DOCUMENT.

10:11AM   18             I THINK WE ACTUALLY ENDED ON WEDNESDAY TALKING A LITTLE

10:11AM   19       BIT ABOUT PROFICIENCY TESTING.

10:11AM   20             DO YOU RECALL THAT?

10:11AM   21       A.    YES.

10:11AM   22       Q.    AND I THINK YOU SAID THAT YOU WERE NOT FAMILIAR WITH THE

10:11AM   23       PROFICIENCY TESTING POLICY WHEN YOU WERE WITH THE COMPANY?

10:11AM   24       A.    YES.

10:11AM   25       Q.    AND THERE WERE OTHER PEOPLE WHO WERE RESPONSIBLE FOR THAT



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10:11AM    1       POLICY?

10:11AM    2       A.     YES.

10:11AM    3       Q.     AND FOR IMPLEMENTING THAT POLICY FOR THE MOST PART?

10:11AM    4       A.     ASIDE FROM RUNNING THE ACTUAL TEST, YES.

10:11AM    5       Q.     RIGHT.   YOU PERFORMED SOME OF THE TESTS AND THE DATA THAT

10:11AM    6       FED INTO THAT WORK?

10:11AM    7       A.     YES.

10:11AM    8       Q.     OKAY.    AND I THINK YOU TESTIFIED THAT YOU'RE AWARE THAT

10:11AM    9       PROFICIENCY TESTING IS DESIGNED TO COMPARE SIMILAR DEVICES; IS

10:11AM   10       THAT RIGHT?

10:11AM   11       A.     THE PURPOSE OF PROFICIENCY TESTING?

10:11AM   12       Q.     NO.    JUST THAT IT'S DESIGNED TO KIND OF COMPARE APPLES TO

10:12AM   13       APPLES, A SIMILAR TYPE OF TEST TO ANOTHER SIMILAR TYPE OF TEST?

10:12AM   14       A.     IN TERMS OF -- CAN YOU REPEAT YOUR QUESTION?

10:12AM   15       Q.     SURE.    I THINK YOU'VE TESTIFIED THAT PROFICIENCY TESTING

10:12AM   16       RELATES TO PEER DEVICES OR SIMILAR DEVICES; RIGHT?

10:12AM   17       A.     SO WHEN YOU DO PROFICIENCY TESTING, YOU'LL TEND TO NOTIFY

10:12AM   18       THE TESTING AGENCY OF WHAT TYPE OF DEVICE THAT YOU'RE

10:12AM   19       UTILIZING.

10:12AM   20              SO SAY IF THEY HAVE A TSH SAMPLE, YOU'LL TELL THEM THAT

10:12AM   21       YOU'RE RUNNING IT ON THE IMMULITE IN ORDER TO ALLOW THEM TO

10:12AM   22       KNOW THAT THAT IS THE TESTING DEVICE THAT YOU'RE UTILIZING,

10:12AM   23       YES.

10:12AM   24       Q.     AND THEN THE PEER GROUP THAT YOU'RE COMPARING THE RESULTS

10:12AM   25       AGAINST ARE OTHER IMMULITE DEVICES OR SIMILAR DEVICES THAT



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10:12AM    1       SHOULD PRODUCE THE SAME RESULTS?

10:12AM    2       A.    I'M NOT TOO SURE, BUT TYPICALLY I WOULD SAY, YES, I THINK

10:12AM    3       SO.

10:12AM    4       Q.    OKAY.   AND BECAUSE YOU WANT APPLES TO APPLES; IS THAT

10:13AM    5       RIGHT?

10:13AM    6       A.    YOU WANT TO COMPARE THE TWO RESULTS, YES.

10:13AM    7       Q.    YEAH.   AT THE TIME YOU WERE WORKING AT THERANOS, WERE YOU

10:13AM    8       AWARE OF THE AAP?

10:13AM    9       A.    NO.

10:13AM   10       Q.    DO YOU KNOW WHAT THAT IS?

10:13AM   11       A.    I'M TAKING A GUESS HERE.      IS IT THE PATHOLOGY ASSOCIATION?

10:13AM   12       Q.    NO.    I'M SORRY.    IT'S THE ALTERNATIVE ASSESSMENT PROTOCOL.

10:13AM   13       A.    NO.

10:13AM   14       Q.    OKAY.   AND YOU, I TAKE IT, WERE NOT INVOLVED IN ANY WAY

10:13AM   15       WITH THE AAP AT THERANOS?

10:13AM   16       A.    NO.

10:13AM   17       Q.    WE -- YOU GAVE SOME TESTIMONY ABOUT THAT SPREADSHEET OF

10:13AM   18       SOME EDISON RESULTS THAT MR. BOSTIC ASKED YOU A NUMBER OF

10:13AM   19       QUESTIONS ABOUT.

10:13AM   20             DO YOU RECALL THAT?

10:13AM   21       A.    YES.

10:13AM   22       Q.    AND IT HAD THE PERCENTAGES AND THE LIKE.

10:13AM   23             AND ARE YOU AWARE THAT THE TESTING -- THOSE RESULTS, I

10:14AM   24       BELIEVE, WERE SHARED WITH YOU BY LANGLY GEE WHO WAS THE QUALITY

10:14AM   25       CONTROL MANAGER?



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10:14AM    1       A.    YES.

10:14AM    2       Q.    AND I TAKE IT HE WOULD HAVE SHARED THOSE WITH

10:14AM    3       DRS. ROSENDORFF AND PANDORI AS WELL?

10:14AM    4       A.    YES.

10:14AM    5       Q.    AND ARE YOU AWARE THAT THE WAY IN WHICH THOSE TESTS WERE

10:14AM    6       IMPLEMENTED CREATED SOME CONFUSION WITHIN THE GROUP ABOUT THE

10:14AM    7       APPLICATION OF THE PROFICIENCY TESTING POLICY?

10:14AM    8       A.    YES.

10:14AM    9       Q.    AND WERE YOU AWARE THAT DR. PANDORI AND DR. ROSENDORFF

10:14AM   10       ACTUALLY DEVELOPED A POWERPOINT PRESENTATION TO EXPLAIN

10:14AM   11       PROFICIENCY TESTING AND ALTERNATIVE ASSESSMENT PROTOCOL TO THE

10:14AM   12       FOLKS IN THE CLIA LAB?

10:14AM   13       A.    NO.    I WAS NOT A PART OF THAT.

10:15AM   14       Q.    WELL, LET ME SEE IF I CAN REFRESH YOUR RECOLLECTION.

10:15AM   15             MAY I APPROACH, YOUR HONOR?

10:15AM   16                     THE COURT:    YES.     WOULD YOU LIKE THE WITNESS TO LOOK

10:15AM   17       AT THIS TO SEE IF IT REFRESHES HER RECOLLECTION ON THIS TOPIC?

10:15AM   18                     MR. WADE:    YEAH.

10:15AM   19       Q.    I WAS JUST GOING TO DIRECT YOU -- TAKE A LOOK AT THE

10:15AM   20       DOCUMENT IN THE POWERPOINT AND JUST SEE IF THAT REFRESHES YOUR

10:15AM   21       RECOLLECTION THAT DRS. ROSENDORFF AND PANDORI PREPARED A

10:15AM   22       PREPARED A POWERPOINT PRESENTATION TO EXPLAIN THE PROFICIENCY

10:15AM   23       TESTING AND THE AAP POLICIES FOR THE EDISON DEVICES?

10:15AM   24       A.    I HAD NEVER SEEN THIS DOCUMENT WHEN I WAS AT THE COMPANY.

10:16AM   25       Q.    OKAY.



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10:16AM    1             I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

10:16AM    2                     THE COURT:    ALL RIGHT.   THANK YOU.

10:16AM    3             MR. BOSTIC, DO YOU HAVE SOME REDIRECT?

10:16AM    4                     MR. BOSTIC:    YES, YOUR HONOR.

10:16AM    5                     THE COURT:    LADIES AND GENTLEMEN, FEEL FREE TO STAND

10:16AM    6       UP AND STRETCH WHILE WE DO THE TRANSITION HERE.

10:16AM    7             I WILL TELL YOU THAT WE WILL TAKE OUR BREAK AT 11:00 THIS

10:16AM    8       MORNING.     IN ABOUT 40 MINUTES OR SO WE WILL TAKE OUR MORNING

10:16AM    9       BREAK.

10:17AM   10             (STRETCHING.)

10:17AM   11                     THE COURT:    ALL RIGHT.   THANK YOU.   PLEASE BE SEATED

10:17AM   12       EVERYONE.

10:17AM   13             MR. BOSTIC, YOU HAVE REDIRECT?

10:17AM   14                     MR. BOSTIC:    YES, YOUR HONOR.     THANK YOU.

10:17AM   15                                  REDIRECT EXAMINATION

10:17AM   16       BY MR. BOSTIC:

10:17AM   17       Q.    GOOD MORNING, MS. CHEUNG.

10:17AM   18       A.    GOOD MORNING.

10:17AM   19       Q.    I'D LIKE TO ASK A FEW FOLLOW UP TOPICS THAT YOU DISCUSSED

10:17AM   20       WITH MR. WADE.

10:17AM   21       A.    OKAY.

10:17AM   22       Q.    FIRST, YOU TESTIFIED YESTERDAY THAT THE VALIDATION PROCESS

10:17AM   23       WOULD NORMALLY TAKE PLACE OVER MONTHS AND YEARS; IS THAT

10:17AM   24       CORRECT?

10:17AM   25       A.    YES.



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10:17AM    1       Q.    YOU TESTIFIED THAT AT THERANOS IT TOOK PLACE ON A SHORTER

10:17AM    2       TIMEFRAME.   AM I STATING THAT CORRECTLY?

10:17AM    3       A.    SO TO BE SPECIFIC, FOR EXAMPLE, FOR PRECISION, PRECISION

10:17AM    4       IS AN EXPERIMENT THAT WE WOULD RUN OVER THE COURSE OF THREE

10:17AM    5       MONTHS, OR IT'S STATED THAT YOU SHOULD RUN IT OVER THREE

10:17AM    6       MONTHS.   BUT WHAT WE DID AT THERANOS IS TRY AND GET IT DONE AS

10:18AM    7       SOON AS POSSIBLE.

10:18AM    8             SO DEPENDING ON HOW MANY SHIFTS WE HAD WITH HOW MANY

10:18AM    9       PEOPLE AND HOW MANY ISSUES WE HAD, THAT WOULD BE CONDENSED DOWN

10:18AM   10       TO A SHORTER TIME PERIOD.

10:18AM   11       Q.    WHAT WAS YOUR UNDERSTANDING AT THE TIME AS TO WHY THOSE

10:18AM   12       VALIDATION PROCESSES AT THERANOS WERE TAKING PLACE OVER A

10:18AM   13       SHORTER TIME PERIOD?

10:18AM   14       A.    BECAUSE THEY WERE TRYING TO GET AS MANY TESTS AVAILABLE TO

10:18AM   15       THE CLINICAL LAB AS POSSIBLE.

10:18AM   16             SO, FOR EXAMPLE, WE HAD A BIG PUSH FOR ALL OF THE THYROID

10:18AM   17       TESTS SO WE COULD DO THE PANEL.     SO WE WERE TRYING TO FINISH UP

10:18AM   18       ALL OF THE VALIDATION EXPERIMENTS AS QUICKLY AS POSSIBLE SO

10:18AM   19       THAT THEY COULD GO LIVE WITHIN THE CLINICAL LAB.

10:18AM   20       Q.    AM I CORRECT THAT THE TIME PERIOD WE'RE TALKING ABOUT HERE

10:18AM   21       IS AFTER THERANOS HAD ALREADY STARTED OFFERING PATIENT TESTING

10:18AM   22       TO THE PUBLIC?

10:18AM   23       A.    YES.

10:18AM   24       Q.    BUT IT WAS AN ONGOING GOAL TO GET AS MANY TESTS WORKING ON

10:18AM   25       THE THERANOS DEVICE AS POSSIBLE; IS THAT WHAT YOU'RE SAYING?



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10:19AM    1       A.    YES.

10:19AM    2       Q.    DID THAT CONTINUE TO BE THE GOAL IN THE R&D LAB THROUGHOUT

10:19AM    3       YOUR TIME AT THE COMPANY?

10:19AM    4       A.    THE GOAL WAS TO GET AS MANY ASSAYS AS QUICKLY AS POSSIBLE

10:19AM    5       OVER TO THE CLINICAL LAB, YES.

10:19AM    6       Q.    AND IN PARTICULAR, ARE WE TALKING ABOUT FINGERSTICK

10:19AM    7       ASSAYS?

10:19AM    8       A.    WE'RE TALKING ABOUT FINGERSTICK ASSAYS IN RELATION TO THE

10:19AM    9       EDISON DEVICES SPECIFICALLY.

10:19AM   10       Q.    AND DESPITE THAT CONTINUING EFFORT AND THAT BEING THE

10:19AM   11       GOAL, YOUR TESTIMONY IS THAT NO MORE THAN A DOZEN TESTS WERE

10:19AM   12       EVER ACTUALLY PERFORMED ON THE EDISON DEVICE DURING YOUR TIME

10:19AM   13       AT THE COMPANY?

10:19AM   14       A.    CORRECT.

10:19AM   15                    MR. WADE:    YOUR HONOR, I BELIEVE WE'RE ON REDIRECT

10:19AM   16       EXAMINATION HERE.

10:19AM   17                    THE COURT:    MR. BOSTIC, YOU CAN FRAME YOUR QUESTIONS

10:19AM   18       APPROPRIATELY.    THANK YOU.

10:19AM   19                    MR. BOSTIC:    UNDERSTOOD.   THANK YOU, YOUR HONOR.

10:19AM   20       Q.    MS. CHEUNG, A FEW MINUTES AGO YOU LOOKED AGAIN AT THE TEST

10:19AM   21       MENU FOR THE TESTS THAT WERE OFFERED BY THERANOS DURING YOUR

10:19AM   22       TIME AT THE COMPANY; CORRECT?

10:20AM   23       A.    CORRECT.

10:20AM   24       Q.    AND YOU SAW AT THE TOP OF THAT FORM THAT THERE WERE CHECK

10:20AM   25       BOXES WHERE THE PERSON ORDERING THE TEST COULD SELECT BETWEEN,



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10:20AM    1       FOR EXAMPLE, FINGERSTICK VERSUS VEIN SAMPLE; IS THAT CORRECT?

10:20AM    2       A.    YES.

10:20AM    3       Q.    AND WERE ALL OF THE TESTS AVAILABLE ON THAT FORM OFFERED

10:20AM    4       BY THERANOS ON FINGERSTICK SAMPLES?

10:20AM    5       A.    NO.

10:20AM    6       Q.    LOOKING AT THAT LIST OF HUNDREDS OF TESTS THAT THERANOS

10:20AM    7       OFFERED, APPROXIMATELY WHAT PROPORTION OF THEM COULD ACTUALLY

10:20AM    8       BE CONDUCTED ON FINGERSTICK?

10:20AM    9       A.    BY THE EDISON DEVICES OR BY THE MODIFIES OR --

10:20AM   10       Q.    LET'S START AND BREAK THAT OUT.     AND SAY SO FIRST OF THAT

10:20AM   11       LIST A COUPLE HUNDRED OR SEVERAL HUNDRED TESTS --

10:20AM   12       A.    RIGHT.

10:20AM   13       Q.    -- HOW MANY COULD BE PERFORMED ON THE EDISON DEVICE BY

10:20AM   14       FINGERSTICK?

10:20AM   15       A.    SO WHILE I WAS WORKING THERE WHAT COULD BE PERFORMED BY

10:20AM   16       FINGERSTICK WITH THE EDISON DEVICES WAS ANYWHERE BETWEEN FOUR

10:20AM   17       TO NINE FOR THE EDISON DEVICES.

10:20AM   18       Q.    AND IF WE EXPAND THAT LIST TO INCLUDE EVERYTHING THAT THE

10:21AM   19       COMPANY COULD DO ON A FINGERSTICK SAMPLE USING A MODIFIED THIRD

10:21AM   20       PARTY DEVICE, FOR EXAMPLE?

10:21AM   21       A.    RIGHT.

10:21AM   22       Q.    WOULD THAT THEN ENCOMPASS THE REST OF THE ENTIRE LIST OF

10:21AM   23       SEVERAL HUNDRED?

10:21AM   24       A.    NO.

10:21AM   25       Q.    WOULD IT COME CLOSE TO ENCOMPASSING THAT LIST OF SEVERAL



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10:21AM    1       HUNDRED TESTS?

10:21AM    2       A.    NO.

10:21AM    3       Q.    DOES THAT MEAN THEN THAT THOSE CHECK BOXES AT THE TOP --

10:21AM    4       LET ME START AGAIN.

10:21AM    5             DOES THAT MEAN THEN THAT EVEN IF A DOCTOR OR A PATIENT

10:21AM    6       SELECTED A FINGERSTICK OPTION AT THE TOP OF THAT FORM, IF THEY

10:21AM    7       SELECTED ONE OR MORE TESTS THAT COULD NOT BE RUN ON A

10:21AM    8       FINGERSTICK SAMPLE, THEY COULD NOT PERFORM THEIR TESTS BY

10:21AM    9       FINGERSTICK; IS THAT CORRECT?

10:21AM   10       A.    CORRECT.

10:21AM   11       Q.    GOING BACK TO THE TOPIC OF VALIDATION BRIEFLY.      MR. WADE

10:21AM   12       ASKED YOU ABOUT STANDARDS GOVERNING THE VALIDATION PROCESS.

10:22AM   13             DO YOU RECALL THAT?

10:22AM   14       A.    FOR THE OUTLIER PROCESS OR FOR THE --

10:22AM   15       Q.    GENERALLY SPEAKING.

10:22AM   16       A.    GENERALLY.

10:22AM   17       Q.    STANDARDS CONCERNING VALIDATION TOLERANCES FOR DIFFERENT

10:22AM   18       ASSAYS --

10:22AM   19       A.    YES.

10:22AM   20       Q.    -- HE ASKED YOU WHETHER YOU KNEW OR WERE FAMILIAR WITH THE

10:22AM   21       STANDARDS FOR THAT VALIDATION PROCESS; CORRECT?

10:22AM   22       A.    CORRECT.

10:22AM   23       Q.    AND WHEN YOU WERE AT THERANOS AND WORKING ON THESE ISSUES,

10:22AM   24       WERE YOU ABLE TO REFERENCE THOSE STANDARDS?

10:22AM   25       A.    REFERENCE THE STANDARDS OF THE VALIDATION PROCESS?



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10:22AM    1       Q.    YES.

10:22AM    2       A.    IN THE RESEARCH AND DEVELOPMENT LAB?

10:22AM    3       Q.    CORRECT.

10:22AM    4       A.    UM, I DON'T REMEMBER.

10:22AM    5       Q.    AND DURING THE VALIDATION PROCESS THERE ARE -- OR LET ME

10:22AM    6       ASK, DURING THE VALIDATION PROCESS, THERE ARE STANDARDS THAT

10:22AM    7       GOVERN -- ACTUALLY, I'LL MOVE ON.

10:22AM    8             WHEN THE VALIDATION PROCESS IS CONCLUDED AND A TEST IS

10:23AM    9       MOVED INTO THE CLINICAL LAB AND CLINICAL PATIENT TESTING

10:23AM   10       BEGINS --

10:23AM   11       A.    YES.

10:23AM   12       Q.    -- IS THAT THE END OF THE QUESTION WHEN IT COMES TO THE

10:23AM   13       ACCURACY AND PERFORMANCE OF THAT TEST?

10:23AM   14       A.    NO.

10:23AM   15       Q.    WHY NOT?

10:23AM   16       A.    BECAUSE YOU MONITOR THE ACCURACY AND THE PRECISION OF THE

10:23AM   17       PERFORMANCE ONGOING.

10:23AM   18             SO THE QUALITY CONTROLS ARE A GOOD INDICATION OF, YOU

10:23AM   19       KNOW, ARE YOU HITTING YOUR ACCURACY TARGETS?        ARE YOU GETTING

10:23AM   20       PRECISE ENOUGH RESULTS?     BECAUSE IT'S A WAY IN WHICH YOU COULD

10:23AM   21       HAVE CONTINUITY WITH YOUR SYSTEM OUTSIDE OF WHAT WE HAD DONE

10:23AM   22       FOR THE VALIDATION EXPERIMENTS, AND THE VALIDATION REPORTS THAT

10:23AM   23       WERE GENERATED BY THE RESEARCH AND DEVELOPMENT LAB.

10:23AM   24       Q.    THE QUALITY CONTROL PROCESS THAT IS ONGOING, THAT TAKES

10:23AM   25       PLACE AFTER VALIDATION IS ALREADY CONCLUDED?



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10:23AM    1       A.    CORRECT.

10:23AM    2       Q.    DURING YOUR TIME AT THERANOS, HOW SOON AFTER YOU BEGAN

10:24AM    3       PARTICIPATING IN PATIENT TESTING DID YOU BECOME CONCERNED ABOUT

10:24AM    4       THE ACCURACY OF THE THERANOS TESTS THAT YOU WERE WORKING ON?

10:24AM    5       A.    I BECAME CONCERNED PROBABLY ABOUT A MONTH IN WITH THE

10:24AM    6       VITAMIN D SAMPLES BECAUSE WE HAD SEEN A LOT OF VARIABILITY WITH

10:24AM    7       THE VITAMIN D SAMPLES BOTH WITHIN VALIDATION AND WITH ACTUALLY

10:24AM    8       TESTING THE PATIENT SAMPLES AND THE QUALITY CONTROLS.

10:24AM    9             SO IT WAS ABOUT ROUGHLY A MONTH IN.     SO I WOULD SAY

10:24AM   10       NOVEMBER OF 2013.

10:24AM   11       Q.    AND WERE THE CONCERNS THAT YOU HAD ABOUT THE ACCURACY OF

10:24AM   12       THE TESTS BASED ON SOMETHING THAT YOU SAW IN THE VALIDATION

10:24AM   13       PROCESS OR THE ACTUAL PERFORMANCE OF THE TESTS WHEN APPLIED TO

10:24AM   14       PATIENT SAMPLES?

10:24AM   15       A.    BOTH.

10:24AM   16       Q.    YOU HAD A CONVERSATION WITH MR. WADE ABOUT THE WORK THAT

10:25AM   17       YOU DID RESPONDING TO QUALITY CONTROL FAILURES AND HOW THAT WAS

10:25AM   18       TIME CONSUMING.

10:25AM   19             DO YOU RECALL SAYING THAT?

10:25AM   20       A.    YES.

10:25AM   21       Q.    AND HOW TIME CONSUMING WAS IT?     WAS IT SO TIME CONSUMING

10:25AM   22       THAT IT ACTUALLY IMPACTED THE FLOW OF SAMPLES THROUGH THE LAB

10:25AM   23       IN YOUR EXPERIENCE?

10:25AM   24       A.    FOR BEING ABLE TO TROUBLESHOOT A QUALITY CONTROL ISSUE?

10:25AM   25       Q.    YES.



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10:25AM    1       A.    YES.

10:25AM    2       Q.    AND CAN YOU EXPLAIN HOW THAT HAPPENED?

10:25AM    3       A.    SO WHENEVER WE HAD A QUALITY CONTROL FAILURE, YOU HAD TO

10:25AM    4       GO THROUGH A SERIES OF STEPS IN ORDER TO FIGURE OUT WHAT THE

10:25AM    5       ISSUE WAS.   WAS IT A REAGENT ISSUE?     WAS IT SOME SORT OF DEVICE

10:25AM    6       ISSUE?   WAS IT SOME SORT OF RANDOM ISSUE?

10:25AM    7             AND IF YOU COULD NOT RESOLVE WHAT IT WAS, YOU WOULD HAVE

10:25AM    8       TO RECALIBRATE THE WHOLE DEVICE AND REESTABLISH THE QC RANGES.

10:25AM    9             SO ANY TIME YOU HAD TO RECALIBRATE, KIND OF LIKE THAT

10:25AM   10       DOCUMENT THAT MR. WADE WAS SHOWING WITH THE CALIBRATION WITH

10:25AM   11       ALL OF THESE STANDARDS, YOU HAVE 12 OF THEM, A DIFFERENT

10:26AM   12       CONCENTRATION, YOU HAVE TO RUN THEM WHICH TAKES 12 HOURS,

10:26AM   13       14 HOURS, AND THEN THAT'S IF EVERYTHING GOES RIGHT AND YOU'RE

10:26AM   14       RUNNING THEM BACK TO BACK TO BACK.

10:26AM   15             SOME OF US, IF WE COULD NOT TAKE SHIFTS, IT WOULD BE THE

10:26AM   16       CASE THAT WE'RE WORKING 14 HOURS, 16 HOURS JUST TO GET IT

10:26AM   17       RECALIBRATED.

10:26AM   18             AND THEN YOU HAVE TO REESTABLISH THE QC RANGES, WHICH IS 1

10:26AM   19       TO 3 DIFFERENT RANGES, AND YOU RUN THOSE 6 TO 8 TIMES, SO THAT

10:26AM   20       CAN TAKE ANYWHERE IF YOU'RE DOING TWO SAMPLES TIMES 6, 6, 12,

10:26AM   21       THAT'S AN ADDITIONAL 12, 14 HOURS.

10:26AM   22             AND THEN THE DEXTER CALIBRATION -- AGAIN, THIS IS IF YOU

10:26AM   23       DO EVERYTHING BACK TO BACK TO BACK TO BACK AND YOU GET THE

10:26AM   24       TIMING RIGHT WHERE THE NEXT ASSOCIATE COMES IN AND SO YOU DON'T

10:26AM   25       HAVE TO WORK FOR WHATEVER IT IS, THE LIKE 24 TO 83 HOURS,



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10:26AM    1       WHATEVER THAT IS.

10:26AM    2             SO IF A PATIENT COMES IN, WE WERE SUPPOSED TO GET THAT

10:27AM    3       PATIENT THE RESULT IN TWO HOURS, IF WE HAD TO RECALIBRATE THE

10:27AM    4       WHOLE SYSTEM, IT WOULD BE DELAYED BY LIKE TWO OR THREE DAYS

10:27AM    5       BECAUSE IT WAS SUCH A TIME CONSUMING PROCESS, AND THAT'S

10:27AM    6       TYPICALLY WHAT THE WORKFLOW WOULD LOOK LIKE.

10:27AM    7             THE REASON IT BECAME SUCH AN ISSUE BECAUSE IT KEPT JAMMING

10:27AM    8       UP OUR WORKFLOW AS WELL WHERE WE'RE CONSTANTLY HAVING TO

10:27AM    9       RECALIBRATE, BUT IT WOULD TAKE DAYS IN ORDER TO GET THAT DONE.

10:27AM   10       SO ONE PATIENT SAMPLE WAS SUPPOSED TO BE OUT IN THREE HOURS,

10:27AM   11       AND YOU HAVE THIS THREE DAY WINDOW THAT YOU'RE HOPING TO GET

10:27AM   12       YOUR SYSTEM BACK AND RUNNING WHERE PEOPLE ARE RUNNING AROUND

10:27AM   13       THE CLOCK TO GET IT BACK INTO THE PROPER STATE.

10:27AM   14       Q.    AND WERE THOSE PROBLEMS WITH THE MACHINE PERFORMANCE

10:27AM   15       COMMON ENOUGH, IN FACT, THAT IT WAS A CONSTANT PROBLEM GOING

10:27AM   16       THROUGH THIS PROCESS AND DELAYING PATIENT SAMPLES?

10:27AM   17       A.    YEAH.   I MEAN, WE HAD PEOPLE SLEEPING IN THEIR CAR BECAUSE

10:27AM   18       IT WAS JUST TAKING TOO LONG.      EVERY THREE DAYS YOU WERE HAVING

10:28AM   19       TO JUST RUN THESE SAMPLES OVER AND OVER AND OVER.       SO IT WAS

10:28AM   20       HAPPENING VERY FREQUENTLY.

10:28AM   21       Q.    MR. WADE CONFIRMED WITH YOU THAT WHEN A DEVICE DID FAIL

10:28AM   22       QC, THIS PROCESS WOULD BE TAKEN ON AND THE DEVICE WOULD NOT BE

10:28AM   23       USED FOR PATIENT SAMPLE AGAIN UNTIL THE ISSUE WAS APPARENTLY

10:28AM   24       RESOLVED; IS THAT CORRECT?

10:28AM   25       A.    THAT'S CORRECT.



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10:28AM    1       Q.    AND IN YOUR EXPERIENCE WOULD THAT PRACTICE ADDRESS

10:28AM    2       CONCERNS ABOUT THE PERFORMANCE OF THE MACHINE IN BETWEEN

10:28AM    3       QUALITY CONTROL CHECKS?

10:28AM    4       A.    NO, BECAUSE WE ONLY DID QUALITY CONTROLS AT THE BEGINNING

10:28AM    5       OF THE DAY.    SO SOME LABS WILL DO THEM AT THE BEGINNING OF EACH

10:28AM    6       SHIFT, AND AT THERANOS WE HAD TWO SHIFTS.      WE HAD A DAY SHIFT,

10:28AM    7       SOMETIMES AN AFTERNOON SHIFT, AND A NIGHT SHIFT.

10:28AM    8             SO IT ONLY ADDRESSED BASICALLY WHAT THE QUALITY OF IT WAS

10:28AM    9       AT THE BEGINNING OF THE DAY.

10:28AM   10             AND SOMETIME YOU EVEN RUN QUALITY CONTROLS MORE

10:28AM   11       FREQUENTLY, ESPECIALLY IF IT'S A MORE SERIOUS DIAGNOSES.

10:29AM   12             SO, FOR EXAMPLE, IF YOU'RE RUNNING INFECTIOUS DISEASE,

10:29AM   13       YOU'LL ATTEMPT TO RUN THEM BEFORE YOU RUN EVERY INFECTIOUS

10:29AM   14       DISEASE SAMPLE JUST TO BE SURE AND GIVE YOURSELF A LEVEL OF

10:29AM   15       CONFIDENCE IS THE SYSTEM WORKING RIGHT AT THIS MOMENT VERSUS AT

10:29AM   16       THE BEGINNING OF THE DAY?

10:29AM   17             SO AT THERANOS THE STANDARD PRACTICE WAS THAT WE WOULD RUN

10:29AM   18       IT AT THE BEGINNING IN THE DAY AND UNLESS THERE WAS SOME WEIRD

10:29AM   19       SHIFT OVER WHERE MAYBE THE TECHNICIAN HAD MORE TIME AND SO THEY

10:29AM   20       WOULD JUST RUN THEM JUST BECAUSE.

10:29AM   21             BUT IT WASN'T STANDARD PRACTICE TO RUN THEM MULTIPLE TIMES

10:29AM   22       A DAY OR MULTIPLE -- AT THE BEGINNING OF EACH SHIFT.

10:29AM   23       Q.    I'D LIKE TO ASK YOU JUST A COUPLE MORE QUESTIONS ABOUT

10:29AM   24       YOUR PRACTICES WHEN IT CAME TO EMAIL BUSINESS RECORDS AT

10:29AM   25       THERANOS.



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10:29AM    1       A.    YES.

10:29AM    2       Q.    YOU TESTIFIED BEFORE THAT EMAILS WERE PRESERVED AT

10:29AM    3       THERANOS; IS THAT CORRECT?

10:29AM    4       A.    CORRECT.

10:29AM    5       Q.    AND AS A MEMBER OF THE LAB STAFF SENDING AND RECEIVING

10:30AM    6       THESE EMAILS, WERE YOU UNDER A DUTY OR AN OBLIGATION TO

10:30AM    7       PRESERVE THESE RECORDS?

10:30AM    8       A.    YES.

10:30AM    9       Q.    AND FOR WHAT PURPOSE WERE THEY PRESERVED?

10:30AM   10       A.    TO REFERENCE BACK, TO BE ABLE TO COMMUNICATE WITH OTHER

10:30AM   11       LAB MEMBERS, TO BE ABLE TO MAKE SURE THAT ANYTHING THAT WAS

10:30AM   12       COMMUNICATED BY EMAIL THAT NEEDED TO BE TRANSCRIBED, THERE WAS

10:30AM   13       A WAY IN WHICH WE COULD TRANSCRIBE THAT INFORMATION IN ORDER TO

10:30AM   14       JUST -- AS WE SAW SOMETIMES, WE WOULD GET EMAILS TELLING US

10:30AM   15       THAT NEW SOP'S WERE UPDATED AND THAT WE HAD TO BE ABLE TO

10:30AM   16       CREATE NEW INFRASTRUCTURE FOR NEW TESTS TO BE ABLE TO KEEP

10:30AM   17       TRACK OF THOSE THINGS BECAUSE SOMETIMES IT COULD BE VERY

10:30AM   18       DYNAMIC AND VERY CHANGING, SO WE NEEDED TO HAVE A THREAD IN

10:30AM   19       ORDER TO FIGURE OUT WHEN OUR CERTAIN ASSAYS ONBOARDED AT WHAT

10:30AM   20       CERTAIN TIME PERIODS.

10:30AM   21       Q.    WAS IT YOUR PRACTICE WHEN YOU WERE AT THERANOS TO FOLLOW

10:31AM   22       OR ADHERE TO THAT DUTY AND PRESERVE THE EMAILS THAT YOU WERE

10:31AM   23       SENDING AND RECEIVING?

10:31AM   24       A.    YES.

10:31AM   25       Q.    AND DID YOU UNDERSTAND THAT TO BE THE PRACTICE OF OTHERS



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10:31AM    1       AT THERANOS PURSUANT TO THAT SAME DUTY?

10:31AM    2       A.    YES.

10:31AM    3       Q.    IF I COULD USE THE ELMO.

10:31AM    4                    THE CLERK:    IS THIS JUST FOR THE WITNESS?

10:31AM    5                    MR. BOSTIC:    SORRY.

10:31AM    6             I'D LIKE TO SHOW EXHIBIT 9925, WHICH IS IN EVIDENCE.

10:31AM    7                    THE CLERK:    OKAY.

10:31AM    8       BY MR. BOSTIC:

10:31AM    9       Q.    MS. CHEUNG, DO YOU REMEMBER REVIEWING EXHIBIT 9925 ON THE

10:31AM   10       SCREEN IN FRONT OF YOU?

10:31AM   11       A.    YES.

10:31AM   12       Q.    DO YOU REMEMBER REVIEWING PORTIONS OF THIS DOCUMENT WITH

10:31AM   13       MR. WADE?

10:32AM   14       A.    YES.

10:32AM   15       Q.    I'D LIKE TO SHOW YOU PAGE 6 OF 21 OF THIS DOCUMENT.          THIS

10:32AM   16       IS A PAGE ENDING IN BATES 4013790.

10:32AM   17             IS THAT SHOWING UP ON YOUR SCREEN?

10:32AM   18       A.    YES.

10:32AM   19       Q.    I'D LIKE TO DRAW YOUR ATTENTION SPECIFICALLY TO THE

10:32AM   20       LANGUAGE UNDER SECTION 8 OF THIS DOCUMENT WHERE IT SAYS

10:32AM   21       THERANOS SYSTEM.

10:32AM   22             DO YOU SEE THAT?

10:32AM   23       A.    YES.

10:32AM   24       Q.    IN THIS PARAGRAPH THERE'S LANGUAGE THAT SAYS, "THE SYSTEM

10:32AM   25       CAN BE OPERATED WITH MINIMAL TRAINING AND PERFORMS MULTIPLE



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10:32AM    1       TESTS ON A VARIETY OF SAMPLE TYPES."

10:32AM    2             DO YOU SEE THAT?

10:32AM    3       A.    YES.

10:32AM    4       Q.    AND IT ALSO SAYS, "THE SYSTEM ENABLES RESULTS IN UNDER AN

10:32AM    5       HOUR WITH PRECISION AND ACCURACY EQUIVALENT TO TRADITIONAL

10:32AM    6       CLINICAL LABORATORY ANALYZER."

10:33AM    7             DID YOU READ THAT CORRECTLY?

10:33AM    8       A.    YES.

10:33AM    9       Q.    AND AS TO THE SECOND CLAIM THAT THE SYSTEM ENABLES RESULTS

10:33AM   10       IN UNDER AN HOUR WITH PRECISION AND ACCURACY EQUIVALENT TO

10:33AM   11       TRADITIONAL CLINICAL LABORATORY ANALYZER, WAS THAT CONSISTENT

10:33AM   12       WITH YOUR EXPERIENCE WHILE YOU WERE AT THE THERANOS COMPANY?

10:33AM   13       A.    NO.

10:33AM   14       Q.    AND HOW ABOUT THE CLAIM THAT THE SYSTEM CAN BE OPERATED

10:33AM   15       WITH MINIMAL TRAINING?

10:33AM   16             YOU DESCRIBED BEFORE THE STEPS INVOLVED IN OPERATING THE

10:33AM   17       EDISON ANALYZER.    CAN YOU JUST RUN THROUGH THOSE AGAIN AT A

10:33AM   18       HIGH LEVEL?

10:33AM   19       A.    AT A HIGH LEVEL PROCESS FOR THE EDISON DEVICES?

10:33AM   20       Q.    YES.    NOT IN DETAIL, BUT GIVE US AN OVERVIEW.

10:33AM   21       A.    YEAH.   SO ESSENTIALLY YOU WOULD HAVE TO UNDERSTAND HOW TO

10:33AM   22       SORT THE BLOOD SAMPLE TO MAKE SURE YOU GOT IT ACCURATELY AND IT

10:33AM   23       WAS PROCESSED THE SAME WAY.

10:33AM   24             SO SOMETIMES YOU HAVE THE WHOLE BLOOD, AND YOU HAVE TO

10:33AM   25       CENTRIFUGE IT, AND YOU HAVE TO JUST COLLECT THE SERA.       SO



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10:33AM    1       THAT'S STEP ONE IS UNDERSTANDING HOW TO USE THE SORTING ROBOT

10:34AM    2       AND TO BE ABLE TO UNDERSTAND WHAT TYPE OF BLOOD THAT YOU NEED

10:34AM    3       OR WHAT TYPE OF SAMPLE THAT YOU NEED.

10:34AM    4             THEN YOU HAVE TO RUN IT THROUGH A TECAN, SO THIS IS THE

10:34AM    5       ROBOTICS LIQUID HANDLING SYSTEM, AND MAKE SURE YOU GET THE

10:34AM    6       RIGHT PROTOCOL AND THAT EVERYTHING IS SET UP THE RIGHT WAY AND

10:34AM    7       THE TRAY BECAUSE THE ROBOT GOES INTO VERY SPECIFIC PLACES AND

10:34AM    8       IF YOU MESS IT UP IT WILL GO INTO THE WRONG WELL.

10:34AM    9             AND THEN YOU TAKE IT OVER TO THE EDISON DEVICE, AND THEN

10:34AM   10       YOU SCAN IT, AND PUT IT THROUGH THE SYSTEM, AND RUN IT, AND

10:34AM   11       THEN EXTRACT THE DATA, AND THEN ANALYZE THE DATA.

10:34AM   12             THERANOS HAD DIFFERENT PROCEDURES AT DIFFERENT TIMES SO

10:34AM   13       THERE WERE THE CAPSYS CARTRIDGES THAT WERE REFERRED TO A COUPLE

10:34AM   14       OF TIMES, AND THOSE WERE PREFILLED WITH REAGENTS, BUT WHEN I

10:34AM   15       FIRST GOT THERE THEY WERE ACTUALLY HAND FILLED, AND SO WE HAD

10:34AM   16       TO ACTUALLY MANUALLY PIPET A WHOLE BUNCH OF REAGENTS INTO THE

10:34AM   17       ACTUAL CARTRIDGES IN ORDER TO RUN THEM AT THE VERY BEGINNING OF

10:35AM   18       MY WORK THERE.

10:35AM   19             SO THAT'S ACTUALLY QUITE COMPLICATED.     SO YOU HAVE TO HAVE

10:35AM   20       A SCHEMATIC AND UNDERSTAND EXACTLY WHAT AND HOW MUCH OF A

10:35AM   21       CERTAIN SOLUTION GOES INTO EACH WELL IN THE EXACT SPOT SO THE

10:35AM   22       ASSAY CAN RUN PROPERLY.

10:35AM   23             SO IT WAS -- THAT'S GENERALLY THE PROCESS.

10:35AM   24       Q.    WHEN YOU WERE AT THERANOS, DID YOU ALSO HAVE OCCASION TO

10:35AM   25       PROCESS BLOOD SAMPLES ON THE UNMODIFIED THIRD PARTY DEVICES



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10:35AM    1       LIKE THE SIEMENS ADVIA?

10:35AM    2       A.    YES.

10:35AM    3       Q.    AND WHEN IT CAME TO A NUMBER OF STEPS IN THE PROCESS AND

10:35AM    4       HOW COMPLICATED IT WAS, HOW DID THE PROCESS ON THE

10:35AM    5       SIEMENS ADVIA COMPARE TO THE THERANOS ANALYZER?

10:35AM    6       A.    THE SIEMENS ADVIA WAS CONSIDERABLY LESS COMPLICATED.         MOST

10:35AM    7       OF THE TIME YOU JUST HAD TO PUT A BAR CODE LABEL ONTO THE

10:35AM    8       VENOUS TUBE AND YOU HAD TO STICK IT INTO THE MACHINE, AND MAYBE

10:35AM    9       YOU WOULD HAVE TO CHECK THE QC'S, THAT THEY WERE PERFORMED

10:35AM   10       ACCURATELY BEFORE YOU COULD RUN THE SAMPLE, BUT OTHER THAN THAT

10:35AM   11       IT WOULD JUST SCAN THE BAR CODE AND SHUFFLE THEM AND BE ABLE TO

10:36AM   12       RUN EVERYTHING AUTOMATICALLY.

10:36AM   13       Q.    HOW WOULD YOU COMPARE THE LEVEL OF AUTOMATION IN THE

10:36AM   14       SIEMENS ADVIA COMPARED TO THE THERANOS ANALYZER?

10:36AM   15       A.    THE SIEMENS ADVIA WAS CONSIDERABLY MORE SOPHISTICATED AND

10:36AM   16       A PRODUCT OF, YOU KNOW, A LOT OF ENGINEERING AND JUST HAD A LOT

10:36AM   17       OF AUTOMATION BUILT INTO THE PROCESS.

10:36AM   18             THERANOS THERE WASN'T -- THERE WAS A LACK OF AUTOMATION I

10:36AM   19       WOULD SAY IN COMPARISON.

10:36AM   20       Q.    THERE WAS ALSO SOME DISCUSSION ABOUT THE PRICES AT WHICH

10:36AM   21       THERANOS OFFERED ITS TESTS.

10:36AM   22             DO YOU RECALL THAT TESTIMONY?

10:36AM   23       A.    YES.

10:36AM   24       Q.    DID THE LOW PRICES OFFERED BY THERANOS AMELIORATE OR

10:36AM   25       REDUCE YOUR CONCERNS ABOUT THE ACCURACY OF THE TESTS IN ANY



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10:36AM    1       WAY?

10:36AM    2       A.     NO.

10:36AM    3       Q.     WHY NOT?

10:36AM    4       A.     JUST BECAUSE THEY'RE LESS -- YOU SHOULDN'T -- JUST BECAUSE

10:37AM    5       THEY'RE LESS EXPENSIVE DOESN'T MEAN THAT YOU SHOULD GIVE

10:37AM    6       SOMEONE FALSE INFORMATION ABOUT THEIR HEALTH STATUS.

10:37AM    7              YEAH, SO YOU SHOULD BE ABLE -- IF YOU ARE PROVIDING LAB

10:37AM    8       TESTING SERVICES FOR A PATIENT, IT STILL SHOULD BE OF A QUALITY

10:37AM    9       STANDARD THAT THEY CAN HAVE SOME CONFIDENCE THAT THERE IS

10:37AM   10       ACCURACY TO THE RESULT THAT THEY'RE RECEIVING.

10:37AM   11              IT SHOULDN'T BE THE CASE THAT BECAUSE YOU PAY LESS THIS

10:37AM   12       MEANS THAT YOU GET A LESS QUALITY RESULT.

10:37AM   13       Q.     THERE WAS SOME CONVERSATION OR SOME DISCUSSION DURING YOUR

10:37AM   14       DIRECT AND YOUR CROSS-EXAMINATION ABOUT THERANOS'S PRACTICE OF

10:37AM   15       REMOVING OUTLIERS FROM DATA SETS.

10:37AM   16              DO YOU RECALL THAT?

10:37AM   17       A.     YES.

10:37AM   18       Q.     AND THAT PROCESS OF OUTLIER REMOVAL WHERE A CERTAIN NUMBER

10:37AM   19       OF OUTLIERS WERE REMOVED FROM A DATA SET?

10:38AM   20       A.     CORRECT.

10:38AM   21       Q.     DID THAT PROCESS NEED TO BE EMPLOYED WHEN YOU WERE USING

10:38AM   22       THE SIEMENS ADVIA DEVICES OR OTHER THIRD PARTY DEVICES AT

10:38AM   23       THERANOS?

10:38AM   24       A.     THE OUTLIER DELETION PROCESS?

10:38AM   25       Q.     CORRECT.



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10:38AM    1       A.    I COULDN'T SPEAK FOR THE CYTOMETER, THAT'S NOT WHAT I SAW

10:38AM    2       FOR GENERAL CHEMISTRY.      IT WAS SOMETHING VERY SPECIFIC TO THE

10:38AM    3       EDISON DEVICES.

10:38AM    4       Q.    MR. WADE ALSO ASKED YOU ABOUT THE TIME PERIOD AFTER YOU

10:38AM    5       LEFT THE COMPANY AND SOME CALLS YOU GOT FROM HR AT THERANOS; IS

10:38AM    6       THAT CORRECT?

10:38AM    7       A.    THAT IS CORRECT.

10:38AM    8       Q.    AND WHY DID YOU NOT RETURN THOSE CALLS?

10:38AM    9       A.    I DIDN'T, I DIDN'T RETURN THE CALLS BECAUSE, ONE, I DIDN'T

10:38AM   10       WORK FOR THE COMPANY ANYMORE, AND, HONESTLY, WHEN I HEARD

10:38AM   11       MONA'S VOICE AND HOW SCARED SHE SOUNDED, IT JUST REMINDED ME OF

10:38AM   12       HOW SCARED I WAS WORKING FOR THAT COMPANY, AND SO I JUST FELT

10:38AM   13       THAT I DIDN'T HAVE TO, IT WASN'T MY RESPONSIBILITY TO PICK UP

10:38AM   14       THE PHONE AND TALK TO THESE PEOPLE, THAT I HAD THE RIGHT TO NOT

10:39AM   15       SPEAK TO THEM.

10:39AM   16                   MR. BOSTIC:    NO FURTHER QUESTIONS.

10:39AM   17             THANK YOU, YOUR HONOR.

10:39AM   18                   MR. WADE:    NOTHING FURTHER.

10:39AM   19                   THE COURT:    ALL RIGHT.   MAY THIS WITNESS BE EXCUSED?

10:39AM   20                   MR. BOSTIC:    YES, YOUR HONOR.

10:39AM   21             AND FROM THE GOVERNMENT'S PERSPECTIVE, NOT SUBJECT TO

10:39AM   22       RECALL.

10:39AM   23                   MR. WADE:    YES, YOUR HONOR, WE HAVE A DOCUMENT

10:39AM   24       ISSUE, BUT IT'S UNRELATED TO THE TESTIMONY.

10:39AM   25                   THE COURT:    ALL RIGHT.   THANK YOU.



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10:39AM    1             THANK YOU VERY MUCH.      YOU'RE EXCUSED.   YOU MAY STAND DOWN.

10:39AM    2                    THE WITNESS:    THANK YOU.

10:39AM    3                    THE COURT:    JUST LEAVE EVERYTHING.

10:39AM    4             DOES THE GOVERNMENT HAVE ANOTHER WITNESS TO CALL?

10:39AM    5                    MR. LEACH:    YES, YOUR HONOR.    THE UNITED STATES

10:39AM    6       CALLED SUREKHA GANGADKHEDKAR.

10:39AM    7                    THE COURT:    ALL RIGHT.   THANK YOU.   FOLKS, YOU CAN

10:39AM    8       STAND UP AND STRETCH FOR JUST A MINUTE IF YOU WOULD LIKE.

10:39AM    9             WE'RE GOING TO TAKE OUR BREAK IN ABOUT 15 OR 20 MINUTES,

10:39AM   10       BUT FEEL FREE TO STAND UP AND STRETCH IF YOU WOULD LIKE.

10:40AM   11             (STRETCHING.)

10:40AM   12                    MR. LEACH:    YOUR HONOR, MAY I RETRIEVE THE BINDERS?

10:40AM   13                    MR. WADE:    OH, SORRY.

10:40AM   14                    THE COURT:    YES, YES, YOU CAN GET YOUR THINGS.

10:40AM   15                    MR. WADE:    JUST GIVE US THE STACK.

10:40AM   16             (STRETCHING.)

10:40AM   17                    THE COURT:    GOOD MORNING.    IF YOU COULD STAND FOR

10:40AM   18       JUST A MINUTE, PLEASE.       IF YOU COULD FACE OUR COURTROOM DEPUTY.

10:40AM   19       SHE'S RIGHT IN FRONT OF YOU.        IF YOU COULD RAISE YOUR RIGHT

10:40AM   20       HAND, SHE HAS A QUESTION FOR YOU.

10:41AM   21             (GOVERNMENT'S WITNESS, SUREKHA GANGAKHEDKAR, WAS SWORN.)

10:41AM   22                    THE WITNESS:    YES.

10:41AM   23                    THE COURT:    THANK YOU.   LET ME INVITE YOU TO HAVE A

10:41AM   24       SEAT HERE.    MAKE YOURSELF COMFORTABLE.      FEEL FREE TO ADJUST THE

10:41AM   25       CHAIR AND MICROPHONE AS YOU NEED.         THE MICROPHONE DOES MOVE.



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10:41AM    1       I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

10:41AM    2             WHEN YOU ARE COMFORTABLE, WOULD YOU STATE YOUR NAME,

10:41AM    3       PLEASE.

10:41AM    4                    THE WITNESS:    MY NAME IS SUREKHA GANGADKHEDKAR.

10:41AM    5       S-U-R-E-K-H-A, AND THE LAST NAME IS G-A-N-G-A-K-H-E-D-K-A-R.

10:41AM    6                    THE COURT:    THANK YOU VERY MUCH.

10:41AM    7             COUNSEL.

10:41AM    8                                  DIRECT EXAMINATION

10:41AM    9       BY MR. LEACH:

10:41AM   10       Q.    THANK YOU.   GOOD MORNING, MS. GANGAKHEDKAR.

10:42AM   11             ARE YOU COMFORTABLE REMOVING YOUR MASK?

10:42AM   12       A.    YES, I AM.

10:42AM   13       Q.    THANK YOU SO MUCH.      ARE YOU APPEARING HERE TODAY PURSUANT

10:42AM   14       TO A SUBPOENA TO TESTIFY?

10:42AM   15       A.    YES.

10:42AM   16                    THE COURT:    COULD YOU GET A LITTLE CLOSER TO THE

10:42AM   17       MICROPHONE.    IT MOVES.     I THINK YOU CAN PULL IT TOWARDS YOU

10:42AM   18       ALSO I BELIEVE.    THERE WE ARE.     THANK YOU VERY MUCH.

10:42AM   19                    THE WITNESS:    OKAY.

10:42AM   20       BY MR. LEACH:

10:42AM   21       Q.    I'VE PLACED BEFORE YOU A BINDER OF DOCUMENTS, AND I'D LIKE

10:42AM   22       TO PLEASE DRAW YOUR ATTENTION TO WHAT HAS BEEN MARKED FOR

10:42AM   23       IDENTIFICATION PURPOSES AS EXHIBIT 5402.        IT SHOULD BE IN THE

10:42AM   24       BACK.

10:42AM   25       A.    YES.



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10:42AM    1       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

10:42AM    2       A.    I DO.

10:42AM    3       Q.    IS THIS A DOCUMENT ENTITLED ORDER WITH A DATE ON PAGE 2 OF

10:43AM    4       SEPTEMBER 14TH, 2021?

10:43AM    5       A.    YES.

10:43AM    6       Q.    HAVE YOU SEEN THIS DOCUMENT BEFORE?

10:43AM    7       A.    I HAVE.

10:43AM    8       Q.    OKAY.   DO YOU UNDERSTAND THAT THE COURT HAS ISSUED AN

10:43AM    9       ORDER THAT YOU SHALL TESTIFY UNDER OATH IN THIS CASE?

10:43AM   10       A.    YES.

10:43AM   11       Q.    AND DO YOU UNDERSTAND THAT THE COURT HAS ORDERED THAT THE

10:43AM   12       TESTIMONY AND OTHER INFORMATION COMPELLED FROM YOU PURSUANT TO

10:43AM   13       THE ORDER MAY NOT BE USED AGAINST YOU IN A CRIMINAL CASE?

10:43AM   14       A.    YES.

10:43AM   15       Q.    AND DO YOU UNDERSTAND THAT JUDGE DAVILA'S ORDER ALSO

10:43AM   16       PROVIDES THAT ANY INFORMATION DIRECTLY OR INDIRECTLY DERIVED

10:43AM   17       FROM YOUR TESTIMONY CANNOT BE USED AGAINST YOU IN A CRIMINAL

10:43AM   18       CASE?

10:43AM   19       A.    YES.

10:43AM   20       Q.    WOULD YOU PLEASE DESCRIBE YOUR EDUCATIONAL BACKGROUND FOR

10:43AM   21       US?

10:43AM   22       A.    YES.    I COMPLETED MY BACHELOR'S OF SCIENCE IN INDIA, IN

10:43AM   23       THE CITY OF HYDERABAD.

10:43AM   24             AND WHEN I CAME TO THE U.S. I COMPLETED MY MASTER'S OF

10:44AM   25       SCIENCE FROM SAN JOSE STATE UNIVERSITY.



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10:44AM    1             MOST RECENTLY I DO HAVE AN MBA FROM THE UNIVERSITY OF

10:44AM    2       NORTH CAROLINA, CHAPEL HILL.

10:44AM    3       Q.    THE UNIVERSITY OF NORTH CAROLINA?

10:44AM    4       A.    YES.

10:44AM    5       Q.    OKAY.   AND THE MASTER'S DEGREE FROM SAN JOSE STATE THAT

10:44AM    6       YOU DESCRIBED, APPROXIMATELY WHEN DID YOU GET THAT?

10:44AM    7       A.    I GRADUATED IN 1999.

10:44AM    8       Q.    AND I THINK YOU DESCRIBED IT AS A MASTER'S IN SCIENCE.

10:44AM    9       WAS THERE A PARTICULAR FOCUS WITHIN THE SCIENCES THAT YOUR

10:44AM   10       DEGREE IS IN?

10:44AM   11       A.    IT'S IN CHEMISTRY.

10:44AM   12       Q.    CHEMISTRY.   OKAY.

10:44AM   13             AFTER YOU OBTAINED YOUR MASTER'S DEGREE IN CHEMISTRY FROM

10:44AM   14       SAN JOSE STATE, WHAT DID YOU DO FOR A LIVING?

10:44AM   15       A.    SO I WAS EMPLOYED AT A STARTUP COMPANY CALLED ACLARA

10:44AM   16       BIOSCIENCES.

10:44AM   17       Q.    COULD YOU SPELL THAT FOR US?

10:44AM   18       A.    YES.    A-C-L-A-R-A, ACLARA, AND THEN BIOSCIENCES.    IT IS

10:45AM   19       ONE WORD, B-I-O-S-C-I-E-N-C-E-S.

10:45AM   20       Q.    THANK YOU SO MUCH.

10:45AM   21             WHAT DID YOU DO AT ACLARA BIOSCIENCES?

10:45AM   22       A.    SO MY JOB WAS TO DEVELOP ENZYME IMMUNOASSAYS ON THE

10:45AM   23       PROPRIETARY SYSTEMS THAT THEY WERE BUILDING.

10:45AM   24       Q.    AND HOW LONG DID YOU WORK AT ACLARA BIOSCIENCES?

10:45AM   25       A.    SO I WAS EMPLOYED THERE UNTIL 2005.



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10:45AM    1       Q.    2005?

10:45AM    2       A.    YES.

10:45AM    3       Q.    OKAY.   AND WHAT DID YOU DO IN 2005?

10:45AM    4       A.    SO THE COMPANY, ACLARA BIOSCIENCES, MERGED WITH ANOTHER

10:45AM    5       ORGANIZATION, AND THEY RELOCATED FROM MOUNTAIN VIEW TO SOUTH

10:45AM    6       SAN FRANCISCO.    SO THE COMMUTE WAS REALLY LONG FOR ME SO I

10:45AM    7       RESIGNED FROM THAT POSITION, AND I WAS AT THAT POINT SEEKING

10:45AM    8       FOR ADDITIONAL WORK.

10:45AM    9       Q.    OKAY.   AND DID YOU FIND ADDITIONAL WORK SOMEWHERE?

10:46AM   10       A.    YES, I DID.   SO I JOINED THERANOS IN 2005.

10:46AM   11       Q.    IN 2005?

10:46AM   12       A.    YES.

10:46AM   13       Q.    HOW BIG WAS THE COMPANY AT THAT POINT IN TIME IN 2005?

10:46AM   14       A.    I WOULD THINK IT WAS APPROXIMATELY -- THERE WERE ABOUT

10:46AM   15       LIKE 20 INDIVIDUALS, EMPLOYEES AT THAT TIME.

10:46AM   16       Q.    SO YOU WERE WITHIN ONE OF THE FIRST 25 PEOPLE TO START

10:46AM   17       WORKING AT THERANOS?

10:46AM   18       A.    I THINK SO.

10:46AM   19       Q.    OKAY.   AND WHAT WERE YOU HIRED TO DO AT THERANOS?

10:46AM   20       A.    I WAS HIRED TO DEVELOP ASSAYS AS A SENIOR SCIENTIST.

10:46AM   21       Q.    AND WHEN YOU SAY "DEVELOP ASSAYS," WHAT DO YOU MEAN BY

10:46AM   22       THAT?

10:46AM   23       A.    SO ESSENTIALLY DEVELOP TESTS THAT ARE ABLE TO DETECT

10:46AM   24       CERTAIN LEVELS OF, SAY, LIKE PROTEINS IN SAMPLES.

10:46AM   25       Q.    AND DID YOU FOCUS ON A PARTICULAR AREA OF ASSAY



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10:46AM    1       DEVELOPMENT?

10:46AM    2       A.    YES, THE FOCUS WAS ON A PARTICULAR TYPE OF ASSAY CALLED

10:46AM    3       IMMUNOASSAYS.

10:46AM    4       Q.    IS THERE ANOTHER WORD THAT IS USED TO DESCRIBE

10:47AM    5       IMMUNOASSAYS SUCH AS THE ONES THAT YOU WERE WORKING ON?

10:47AM    6       A.    ALSO CALLED ELISA'S.

10:47AM    7       Q.    AND IS THAT E-L-I-S-A-S?

10:47AM    8       A.    YES.

10:47AM    9       Q.    FOR PLURAL.

10:47AM   10             AND YOU WERE A SENIOR SCIENTIST WHEN YOU STARTED?

10:47AM   11       A.    YES.

10:47AM   12       Q.    AND OVER TIME WERE YOU PROMOTED WITHIN THERANOS?

10:47AM   13       A.    YES.    IN A FEW YEARS I WAS PROMOTED TO BE THE TEAM LEAD

10:47AM   14       FOR THE GROUP AND EVENTUALLY I WAS PROMOTED TO BE THE MANAGER

10:47AM   15       FOR THE ASSAY SYSTEMS.

10:47AM   16       Q.    AND ROUGHLY, WHEN DID YOU BECOME THE MANAGER OF

10:47AM   17       SIEMENS ADVIA SYSTEMS WITHIN THERANOS?

10:47AM   18       A.    I WOULD THINK APPROXIMATELY 2009.

10:47AM   19       Q.    AT THAT TIME PERIOD IN 2009, WHO DID YOU REPORT TO?

10:47AM   20       A.    TO GARY FRENZEL.

10:47AM   21       Q.    OKAY.   DID THAT CHANGE AT SOME POINT?

10:47AM   22       A.    YES, IN THE NEXT FEW YEARS.

10:47AM   23       Q.    OKAY.   AND WHO DID YOU REPORT TO AFTER THAT?

10:47AM   24       A.    TO MS. ELIZABETH HOLMES.

10:48AM   25       Q.    AND WHAT WERE THE CIRCUMSTANCES THAT CAUSED YOU TO START



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10:48AM    1       REPORTING TO MS. HOLMES AS OPPOSED TO MR. FRENZEL?

10:48AM    2       A.    SO I THINK GARY FRENZEL WAS GOING THROUGH SOME HEALTH

10:48AM    3       ISSUES AND HE COULDN'T BE IN THE OFFICE AS FREQUENTLY, SO THAT

10:48AM    4       WAS ONE OF THE REASONS THAT I WAS -- THAT THE REPORTING

10:48AM    5       STRUCTURE CHANGED.

10:48AM    6       Q.    OKAY.   AND DID YOU MEET WITH MS. HOLMES ON A REGULAR BASIS

10:48AM    7       AS THE MANAGER OF ASSAY SYSTEMS?

10:48AM    8       A.    YES, I DID.

10:48AM    9       Q.    ALL RIGHT.    AND DID SHE HAVE THE RIGHT TO DIRECT AND

10:48AM   10       CONTROL YOUR WORK?

10:48AM   11       A.    YES.

10:48AM   12       Q.    DID YOU -- HOW LONG DID YOU STAY AT THERANOS?

10:48AM   13       A.    UNTIL 2013.

10:48AM   14       Q.    WHEN IN 2013 DID YOU LEAVE THERANOS?

10:48AM   15       A.    SO I BELIEVE I TENDERED MY RECOGNITION IN THE FIRST WEEK

10:48AM   16       IN SEPTEMBER.    I THINK IT WAS AROUND SEPTEMBER 5TH.

10:48AM   17       Q.    OKAY.   WHY DID YOU RESIGN FROM THERANOS?

10:48AM   18       A.    SO PRIMARILY THE COMPANY WAS LOOKING TO LAUNCH ASSAYS ON

10:49AM   19       THE PROPRIETARY DEVICES, AND I WAS NOT COMFORTABLE IN THE

10:49AM   20       DIRECTION THAT THEY WERE GOING SO I DID NOT, I DID NOT -- I WAS

10:49AM   21       NOT ALIGNED WITH SOME OF THOSE POSITIONS.

10:49AM   22       Q.    OKAY.   WHEN YOU SAY YOU "WEREN'T COMFORTABLE," WHAT DO YOU

10:49AM   23       MEAN BY THAT?

10:49AM   24       A.    SO THE LAUNCH WAS GOING TO BE USING THE EDISON'S 3.0, OR

10:49AM   25       3.5'S.   SO WE KNEW THAT THEY WERE DEVELOPMENT MACHINES THAT THE



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10:49AM    1       ASSAY DEVELOPMENT GROUP WAS USING TO DEVELOP ASSAYS.

10:49AM    2                     THE COURT:    LOWER THAT MIKE A LITTLE IF YOU WOULD,

10:49AM    3       PLEASE, AND THAT WILL BE HELPFUL.       THANK YOU.

10:49AM    4                     THE WITNESS:    SO ESSENTIALLY I DIDN'T THINK THAT

10:49AM    5       THAT WAS THE RIGHT DECISION.

10:50AM    6       BY MR. LEACH:

10:50AM    7       Q.    WHAT DO YOU MEAN IT WASN'T THE RIGHT DECISION?

10:50AM    8       A.    THE USE OF EDISON 3.0'S TO TEST CLINICAL SAMPLES.

10:50AM    9       Q.    WE'LL COME BACK IN A LITTLE BIT TO YOUR DECISION TO LEAVE,

10:50AM   10       MS. GANGAKHEDKAR.

10:50AM   11             BUT I THINK YOU ALSO TESTIFIED THAT YOU HAVE AN MBA FROM

10:50AM   12       UNIVERSITY OF NORTH CAROLINA IN CHAPEL HILL.         IS THAT SOMETHING

10:50AM   13       THAT YOU GOT AFTER YOUR TENURE AT THERANOS?

10:50AM   14       A.    YES.    SO THAT WAS AN ONLINE DEGREE AND SO, YES, I DID GET

10:50AM   15       MY MBA AFTER THERANOS.

10:50AM   16       Q.    AND WHERE ARE YOU WORKING TODAY?

10:50AM   17       A.    I'M WORKING AT A COMPANY CALLED CEPHEID.

10:50AM   18       Q.    AND COULD YOU SPELL THAT FOR HE, PLEASE?

10:50AM   19       A.    YEAH.    C-E-P-H-E-I-D.

10:50AM   20       Q.    I WANT TO GO BACK IF WE COULD, MS. GANGAKHEDKAR, TO THE

10:50AM   21       TIME PERIOD ROUGHLY 2005 TO 2010 AFTER YOU START AT THERANOS

10:50AM   22       AND ESSENTIALLY UP UNTIL THE POINT THAT YOU BECOME THE MANAGER

10:50AM   23       OF ASSAY SYSTEMS.

10:51AM   24             AT A HIGH LEVEL DESCRIBE FOR US WHAT THE COMPANY WAS DOING

10:51AM   25       WITH ITS ASSAY DEVELOPMENT DURING THAT TIME PERIOD?



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10:51AM    1       A.    YES.    SO BASICALLY WE WERE -- THE GOAL WAS TO DOUBLE UP

10:51AM    2       ASSAYS IN HOUSE ON THE PROPRIETARY THERANOS DEVICES THAT THE

10:51AM    3       COMPANY WAS BUILDING.

10:51AM    4       Q.    WHEN YOU SAY THE "PROPRIETARY DEVICES," WHAT DO YOU MEAN?

10:51AM    5       WHAT WERE THEY IN THIS TIME PERIOD?

10:51AM    6       A.    SO THERE WERE SEVERAL ITERATIONS AND THE MOST RECENT ONE

10:51AM    7       WERE CALLED THE EDISONS.

10:51AM    8       Q.    AND YOUR FOCUS IS ON ASSAY DEVELOPMENT.       CAN YOU HELP US

10:51AM    9       UNDERSTAND A LITTLE BIT WHAT THE PROCESS OF THAT IS, HOW YOU GO

10:51AM   10       ABOUT DOING YOUR WORK?

10:51AM   11       A.    YES.    SO ESSENTIALLY WHEN A TARGET OF -- I THINK A TARGET

10:51AM   12       WAS DEFINED AS TO WHICH PARTICULAR TEST WE WILL BE DEVELOPING

10:51AM   13       THIS TEST FOR, SO WE WOULD CONDUCT THE RESEARCH, UNDERSTAND THE

10:52AM   14       BACKGROUND OF WHAT THE TARGET IS, WHAT KIND OF REAGENTS ARE

10:52AM   15       REQUIRED TO DEVELOP THIS TEST, ORDER THOSE, AND THEN CONDUCT

10:52AM   16       SOME EXPERIMENTS TO OPTIMIZE THE TESTS, SO MAKING SURE THAT THE

10:52AM   17       REAGENTS ARE APPROPRIATE, WE HAVE LIKE THE RIGHT EXPERIMENTAL

10:52AM   18       CONDITIONS SO THAT WE HAVE A RELIABLE RESULT.

10:52AM   19       Q.    OKAY.   AND WHAT IS A REAGENT?

10:52AM   20       A.    SO IN THE CASE OF AN IMMUNOASSAY, THE REAGENT COULD EITHER

10:52AM   21       BE ANTIBODIES THAT ARE USED TO DETECT THE TARGET IN QUESTION,

10:52AM   22       IT COULD BE LIKE BUFFERS, ESSENTIALLY OTHER CHEMICALS THAT ARE

10:52AM   23       USED TO SUPPORT THE EXPERIMENTAL RESULT.

10:52AM   24       Q.    AND YOU WERE WORKING ON DEVELOPING ASSAYS FOR USE ON A

10:52AM   25       PARTICULAR DEVICE IN THIS TIME PERIOD?



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10:52AM    1       A.    YES.

10:52AM    2       Q.    AND I HEARD YOU USE THE TERM "EDISON."        WAS THERE ALSO

10:52AM    3       SOMETHING CALLED A 1.0?

10:52AM    4       A.    YES.    SO THAT WAS THE VERSION BEFORE THE EDISONS.

10:53AM    5       Q.    OKAY.   WAS THERE SOMETHING BETWEEN THE 1.0 AND THE

10:53AM    6       EDISONS?

10:53AM    7       A.    I DON'T EXACTLY RECOLLECT AT THIS POINT, BUT THEY'RE VERY

10:53AM    8       DIFFERENT ITERATIONS OF THE DEVICES.

10:53AM    9       Q.    OKAY.   AND IN THE COURSE OF DEVELOPING ASSAYS FOR USE ON

10:53AM   10       THE 1.0 AND THE EDISONS AND ANYTHING IN BETWEEN, DID YOU BECOME

10:53AM   11       FAMILIAR WITH THE CAPABILITIES OF THOSE DEVICES?

10:53AM   12       A.    YES.

10:53AM   13       Q.    OKAY.   AND IN THIS TIME PERIOD, 2005 TO 2010, TO WHAT END

10:53AM   14       WAS THERANOS DEVELOPING ASSAYS FOR USE ON A DEVICE?        WAS THERE

10:53AM   15       AN END CUSTOMER OR SOME CONSTITUENCY THAT YOU WERE WORKING

10:53AM   16       TOWARDS?

10:53AM   17       A.    SO MOSTLY I WOULD SAY THAT THERE WERE SEVERAL PROJECTS

10:53AM   18       MOSTLY RELATED TO PHARMACEUTICAL COMPANIES.

10:53AM   19       Q.    AND DO YOU RECALL ANY OF THOSE PHARMACEUTICAL COMPANIES

10:53AM   20       OFFHAND?

10:53AM   21       A.    YES.    SO THERE WAS GSK, THERE WAS CENTOCOR, THERE WAS

10:53AM   22       CELGENE.

10:53AM   23       Q.    LET ME PLEASE DRAW YOUR ATTENTION TO WHAT WE HAVE MARKED

10:54AM   24       AS EXHIBIT 112.     IT SHOULD BE IN YOUR BINDER THERE.

10:54AM   25             ARE YOU FAMILIAR WITH THIS DOCUMENT, MS. GANGAKHEDKAR?



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10:54AM    1       A.    YES.

10:54AM    2       Q.    IS THIS AN EMAIL THAT YOU RECEIVED FROM SOMEONE NAMED

10:54AM    3       SUSAN DIGIAIMO DATED JUNE 11TH, 2008?

10:54AM    4       A.    YES.

10:54AM    5       Q.    AND DOES THIS ALSO GO TO MS. HOLMES?

10:54AM    6       A.    YES.

10:54AM    7                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 112 INTO

10:54AM    8       EVIDENCE.

10:54AM    9                    MR. WADE:    I THINK WE STIPULATED ON THIS ONE.

10:54AM   10                    THE COURT:    RIGHT.   IT WILL BE ADMITTED, AND IT MAY

10:54AM   11       BE PUBLISHED.

10:54AM   12             (GOVERNMENT'S EXHIBIT 112 WAS RECEIVED IN EVIDENCE.)

10:54AM   13                    MR. LEACH:    MS. HOLLIMAN, IF WE CAN PLEASE ENLARGE

10:54AM   14       THE TOP PART OF THE EMAIL.

10:55AM   15             WONDERFUL.

10:55AM   16       Q.    MS. GANGAKHEDKAR, I DRAW YOUR ATTENTION TO THE FIRST EMAIL

10:55AM   17       IN THE CHAIN.    THIS IS TO A NUMBER OF INDIVIDUALS AT GSK.COM

10:55AM   18       FROM SOMEONE NAMED NELSON RHODES AT GSK.COM.

10:55AM   19             DO YOU SEE THAT?

10:55AM   20       A.    YES.

10:55AM   21       Q.    AND WHAT IS GSK?

10:55AM   22       A.    GLAXO SMITH KLINE.

10:55AM   23       Q.    IS THAT A MAJOR PHARMACEUTICAL COMPANY?

10:55AM   24       A.    YES.

10:55AM   25       Q.    AND WHO IS NELSON RHODES?



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10:55AM    1       A.    SO HE WAS THE STUDY COORDINATOR FOR GSK.

10:55AM    2       Q.    I'M SORRY, THE STUDY COORDINATOR?

10:55AM    3       A.    YES.

10:55AM    4       Q.    AND WHAT DO YOU MEAN BY THE -- WHAT WAS THE STUDY?

10:55AM    5       A.    SO THERANOS HAD A STUDY WHERE WE WERE TESTING SOME SAMPLES

10:55AM    6       THAT HAD BEEN PROVIDED BY THE STUDY COORDINATOR ON THE EDISON

10:55AM    7       SYSTEMS.

10:55AM    8       Q.    OKAY.   I'LL ASK YOU SOME MORE DETAILS ABOUT THAT, BUT

10:56AM    9       FIRST WHO IS SUSAN DIGIAIMO?

10:56AM   10       A.    SO I BELIEVE SHE WAS -- I BELIEVE SHE WAS THE COMMERCIAL

10:56AM   11       LEAD FOR THERANOS.

10:56AM   12       Q.    OKAY.   AND THE COMMERCIAL LEAD IS ESSENTIALLY A

10:56AM   13       SALESPERSON?

10:56AM   14       A.    I THINK SO, YEAH.

10:56AM   15       Q.    OKAY.   AND THIS ULTIMATELY IS FORWARDED TO YOU,

10:56AM   16       MS. HOLMES, THERE'S ALSO TWO INDIVIDUALS IN THE TO LINE,

10:56AM   17       IAN GIBBONS AND GARY FRENZEL.

10:56AM   18             CAN YOU JUST EXPLAIN WHO THEY WERE IN THIS TIME PERIOD?

10:56AM   19       A.    SO GARY FRENZEL WAS MY MANAGER AND IAN GIBBONS WAS I THINK

10:56AM   20       THE TECHNICAL LEAD, TECHNICAL LEAD FOR THE COMPANY.

10:56AM   21       Q.    OKAY.   AND, MR. FRENZEL, IS THAT THE INDIVIDUAL WHO YOU

10:56AM   22       REPLACED ESSENTIALLY AS THE MANAGER OF ASSAY SYSTEMS LATER ON

10:56AM   23       IN TIME?

10:56AM   24       A.    YES.

10:56AM   25       Q.    OKAY.   MR. RHODES OR NELSON RHODES IS WRITING IN THE FIRST



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10:56AM    1       EMAIL, "PLEASE FIND THE ATTACHED METABOLIC BIOMARKER LAB

10:56AM    2       SUMMARY OF THE THERANOS SYSTEMS EVALUATION THAT TOOK PLACE MAY

10:57AM    3       27TH-28, 2008."

10:57AM    4             DO YOU SEE THAT LANGUAGE?

10:57AM    5       A.    YES.

10:57AM    6       Q.    AND YOU'RE FAMILIAR WITH THAT STUDY?

10:57AM    7       A.    YES.

10:57AM    8       Q.    AND DID YOU GO TO GSK TO ASSIST ABOUT THAT STUDY?

10:57AM    9       A.    YES, I DID.

10:57AM   10       Q.    AND DID YOU KEEP MS. HOLMES APPRISED DURING THIS STUDY OF

10:57AM   11       WHAT WAS GOING ON?

10:57AM   12       A.    YES.

10:57AM   13       Q.    OKAY.   TELL US WHAT HAPPENED?    WHAT WERE SOME OF THE

10:57AM   14       DETAILS OF THE STUDY?

10:57AM   15       A.    SO BASICALLY SUSAN AND I WENT TO THE LAB AT GSK, WE HAD A

10:57AM   16       COUPLE OF SEVERAL OF THE EDISON INSTRUMENTS WITH US, AND SO THE

10:57AM   17       STUDY COORDINATOR AT GSK, NELSON, WOULD GIVE US SAMPLES TO RUN

10:57AM   18       IN THE LAB ON THEIR SYSTEMS, AND I WOULD RUN THOSE SAMPLES.

10:57AM   19       Q.    AND APPROXIMATELY HOW MANY SAMPLES DID YOU RUN?

10:57AM   20       A.    I DON'T RECOLLECT THE EXACT NUMBER.

10:57AM   21       Q.    IS IT MORE THAN 50?

10:57AM   22       A.    APPROXIMATELY.   YEAH.

10:57AM   23       Q.    OKAY.   AND THE DOCUMENT -- THERE'S A DOCUMENT ATTACHED TO

10:57AM   24       MS. DIGIAIMO'S EMAIL AND IT'S ENTITLED THERANOS EVALUATION

10:58AM   25       SUMMARY 09 JUNE 2008.DOC.



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10:58AM    1             DO YOU SEE THAT?

10:58AM    2       A.    YES.

10:58AM    3       Q.    AND THAT'S SOMETHING THAT YOU REVIEWED AT OR AROUND THE

10:58AM    4       TIME THAT YOU RECEIVED THIS?

10:58AM    5       A.    I THINK SO.

10:58AM    6       Q.    OKAY.   LET'S LOOK AT THAT DOCUMENT.    IF WE CAN GO, PLEASE,

10:58AM    7       TO PAGE 2 OF THE EXHIBIT.

10:58AM    8       A.    UH-HUH.

10:58AM    9       Q.    IF WE CAN HIGHLIGHT OR EXPAND THE ENTIRETY OF THE TEXT

10:58AM   10       THERE, MS. HOLLIMAN, OR EXPAND THE ENTIRETY OF THE TEXT THERE.

10:58AM   11       THANK YOU.

10:58AM   12             MS. GANGAKHEDKAR, DO YOU SEE AT THE TOP WHERE IT SAYS

10:58AM   13       BACKGROUND INFORMATION?

10:58AM   14       A.    YES.

10:58AM   15       Q.    AND THEN IT READS, "ON MAY 27-28, 2008 THE THERANOS SYSTEM

10:58AM   16       WAS EVALUATED TO GSK TO PROFILE ACTIVE GLP-1 AND C-PEPTIDE

10:59AM   17       VALUES AND THESE DATA WERE COMPARE TO GOLD STANDARD ELISA'S

10:59AM   18       USING FROZEN HUMAN PLASMA FROM STUDY AX," AND THE NUMBER

10:59AM   19       CONTINUES.

10:59AM   20             AND MY FIRST QUESTION IS WHAT IS GLP-1?

10:59AM   21       A.    SO THAT'S A PEPTIDE HORMONE, SO THAT WAS THE TARGET FOR

10:59AM   22       ONE OF THE TESTS.

10:59AM   23       Q.    THAT WAS THE TARGET OF THE DRUG THAT GSK WAS DEVELOPING?

10:59AM   24       A.    I WOULD THINK SO, BUT THE GLP-1 IS THE ASSAY THAT WE

10:59AM   25       WERE -- WE HAD DEVELOPED IN HOUSE.



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10:59AM    1       Q.    OKAY.   THANK YOU.

10:59AM    2             IN THE NEXT FULL PARAGRAPH IT SAYS, "30 PLASMA SAMPLES

10:59AM    3       (ASSAYED IN DUPLICATE) WERE CHOSEN BASED ON HISTORICAL GSK DATA

10:59AM    4       FOR TOTAL GLP-1 LEVELS FROM SUBJECTS GIVEN A MIXED MEAL AND TWO

10:59AM    5       FINGERPRICK BLOOD DRAWS WERE PERFORMED."

10:59AM    6             DOES THAT REFRESH YOUR MEMORY ABOUT THE NUMBER OF SAMPLES

11:00AM    7       THAT WERE USED IN THIS STUDY?

11:00AM    8       A.    YES, IT DOES.

11:00AM    9       Q.    IT THEN SAYS, "FIVE THERANOS MACHINES WERE USED."

11:00AM   10             DO YOU SEE THAT LANGUAGE?

11:00AM   11       A.    YES.

11:00AM   12       Q.    AND DO YOU BELIEVE THAT TO BE ACCURATE?

11:00AM   13       A.    YES.

11:00AM   14       Q.    OKAY.   LET'S GO TO THE NEXT PAGE, PLEASE, PAGE 3.      IF WE

11:00AM   15       COULD ZOOM IN ON THE ENTIRETY OF THE TEXT, MS. HOLLIMAN.

11:00AM   16             THANK YOU.

11:00AM   17             DO YOU SEE THE GSK METABOLIC BIOMARKER LAB COMMENTS

11:00AM   18       HEADING AT THE TOP, MS. GANGAKHEDKAR?

11:00AM   19       A.    YES.

11:00AM   20       Q.    OKAY.   AND THERE ARE A NUMBER OF BULLETS THERE THAT SAY,

11:00AM   21       "DATA SHOW GOOD CORRELATION, MACHINES WORKED WELL, CARTRIDGES

11:00AM   22       WERE PRETTY STRAIGHTFORWARD, FINGERPRICK/BLOOD DRAW PROCEDURE

11:01AM   23       WAS DIFFICULT."

11:01AM   24             DO YOU SEE THAT LANGUAGE?

11:01AM   25       A.    YES.



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11:01AM    1        Q.   AND ARE THESE THE CONCLUSIONS THAT GSK IS COMMUNICATING TO

11:01AM    2        THERANOS BASED ON THIS TWO-DAY STUDY?

11:01AM    3        A.   I THINK SO.

11:01AM    4        Q.   OKAY.    DID YOU VIEW THIS TWO DAY VALUATION, OR THIS TWO

11:01AM    5        DAY STUDY AS VALUATION BY GSK OF THE THERANOS SYSTEM?

11:01AM    6        A.   SO AT THAT POINT I THOUGHT SO.

11:01AM    7        Q.   DID YOU CONSIDER THIS A FEASIBILITY STUDY OR MORE FORMAL

11:01AM    8        VALIDATION?

11:01AM    9        A.   I THINK THIS WOULD FALL UNDER FEASIBILITY STUDY.

11:01AM   10        Q.   WHAT DO YOU MEAN BY THAT?

11:01AM   11        A.   SO BASICALLY THIS WAS THE FIRST VALUATION FROM GSK TO SHOW

11:01AM   12        HOW THE THERANOS SYSTEMS ARE BEHAVING.

11:01AM   13        Q.   OKAY.    AND DO YOU CONTRAST IN YOUR MIND THE FEASIBILITY

11:02AM   14        STUDY VERSUS FORMAL VALIDATION?

11:02AM   15        A.   COULD YOU REPEAT YOUR QUESTION, PLEASE.

11:02AM   16        Q.   DO YOU DISTINGUISH BETWEEN THE CONCEPT OF A FEASIBILITY

11:02AM   17        STUDY VERSUS FORMAL VALIDATION OF AN ASSAY?

11:02AM   18        A.   I THINK SO, YES.

11:02AM   19        Q.   EXPLAIN THAT FOR US, PLEASE.

11:02AM   20        A.   SO THE VALIDATION STUDY WOULD HAVE MORE EITHER EXAMPLES OR

11:02AM   21        ADDITIONAL TESTS.

11:02AM   22        Q.   OKAY.    AND MORE THAN THE 30 SAMPLES THAT ARE, THAT ARE AT

11:02AM   23        ISSUE IN THIS STUDY?

11:02AM   24        A.   I THINK SO.

11:02AM   25        Q.   OKAY.    DID YOU EVER TELL ANYBODY WITHIN THERANOS THAT GSK



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11:02AM    1        HAD COMPREHENSIVELY EVALUATED THERANOS'S TECHNOLOGY?

11:02AM    2        A.     I -- I'M SORRY, DID I TELL ANYBODY?

11:02AM    3        Q.     DID YOU EVER TELL ANYBODY WITHIN THERANOS THAT GSK HAD

11:02AM    4        COMPREHENSIVELY VALIDATED THERANOS' TECHNOLOGY?

11:02AM    5        A.     I DON'T RECOLLECT.

11:02AM    6        Q.     WOULD YOU HAVE SAID THAT TO ANYBODY?

11:02AM    7        A.     MOST PROBABLY NOT.

11:02AM    8        Q.     WHY NOT?

11:02AM    9        A.     BECAUSE AT THIS POINT I THINK I FELT THAT THIS WAS JUST A

11:02AM   10        SINGLE STUDY, SO IN MY MIND IT WOULD HAVE BEEN A FEASIBILITY.

11:03AM   11        Q.     AFTER THIS TWO DAY FEASIBILITY STUDY WITH GSK, DID YOU DO

11:03AM   12        ANY ADDITIONAL WORK WITH GSK?

11:03AM   13        A.     I DON'T RECOLLECT.

11:03AM   14        Q.     IF WE GO BACK TO PAGE 1 OF THE EMAIL, MS. DIGIAIMO WRITES

11:03AM   15        THAT SHE'S GOING TO FOLLOW UP WITH FOLKS AT GSK ABOUT

11:03AM   16        ADDITIONAL OPPORTUNITIES.

11:03AM   17               DO YOU SEE THAT ON PAGE 1?

11:03AM   18        A.     YES.

11:03AM   19        Q.     AND DO YOU KNOW IF ANYTHING EVER CAME OF THOSE ADDITIONAL

11:03AM   20        OPPORTUNITIES?

11:03AM   21        A.     I DON'T RECOLLECT AT THIS TIME IF ANYTHING ELSE CAME OUR

11:03AM   22        WAY.

11:03AM   23                      MR. LEACH:    YOUR HONOR, I THINK THIS IS A CONVENIENT

11:03AM   24        TIME TO TAKE OUR BREAK.

11:03AM   25                      THE COURT:    LET'S DO THAT, LADIES AND GENTLEMEN.



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11:03AM    1        LET'S TAKE OUR MIDDAY BREAK FOR PURPOSES OF THIS TRIAL.

11:03AM    2               I'D LIKE TO TAKE ABOUT 45 MINUTES FOR YOU, PLEASE,

11:03AM    3        45 MINUTES.

11:03AM    4               SO IF WE COULD HOPEFULLY SHOOT FOR A GOAL OF HAVING YOU

11:03AM    5        BACK IN YOUR SEATS AND READY TO COME BACK AT ABOUT TEN TO THE

11:04AM    6        HOUR, MS. KRATZMANN WILL COLLECT YOU.

11:04AM    7               SO PLEASE REMEMBER DURING THE BREAK MY ADMONITION REMAINS.

11:04AM    8        YOU'RE NOT TO DISCUSS OR DO ANY RESEARCH ABOUT ANYTHING

11:04AM    9        INVOLVED WITH THIS CASE, YOU'RE NOT TO DISCUSS AMONGST

11:04AM   10        YOURSELVES ANYTHING ABOUT THE CASE.

11:04AM   11               ENJOY YOUR BREAK, AND WE'LL BE BACK -- I THINK WE'RE GOING

11:04AM   12        TO FINISH AT 2:00 TODAY JUST FOR YOUR INFORMATION.

11:04AM   13               AGAIN, WE'VE SCHEDULED THESE BREAKS, BUT IF ANYONE NEEDS

11:04AM   14        TO TAKE AN UNSCHEDULED BREAK FOR ANY REASON, PLEASE JUST LET ME

11:04AM   15        KNOW, RAISE YOUR HAND, AND WE CAN ACCOMMODATE THAT.

11:04AM   16               SO, MS. KRATZMANN, IF YOU COULD ESCORT THE JURORS OUT,

11:04AM   17        PLEASE.

11:04AM   18               YOU MAY STAND DOWN.

11:04AM   19               (JURY OUT AT 11:04 A.M.)

11:05AM   20                    THE COURT:    THANK YOU, MS. GANGAKHEDKAR.     YOU CAN

11:05AM   21        STAND DOWN.    WE'LL SEE YOU BACK HERE AT ABOUT TEN TO THE HOUR,

11:05AM   22        PLEASE.

11:05AM   23                    THE WITNESS:     THANK YOU.

11:05AM   24                    THE COURT:    THANK YOU.   PLEASE BE SEATED.   THANK

11:05AM   25        YOU.    ALL RIGHT.   THANK YOU.



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11:05AM    1             THE RECORD SHOULD REFLECT THAT OUR JURY AND ALTERNATES

11:05AM    2        HAVE LEFT THE COURTROOM.    THE WITNESS HAS LEFT THE COURTROOM.

11:05AM    3        ALL COUNSEL AND THE DEFENDANT ARE PRESENT.

11:05AM    4             ANYTHING BEFORE WE TAKE OUR BREAK, COUNSEL?

11:05AM    5                   MR. LEACH:    NOTHING FROM THE GOVERNMENT, YOUR HONOR.

11:05AM    6                   MR. WADE:    NOTHING, YOUR HONOR.

11:05AM    7                   THE COURT:    OKAY.    THANK YOU.

11:05AM    8             (LUNCH RECESS TAKEN AT 11:05 A.M.)

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11:57AM    1                                   AFTERNOON SESSION

11:57AM    2             (COURT CONVENED AT 11:57 A.M.)

11:57AM    3             (JURY IN AT 11:57 A.M.)

11:57AM    4                    THE COURT:    WEAR BACK ON THE RECORD.    ALL PARTIES

11:57AM    5        PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

11:57AM    6             THE WITNESS IS ON THE STAND.

11:57AM    7             BEFORE WE BEGIN, I JUST WANT TO SAY ONE THING, LADIES AND

11:57AM    8        GENTLEMEN, IF YOU WOULD PLEASE DISABLE THE SOUND ON ANY DEVICE

11:57AM    9        THAT YOU HAVE, I WOULD APPRECIATE IT.        THAT WOULD BE HELPFUL.

11:57AM   10             SOMETIMES DEVICES GO OFF UNINTENDED AND IT DOES -- AND IT

11:57AM   11        CAN INTERRUPT THE PROCEEDINGS.     SO IF YOU WOULD PLEASE TAKE A

11:57AM   12        MOMENT TO ENSURE THAT ANY DEVICE THAT YOU HAVE, THE VOLUME IS

11:57AM   13        TURNED OFF OR TURNED DOWN, I WOULD BE GRATEFUL.

11:57AM   14             THANK YOU.

11:57AM   15             MR. LEACH, DO YOU HAVE ADDITIONAL QUESTIONS?

11:57AM   16                    MR. LEACH:    I DO, YOUR HONOR.    THANK YOU.

11:57AM   17                    THE COURT:    PLEASE PROCEED.    THANK YOU.

11:58AM   18        BY MR. LEACH:

11:58AM   19        Q.   GOOD MORNING, MS. GANGAKHEDKAR.        WHEN WE BROKE WE WERE

11:58AM   20        TALKING ABOUT SOME OF YOUR WORK WITH GSK IN THE 2008 TIME

11:58AM   21        PERIOD.

11:58AM   22             I'D LIKE TO MOVE FORWARD IN TIME, IF WE COULD, TO THE TIME

11:58AM   23        PERIOD 2013.    DO YOU HAVE THAT TIME PERIOD IN MIND?

11:58AM   24        A.   YES.

11:58AM   25        Q.   AND WHAT WAS YOUR RESPONSIBILITY AT THERANOS IN THE 2013



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11:58AM    1        TIME PERIOD?

11:58AM    2        A.     SO WE WERE CONTINUING TO DEVELOP IMMUNOASSAYS ON THE

11:58AM    3        EDISON DEVICES.

11:58AM    4        Q.     HOW IS THAT DEVELOPING IMMUNOASSAYS FOR THE EDISON DEVICES

11:58AM    5        GOING?

11:58AM    6        A.     SO WE WERE PROCEEDING WITH A LARGE NUMBER OF ASSAYS THAT

11:58AM    7        HAD BEEN -- THERE WAS A LARGE LIST OF ASSAYS THAT HAD BEEN

11:58AM    8        GIVEN TO US, AND SO WE WERE WORKING ALONG THE PRIORITY LIST

11:58AM    9        THAT HAD BEEN PROVIDED.

11:58AM   10        Q.     AND WHEN YOU SAY ON THE EDISONS, IS THIS THE 3.0 AND THE

11:59AM   11        3.5?

11:59AM   12        A.     PRIMARILY 3.0'S.

11:59AM   13        Q.     AND AT SOME POINT DID THAT WORK SHIFT TO A NEW ITERATION

11:59AM   14        OR A NEXT GENERATION OF THE THERANOS DEVICE?

11:59AM   15        A.     YES, IT DID.

11:59AM   16        Q.     TELL US ABOUT THAT, PLEASE.

11:59AM   17        A.     SO THERE WAS THE NEXT GENERATION OF THE SYSTEMS THAT WERE

11:59AM   18        BEING DEVELOPED.      THEY WERE CALLED THE -- ROUGHLY CALLING THEM

11:59AM   19        THE 4.0'S.

11:59AM   20               SO THE EARLY INSTRUMENTS, THE EARLY VERSIONS OF THE

11:59AM   21        INSTRUMENTS HAD BEEN PROVIDED AND THERE WAS SOME INITIAL

11:59AM   22        TESTING OR QUALIFICATIONS THAT HAD STARTED ON THE 4.0'S.

11:59AM   23        Q.     AT THE TIME THAT YOU MOVED TO THE 4.0'S, HOW WOULD YOU

11:59AM   24        CHARACTERIZE YOUR WORK WITH THE 3.0'S AND THE 3.5'S?

11:59AM   25               HAD YOU FINISHED?    WHERE WERE YOU?



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11:59AM    1        A.   SO WE WERE ON THE -- THERE WERE A FAIR NUMBER OF ASSAYS

11:59AM    2        THAT HAD -- THAT WERE IN THE DEVELOPMENT OR HAD COMPLETED THE

11:59AM    3        DEVELOPMENT STAGES.

11:59AM    4        Q.   OKAY.   HAD ANY BEEN SUCCESSFULLY VALIDATED FOR USE IN THE

12:00PM    5        CLIA LAB?

12:00PM    6        A.   NO.

12:00PM    7        Q.   YOU MENTIONED YOU WERE WORKING ON A NUMBER OF PRIORITY

12:00PM    8        ASSAYS.    WHERE DID YOU GET THAT PRIORITY LIST FROM?

12:00PM    9        A.   SO THAT LIST WAS SHARED TO US BY DR. DANIEL YOUNG.

12:00PM   10        Q.   AND WHO IS DANIEL YOUNG?

12:00PM   11        A.   SO DANIEL YOUNG WAS THE VICE PRESIDENT, AND ESSENTIALLY I

12:00PM   12        THINK HE WAS FUNCTIONING AS LIKE AKIN TO OUR CHIEF TECHNOLOGY

12:00PM   13        OFFICER.

12:00PM   14        Q.   OKAY.   DID HE REPORT TO MS. HOLMES?

12:00PM   15        A.   I THINK HE DID.

12:00PM   16        Q.   LET ME DRAW YOUR ATTENTION TO WHAT HAS BEEN MARKED AS

12:00PM   17        5077.

12:00PM   18             DO YOU HAVE THAT IN YOUR BINDER?

12:00PM   19        A.   YES.

12:00PM   20        Q.   DO YOU SEE -- IS THIS AN EMAIL INVOLVING YOU AND A NUMBER

12:01PM   21        OF OTHER INDIVIDUALS WITHIN YOUR TEAM?

12:01PM   22        A.   YES.

12:01PM   23        Q.   AND IN THE MIDDLE OF THE PAGE DO YOU SEE THERE'S AN EMAIL

12:01PM   24        FROM YOU DATED MARCH 4TH, 2013?

12:01PM   25        A.   YES.



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12:01PM    1        Q.   DO YOU SEE THAT THE SUBJECT IS NEW PROJECT?

12:01PM    2        A.   YES.

12:01PM    3        Q.   OKAY.    AT A HIGH LEVEL, WHAT ARE YOU COMMUNICATING IN THIS

12:01PM    4        EMAIL?

12:01PM    5        A.   SO ESSENTIALLY I AM TELLING MY TEAM THAT A NEW PROJECT --

12:01PM    6        I THINK WE WERE WORKING ON THIS NEW PROJECT AND HOW WE ARE

12:01PM    7        SUPPOSED TO BE, LIKE, PLANNING FOR THE WORK THAT WILL BE

12:01PM    8        INCLUDED IN IT.

12:01PM    9        Q.   AND WHERE DID YOU GET THESE PLANS FROM?

12:01PM   10        A.   THE PLAN FOR THE PROJECT OR --

12:01PM   11        Q.   YES.

12:01PM   12        A.   SO ESSENTIALLY WE WERE ASKED TO -- AFTER DISCUSSIONS WITH

12:01PM   13        EITHER, LIKE, MS. HOLMES OR DR. YOUNG.

12:01PM   14        Q.   AND ARE YOU ATTEMPTING TO COMMUNICATE YOUR TEAM DIRECTIONS

12:01PM   15        YOU'VE RECEIVED FROM MS. HOLMES ABOUT DEVELOPING ASSAYS FOR USE

12:02PM   16        ON THE 4.0 DEVICE?

12:02PM   17        A.   SO I WOULD SAY IT'S A COMBINATION OF BOTH.       SO BASICALLY

12:02PM   18        WE HAVE BEEN PROVIDED THIS NEW PROJECT, AND YOU HAVE THE

12:02PM   19        OVERALL PLAN THERE, BUT THE FINE -- THE ADDITIONAL DETAILS ON

12:02PM   20        HOW WE WOULD GET THERE IS BEING PLANNED BY ME.

12:02PM   21        Q.   OKAY.

12:02PM   22             YOUR HONOR, I OFFER EXHIBIT 5077 INTO EVIDENCE.

12:02PM   23                     MR. WADE:    NO OBJECTION, YOUR HONOR.

12:02PM   24                     THE COURT:    IT'S RECEIVED.   IT MAY BE PUBLISHED.

12:02PM   25             (GOVERNMENT'S EXHIBIT 5077 WAS RECEIVED IN EVIDENCE.)



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12:02PM    1        BY MR. LEACH:

12:02PM    2        Q.   AND IF WE CAN START WITH THE FIRST EMAIL ROUGHLY HALF WAY

12:02PM    3        DOWN THE PAGE, AND IF WE CAN ZOOM IN ON THE ENTIRETY OF THE

12:02PM    4        TEXT FROM RIGHT THERE.    A LITTLE DOWN FURTHERMORE.

12:02PM    5             WONDERFUL.   THANK YOU, MS. HOLLIMAN.

12:03PM    6             MS. GANGAKHEDKAR, DO YOU SEE YOUR NAME IN THE FROM LINE

12:03PM    7        HERE?

12:03PM    8        A.   YES.

12:03PM    9        Q.   AND THERE'S A NUMBER OF INDIVIDUALS IN THE TO LINE.       I

12:03PM   10        DON'T WANT TO GO THROUGH EVERY ONE, BUT AT A HIGH LEVEL CAN YOU

12:03PM   11        DESCRIBE WHO THESE FOLKS IN THE TO LINE ARE?

12:03PM   12        A.   SO MOSTLY THEY ARE MEMBERS OF THE ELISA ASSAY DEVELOPMENT

12:03PM   13        TEAM AS WELL AS THE TEAM INVOLVED IN THE MANUFACTURING OF AND

12:03PM   14        THE FORMULATION TEAMS FOR THE CARTRIDGES.

12:03PM   15        Q.   AND THE MANUFACTURING FOR THE CARTRIDGES FOR THE 4.0?

12:03PM   16        A.   FOR THE USE OF THIS STUDY.

12:03PM   17        Q.   OKAY.   AND YOU WRITE IN THE BEGINNING OF THE EMAIL, "HI

12:03PM   18        ALL, CONFIDENTIAL INFORMATION -- NOT TO BE DISCUSSED WITH OTHER

12:03PM   19        GROUPS OR OPENLY IN THE LAB."

12:03PM   20             DO YOU SEE THAT LANGUAGE?

12:03PM   21        A.   YES.

12:03PM   22        Q.   AND WHY DID YOU WRITE THAT LANGUAGE?

12:03PM   23        A.   SO THERE WERE GENERAL DIRECTIONS FROM MS. HOLMES THAT ANY

12:03PM   24        NEW PROJECTS THAT WE ARE WORKING ON SHOULD BE, THE INFORMATION

12:04PM   25        SHOULD BE LIMITED ONLY TO THE INDIVIDUALS WHO ARE WORKING ON



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12:04PM    1        THEM, AND WE SHOULDN'T BE OPENLY DISCUSSING DETAILS OF THE

12:04PM    2        PROJECTS OR THE PLANS WITH OTHER EMPLOYEES IN THE COMPANY.

12:04PM    3        Q.   SO YOU WORKED IN THE ELISA GROUP, THE IMMUNOASSAY GROUP?

12:04PM    4        A.   YES.

12:04PM    5        Q.   AND DID YOU FEEL FREE TO SHARE DETAILS AND INSIGHTS OF THE

12:04PM    6        ELISA GROUP WITH GROUPS WORKING WITH OTHER TYPES OF ASSAYS?

12:04PM    7        A.   NO, I DID NOT.

12:04PM    8        Q.   AND DID YOU FEEL FREE TO SHARE DETAILS OF ASPECTS OF YOUR

12:04PM    9        ELISA WORK WITH FOLKS WHO WERE WORKING ON MANUFACTURING THE

12:04PM   10        THERANOS ANALYZERS?

12:04PM   11        A.   NO.

12:04PM   12        Q.   WAS THAT A MATTER OF FRUSTRATION TO YOU?

12:04PM   13        A.   YES.

12:04PM   14        Q.   HOW SO?

12:04PM   15        A.   WELL, IN CERTAIN TIMES IF WE WERE WORKING ON THE EDISONS,

12:04PM   16        THEY WOULDN'T -- WE DIDN'T HAVE AN OPTION TO, LIKE, TALK OR

12:05PM   17        DISCUSS SPECIFIC ISSUES EITHER WITH THE HARDWARE OR THE

12:05PM   18        SOFTWARE TEAMS, SO THERE GENERALLY WAS A GUIDANCE NOT TO SHARE

12:05PM   19        ALL DETAILS SAY, FOR INSTANCE, OF THE ASSAYS OR THE CHEMISTRY

12:05PM   20        PART WITH THE HARDWARE TEAMS OR THE SOFTWARE TEAMS AND VICE

12:05PM   21        VERSA.

12:05PM   22        Q.   AND DID THAT MAKE YOUR WORK HARDER?

12:05PM   23        A.   YES, IT DID.

12:05PM   24        Q.   AND HOW SO?

12:05PM   25        A.   WELL, BECAUSE THERE WERE ISSUES RELATED TO THE OTHER



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12:05PM    1        FUNCTIONS, AND WE COULDN'T UNDERSTAND THEM AND KNOW ENTIRELY

12:05PM    2        WHAT IMPACT IT WOULD HAVE ON OUR FUNCTIONS.

12:05PM    3             AND THE SAME FOR IF THERE WERE ISSUES WE WERE EXPERIENCING

12:05PM    4        WITH THE ASSAYS, WE WOULDN'T KNOW HOW IT WOULD WORK FULLY WITH

12:05PM    5        THE OTHER TWO FUNCTIONS.

12:05PM    6        Q.   DID YOU FEEL AS IF INFORMATION AT THERANOS WAS SILOED?

12:05PM    7        A.   YES.

12:05PM    8        Q.   AND WHERE DID THIS SILOING COME FROM?      AT WHOSE DIRECTION?

12:05PM    9        A.   SO IT EITHER CAME FROM MS. HOLMES OR MR. BALWANI.

12:06PM   10        Q.   LET ME DRAW YOUR ATTENTION TO THE FIRST PARAGRAPH OF THE

12:06PM   11        EMAIL.   IT SAYS, "THIS EMAIL IS TO PROVIDE YOU A HEADS UP ON A

12:06PM   12        NEW (KEY) PROJECT FOR THE 4.0 DEVICES.      THE PLAN IS TO VALIDATE

12:06PM   13        (510K) THE FLU A AND B MULTIPLEX ON THE 4.0 DEVICES."

12:06PM   14             WHAT DID YOU MEAN BY "THE FLU A AND B MULTIPLEX ON THE 4.0

12:06PM   15        DEVICES"?

12:06PM   16        A.   THE FLU A AND B ARE THE ASSAY TARGETS.        IT'S A MULTIPLEX

12:06PM   17        AND THE VERSION OF THE DEVICE WOULD BE THE 4.0.

12:06PM   18        Q.   AND THEN TOWARDS THE END OF THE PARAGRAPH YOU WROTE, "THIS

12:06PM   19        PROJECT WILL HAVE A HIGHER PRIORITY OVER YOUR OTHER

12:06PM   20        ASSIGNMENTS."

12:06PM   21             DO YOU SEE THAT LANGUAGE?

12:06PM   22        A.   YES.

12:06PM   23        Q.   WHY WERE YOU COMMUNICATING THAT TO YOUR TEAM?

12:07PM   24        A.   BECAUSE THE PRIORITIZATION WAS CONVEYED TO ME BY

12:07PM   25        MS. HOLMES, AND I WAS CONVEYING IT TO THE TEAM SO THEY ARE



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12:07PM    1        AWARE THAT THIS PROJECT WILL BE A HIGHER PRIORITY THAN OTHER

12:07PM    2        PROJECTS THAT THEY WERE WORKING ON AT THAT TIME.

12:07PM    3        Q.   DID YOU FIND THAT PRIORITIES WITHIN THERANOS WOULD SHIFT

12:07PM    4        OVER TIME?

12:07PM    5        A.   YES.

12:07PM    6        Q.   OKAY.   WAS THAT A MATTER OF FRUSTRATION TO YOU?

12:07PM    7        A.   YES.

12:07PM    8        Q.   HOW SO?

12:07PM    9        A.   BECAUSE WE WOULD BE, WE WOULD BE LIKE MOVING FROM SEVERAL

12:07PM   10        PROJECTS OVER A MATTER OF TIME AND MANY TIMES WE WOULDN'T HAVE

12:07PM   11        AN OPPORTUNITY TO KIND OF GO AND GET TO, LIKE, THE END RESULT

12:07PM   12        OF IT.

12:07PM   13        Q.   THANK YOU, MS. HOLLIMAN.      WE CAN TAKE THAT DOCUMENT DOWN.

12:07PM   14             MS. GANGAKHEDKAR, I'D LIKE TO DRAW YOUR ATTENTION TO WHAT

12:07PM   15        WE HAVE MARKED AS EXHIBIT 853, WHICH SHOULD BE THERE IN YOUR

12:08PM   16        BINDER.

12:08PM   17             ARE YOU FAMILIAR WITH THIS DOCUMENT, MS. GANGAKHEDKAR?

12:08PM   18        A.   YES.

12:08PM   19        Q.   IS THIS AN EMAIL FROM YOU TO ELIZABETH HOLMES AND OTHERS

12:08PM   20        DATED MAY 1ST, 2013?

12:08PM   21        A.   YES.

12:08PM   22        Q.   AND WHY WERE YOU -- DOES THE SUBJECT OF THIS RELATE TO

12:08PM   23        RESULTS AND RUNS ON THE 4S AND OTHER DEVICES DURING THIS TIME

12:08PM   24        PERIOD?

12:08PM   25        A.   YES.



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12:08PM    1        Q.   AND WERE YOU SENDING THIS TO MS. HOLMES IN ORDER TO KEEP

12:08PM    2        HER APPRISED OF HOW THINGS WERE GOING WITH RESPECT TO

12:08PM    3        VALIDATING ASSAYS ON THE 4S AND OTHER DEVICES?

12:09PM    4        A.   SO I WOULD THINK THAT BECAUSE THE 4.0'S WERE JUST RELEASED

12:09PM    5        TO US FOR TESTING, THIS WOULD JUST HAVE BEEN LIKE AN EVALUATION

12:09PM    6        PERIOD OF HOW THEY'RE FUNCTIONING, NOT AS MUCH AS THEY'RE NOT

12:09PM    7        VALIDATING AT THIS POINT.     IT IS JUST FEASIBILITY OR

12:09PM    8        EVALUATION.

12:09PM    9        Q.   WELL, YOU'RE SENDING THIS TO MS. HOLMES TO KEEP HER

12:09PM   10        APPRISED OF HOW THINGS ARE GOING?

12:09PM   11        A.   YES.

12:09PM   12                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 853 INTO

12:09PM   13        EVIDENCE.

12:09PM   14                    MR. WADE:    NO OBJECTION, YOUR HONOR.

12:09PM   15                    THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

12:09PM   16             (GOVERNMENT'S EXHIBIT 853 WAS RECEIVED IN EVIDENCE.)

12:09PM   17                    MR. LEACH:    MS. HOLLIMAN, IF WE CAN START WITH THE

12:09PM   18        FIRST EMAIL ON THE CHAIN ON PAGE ONE FROM MR. PANGARKAR.       LET'S

12:09PM   19        CAPTURE THE WHOLE TEXT IF WE CAN.

12:09PM   20             PERFECT.   THANK YOU.

12:10PM   21        Q.   MS. GANGAKHEDKAR, THIS STARTS FROM AN EMAIL FROM

12:10PM   22        CHINMAY PANGARKAR.      WHO WAS HE?

12:10PM   23        A.   HE WAS FIRST LEADING THE DEVELOPMENT OF THE CBC ASSAYS.

12:10PM   24        Q.   AND THERE ARE SOME INDIVIDUALS IN THE TO LINE THAT WE

12:10PM   25        HAVEN'T TALKED ABOUT, PAUL PATEL AND SAMARTHA ANEKAL.       WHO ARE



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12:10PM    1        THEY?

12:10PM    2        A.   SO PAUL PATEL WAS LEADING THE ASSAYS EFFORTS FOR THE

12:10PM    3        GENERAL CHEMISTRY ASSAY, AND SUMARTHA ANEKAL WAS LEADING THE

12:10PM    4        DEVELOPMENT OF THE 4.0 DEVICES.

12:10PM    5        Q.   SO IS MR. PATEL ESSENTIALLY YOUR PEER IN A DIFFERENT ASSAY

12:10PM    6        GROUP?

12:10PM    7        A.   YES.

12:10PM    8        Q.   AND MR. ANEKAL HAS RESPONSIBILITY FOR THE DEVICE ITSELF

12:10PM    9        THAT YOU ARE TRYING TO TRANSFER THESE ASSAYS ONTO?

12:10PM   10        A.   YES, I THINK SO.

12:10PM   11        Q.   OKAY.   MR. PANGARKAR WRITES IN THE FIRST LINE, "PLEASE

12:11PM   12        FIND BELOW THE REPORTS FOR TODAYS RUNS ON MINI, MONO, AND 4S."

12:11PM   13             WHAT ARE MINI, MONO, AND 4S?

12:11PM   14        A.   SO I WOULD SAY THAT THEY ARE DIFFERENT VARIATIONS OF THE

12:11PM   15        4.0 DEVICES.

12:11PM   16        Q.   AT THE END OF THAT PARAGRAPH HE WRITES, "THERE WERE

12:11PM   17        MULTIPLE ISSUES DURING THESE RUNS WHICH ARE SUMMARIZED BELOW."

12:11PM   18             DO YOU SEE THAT LANGUAGE?

12:11PM   19        A.   YES.

12:11PM   20        Q.   AND THEN THERE'S A NUMBER 1, MINILAB 5B RUN.

12:11PM   21             THE FIRST BULLET SAYS, "HEPARIN NANOTAINER HAD BIG BUBBLE

12:11PM   22        UNDERNEATH THE PLUG OF BLOOD."

12:11PM   23             WHAT IS THE NANOTAINER?

12:11PM   24        A.   SO THE NANOTAINER WAS THE THERANOS PROPRIETARY DEVICE TO

12:11PM   25        COLLECT BLOOD.



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12:11PM    1        Q.   ESSENTIALLY A BLOOD COLLECTION DEVICE?

12:11PM    2        A.   YES.

12:11PM    3        Q.   AND HOW DID THAT COMPARE TO TUBES OR BLOOD COLLECTION

12:12PM    4        DEVICES THAT MIGHT BE USED IN OTHER SETTINGS?

12:12PM    5        A.   SO THE NANOTAINER WAS A LOW VOLUME COLLECTION DEVICE.

12:12PM    6        Q.   AND WHAT DID THAT MEAN TO YOU IT HAD A BIG BUBBLE

12:12PM    7        UNDERNEATH THE PLUG OF BLOOD, WHY WAS THAT AN ISSUE?

12:12PM    8        A.   SO EITHER IT COULD HAVE -- ESSENTIALLY COULD HAVE NOT

12:12PM    9        COLLECTED THE REQUIRED SAMPLE VOLUME.

12:12PM   10        Q.   AND THE NEXT BULLET SAYS, "CARTRIDGE LID OPENING FAILED,

12:12PM   11        IN SPITE OF THE FACT THAT THE SAME CARTRIDGE HAD BEEN QC'ED A

12:12PM   12        FEW MINUTES PRIOR."

12:12PM   13             WHAT DID THAT MEAN?

12:12PM   14        A.   SO THERE WAS AN ISSUE WITH THE CARTRIDGE LID, SO IN SPITE

12:12PM   15        OF THE CARTRIDGE BEING QC'ED, IT SEEMS LIKE THEY HAVE AN ISSUE

12:12PM   16        WITH THE CARTRIDGE LID OPENING AND IT FAILED.

12:12PM   17        Q.   THE NEXT BULLET SAYS, "ROUND VESSELS WERE PICKED UP BY

12:13PM   18        BLOOD TIPS DURING THE RUN."

12:13PM   19             WHY IS THAT AN ISSUE?

12:13PM   20        A.   I'M NOT VERY FAMILIAR WITH THESE CBC ASSAYS, SO I MIGHT

12:13PM   21        NOT BE ABLE TO GIVE YOU THE EXACT REASON BEHIND THAT PARTICULAR

12:13PM   22        POINT.

12:13PM   23        Q.   OKAY.   DID YOU HAVE A HIGH LEVEL UNDERSTANDING AT THAT

12:13PM   24        POINT WHY IT MIGHT BE AN ISSUE?

12:13PM   25        A.   NOT MUCH BECAUSE I WASN'T VERY FAMILIAR WITH WHAT WAS



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12:13PM    1        HAPPENING WITH THE OTHER FUNCTIONS.     SO APART FROM ONLY READING

12:13PM    2        EMAILS WHERE I WAS COPIED ON, I DIDN'T KNOW ALL OF THE DETAILS

12:13PM    3        OF THE OTHER FUNCTIONS.

12:13PM    4        Q.   OKAY.   SO THIS RELATES TO CBC, WHICH IS AN ASSAY GROUP

12:13PM    5        THAT YOU'RE NOT RESPONSIBLE FOR, BUT YOU'RE ON THE CHAIN

12:13PM    6        BECAUSE YOU'RE ALSO DEVELOPING ASSAYS FOR THESE DEVICES?

12:13PM    7        A.   YES.

12:13PM    8        Q.   OKAY.   YOU WRITE AT THE TOP OF IT -- IF WE CAN ZOOM OUT

12:13PM    9        HERE AND GO TO MS. GANGAKHEDKAR'S RESPONSE AT THE TOP.

12:14PM   10             YOU WRITE, "A CONCERN ALSO EXISTS WITH THE BLOOD VOLUMES

12:14PM   11        COLLECTED IN THE NANOTAINER."

12:14PM   12             WHAT WERE YOU GETTING AT THERE?

12:14PM   13        A.   SO ESSENTIALLY I'M CONVEYING THAT THE AMOUNT OF BLOOD THAT

12:14PM   14        IS BEING SELECTED IN THE DEMO RUNS FOR THE NANOTAINER.

12:14PM   15        Q.   AND WHY WAS THAT AN ISSUE?     WHY WAS THAT A CONCERN?

12:14PM   16        A.   WELL, IF THERE ISN'T SUFFICIENT BLOOD IN THE NANOTAINER,

12:14PM   17        THEN THERE ISN'T SUFFICIENT VOLUME OF SAMPLE TO TEST FOR THE

12:14PM   18        CARTRIDGE.

12:14PM   19        Q.   PRIOR TO YOUR RESIGNATION, DID THIS ISSUE OR OTHER ISSUES

12:14PM   20        WITH THE NANOTAINER EVER GET RESOLVED FROM YOUR POINT OF VIEW?

12:15PM   21        A.   NO.

12:15PM   22        Q.   ARE THE ISSUES REPORTED IN EXHIBIT 853 TYPICAL OF SOME OF

12:15PM   23        THE ISSUES THAT YOU WERE SEEING WITH TESTING ON THE 4S?

12:15PM   24        A.   YES.

12:15PM   25        Q.   LET ME PLEASE DRAW YOUR ATTENTION TO THE NEXT EXHIBIT,



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12:15PM    1        WHICH IS 5084.   DO YOU HAVE THAT DOCUMENT IN FRONT OF YOU,

12:15PM    2        MS. GANGAKHEDKAR?

12:15PM    3        A.   YES.

12:15PM    4        Q.   ARE YOU FAMILIAR WITH THIS DOCUMENT?

12:15PM    5        A.   YES.

12:15PM    6        Q.   LET ME DRAW YOUR ATTENTION TO PAGE 2.       ON PAGE 2 IS THERE

12:16PM    7        AN EMAIL FROM YOU TO MS. HOLMES, DANIEL YOUNG AND OTHERS WITH

12:16PM    8        THE SUBJECT OF ELISA DATA FOR TODAY?

12:16PM    9        A.   YES.

12:16PM   10        Q.   YES.   AND ARE YOU UPDATING MS. HOLMES ON ELISA TESTING ON

12:16PM   11        THE 4S IN THE MAY 2013 TIME PERIOD?

12:16PM   12        A.   YES.

12:16PM   13                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 5084 INTO

12:16PM   14        EVIDENCE.

12:16PM   15                    MR. WADE:    YES.   WE STIPULATED.

12:16PM   16                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:16PM   17             (GOVERNMENT'S EXHIBIT 5084 WAS RECEIVED IN EVIDENCE.)

12:16PM   18                    MR. LEACH:    MS. HOLLIMAN, IF WE CAN GO TO PAGE 2 AND

12:16PM   19        START AT THE TOP OF THE DOCUMENT TO WHERE IT SAYS DEMO DATA IN

12:16PM   20        BOLD.

12:17PM   21             THANK YOU VERY MUCH.

12:17PM   22        Q.   ARE YOU ABLE TO SEE IT ON THE SCREEN, MS. GANGAKHEDKAR?

12:17PM   23        A.   I CAN.

12:17PM   24        Q.   I DON'T HAVE IT ON MINE FOR SOME REASON.

12:17PM   25             YOU WRITE ELISA DATA FOR TODAY.       WHAT ARE YOU SUMMARIZING



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12:17PM    1        FOR MS. HOLMES AND OTHERS HERE?

12:17PM    2        A.   SO THIS IS THE SUMMARY ON THE 4.0 DEVICE.

12:17PM    3        Q.   YOU WROTE CALIBRATION, BULLET "VIT D -- VERY NOISY,

12:17PM    4        CALIBRATION CURVE CANNOT BE GENERATED."

12:17PM    5             WHAT DID YOU MEAN BY THAT?

12:17PM    6        A.   BASICALLY WE WOULD RUN -- A CALIBRATION CURVE IS A SET OF

12:17PM    7        STANDARDS OF KNOWN CONCENTRATIONS, AND I'M REPORTING BACK THAT

12:17PM    8        WE COULDN'T GET A CALIBRATION CURVE, A SUCCESSFUL CURVE OUT OF

12:17PM    9        THE RUNS ON THE SYSTEM.

12:17PM   10        Q.   IS THAT WHAT YOU MEAN BY VERY NOISY?

12:17PM   11        A.   YES.

12:17PM   12        Q.   IN THE PARAGRAPH BELOW THAT YOU WROTE, "WE REALLY DON'T

12:18PM   13        HAVE AN UNDERSTANDING OF THE KINETICS OF THIS ASSAY."

12:18PM   14             WAS THAT ACCURATE AT THE TIME?

12:18PM   15        A.   SO I WOULD LIKE TO ADD IN THIS EMAIL THREAD --

12:18PM   16        Q.   SURE.

12:18PM   17        A.   -- BECAUSE I THINK AT THE TOP OF IT, IT SAYS PLEASE

12:18PM   18        COMMENT ON YOUR READ ON THE ASSAY ISSUES FOR SAM.

12:18PM   19             SO I BELIEVE THAT SOME OF THE COMMENTS IN HERE HAVE BEEN

12:18PM   20        INSERTED BY SAM ON THE EMAIL THAT I HAD SENT.

12:18PM   21        Q.   AND IT'S A WONDERFUL POINT.     THANK YOU FOR POINTING THAT

12:18PM   22        OUT, MS. GANGAKHEDKAR.

12:18PM   23             SO AT THE TOP OF THE DOCUMENT --

12:18PM   24             AND IF WE CAN ZOOM OUT, MS. HOLLIMAN.

12:18PM   25             -- YOU'RE REFERRING TO THE TOP WHERE IT SAYS, "PLEASE



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12:18PM    1        COMMENT ON YOUR READ ON ROOT CAUSE FOR THESE ISSUES,

12:18PM    2        ELIZABETH?"

12:18PM    3             AND YOU TOOK THAT AS DIRECTION FROM MR. ANEKAL TO MAKE

12:18PM    4        COMMENT ON WHAT YOU WERE REPORTING HERE?

12:18PM    5        A.   YES.

12:18PM    6        Q.   AND IF WE CAN GO BACK TO THE BODY, ARE YOU SAYING THAT THE

12:19PM    7        THINGS OUTSIDE OF THE BULLETS ARE MR. ANEKAL'S COMMENTS

12:19PM    8        RESPONSE TO WHAT YOU WERE REPORTING?

12:19PM    9        A.   YES.

12:19PM   10        Q.   AND SO THAT'S MR. ANEKAL WRITING, "WE REALLY DON'T HAVE AN

12:19PM   11        UNDERSTANDING OF THE KINETICS OF THIS ASSAY"?

12:19PM   12        A.   YES.

12:19PM   13        Q.   OKAY.    DID YOU HAVE A VIEW OF THAT ONE WAY OR ANOTHER?

12:19PM   14        A.   WELL, WE, WE HAD SPENT I THINK LIKE SOME SIGNIFICANT TIME

12:19PM   15        ON THE VITAMIN D ASSAY.    IT WAS A VERY CHALLENGING ASSAY TO

12:19PM   16        DEVELOP, BUT, OF COURSE, I THINK MOVING FROM THE 3.0 AND TRYING

12:19PM   17        TO UNDERSTAND HOW THE 4.0 INSTRUMENT WORKS AND THE INHERENT

12:19PM   18        ISSUES OF THE SYSTEM WERE AT THAT POINT UNKNOWN TO US.

12:19PM   19             SO IT WAS ESSENTIALLY WE MIGHT AS WELL BE LOOKING AT LIKE

12:19PM   20        REDEVELOPING THE ASSAYS ON THE 4.0.

12:19PM   21        Q.   THANK YOU.   IN THE THIRD BULLET -- THAT'S YOU WRITING IN

12:20PM   22        THE BULLET POINTS IN THIS EMAIL; CORRECT?

12:20PM   23        A.   YES.

12:20PM   24        Q.   OKAY.    YOU WROTE, "TSH, NO RESPONSE, TROUBLESHOOTING

12:20PM   25        ISSUES."



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12:20PM    1             WHAT IS TSH?

12:20PM    2        A.   SO IT IS A PROTEIN TARGET.

12:20PM    3        Q.   WHAT DID YOU MEAN BY "NO RESPONSE, TROUBLESHOOTING

12:20PM    4        ISSUES"?

12:20PM    5        A.   SO WE RAN THE TESTS ON THE 4.0'S, AND WE DID NOT GET ANY

12:20PM    6        RESPONSE?

12:20PM    7        Q.   IS THAT GOOD NEWS OR BAD NEWS?

12:20PM    8        A.   BAD NEWS.

12:20PM    9        Q.   IN THE NEXT BULLET YOU WROTE, "7 ERRORS IN 20 RUNS; 2 DUE

12:20PM   10        TO ROUND VESSEL PICK UP; 1 -- COLOR STRIP DROPPED; 4 --

12:20PM   11        UNKNOWN."

12:20PM   12             WHAT WERE YOU ARE COMMUNICATING THERE?

12:20PM   13        A.   SO ESSENTIALLY SUMMARIZING THE DATA FOR THAT PARTICULAR

12:20PM   14        DAY THAT WE HAD LIKE 20 RUNS, AND THOSE WERE SOME OF THE

12:20PM   15        PROBLEMS THAT WE HAD ENCOUNTERED.

12:20PM   16        Q.   IS THIS EXEMPLARY OF SOME OF THE ISSUES THAT YOU WERE

12:21PM   17        OBSERVING IN TRYING TO TRANSFER ASSAYS THAT YOU WERE DEVELOPING

12:21PM   18        ONTO THE 4.0?

12:21PM   19        A.   YES.

12:21PM   20        Q.   DID THESE ISSUES EVER GET RESOLVED IN YOUR MIND?

12:21PM   21        A.   NO.

12:21PM   22        Q.   LET ME DRAW YOUR ATTENTION TO WHAT WE HAVE MARKED AS 5089.

12:21PM   23             AND IF I COULD DRAW YOUR -- DO YOU HAVE THAT IN FRONT OF

12:21PM   24        YOU, MS. GANGAKHEDKAR?

12:21PM   25        A.   YES.



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12:21PM    1        Q.   AND LET ME DRAW YOUR ATTENTION TO PAGE 3, PLEASE.

12:21PM    2             DO YOU SEE AN EMAIL FROM ELIZABETH HOLMES TO YOU AND

12:21PM    3        OTHERS WITH THE SUBJECT 11TH?

12:21PM    4        A.   YES.

12:21PM    5        Q.   IF YOU COULD GO TO THE NEXT PAGE, PAGE 2.      DOWN AT THE

12:22PM    6        BOTTOM ARE YOU FORWARDING MS. HOLMES'S EMAIL TO MEMBERS OF YOUR

12:22PM    7        TEAM IN ORDER TO KEEP THEM APPRISED OF WHAT MS. HOLMES WAS

12:22PM    8        COMMUNICATING TO YOU?

12:22PM    9        A.   YES.

12:22PM   10        Q.   AND IS THE REMAINDER OF THIS DOCUMENT DETAILS ABOUT HOW

12:22PM   11        YOUR TEAM IS GOING TO EXECUTE ON THAT DIRECTION?

12:22PM   12        A.   YES.

12:22PM   13        Q.   OKAY.    DID YOU USE EMAIL IN THE ORDINARY COURSE OF

12:22PM   14        BUSINESS TO COMMUNICATE DIRECTIVES TO YOUR TEAM ABOUT HOW TO

12:22PM   15        DEVELOP ASSAYS AND HOW TO FOLLOW THROUGH ON INSTRUCTIONS FROM

12:22PM   16        MS. HOLMES?

12:22PM   17        A.   YES.

12:22PM   18        Q.   AND WERE THOSE PREPARED AT OR NEAR THE TIME BY FOLKS

12:22PM   19        WITHIN YOUR GROUP WITH KNOWLEDGE?

12:22PM   20        A.   YES.

12:22PM   21        Q.   AND WERE THESE EMAILS KEPT IN THE REGULAR COURSE OF

12:23PM   22        BUSINESS SO PEOPLE COULD UNDERSTAND WHAT OR HOW PEOPLE WERE

12:23PM   23        EXECUTING ON MS. HOLMES'S DIRECTION?

12:23PM   24        A.   I THINK SO.

12:23PM   25        Q.   WAS IT THE REGULAR PRACTICE FOR YOU AND YOUR TEAM TO



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12:23PM    1        PREPARE EMAILS LIKE THIS TO KEEP EACH OTHER APPRISED ABOUT HOW

12:23PM    2        YOU WERE EXECUTING ON MS. HOLMES'S DIRECTION?

12:23PM    3        A.   YES.

12:23PM    4        Q.   OKAY.    AND DID YOU FEEL THAT YOU WERE UNDER A BUSINESS

12:23PM    5        DUTY TO BE ACCURATE IN THESE EMAILS?

12:23PM    6        A.   YES.

12:23PM    7                     MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 5089 INTO

12:23PM    8        EVIDENCE.

12:23PM    9                     MR. WADE:    NO OBJECTION, YOUR HONOR.

12:23PM   10                     THE COURT:    IT'S RECEIVED.   IT MAY BE PUBLISHED.

12:23PM   11             (GOVERNMENT'S EXHIBIT 5089 WAS RECEIVED IN EVIDENCE.)

12:23PM   12                     MR. LEACH:    MS. HOLLIMAN, IF WE CAN PLEASE START ON

12:23PM   13        PAGE 3.   AND IF WE COULD HIGHLIGHT THE ENTIRETY OF THE TEXT, IF

12:23PM   14        WE COULD, RIGHT DOWN TO THE SIGNATURE LINE.

12:23PM   15             THERE YOU GO.       WONDERFUL.   THANK YOU.

12:23PM   16        Q.   DO YOU SEE ELIZABETH HOLMES'S NAME IN THE FROM LINE?

12:24PM   17        A.   YES.

12:24PM   18        Q.   AND THERE'S SOME FOLKS WE HAVEN'T TALKED ABOUT YET,

12:24PM   19        MICHAEL CHEN, CLARISSA LIU, AND PEY-JIUN KO.        WHO ARE THEY?

12:24PM   20        A.   SO MICHAEL CHEN AND CLARISSA LIU WERE RESPONSIBLE FOR

12:24PM   21        DEVELOPING OR PROVIDING THE CARTRIDGES FOR THE 4.0 SYSTEMS.

12:24PM   22             I AM NOT SURE WHO PEY-JIUN KO IS.

12:24PM   23        Q.   IN THE CC LINE, IN ADDITION TO MR. BALWANI AND

12:24PM   24        DANIEL YOUNG, THERE'S TWO NAMES, DANIEL EDLIN AND

12:24PM   25        CHRISTIAN HOLMES.



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12:24PM    1             WERE YOU FAMILIAR WITH THEM?

12:24PM    2        A.   YES.

12:24PM    3        Q.   AND WHO WERE THEY?

12:24PM    4        A.   SO CHRISTIAN HOLMES WAS LEADING THE PROJECT -- A GROUP OF

12:24PM    5        PROJECT MANAGERS, AND DANIEL EDLIN WAS ONE OF THE PROJECT

12:24PM    6        MANAGERS.

12:24PM    7        Q.   DO YOU SEE THERE'S A LINE IN THE EMAIL HEADER IMPORTANCE

12:25PM    8        HIGH?

12:25PM    9        A.   YES.

12:25PM   10        Q.   AND WHAT DID THAT MEAN TO YOU?

12:25PM   11        A.   SO THAT MEANS THAT IT IS A HIGHER PRIORITY PROJECT OR

12:25PM   12        ACTIVITY THAN THE OTHER WORK THAT WE WERE DOING.

12:25PM   13        Q.   MS. HOLMES WRITES, "THIS IS THE MOST IMPORTANT PRIORITY

12:25PM   14        ABOVE ALL ELSE FOR THIS WEEK.

12:25PM   15             "CHINMAY, PAUL, SUREKHA:      PLEASE ASSIGN ALL MEMBERS OF

12:25PM   16        YOUR TEAM WHO CAN CONTRIBUTE TO THIS INITIATIVE; THIS IS THE

12:25PM   17        ONLY THING THOSE TEAM MEMBERS SHOULD FOCUS ON UNTIL THE DEMO IS

12:25PM   18        COMPLETE."

12:25PM   19             WHAT DID THAT MEAN, "THE DEMO"?

12:25PM   20        A.   SO IT WAS A DEMO TO SHOW HOW THE 4.0 WORKED.

12:25PM   21        Q.   SITTING HERE TODAY DO YOU HAVE A MEMORY OF WHO THE DEMO

12:25PM   22        WAS FOR?

12:25PM   23        A.   NO.    USUALLY THAT INFORMATION WAS NOT RELEASED.

12:25PM   24        Q.   OKAY.   IN THE FOURTH PARAGRAPH IT SAYS, "AS DISCUSSED, THE

12:26PM   25        TARGET IS TO RUN MINILAB (BLADES) -- OMNIPLEX, BUT POTENTIALLY



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12:26PM    1        SPLITTING CBC, ELISA, AND GC AS NEEDED."

12:26PM    2             CAN YOU TRANSLATE FOR US?     WHAT DOES THAT MEAN TO YOU?

12:26PM    3        A.   SO THE OMNIPLEX IS A SINGLE CARTRIDGE THAT COULD RUN THE

12:26PM    4        THREE TYPES OF ASSAYS LISTED HERE, CBC, ELISA, AND GC.

12:26PM    5        Q.   GC IS AN ACRONYM FOR GENERAL CHEMISTRY.

12:26PM    6             WE NEED TO SPEAK ONE AT A TIME, MS. GANGAKHEDKAR, AND I'LL

12:26PM    7        DO MY BEST TO DO THAT.

12:26PM    8             IS GC AN ACRONYM FOR GENERAL CHEMISTRY?

12:26PM    9        A.   YES.

12:26PM   10        Q.   AND CBC, WHAT DOES THAT STAND FOR?

12:26PM   11        A.   COMPLETE BLOOD COUNT.

12:26PM   12        Q.   THANK YOU.   AND WHEN MS. HOLMES SAYS THE TARGET IS TO RUN

12:27PM   13        MINILAB, WHAT DID YOU TAKE THAT TO MEAN?

12:27PM   14        A.   SO THAT IS A VERSION OF THE 4.0.

12:27PM   15        Q.   AND IS THAT THE VERSION THAT YOU UNDERSTOOD WAS TO BE THE

12:27PM   16        TARGET FOR THE DEMO?

12:27PM   17        A.   YES.

12:27PM   18        Q.   THE NEXT LINE SAYS "SECONDARY/ADDITIONAL TARGET IS TO RUN

12:27PM   19        THE 4S."

12:27PM   20             DO YOU SEE THAT LANGUAGE?

12:27PM   21        A.   YES.

12:27PM   22        Q.   AND WHAT DOES THAT MEAN, "SECONDARY/ADDITIONAL TARGET"?

12:27PM   23        A.   SO THERE WERE DIFFERENT CONFIGURATIONS OF THE 4.0 DEVICES.

12:27PM   24        ONE OF THEM WAS 4S.    THE OTHER ONE WAS CALLED THE MINILAB.

12:27PM   25        Q.   AND WHEN THAT'S THE SECONDARY OR ADDITIONAL TARGET, WHAT



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12:27PM    1        DID THAT MEAN TO YOU?

12:27PM    2        A.   I'M SORRY, I CAN'T ANSWER THAT BECAUSE I DON'T EXACTLY

12:27PM    3        RECOLLECT WHAT THE DIFFERENCES BETWEEN THE VERSIONS WERE.

12:27PM    4        Q.   OKAY.   THE NEXT LINE SAYS, "AS BACKUP, THE MANUAL PROCESS

12:28PM    5        SHOULD BE FLAWLESS AND RELIABLE."

12:28PM    6             WHAT DID YOU UNDERSTAND THE MANUAL PROCESS TO BE?

12:28PM    7        A.   MY UNDERSTANDING FOR THE MANUAL PROCESS MEANS -- BECAUSE

12:28PM    8        FOR THE ELISA'S WE DID HAVE THE ASSAYS ON THE 4.0'S, AND SO

12:28PM    9        PERHAPS FOR THE CBC AND GENERAL CHEMISTRY ASSAYS THEY WERE

12:28PM   10        TESTING THE SAMPLES IN A DIFFERENT METHOD, WHICH IS A MANUAL

12:28PM   11        PROCESS.

12:28PM   12        Q.   DID YOU TAKE THIS AS DIRECTION TO BE TRY THE MINILAB

12:28PM   13        FIRST, IF NOT, THE 4S, AND THEN AS A BACKUP THE MANUAL PROCESS?

12:28PM   14        IS THAT HOW YOU UNDERSTOOD THIS?

12:28PM   15        A.   I WOULD THINK SO.

12:28PM   16        Q.   THAT LAST LINE IS "BCD'S NEED TO BE FLAWLESS."

12:28PM   17             WHAT DOES BCD MEAN?

12:28PM   18        A.   SO THOSE ARE THE BLOOD COLLECTION DEVICES.

12:29PM   19        Q.   AND ONE OF THOSE IS THE NANOTAINER?

12:29PM   20        A.   YES.

12:29PM   21        Q.   OKAY.   IF WE CAN STRADDLE PAGE 2 AND PAGE 3 WITH THE EMAIL

12:29PM   22        FROM MS. GANGAKHEDKAR.

12:29PM   23             THERE'S A WAY, MS. HOLLIMAN, TO SHOW THE BOTTOM OF PAGE 2

12:29PM   24        AND THE TOP OF PAGE 3 AT THE SAME TIME.

12:29PM   25             WHY DON'T WE START THERE, MS. HOLLIMAN, AND EXPAND THE



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12:30PM    1        BOTTOM HALF OF THIS EMAIL.

12:30PM    2             I'M SORRY, IF WE CAN ALSO GET THE NAMES JUST BENEATH THE

12:30PM    3        SEND DATED.

12:30PM    4             WONDERFUL.   THANK YOU.

12:30PM    5             MS. GANGAKHEDKAR, YOU FORWARDED THIS TO SOME INDIVIDUALS,

12:30PM    6        KAREN SHAW AND OTHERS.    I JUST WANT -- COULD YOU JUST WALK US

12:30PM    7        THROUGH WHO THE INDIVIDUALS ARE IN THE TO LINE?

12:30PM    8        A.   SURE.    SO KAREN SHAW WAS AN ASSAY DEVELOPER IN THE ELISA

12:30PM    9        TEAM; THE SAME FOR NAHAL GHARAATI;

12:30PM   10             MICHELLE JOHNSON WERE SENIOR SCIENTISTS OR ASSAY

12:30PM   11        DEVELOPERS;

12:30PM   12             SHARADA SIVARAMAN AND TINA NOYES WERE THE TEAM LEADS IN

12:31PM   13        THE ELISA GROUP; AND,

12:31PM   14             ESTER CHEN WAS RESPONSIBLE FOR THE FORMULATIONS AND

12:31PM   15        CARTRIDGE BUILDS.

12:31PM   16        Q.   MS. SHAW IS REPORTING AT THE END OF THE NEXT EMAIL, "MAIN

12:31PM   17        BOTTLENECK I IMAGINE WILL BE NUMBER OF READERS AND WHAT TIME

12:31PM   18        THEY ARE RELEASED FROM QC EACH DAY.     HOPEFULLY THEY CAN GET

12:31PM   19        MORE GOING SO WE CAN RUN ASAP AND FIND OUT IF ANYTHING NEEDS

12:31PM   20        TWEAKING."

12:31PM   21             DO YOU SEE THAT LANGUAGE?

12:31PM   22        A.   YES.

12:31PM   23        Q.   AND WHAT DID YOU UNDERSTAND THAT TO MEAN?

12:31PM   24        A.   SO THE AVAILABILITY OF THE NUMBER OF READERS TO DO ANY

12:31PM   25        KIND OF DEVELOPMENT OR TESTING WAS ALWAYS A GAP.      SO DEPENDING



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12:31PM    1        UPON HOW MANY WORKING READERS WERE AVAILABLE TO THE DEVELOPMENT

12:32PM    2        TEAMS, WE HAD TO PLAN OUR DAY AROUND THAT.

12:32PM    3        Q.   A READER IS A REFERENCE TO A DEVICE?

12:32PM    4        A.   YES, SO ESSENTIALLY THE 4.0 DEVICES.

12:32PM    5        Q.   OKAY.   IF WE CAN ZOOM OUT, PLEASE, MS. HOLLIMAN, AND THEN

12:32PM    6        GO TO TINA NOYES'S EMAIL AT THE TOP OF THIS PAGE.

12:32PM    7             MS. GANGAKHEDKAR, MS. NOYES IS WRITING TO THE GROUP HERE,

12:32PM    8        "WELL THE LAST TIME WE RAN THE OMNI, THE DATA WAS PRETTY

12:32PM    9        TERRIBLE.    TSH GAVE DARK COUNTS FOR A WHILE AND THEN MAGICALLY

12:32PM   10        STARTED WORKING AGAIN."

12:32PM   11             DO YOU SEE THAT LANGUAGE?

12:32PM   12        A.   YES.

12:32PM   13        Q.   AND WHAT ARE DARK COUNTS?

12:32PM   14        A.   BASICALLY BACKGROUND COUNTS, SO THERE'S NO RESPONSE

12:33PM   15        AVAILABLE, NO SIGNAL.

12:33PM   16        Q.   AND IS THIS EXEMPLARY OF SOME OF THE ISSUES YOU AND YOUR

12:33PM   17        TEAM WERE EXPERIENCING WITH THE NEXT GENERATION OF THERANOS

12:33PM   18        DEVICES?

12:33PM   19        A.   YES.

12:33PM   20        Q.   DID THESE EVER GET RESOLVED BEFORE YOU RESIGNED?

12:33PM   21        A.   NO.

12:33PM   22        Q.   SO THIS EMAIL -- WE CAN TAKE THIS DOWN, MS. HOLLIMAN,

12:33PM   23        THANK YOU.

12:33PM   24             WE'RE IN JULY OF 2015, MS. GANGAKHEDKAR.      IN OR AROUND THE

12:33PM   25        MIDDLE OR LATE JULY OF 2013, DID YOU GO ON A VACATION?



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12:33PM    1        A.   YES.

12:33PM    2        Q.   AND WHERE DID YOU GO?

12:33PM    3        A.   I WENT TO INDIA.

12:33PM    4        Q.   HOW LONG WERE YOU THERE FOR?

12:33PM    5        A.   SO I WENT FROM I THINK THE 21ST OF JULY AND CAME BACK

12:33PM    6        AROUND THE 17TH OF AUGUST.

12:33PM    7        Q.   OKAY.   AT THE TIME THAT YOU LEFT FOR YOUR VACATION, HOW

12:34PM    8        WOULD YOU DESCRIBE THE STATUS OF YOUR WORK?        WHAT WERE YOU --

12:34PM    9        WHAT DID YOU UNDERSTAND THE PRIORITY OR THE PLAN IN TERMS OF

12:34PM   10        YOUR ASSAY DEVELOPMENT?

12:34PM   11        A.   SO TWO PATHWAYS.    ESSENTIALLY CONTINUING TO DEVELOP THE

12:34PM   12        ASSAYS FROM THE PRIORITY LIST THAT WAS GIVEN TO US ON THE

12:34PM   13        EDISON 3.0'S AND ALSO HAD A SMALL TEAM OF THE GROUP, A SMALL

12:34PM   14        GROUP OF WORKING ON BRINGING UP THE 4.0'S.

12:34PM   15             THAT ESSENTIALLY MEANT TESTING THE ASSAYS ON THE 4.0'S.

12:34PM   16        Q.   WERE YOU AWARE OF ANY PLAN TO LAUNCH AT WALGREENS

12:34PM   17        IMMINENTLY WHEN YOU LEFT ON YOUR VACATION?

12:34PM   18        A.   I WAS NOT.

12:34PM   19        Q.   WERE YOU AWARE OF ANY PLAN TO GO LIVE WITH THERANOS

12:34PM   20        DEVICES IN THE CLIA LAB BEFORE YOU WENT ON VACATION?

12:34PM   21        A.   I WAS NOT.

12:34PM   22        Q.   WERE YOU AWARE OF ANY PLAN TO MODIFY THIRD PARTY DEVICES

12:35PM   23        SUCH AS SIEMENS MACHINES FOR USE IN THE CLIA LAB?

12:35PM   24        A.   NOT AT THAT TIME.

12:35PM   25        Q.   AND WHEN YOU COME BACK IN THE MIDDLE OF AUGUST OF 2013,



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12:35PM    1        WHAT DID YOU LEARN?

12:35PM    2        A.   THAT WE WERE LAUNCHING ASSAYS TO USE ON PATIENT SAMPLES.

12:35PM    3        Q.   OKAY.   AND WERE YOU SURPRISED BY THAT?

12:35PM    4        A.   YES.

12:35PM    5        Q.   WHY WERE YOU SURPRISED?

12:35PM    6        A.   WELL, BECAUSE I DIDN'T THINK THAT THE 3.0 DEVICES WERE

12:35PM    7        READY TO BE USED FOR PATIENT SAMPLES.

12:35PM    8        Q.   WHEN YOU SAY YOU DIDN'T THINK THAT THE 3.0'S WERE READY

12:35PM    9        FOR USE ON PATIENT SAMPLES, DOES THAT INCLUDE THE 3.5'S?

12:35PM   10        A.   YES.

12:35PM   11        Q.   WHY DID YOU BELIEVE THE 3.0'S AND THE 3.5'S WERE NOT READY

12:35PM   12        FOR USE ON THE PATIENT SAMPLES?

12:35PM   13        A.   BECAUSE WE WERE AWARE THAT THERE WERE RELIABILITY ISSUES

12:36PM   14        WITH THE EDISON 3.0'S, AND AT THAT TIME THEY WERE NOT FULLY

12:36PM   15        RESOLVED.

12:36PM   16        Q.   WHEN YOU SAY, "WE WERE AWARE," DID YOU HAVE DISCUSSIONS

12:36PM   17        PRIOR TO THE MIDDLE OF AUGUST WITH MS. HOLMES ABOUT THOSE

12:36PM   18        ISSUES?

12:36PM   19        A.   SO SHE, SHE WAS -- IN MY OPINION SHE WAS AWARE BECAUSE

12:36PM   20        THAT WAS A STOPGAP METHOD TO USE UNTIL THE 4.0 DEVICES WOULD BE

12:36PM   21        AVAILABLE FOR DEVELOPMENT.

12:36PM   22        Q.   AND WHEN YOU SAY THAT THE 3.0 AND THE 3.5 HAD RELIABILITY

12:36PM   23        ISSUES, WHAT DO YOU MEAN?    WHAT WERE THE ISSUES?

12:36PM   24        A.   SO THERE WERE LIKE PROBLEMS IN GIVING CONSISTENT RESULTS.

12:36PM   25        EITHER THEY WOULD HAVE I THINK PROBLEMS WITH THE RESPONSES AND



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12:36PM    1        RESULTS SUCH AS EITHER VERY LOW COUNTS OR VERY HIGH COUNTS AND

12:36PM    2        THERE COULD BE PROBLEMS WITH THE PICKUP OF THE REAGENTS OR THE

12:37PM    3        REACTION TIPS IN A RUN.

12:37PM    4        Q.   PRIOR TO THE MIDDLE OF AUGUST, HAD YOU BEEN IN MEETINGS

12:37PM    5        WITH MS. HOLMES WHERE SOME OF THESE ISSUES WERE DISCUSSED?

12:37PM    6        A.   YES.

12:37PM    7        Q.   WHEN YOU CAME BACK FROM YOUR VACATION IN THE MIDDLE OF

12:37PM    8        AUGUST OF 2013, DID YOU ALSO LEARN OF A PLAN TO MODIFY SIEMENS

12:37PM    9        MACHINES?

12:37PM   10        A.   YES.

12:37PM   11        Q.   AND WHAT DID YOU LEARN?

12:37PM   12        A.   SO I, I LEARNED THROUGH THE EMAILS THAT THEY WERE LOOKING

12:37PM   13        AT MODIFYING THE PROTOCOLS OF THE SIEMENS MACHINES TO BE ABLE

12:37PM   14        TO USE LOWER SAMPLES OR DILUTED SAMPLES.

12:37PM   15        Q.   BETWEEN LATE AUGUST OF 2013 AND THE TIME OF YOUR

12:37PM   16        RESIGNATION, DID YOU FEEL PRESSURE TO VALIDATE ASSAYS FOR USE

12:38PM   17        IN THE CLIA LAB?

12:38PM   18        A.   YES.

12:38PM   19        Q.   WAS THAT PRESSURE OUTSIDE OF THE NORMAL COURSE OF BUSINESS

12:38PM   20        OR WAS THIS SOMETHING USUAL?       HOW WOULD YOU DESCRIBE IT?

12:38PM   21        A.   SO IT WAS THE USUAL BECAUSE EVEN THROUGH THE PAST

12:38PM   22        EXPERIENCES MANY TIMES THERE WOULD BE THESE NEW PROJECTS,

12:38PM   23        PRIORITY DEMOS, THAT WE HAD TO DELIVER UPON.

12:38PM   24             BUT WITH THIS LAUNCH THAT IT SEEMED LIKE IT WAS IMMINENT,

12:38PM   25        AND SO THERE WAS INCREASINGLY MORE PRESSURE ON GETTING THE



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12:38PM    1        STUDIES COMPLETED.

12:38PM    2        Q.   AND WHERE WAS THIS PRESSURE COMING FROM?

12:38PM    3        A.   FROM MS. HOLMES.

12:38PM    4        Q.   DID YOU FEEL AS IF THE VALIDATION WAS BEING RUSHED?

12:38PM    5        A.   YES.

12:38PM    6        Q.   AND WHY DO YOU SAY THAT?

12:38PM    7        A.   BECAUSE OF THE AMOUNT OF TIME THAT WE HAD AT THE TIME OF

12:38PM    8        THE LAUNCH AND WHERE WE WERE WITH THE 3.0 DEVICES GIVEN THAT

12:39PM    9        THEY WERE AWARE THAT THERE WERE ISSUES WITH 3.0'S, SO THEY WERE

12:39PM   10        LOOKING TO UPGRADE SOME OF THOSE ISSUES AND CAUSE -- THEY WERE

12:39PM   11        LOOKING TO UPGRADE SOME OF THOSE 3.0 DEVICES INTO A NEW VERSION

12:39PM   12        CALLED 3.5.

12:39PM   13        Q.   LET ME DRAW YOUR ATTENTION TO SOME DOCUMENTS FROM THIS

12:39PM   14        TIME PERIOD, AUGUST OF 2013, MS. GANGAKHEDKAR.

12:39PM   15             IF YOU COULD PLEASE LOOK IN YOUR BINDER AT EXHIBIT 5338.

12:39PM   16             DO YOU HAVE THAT IN FRONT OF YOU?

12:39PM   17        A.   YES.

12:39PM   18        Q.   AND DO YOU RECOGNIZE THIS AS AN EMAIL FROM

12:40PM   19        SHARADA SIVARAMAN TO DANIEL YOUNG WITH A COPY TO YOU?

12:40PM   20        A.   YES.

12:40PM   21        Q.   AND DO YOU BELIEVE THAT THIS WAS SENT DURING THE TIMEFRAME

12:40PM   22        OF YOUR VACATION?

12:40PM   23        A.   YES.

12:40PM   24        Q.   AND WHILE YOU WERE ON VACATION, DID SOMEBODY STAND IN FOR

12:40PM   25        YOU OR ASSUME YOUR RESPONSIBILITIES AS THE MANAGER OF ASSAY



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12:40PM    1        SYSTEMS?

12:40PM    2        A.   YES.

12:40PM    3        Q.   AND WHO WAS THAT?

12:40PM    4        A.   SHARADA SIVARAMAN.

12:40PM    5        Q.   SO SHE WAS ESSENTIALLY STANDING IN YOUR SHOES?

12:40PM    6        A.   YES.

12:40PM    7        Q.   OKAY.    AND PART OF THAT RESPONSIBILITY WAS REPORTING TO

12:40PM    8        MS. HOLMES ABOUT WHERE THINGS WERE IN TERMS OF GETTING THESE

12:40PM    9        ASSAYS VALIDATED?

12:40PM   10        A.   YES.

12:40PM   11                     MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 5338.

12:40PM   12                     MR. WADE:    NO OBJECTION, YOUR HONOR.

12:40PM   13                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:40PM   14             (GOVERNMENT'S EXHIBIT 5338 WAS RECEIVED IN EVIDENCE.)

12:41PM   15                     MR. LEACH:    IF WE CAN PLEASE ZOOM IN ON THE FIRST

12:41PM   16        HALF OF THIS CAPTURING BULLET 4.

12:41PM   17             THAT'S WONDERFUL.

12:41PM   18        Q.   I DRAW YOUR ATTENTION TO THE TOP PART OF THIS EMAIL.          DO

12:41PM   19        YOU SEE WHERE IT SAYS PLAN FOR ELISA LDT VALIDATION?

12:41PM   20        A.   YES.

12:41PM   21        Q.   AND WHAT DOES LDT MEAN?

12:41PM   22        A.   IT STANDS FOR LABORATORY DEVELOPED TEST.

12:41PM   23        Q.   AND WHAT DOES THAT MEAN IN THE CONTEXT OF THIS EMAIL?

12:41PM   24        A.   SO IT SEEMS THAT THIS IS A PLAN TO DEVELOP THE ELISA'S OR

12:41PM   25        RATHER CONDUCT THE VALIDATION OF THE ELISA'S THAT THEY HAD



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12:41PM    1        DEVELOPED AT THERANOS AS AN LDT.

12:41PM    2        Q.   AND LDT TO BE USED IN THE THERANOS CLIA LAB?

12:41PM    3        A.   AND/OR WITH THE EDISON SYSTEMS.

12:42PM    4        Q.   OKAY.   MS. SIVARAMAN IS WRITING, "HI DANIEL, PLEASE FIND

12:42PM    5        ATTACHED THE VALIDATION PLAN FOR THE 6 ASSAYS IN A CARTRIDGE

12:42PM    6        SUMMARY FORMAT.   ALSO ATTACHED IS THE LDT VALIDATION PLAN WORD

12:42PM    7        DOCUMENT FOR TSH THAT ARNE HELPED DEVELOP IN 2011."

12:42PM    8             DO YOU SEE THAT LANGUAGE?

12:42PM    9        A.   YES.

12:42PM   10        Q.   AND WHO IS ARNE?

12:42PM   11        A.   ARNE, DR. ARNE WAS THE CLIA LAB DIRECTOR AT THAT TIME IN

12:42PM   12        2011.

12:42PM   13        Q.   OKAY.   WAS HE THE LAB DIRECTOR AT OR AROUND THE TIME OF

12:42PM   14        THE EMAIL?

12:42PM   15        A.   NO.

12:42PM   16        Q.   AND THE LDT VALIDATION PLAN.     WHAT IS THAT?

12:42PM   17        A.   SO, SO WE WERE -- IN PLANNING FOR AN EVENTUAL VALIDATION

12:42PM   18        STUDY FOR THE ASSAY TSH, WE HAD WORKED WITH ARNE IN GENERATING

12:43PM   19        THE VALIDATION PLAN AND WHAT IT WOULD LOOK LIKE.

12:43PM   20        Q.   SO THE HOPE IS TO VALIDATE THIS ASSAY FOR USE IN THE CLIA

12:43PM   21        LAB AND YOU PUT TOGETHER -- OR YOUR GROUP HAS PUT TOGETHER A

12:43PM   22        PLAN FOR HOW TO ACHIEVE THAT?

12:43PM   23        A.   YES.

12:43PM   24        Q.   OKAY.   LET ME DRAW YOUR ATTENTION TO PARAGRAPH NUMBER 3

12:43PM   25        WHERE IT SAYS, "THE TOTAL NUMBER OF DEVICES WILL DRIVE THE



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12:43PM    1        TIMELINES FOR THE EXERCISE, IT WOULD BE GOOD IF WE CAN GET AN

12:43PM    2        ESTIMATE OF THIS IN ADVANCE.       SAM TOLD ME TODAY WE SHOULD HAVE

12:43PM    3        60, 3.5 DEVICES AVAILABLE BY 8/15.      I HAVE ONLY PLANNED OUT THE

12:43PM    4        EXERCISE WITH 3 READERS."

12:43PM    5             WHAT IS THAT PARAGRAPH GETTING AT?

12:43PM    6        A.   SO ESSENTIALLY THERE'S A SHORTAGE OF READERS AVAILABLE SO

12:44PM    7        THE 3.5 DEVICES WOULDN'T BE AVAILABLE UNTIL THE 15TH.

12:44PM    8        Q.   SO ONE OF THE LIMITS YOU ARE RUNNING UP AGAINST IS SIMPLY

12:44PM    9        THE AVAILABILITY OF DEVICES TO RUN YOUR VALIDATION WORK?

12:44PM   10        A.   YES.

12:44PM   11        Q.   IF WE CAN NOW GO TO THE BOTTOM HALF OF THE EMAIL,

12:44PM   12        MS. HOLLIMAN.

12:44PM   13             MS. GANGAKHEDKAR, I'M DRAWING YOUR ATTENTION TO

12:44PM   14        PARAGRAPH 6 WHERE IT SAYS, "ECO OF DOCUMENTATION:       ESTHER AND

12:44PM   15        THE MFG TEAM ARE GETTING READY WITH TIP COATING, REAGENT

12:44PM   16        FORMULATION, AND ANTIBODY CONJUGATIONS FOR THE VALIDATION."

12:44PM   17             CAN YOU HELP US UNDERSTAND WHAT THAT MEANS.

12:44PM   18        A.   SO THESE ARE ALL OF THE COMPONENTS OF THE CARTRIDGES,

12:44PM   19        ESSENTIALLY THE TIPS, THE REACTION TIPS, THE REAGENTS, AND THE

12:44PM   20        ANTIBODY CONJUGATIONS THAT ARE USED FOR THE TEST IN A

12:45PM   21        CARTRIDGE.

12:45PM   22             SO I BELIEVE SHARADA IS SUMMARIZING THAT THE MANUFACTURING

12:45PM   23        TEAM IS GETTING READY TO ENSURE THAT ALL OF THE COMPONENTS ARE

12:45PM   24        READY.

12:45PM   25        Q.   MS.    SIVARAMAN THEN WROTE, "UNTIL WE HAVE THE



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12:45PM    1        DOCUMENTATION SQUARED AWAY WE WILL NOT BE ABLE TO START

12:45PM    2        FORMULATIONS SINCE EVERY STEP OF REAGENT PREPARATION WILL NEED

12:45PM    3        TO BE PER A DOCUMENT."

12:45PM    4             WHAT DID THAT MEAN?

12:45PM    5        A.   SO BEFORE THEY CAN START ANY OF THE PREP WORK FOR THE

12:45PM    6        REAGENTS, THEY NEED TO MAKE SURE THAT ALL OF THE APPROPRIATE

12:45PM    7        PROTOCOLS FOR THE REAGENT PREP AND QC'S AND MANUFACTURING NEED

12:45PM    8        TO BE IN PLACE.

12:45PM    9        Q.   AND WAS THAT ANOTHER HOLDUP FOR GETTING THE VALIDATION

12:45PM   10        WORK DONE?

12:45PM   11        A.   YES.

12:46PM   12        Q.   THANK YOU.   WE CAN TAKE THAT DOWN, MS. HOLLIMAN.

12:46PM   13             I'D LIKE TO DRAW YOUR ATTENTION, MS. GANGAKHEDKAR, TO

12:46PM   14        EXHIBIT 5096.

12:46PM   15             ARE YOU FAMILIAR WITH THIS DOCUMENT?

12:46PM   16        A.   YES.

12:46PM   17        Q.   IS THIS ANOTHER EMAIL FROM MS. SIVARAMAN WHEN YOU WERE OUT

12:46PM   18        ON VACATION?

12:46PM   19        A.   YES.

12:46PM   20        Q.   WHERE SHE WAS ESSENTIALLY STANDING IN YOUR SHOES AS

12:46PM   21        MANAGER OF ASSAY SYSTEMS?

12:46PM   22        A.   YES.

12:46PM   23        Q.   AND DO YOU BELIEVE THAT SHE IS PASSING ON TO YOUR GROUP

12:46PM   24        DIRECTIONS SHE RECEIVED FROM MS. HOLMES AND DR. YOUNG ABOUT THE

12:46PM   25        VALIDATION WORK THAT IS GOING ON IN THIS TIME PERIOD?



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12:47PM    1        A.   YES.

12:47PM    2                    MR. LEACH:    YOUR HONOR, THE GOVERNMENT MOVES

12:47PM    3        EXHIBIT 5096 INTO EVIDENCE.

12:47PM    4                    MR. WADE:    NO OBJECTION, YOUR HONOR.

12:47PM    5                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:47PM    6             (GOVERNMENT'S EXHIBIT 5096 WAS RECEIVED IN EVIDENCE.)

12:47PM    7                    MR. LEACH:    MS. HOLLIMAN, IF WE CAN PLEASE ENLARGE

12:47PM    8        THE SUBSTANCE OF THE EMAIL AND THE HEADER.

12:47PM    9             WE'LL START WITH THE TOP HALF.

12:47PM   10        Q.   DO YOU SEE YOUR NAME IN THE CC LINE, MS. GANGAKHEDKAR?

12:47PM   11        A.   YES.

12:47PM   12        Q.   AND IS THIS TO MEMBERS OF THE ELISA ASSAY DEVELOPMENT

12:47PM   13        GROUP?

12:47PM   14        A.   YES.

12:47PM   15        Q.   AND MS. SIVARAMAN IS WRITING, "UPDATE FROM MEETING.       1.

12:48PM   16        THE LDT VALIDATION WILL BE THE TOP PRIORITY FOR THE GROUP FOR

12:48PM   17        NOW."

12:48PM   18             WHAT DOES THAT MEAN?

12:48PM   19        A.   SO THIS IS LETTING THE GROUP KNOW THAT THIS WILL BE THE

12:48PM   20        HIGHEST PRIORITY FOR NOW.

12:48PM   21        Q.   AND WHAT DOES LDT VALIDATION REFER TO?

12:48PM   22        A.   SO THAT'S THE LABORATORY DEVELOPED TEST VALIDATION.

12:48PM   23        Q.   GETTING TESTS VALIDATED ON THE 3.0 AND THE 3.5 FOR USE IN

12:48PM   24        THE CLIA LAB?

12:48PM   25        A.   YES.



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12:48PM    1        Q.   NUMBER 2 IT SAYS, "RETAIL, DOD ANIMAL AND WALTER REED

12:48PM    2        ASSAYS TO BE ON THE BACK BURNER FOR NOW."

12:48PM    3             WHAT DID YOU UNDERSTAND THAT TO MEAN?

12:48PM    4        A.   SO THERE WERE OTHER ASSAY DEVELOPMENT PROJECTS THAT THE

12:48PM    5        TEAM MEMBERS WERE WORKING ON, AND I THINK THOSE ARE THE ONES

12:48PM    6        THAT ARE LISTED, ESSENTIALLY TELLING THE TEAM THAT ALL OF OUR

12:48PM    7        FOCUS SHOULD BE ON THE LDT VALIDATION AND NOT THE OTHER

12:49PM    8        DEVELOPMENT PROJECTS.

12:49PM    9        Q.   THANK YOU.    WE CAN TAKE THAT DOCUMENT DOWN, MS. HOLLIMAN.

12:49PM   10             AND I'D LIKE TO DRAW YOUR ATTENTION TO EXHIBIT 5100.          IF I

12:49PM   11        COULD DRAW YOUR ATTENTION -- DO YOU HAVE THAT IN FRONT OF YOU?

12:49PM   12        A.   YES.

12:49PM   13        Q.   AND COULD I DRAW YOUR ATTENTION, PLEASE, TO PAGE 2.

12:49PM   14             DO YOU SEE AN EMAIL FROM MS. SIVARAMAN TO YOU,

12:49PM   15        SUNNY BALWANI, ELIZABETH HOLMES, AND OTHERS ON AUGUST 14TH,

12:49PM   16        2013?

12:49PM   17        A.   YES.

12:49PM   18        Q.   AND IS THIS ALSO AT A TIME WHEN YOU WERE OUT ON VACATION

12:49PM   19        AND MS. SIVARAMAN IS STANDING IN YOUR SHOES?

12:49PM   20        A.   YES.

12:49PM   21        Q.   OKAY.

12:50PM   22             YOUR HONOR, THE GOVERNMENT MOVES FOR THE ADMISSION OF

12:50PM   23        EXHIBIT 5100.

12:50PM   24                     MR. WADE:    NO OBJECTION, YOUR HONOR.

12:50PM   25                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.



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12:50PM    1              (GOVERNMENT'S EXHIBIT 5100 WAS RECEIVED IN EVIDENCE.)

12:50PM    2                      MR. LEACH:    IF WE COULD GO TO PAGE 2, PLEASE,

12:50PM    3        MS. HOLLIMAN, AND ZOOM IN ON THE SUBSTANCE OF THE EMAIL.

12:50PM    4        PERFECT.

12:50PM    5        Q.    DO YOU SEE MS. HOLMES'S NAME IN THE TO LINE,

12:50PM    6        MS. GANGAKHEDKAR?

12:50PM    7        A.    YES.

12:50PM    8        Q.    OKAY.    AND IN THE FIRST PARAGRAPH IT SAYS, "PLEASE SEE

12:50PM    9        BELOW FOR 3.5 DATA SO FAR ON THE CARTRIDGES THAT WERE ASSEMBLED

12:50PM   10        YESTERDAY EVENING WITH THE NEWLY CUT CAPTURE LAYERS AND WICKING

12:50PM   11        PADS."

12:50PM   12              DO YOU SEE THAT LANGUAGE?

12:50PM   13        A.    YES.

12:50PM   14        Q.    AND WHAT DO YOU UNDERSTAND THE PURPOSE OF THIS EMAIL TO

12:51PM   15        BE?

12:51PM   16        A.    SO I BELIEVE, LIKE, SHARADA IS UPDATING THE RECIPIENTS ON

12:51PM   17        THE STATUS OF THE TESTS THAT WERE CONDUCTED ON THE 3.5 DEVICES.

12:51PM   18        Q.    OKAY.    IN THE THIRD FULL PARAGRAPH IT SAYS, "IT LOOKS LIKE

12:51PM   19        THE NEWLY CUT PARTS MAY BE HELPING, BUT WE ARE STILL SEEING THE

12:51PM   20        LOW OUTLIERS THAT ARE GIVING RISE TO 30 TO 60 PERCENT INTRA

12:51PM   21        CV'S AND WE ARE ALSO SEEING HIGHER INTER SERVICE."

12:51PM   22              SO WHAT IS CV?

12:51PM   23        A.    SO IT'S THE COEFFICIENT OF VARIATION.

12:51PM   24        Q.    AND WAS IT GOOD NEWS OR BAD NEWS OR INDIFFERENT NEWS THAT

12:51PM   25        OUTLIERS ARE GIVING RISE TO 30 TO 60 PERCENT INTRA CV'S AND



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12:51PM    1        YOU'RE ALSO SEEING HIGHER INTER SERVICE?

12:51PM    2        A.   IT'S BAD NEWS.

12:52PM    3        Q.   FURTHER DOWN COUNSEL AT THE BOTTOM IT SAYS, "MORE

12:52PM    4        CARTRIDGES WILL NEED TO BE BUILT FOR THIS AND I WANTED TO KNOW

12:52PM    5        IF WE CAN HAVE MORE OF THESE PADS CUT AT LEAST FOR 24 MORE."

12:52PM    6             DO I UNDERSTAND THAT TO MEAN THAT THERANOS IS MAKING THE

12:52PM    7        CARTRIDGES AS IT'S DOING THIS VALIDATION WORK?

12:52PM    8        A.   YES.

12:52PM    9        Q.   AND YOU WEREN'T JUST GRABBING THEM OFF THE SHELF AND USING

12:52PM   10        THEM FOR WHAT YOU WERE DOING?

12:52PM   11        A.   AT LEAST FROM THIS PARTICULAR LINE IT SAYS THAT THE WORK

12:52PM   12        WAS KIND OF DEPENDENT UPON WHEN THE CARTRIDGES WOULD BE

12:52PM   13        AVAILABLE.

12:52PM   14        Q.   OKAY.   LET'S GO TO THE NEXT -- LET'S GO TO PAGE 1.      AND IF

12:52PM   15        WE CAN ZOOM IN TO THE TOP PORTION.

12:53PM   16             DO YOU SEE ANOTHER EMAIL FROM MS. SIVARAMAN ON THE NEXT

12:53PM   17        DAY REPORTING ON ADDITIONAL RUNS ON THE 3.5?

12:53PM   18        A.   YES.

12:53PM   19        Q.   OKAY.   AND SHE WROTE, "PLEASE SEE ATTACHED.     WE'RE STILL

12:53PM   20        SEEING SOME HIGHS CV."

12:53PM   21             DO YOU SEE THAT?

12:53PM   22        A.   YES.

12:53PM   23        Q.   AND IS A HIGH CV DESIRABLE FOR ASSAY DEVELOPMENT?

12:53PM   24        A.   ABSOLUTELY NOT.

12:53PM   25        Q.   LET ME MOVE FORWARD IN TIME PLEASE TO EXHIBIT 3967, AND I



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12:53PM    1        BELIEVE THIS ONE WE'RE STIPULATING TO.

12:53PM    2                     MR. WADE:    I'M SORRY, WHAT WAS THE NUMBER?

12:53PM    3                     MR. LEACH:    3967.

12:53PM    4                     MR. WADE:    YEAH, WE STIPULATED ON THIS ONE,

12:53PM    5        YOUR HONOR.

12:53PM    6                     THE COURT:    ARE YOU OFFERING THIS?

12:54PM    7                     MR. LEACH:    YES, YOUR HONOR.

12:54PM    8                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

12:54PM    9             (GOVERNMENT'S EXHIBIT 3967 WAS RECEIVED IN EVIDENCE.)

12:54PM   10        BY MR. LEACH:

12:54PM   11        Q.   LET ME DRAW YOUR ATTENTION, MS. GANGAKHEDKAR, TO THE LOWER

12:54PM   12        PORTION OF THE FIRST PAGE THERE'S AN EMAIL FROM DANIEL YOUNG ON

12:54PM   13        AUGUST 19TH TO YOU AND MS. SIVARAMAN, AND THE SUBJECT IS ASSAYS

12:54PM   14        FOR LAUNCH.

12:54PM   15             DO YOU SEE THAT?

12:54PM   16        A.   YES.

12:54PM   17        Q.   AND DID YOU UNDERSTAND LAUNCH TO BE A REFERENCE TO THE

12:54PM   18        WALGREENS LAUNCH?

12:54PM   19        A.   I THINK SO.

12:54PM   20        Q.   AND DANIEL YOUNG IS WRITING, "HI SHARADA, BELOW ARE THE

12:54PM   21        TOP PRIORITY ASSAYS (N EQUALS 63) TO VALIDATE ON EDISON DEVICES

12:54PM   22        FOR LAUNCH."

12:54PM   23             N63, WHAT DOES THAT MEAN?

12:55PM   24        A.   SO THAT MEANS 63 ASSAYS TO VALIDATE ON THE EDISONS.

12:55PM   25        Q.   OKAY.    AND IF WE CAN PLEASE GO TO PAGE 3.



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12:55PM    1             AND DOWN TOWARDS THE BOTTOM IT READS, "THESE ARE CURRENTLY

12:55PM    2        PLANNED TO BE BROUGHT UP INITIALLY ON THE ADVIA, NOT ON THE

12:55PM    3        EDISON DEVICES?"

12:55PM    4             DO YOU SEE THAT LANGUAGE?

12:55PM    5        A.   YES.

12:55PM    6        Q.   AND DOES THAT -- WHAT DID YOU UNDERSTAND THAT TO MEAN?

12:55PM    7        A.   SO THESE -- THE VALIDATIONS ARE FOR THESE ASSAYS WOULD BE

12:55PM    8        HAPPENING ON THE COMMERCIAL SYSTEM, THE ADVIA.

12:55PM    9        Q.   OKAY.    AND SO AT THIS POINT IN TIME, AUGUST 19TH OF 2013,

12:55PM   10        THE PLAN IS TO VALIDATE 63 ON THE EDISON AND SOME REMAINDER ON

12:55PM   11        THE MODIFIED SIEMENS MACHINES?

12:55PM   12        A.   YES.

12:55PM   13        Q.   FOR USE IN THE CLIA LAB?

12:55PM   14        A.   YES.

12:55PM   15        Q.   LET ME DRAW YOUR ATTENTION TO EXHIBIT 1020.

12:56PM   16             YOUR HONOR, THE GOVERNMENT MOVES EXHIBIT 1020 INTO

12:56PM   17        EVIDENCE, AND I UNDERSTAND WE AGREE ON THIS.

12:56PM   18                     MR. WADE:    WE STIPULATE, YOUR HONOR.

12:56PM   19                     THE COURT:    ALL RIGHT.   THANK YOU.   IT'S RECEIVED,

12:56PM   20        AND IT MAY BE PUBLISHED.

12:56PM   21             (GOVERNMENT'S EXHIBIT 1020 WAS RECEIVED IN EVIDENCE.)

12:56PM   22                     MR. LEACH:    IF WE CAN PLEASE LOOK AT THE TOP TWO

12:56PM   23        EMAILS IN THE CHAIN ENDING WITH SHARADA'S SIGNATURE.

12:57PM   24        Q.   MS. GANGAKHEDKAR, IN THE SECOND EMAIL TO THE BOTTOM,

12:57PM   25        MS. SIVARAMAN SEEMS TO BE WRITING TO SURAJ SAKSENA AND



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12:57PM    1        DANIEL EDLIN.

12:57PM    2             WHO IS SURAJ SAKSENA?

12:57PM    3        A.   SO SURAJ SAKSENA WAS LEADING THE TEAM WHO WAS DEVELOPING

12:57PM    4        SOME IN-HOUSE REAGENTS FOR THERANOS.

12:57PM    5        Q.   AND MS.    SIVARAMAN WRITES, "IN OUR MEETINGS RE:     THE ELISA

12:57PM    6        LAUNCH AND PREPARATION FOR THE LDT VALIDATION, EAH HAS

12:57PM    7        MENTIONED THIS WILL BE THE ONLY PRIORITY OF THE ENTIRE ELISA

12:57PM    8        TEAM MOVING FORWARD.

12:57PM    9             "WE HAVE 61 ASSAYS TO VALIDATE ON THE 3.X AND 27 ON THE

12:57PM   10        SIEMENS ADVIA."

12:57PM   11             FIRST OF ALL, EAH, IS THAT AN ACRONYM FOR MS. HOLMES?

12:57PM   12        A.   YES.

12:57PM   13        Q.   AND 3.X, IS THAT A REFERENCE TO THE 3.0'S AND THE 3.5'S?

12:58PM   14        A.   YES.

12:58PM   15        Q.   LET ME DRAW YOUR ATTENTION, PLEASE, TO EXHIBIT 1019.

12:58PM   16             DO YOU HAVE THAT IN FRONT OF YOU?

12:58PM   17        A.   YES.

12:58PM   18        Q.   OKAY.   IS THIS AN EMAIL FROM YOU TO THE -- AN EMAIL

12:58PM   19        ADDRESS FOR THE ELISA GROUP?

12:58PM   20        A.   YES.

12:58PM   21        Q.   AND DO YOU SEE THAT IN THE TO LINE E-L-I-S-A?

12:58PM   22        A.   YES.

12:58PM   23        Q.   AND WHAT IS THAT?

12:58PM   24        A.   ESSENTIALLY THAT WAS AN EMAIL GROUP FOR THE ENTIRE TIME,

12:58PM   25        THE ELISA TEAM.



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12:58PM    1        Q.   AND DID YOU SEND THIS TO YOUR ELISA TEAM IN ORDER TO

12:58PM    2        UPDATE THEM ON THE CURRENT VALIDATION PLANS FOR THE WALGREENS

12:58PM    3        LAUNCH?

12:59PM    4        A.   YES.

12:59PM    5        Q.   AND DID YOU SEND THIS IN THE ORDINARY COURSE OF BUSINESS?

12:59PM    6        A.   YES.

12:59PM    7        Q.   AND IS IT BASED ON INFORMATION AT OR NEAR THE TIME THAT

12:59PM    8        THESE PLANS WERE PUT IN PLACE?

12:59PM    9        A.   YES.

12:59PM   10        Q.   AND WAS IT YOUR REGULAR PRACTICE TO DISTRIBUTE DIRECTIVES

12:59PM   11        LIKE THIS TO YOUR TEAM PASSING ON PLANS FOR MS. HOLMES?

12:59PM   12        A.   IT WAS.

12:59PM   13        Q.   OKAY.

12:59PM   14             YOUR HONOR, THE GOVERNMENT MOVES FOR THE ADMISSION OF

12:59PM   15        EXHIBIT 1019.

12:59PM   16                     MR. WADE:    NO OBJECTION, YOUR HONOR.

12:59PM   17                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:59PM   18             (GOVERNMENT'S EXHIBIT 1019 WAS RECEIVED IN EVIDENCE.)

12:59PM   19                     MR. LEACH:    MS. HOLLIMAN, IF WE CAN ZOOM IN ON THE

12:59PM   20        SECOND EMAIL FROM THE TOP, THE ONE FROM MS. GANGAKHEDKAR.

12:59PM   21             I'M SORRY, THE SECOND ONE.      THE ONE BELOW THAT.

01:00PM   22              WONDERFUL.   THANK YOU.

01:00PM   23        Q.   THE SUBJECT IS VALIDATION PLANS.

01:00PM   24             DO YOU SEE THAT?

01:00PM   25        A.   YES.



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01:00PM    1        Q.   AND WHAT WERE YOU REFERRING TO?

01:00PM    2        A.   I WAS REFERRING TO THE PLANNING FOR THE LDT, THE UPCOMING

01:00PM    3        LDT VALIDATION PLANS.

01:00PM    4        Q.   AND YOU WROTE, "IN PREPARING FOR THE UPCOMING VALIDATION,

01:00PM    5        PLEASE SEE THE ATTACHED LIST OF ASSAYS THAT WE WILL BE STARTING

01:00PM    6        WITH AND THE ASSIGNMENTS.    VALIDATION WILL START IN PHASES AND

01:00PM    7        WILL DEPEND UPON RESOURCES, MOST IMPORTANTLY READERS,

01:00PM    8        CARTRIDGES, CLINICAL SAMPLES, ET CETERA."

01:00PM    9             AT THIS POINT IN TIME, AUGUST 21ST, HAD ANY ASSAYS BEEN

01:00PM   10        VALIDATED FOR USE ON THE 3.0 OR THE 3.5 IN THE CLIA LAB?

01:00PM   11        A.   I DON'T THINK SO.

01:00PM   12        Q.   IN THE NEXT PARAGRAPH YOU WROTE, QUOTE, "THE 'ASSAY

01:00PM   13        OWNERS' WILL BE RESPONSIBLE FOR CLINICAL SOURCING AND

01:01PM   14        ORDERING."

01:01PM   15             WHAT WERE YOU GETTING AT WITH ASSAY OWNERS?

01:01PM   16        A.   SO BECAUSE WE HAD LIKE A LARGE LIST OF ASSAYS, SO EACH

01:01PM   17        ASSAYS HAD A PROJECT OWNER ESSENTIALLY WHO WOULD BE RESPONSIBLE

01:01PM   18        FOR MAKING SURE THAT THE VALIDATION PLANNING AND ALL OF THE

01:01PM   19        REQUIRED REAGENTS AND MATERIALS ARE READY AND AVAILABLE FOR THE

01:01PM   20        TESTS.

01:01PM   21        Q.   AT THIS POINT IN TIME, AUGUST 21ST, 2013, WITH YOU WRITING

01:01PM   22        THE WHOLE ELISA GROUP, ARE YOU CONFIDENT THAT YOU WERE BACK

01:01PM   23        FROM VACATION AT THIS POINT?

01:01PM   24        A.   YES.

01:01PM   25        Q.   AND WHEN YOU CAME BACK FROM VACATION, DID YOU HAVE



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1202


01:01PM    1        MEETINGS OR CONVERSATIONS WITH MS. HOLMES ABOUT THERANOS'S

01:01PM    2        READINESS TO GO LIVE ON THE 3.0 AND 3.5?

01:01PM    3        A.   SO THERE WOULD BE LIKE SEVERAL MEETINGS IN A WEEK, AND WE

01:01PM    4        HAD DISCUSSED THE ISSUES WITH THE 3.0'S, AND THAT IS WHERE THE

01:02PM    5        NEED TO UPGRADE TO 3.5 HAD BEEN BROUGHT UP, AND THAT IS WHERE

01:02PM    6        THEY WERE LOOKING TO, LIKE, PROVIDE ADDITIONAL DEVICES, THE

01:02PM    7        3.5'S THAT HAD NOT BEEN UPGRADED ENOUGH SO THEY WOULDN'T RUN

01:02PM    8        INTO ANY PROBLEMS.

01:02PM    9        Q.   AND DID YOU ALSO HAVE DISCUSSIONS WITH MS. HOLMES ABOUT

01:02PM   10        SOME OF THE RELIABILITY ISSUES AROUND THE 3.0?

01:02PM   11        A.   SO AT THAT POINT I HAD ASKED -- BECAUSE SHARADA WAS IN THE

01:02PM   12        CONVERSATIONS WHEN I WAS ON VACATION PLANNING FOR THE LDT

01:02PM   13        LAUNCH, AND SO I HAD ASKED SHARADA IF MS. HOLMES AND

01:02PM   14        DANIEL YOUNG WERE AWARE OF ALL OF THE PROBLEMS WITH THE 3.0'S,

01:02PM   15        AND THEY STILL WANTED TO GO AHEAD WITH THIS LAUNCH.

01:02PM   16             SO AT THAT TIME I HAD ASKED SHARADA SIVARAMAN TO RESEND AN

01:03PM   17        EMAIL LISTING SOME OF THE FAILURES THAT WE HAD SEEN IN THE PAST

01:03PM   18        AND LOOKING AT LIKE SOME OF THE RESULTS THAT WERE COMING IN

01:03PM   19        FROM THE 3.5'S, IT SEEMED LIKE SIMILAR ERRORS WITH THE SYSTEMS

01:03PM   20        AND HIGH CV'S WERE STILL OCCURRING.

01:03PM   21        Q.   LET ME HAVE YOU LOOK AT EXHIBIT 5106 WHICH I MOVE INTO

01:03PM   22        EVIDENCE.

01:03PM   23                    MR. WADE:    NO OBJECTION, YOUR HONOR.

01:03PM   24                    THE COURT:    IT'S RECEIVED AND ADMITTED, AND IT MAY

01:03PM   25        BE PUBLISHED.



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1203


01:03PM    1             (GOVERNMENT'S EXHIBIT 5106 WAS RECEIVED IN EVIDENCE.)

01:04PM    2        BY MR. LEACH:

01:04PM    3        Q.   SO THIS APPEARS TO BE AN EMAIL FROM MS. SIVARAMAN ON

01:04PM    4        AUGUST 23RD, 2013, TO MS. HOLMES, DANIEL YOUNG, AND A COPY TO

01:04PM    5        YOURSELF.

01:04PM    6             DO YOU SEE THAT?

01:04PM    7        A.   YES.

01:04PM    8        Q.   AND DO YOU SEE THE SUBJECT LINE 3.0 CARTRIDGE FAILURE

01:04PM    9        REPORT FOR ACE-011?

01:04PM   10        A.   YES.

01:04PM   11        Q.   OKAY.    IS THIS THE EMAIL THAT YOU WERE REFERRING TO THAT

01:04PM   12        YOU WANTED MS. SIVARAMAN TO CIRCULATE TO MS. HOLMES?

01:04PM   13        A.   YES.

01:04PM   14        Q.   AND WHY WERE YOU -- WHY DID YOU WANT THIS TO BE SENT TO

01:04PM   15        MS. HOLMES?

01:04PM   16        A.   JUST SO THAT I THINK SHE IS AWARE AGAIN THAT WE HAVE HAD

01:04PM   17        ISSUES WITH THE 3.0 DEVICES FOR SEVERAL YEARS AND LOOKING AT

01:04PM   18        SOME OF THE DATA THAT WAS BEING GENERATED IN AUGUST OF 2013 FOR

01:04PM   19        THE 3.5'S, WE ARE LOOKING -- WE ARE SEEING LIKE SIMILAR

01:04PM   20        PROBLEMS, SO TO MAKE HER AWARE THAT WE ARE NOT YET OUT OF THOSE

01:05PM   21        ISSUES AND THOSE ARE CONTINUING TO OCCUR.

01:05PM   22        Q.   LET ME PLEASE DRAW YOUR ATTENTION TO WHAT WE HAVE MARKED

01:05PM   23        AS EXHIBIT 3958.

01:05PM   24             I BELIEVE THERE'S A STIPULATION FOR 3958.      I MOVE IT INTO

01:05PM   25        EVIDENCE.



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1204


01:05PM    1                     MR. WADE:    NO OBJECTION.

01:05PM    2                     THE COURT:    WITHOUT OBJECTION, IT'S ADMITTED, AND IT

01:05PM    3        MAY BE PUBLISHED.

01:05PM    4             (GOVERNMENT'S EXHIBIT 3958 WAS RECEIVED IN EVIDENCE.)

01:06PM    5                     MR. LEACH:    AND IF WE CAN PLEASE HIGHLIGHT ON THE

01:06PM    6        TOP PORTION OF THE FIRST EMAIL ESSENTIALLY.

01:06PM    7             THANK YOU, MS. HOLLIMAN.

01:06PM    8        Q.   THE SUBJECT OF THIS EMAIL, MS. GANGAKHEDKAR IS MISSING

01:06PM    9        DATA FROM 3.5 RUNS.

01:06PM   10             WHAT WERE YOU GETTING AT THERE?

01:06PM   11        A.   SO LOOKING AT THE EMAIL CHAIN, ESSENTIALLY GOING ON

01:06PM   12        BETWEEN I THINK THE ASSAY DEVELOPER, WHO WAS RESPONSIBLE FOR

01:06PM   13        THE RUNS, AND INDIVIDUALS FROM THE SOFTWARE TEAM, WE COULD NOT

01:06PM   14        RETRIEVE THE DATA FOR THE RUNS THAT HAD COMPLETED.

01:06PM   15             SO THAT IS WHY IT'S -- THE SUBJECT IS TITLED THAT THE DATA

01:07PM   16        IS MISSING FROM THE SERVER FOR THE RUNS THAT HAD BEEN

01:07PM   17        CONDUCTED.

01:07PM   18        Q.   WHY WAS THAT AN ISSUE, IF IT WAS AN ISSUE?

01:07PM   19        A.   WELL, IF YOU COULDN'T SEE THE DATA, WE WOULDN'T KNOW HOW

01:07PM   20        THE TEST WAS COMPLETED, WHETHER WE HAD A SUCCESSFUL RUN OR NOT.

01:07PM   21        Q.   OKAY.    AND DO YOU SEE MS. HOLMES'S NAME IN THE TO LINE?

01:07PM   22        A.   YES.

01:07PM   23        Q.   OKAY.    LET ME DRAW YOUR ATTENTION TO EXHIBIT 972, AND IF I

01:07PM   24        COULD HAVE YOU PLEASE LOOK AT PAGE 4 OF EXHIBIT 972.

01:07PM   25        A.   YES.



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1205


01:07PM    1        Q.   ARE YOU FAMILIAR WITH THIS DOCUMENT?

01:08PM    2        A.   YES.

01:08PM    3        Q.   AND DO YOU SEE YOUR NAME AT THE TOP ABOVE THE BOLD LINE?

01:08PM    4        A.   YES.

01:08PM    5        Q.   OKAY.    AND IS THIS A TRUE AND CORRECT COPY OF AN EMAIL, OR

01:08PM    6        THE FIRST PAGE OF AN EMAIL FROM DANIEL YOUNG TO YOU AND

01:08PM    7        MS. HOLMES?

01:08PM    8        A.   YES.

01:08PM    9        Q.   AND IS THIS A DOCUMENT THAT YOU PRINTED OUT AT SOME POINT

01:08PM   10        IN TIME?

01:08PM   11        A.   YES.

01:08PM   12                     MR. LEACH:    YOUR HONOR, THE GOVERNMENT MOVES FOR THE

01:08PM   13        ADMISSION OF PAGE 4 OF EXHIBIT 972.

01:08PM   14                     MR. WADE:    WE HAVE NO OBJECTION TO THE ADMISSION OF

01:08PM   15        THAT.

01:08PM   16                     THE COURT:    JUST PAGE 4?

01:08PM   17                     MR. LEACH:    JUST PAGE 4 FOR NOW, YOUR HONOR.

01:08PM   18                     THE COURT:    THANK YOU.   PAGE 4 OF EXHIBIT 972 IS

01:08PM   19        ADMITTED, AND IT MAY BE PUBLISHED.

01:08PM   20             (GOVERNMENT'S EXHIBIT 972, PAGE 4 WAS RECEIVED IN

01:08PM   21       EVIDENCE.)

01:09PM   22                     MR. LEACH:    THANK YOU, MS. HOLLIMAN.   IF WE CAN ZOOM

01:09PM   23        IN ON THE FIRST TWO EMAILS FROM THE TOP.

01:09PM   24        Q.   MS. GANGAKHEDKAR, DO YOU SEE THE EMAIL AT THE BOTTOM AT

01:09PM   25        1:39 P.M.    IS THIS ANOTHER COPY OF THE EMAIL WE WERE JUST



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01:09PM    1        LOOKING AT IN THE PRIOR EXHIBIT?

01:09PM    2        A.   YES, IT IS.

01:09PM    3        Q.   AND IS THE TOP PORTION A FURTHER EMAIL IN THE THREAD FROM

01:09PM    4        DANIEL YOUNG?

01:09PM    5        A.   YES.

01:09PM    6        Q.   AND HE WROTE, "I RECOMMEND REPEATING THE FAILED RUNS.         WE

01:10PM    7        WILL NOTE IN THE STUDY REPORT THAT X NUMBER OF FAILED RUNS (DUE

01:10PM    8        TO THE WRONG CARTRIDGES BEING USED) WERE RERUN."

01:10PM    9             DO YOU SEE THAT LANGUAGE?

01:10PM   10        A.   YES.

01:10PM   11        Q.   AND DO YOU -- WAS IT YOUR UNDERSTANDING THAT THE WRONG

01:10PM   12        CARTRIDGES HAD BEEN USED FOR THIS TEST FOR THE 3.5?

01:10PM   13        A.   NO, THE WRONG CARTRIDGES WERE NOT USED.

01:10PM   14        Q.   AND WERE YOU FRUSTRATED THAT DR. YOUNG WAS ATTRIBUTING

01:10PM   15        THIS TO USE OF THE WRONG CARTRIDGES?

01:10PM   16        A.   YES.

01:10PM   17        Q.   AND WHY WAS THAT?

01:10PM   18        A.   BECAUSE IT WAS MISREPRESENTING THE TRUTH.

01:10PM   19        Q.   YOUR NAME IS UP IN THE TOP LEFT CORNER OF THIS DOCUMENT.

01:10PM   20             DO YOU KNOW WHY THAT IS?

01:10PM   21        A.   YES, BECAUSE I TOOK THAT PRINTOUT.

01:10PM   22        Q.   WHEN DID YOU TAKE THAT PRINTOUT?

01:11PM   23        A.   I THINK ABOUT THE TIME THAT I RESIGNED.

01:11PM   24        Q.   OKAY.   LET ME DRAW YOUR ATTENTION, PLEASE, TO AN EMAIL

01:11PM   25        FROM THE NEXT DAY, EXHIBIT 3959.



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01:11PM    1             I UNDERSTAND THAT THE PARTIES STIPULATE TO THE ADMISSION

01:11PM    2        OF 3959, AND ON THAT BASIS WE WOULD OFFER IT INTO EVIDENCE.

01:11PM    3                    MR. WADE:    WE DO, YOUR HONOR.

01:11PM    4                    THE COURT:    ALL RIGHT.   THANK YOU.   IT'S ADMITTED,

01:11PM    5        AND IT MAY BE PUBLISHED.

01:11PM    6             (GOVERNMENT'S EXHIBIT 3959 WAS RECEIVED IN EVIDENCE.)

01:11PM    7                    MR. LEACH:    MS. HOLLIMAN, IF WE CAN ZOOM IN ON

01:11PM    8        THE -- WONDERFUL.

01:11PM    9        Q.   MS. GANGAKHEDKAR, I DRAW YOUR ATTENTION TO THE EMAIL ON

01:11PM   10        THE BOTTOM FROM ELIZABETH HOLMES ON SATURDAY, AUGUST 31ST.

01:11PM   11             IT SAYS, "LET ME KNOW TOTAL NUMBER OF IMMUNOCHEMISTRY

01:12PM   12        MICRO-SAMPLE ASSAYS THAT HAVE COMPLETED VALIDATION AS OF

01:12PM   13        TOMORROW (ADVIA AND THERANOS PLATFORMS)."

01:12PM   14             WHAT DID YOU UNDERSTAND THAT TO MEAN?

01:12PM   15        A.   SO MS. HOLMES WANTED AN UPDATE OF HOW MANY ASSAYS HAD

01:12PM   16        COMPLETED THE VALIDATION.

01:12PM   17        Q.   AND DID THAT APPLY TO ASSAYS THAT WERE BEING VALI -- WELL,

01:12PM   18        WHAT DID THERANOS PLATFORMS MEAN IN YOUR MIND?

01:12PM   19        A.   SO IT'S THE EDISON 3.0'S AND 3.5'S.

01:12PM   20        Q.   AND THE ADVIA IS -- IS THAT A REFERENCE TO THE MODIFIED

01:12PM   21        SIEMENS MACHINES?

01:12PM   22        A.   YES.

01:12PM   23        Q.   AND YOU WROTE BACK, "11 ASSAYS ON THE ADVIA HAVE COMPLETED

01:12PM   24        PRECISION."

01:12PM   25             DOES THAT MEAN THEY'RE DONE?



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01:12PM    1        A.   NO.    THAT'S JUST ONE -- THERE ARE SEVERAL TESTS FOR A

01:12PM    2        VALIDATION.    I'M UPDATING THAT THUS FAR THEY HAVE COMPLETED ONE

01:12PM    3        PARTICULAR KIND OF TESTING CALLED PRECISION TESTING.

01:13PM    4        Q.   AND THEN FURTHER ON IT READS, "FOR THE THERANOS SYSTEM WE

01:13PM    5        PLAN TO COMPLETE THE EXPERIMENTS FOR PSA THIS WEEKEND.       DETAILS

01:13PM    6        FOR PSA ARE ATTACHED."

01:13PM    7             IS THAT AN ACCURATE SUMMARY OF WHERE YOU WERE ON

01:13PM    8        AUGUST 31ST, 2013, IN TERMS OF VALIDATING ASSAYS FOR USE ON THE

01:13PM    9        3.0 AND THE 3.5 IN CLIA?

01:13PM   10        A.   THAT WAS THE PLAN.

01:13PM   11        Q.   OKAY.    THAT WAS THE PLAN?

01:13PM   12        A.   YES.

01:13PM   13        Q.   AND SO AT THIS POINT HAD YOU VALIDATED ANY?

01:13PM   14        A.   NO.

01:13PM   15        Q.   NEXT I'D LIKE TO DRAW YOUR ATTENTION TO EXHIBIT 3964.

01:13PM   16             DO YOU HAVE THAT IN FRONT OF YOU?

01:13PM   17        A.   YES.

01:13PM   18        Q.   AND DO YOU SEE YOUR NAME AT THE TOP?

01:13PM   19        A.   YES.

01:13PM   20        Q.   AND IS THIS AN EMAIL TO THE ELISA GROUP WITH THE EMAIL

01:14PM   21        ADDRESS FOR ELISA LIKE WE SAW PREVIOUSLY?

01:14PM   22        A.   YES.

01:14PM   23        Q.   AND ARE YOU FORWARDING INFORMATION FROM SUNNY BALWANI

01:14PM   24        ABOUT SHIFTS IN SCHEDULES AND UPGRADED DEVICES?

01:14PM   25        A.   YES.



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01:14PM    1        Q.   DID YOU SEND THIS IN THE ORDINARY COURSE OF THERANOS'S

01:14PM    2        BUSINESS?

01:14PM    3        A.   YES.

01:14PM    4        Q.   OKAY.    AND DID YOU PREPARE IT AT OR FROM INFORMATION KNOWN

01:14PM    5        BY YOU AT THE TIME?

01:14PM    6        A.   YES.

01:14PM    7        Q.   AND WAS IT THE REGULAR -- YOUR REGULAR PRACTICE TO UPDATE

01:14PM    8        MEMBERS OF YOUR GROUP USING THE ELISA LIST OR ADDRESS?

01:14PM    9        A.   YES.

01:14PM   10                     MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 3964 INTO

01:14PM   11        EVIDENCE.

01:14PM   12                     MR. WADE:    YOUR HONOR, WE OBJECT TO THIS EXHIBIT

01:14PM   13        UNDER 802 AND 805.

01:15PM   14             (PAUSE IN PROCEEDINGS.)

01:15PM   15                     THE COURT:    IS THERE THE ENTIRETY OF THIS EXHIBIT,

01:15PM   16        THERE ARE TWO PAGES OR 4, 5 --

01:15PM   17                     MR. LEACH:    YES.     THERE ARE SIX PAGES.   THE LAST

01:15PM   18        THREE ARE DATA.    ONE IS A COMMUNICATION FROM MICHAEL CRAIG, A

01:15PM   19        RESPONSE BY SUNNY BALWANI, AND THEN MS. GANGAKHEDKAR GIVING

01:15PM   20        DIRECTION TO HER TEAM.

01:15PM   21                     THE COURT:    AND YOU'RE ASKING THAT THE ENTIRETY OF

01:15PM   22        THIS BE ADMITTED?

01:15PM   23                     MR. LEACH:    YES.

01:15PM   24                     THE COURT:    ALL RIGHT.     THE OBJECTION IS OVERRULED.

01:15PM   25        THIS WILL BE ADMITTED.       THANK YOU.    SIX PAGES.   IT CAN BE



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01:16PM    1        PUBLISHED.

01:16PM    2             (GOVERNMENT'S EXHIBIT 3964 WAS RECEIVED IN EVIDENCE.)

01:16PM    3                     MR. LEACH:    THANK YOU, YOUR HONOR.

01:16PM    4             MS. HOLLIMAN, I'D LIKE TO START ON PAGE 2.        IF WE CAN

01:16PM    5        MIGHT THE FIRST HALF OF THE DOCUMENTED UNTIL THE DATA TABLE.

01:16PM    6        THAT'S FINE.    THANK YOU, MS. HOLLIMAN.

01:16PM    7        Q.   THIS APPEARS TO BE AN EMAIL FROM MICHAEL CRAIG ON MONDAY,

01:16PM    8        SEPTEMBER SECOND, 2013.

01:16PM    9             WHO IS MICHAEL CRAIG?

01:16PM   10        A.   I BELIEVE HE WAS A MEMBER OF THE SOFTWARE DEVELOPMENT

01:16PM   11        TEAM.

01:16PM   12        Q.   AND HE'S WRITING WITH THE SUBJECT UPGRADED DEVICES, "I WAS

01:16PM   13        ABLE TO MANUALLY UPGRADE THE FOLLOWING DEVICES WITH THE LATEST

01:16PM   14        VERSION OF THE NORMANDY SHELL.        THEY NOW HAVE VISUAL TEMPT

01:16PM   15        INDICATORS IN THE MENU BAR:         3 POSITIONS," AND IT CONTINUES.

01:17PM   16             DO YOU HAVE A SENSE OF WHAT HE WAS GETTING AT THERE,

01:17PM   17        MS. GANGAKHEDKAR?

01:17PM   18        A.   I DON'T RECOLLECT ALL OF THE DETAILS AT THIS POINT.

01:17PM   19        Q.   OKAY.    DOES THIS RELATE IN SOME WAY TO THE INTERFACE OF

01:17PM   20        THE DEVICES?

01:17PM   21        A.   I THINK SO.

01:17PM   22        Q.   OKAY.    LET'S LOOK AT PAGE 1.      AND I DRAW YOUR ATTENTION TO

01:17PM   23        THE EMAIL AT THE BOTTOM OF THE PAGE FROM MR. BALWANI.

01:17PM   24             MS. GANGAKHEDKAR, DO YOU SEE SUNNY BALWANI'S NAME IN THE

01:17PM   25        FROM LINE ON THE DOCUMENT?



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01:17PM    1        A.   YES.

01:17PM    2        Q.   AND DO YOU SEE MS. HOLMES'S NAME IN THE CC LINE?

01:17PM    3        A.   YES.

01:17PM    4        Q.   AND IS IT COMING UP ON YOUR SCREEN?

01:18PM    5             DO YOU HAVE THE DOCUMENT ON YOUR SCREEN?

01:18PM    6        A.   I DON'T HAVE IT ON THE SCREEN.     I HAVE IT -- I'M LOOKING

01:18PM    7        AT THE BINDER.

01:18PM    8        Q.   THERE WE GO.

01:18PM    9        A.   THERE IT IS.

01:18PM   10        Q.   MR. BALWANI IS WRITING, "PLEASE NOTE THAT THE SOFTWARE

01:18PM   11        TEAM WAS HERE AT 3:07 A.M. -- AND IS ALREADY HERE NOW AT 10:00

01:18PM   12        A.M. -- WORKING ON THIS AND OTHER MATTERS AND WILL CONTINUE TO

01:18PM   13        DO SO FOR AS LONG AS IT TAKES.     THE EDISON DEVICES IN THE

01:18PM   14        EVENING WERE ALL SITTING IDLE AND I ALSO DIDN'T SEE ANYONE FROM

01:18PM   15        CARTRIDGE MANUFACTURING IN THE EVENING."

01:18PM   16             FURTHER ON IT SAYS, "PLEASE ASK THE ELISA TEAM TO

01:18PM   17        ORGANIZE, PLAN AND PUT IN THE HOURS THIS MONTH TO BRING UP ALL

01:18PM   18        ASSAYS AND WORK AROUND ANY CHALLENGES THAT COME OUR WAY."

01:18PM   19             DO YOU SEE THAT LANGUAGE?

01:18PM   20        A.   YES.

01:18PM   21        Q.   AND DID YOU AGREE WITH WHAT MR. BALWANI WAS SAYING HERE?

01:18PM   22        A.   NO.

01:18PM   23        Q.   WHY NOT?

01:18PM   24        A.   WELL, BECAUSE I KNEW THAT THE ELISA TEAM WAS REALLY

01:19PM   25        WORKING HARD WITH NOT JUST, NOT JUST FOR THIS PROJECT BUT EVEN



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01:19PM    1        IN THE PAST AND JUST BECAUSE THE DEVICES SEEMED IDLE AT THAT

01:19PM    2        POINT DID NOT REFLECT THAT THE TEAM WAS NOT WORKING HARD AS

01:19PM    3        THEY WERE DIRECTED TO DO.

01:19PM    4        Q.   IS THIS AN EXAMPLE OF THE TYPE OF PRESSURE THAT YOU WERE

01:19PM    5        UNDER?

01:19PM    6        A.   YES.

01:19PM    7        Q.   OKAY.   WAS THIS A MATTER OF FRUSTRATION TO YOU?

01:19PM    8        A.   IT WAS.

01:19PM    9        Q.   WAS IT A MATTER OF FRUSTRATION TO YOUR TEAM?

01:19PM   10        A.   YES.

01:19PM   11        Q.   WERE YOU CONVINCED THEY WERE DOING EVERYTHING POSSIBLE TO

01:19PM   12        VALIDATE THESE ASSAYS APPROPRIATELY AS QUICKLY AS POSSIBLE?

01:19PM   13        A.   YES.

01:19PM   14        Q.   AND WERE YOU CONVINCED THAT IT JUST WASN'T GETTING THERE?

01:19PM   15        A.   IT -- YES, IT WASN'T GETTING THERE JUST BECAUSE IT, IT WAS

01:19PM   16        A HUGE ENDEAVOR AND IT COULD NOT -- THE WORK THAT WE WERE DOING

01:20PM   17        COULD NOT BE COMPARED DIRECTLY TO WHAT THE SOFTWARE TEAM WAS

01:20PM   18        DOING.

01:20PM   19        Q.   LET ME DRAW YOUR ATTENTION TO EXHIBIT 3968.

01:20PM   20             ARE YOU FAMILIAR WITH THIS DOCUMENT?

01:20PM   21        A.   YES.

01:20PM   22        Q.   IS THIS AN EMAIL FROM YOU TO FOLKS RESPONSIBLE FOR

01:20PM   23        MANUFACTURING THE EDISON DEVICES?

01:20PM   24        A.   YES.

01:20PM   25        Q.   AND DID YOU SEND THIS IN THE ORDINARY COURSE OF BUSINESS?



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1213


01:20PM    1        A.   YES.

01:20PM    2        Q.   IS THIS EMAIL MADE AT OR NEAR THE TIME OF THE EVENTS IN

01:20PM    3        QUESTION?

01:20PM    4        A.   YES.

01:20PM    5        Q.   WAS THIS KEPT IN THE ORDINARY COURSE OF BUSINESS?

01:20PM    6        A.   YES.

01:20PM    7        Q.   AND DID YOU FEEL LIKE YOU WERE UNDER A BUSINESS DUTY TO

01:21PM    8        SPEAK TRUTHFULLY HERE IN REQUESTING INFORMATION OF THE EDISON

01:21PM    9        GROUP?

01:21PM   10        A.   YES.

01:21PM   11                    MR. LEACH:    YOUR HONOR, THE GOVERNMENT MOVES FOR THE

01:21PM   12        ADMISSION OF EXHIBIT 3968?

01:21PM   13                    MR. WADE:    NO OBJECTION.

01:21PM   14                    THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

01:21PM   15             (GOVERNMENT'S EXHIBIT 3968 WAS RECEIVED IN EVIDENCE.)

01:21PM   16                    MR. LEACH:    IF WE CAN ZOOM IN ON THE SUBJECT LINE

01:21PM   17        AND THE REST OF THE EMAIL DOWN TO LINE 15.

01:21PM   18             THERE WE GO.

01:21PM   19        Q.   THE SUBJECT OF THIS IS EDISON 3.0'S.

01:21PM   20             DO YOU SEE THAT MS. GANGAKHEDKAR?

01:21PM   21        A.   YES.

01:21PM   22        Q.   AND YOU WRITE, "HERE IS THE LITIGATION:        THESE HAVE ERROR

01:22PM   23        OR FAILURE NOTES ON THEM."

01:22PM   24             AND THERE'S A LIST OF 15 DIFFERENT NUMBERS.       WHAT WERE YOU

01:22PM   25        CONVEYING HERE?



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01:22PM    1        A.   SO THIS IS -- ESSENTIALLY THESE ARE LIKE THE I.D.'S FOR

01:22PM    2        THE EDISONS IN THE DEVELOPMENT LAB, AND WE ARE PROVIDING THOSE

01:22PM    3        TO THE OTHER RECIPIENTS IN THE EMAIL BECAUSE THEY WANTED TO

01:22PM    4        KNOW WHICH EDISON 3.0'S THEY COULD UPGRADE TO 3.5'S.

01:22PM    5        Q.   OKAY.    AND AT THIS POINT AT LEAST 15 OF THEM ARE HAVING

01:22PM    6        ERROR OR FAILURE NOTES?

01:22PM    7        A.   YES.

01:22PM    8        Q.   AND WAS THAT A MATTER OF FRUSTRATION TO YOU?

01:22PM    9        A.   YES.

01:22PM   10        Q.   AND HOW SO?

01:22PM   11        A.   WELL, BECAUSE THAT MEANS THAT WE COULDN'T USE THOSE

01:22PM   12        READERS REGULARLY FOR OUR WORK AND THEY WERE UNRELIABLE.

01:22PM   13        Q.   LET ME NEXT DRAW YOUR ATTENTION TO EXHIBIT 1109, WHICH I

01:23PM   14        BELIEVE THE PARTIES STIPULATE TO THE ADMISSION OF EXHIBIT 1109

01:23PM   15        AND I WOULD OFFER IT.

01:23PM   16                     MR. WADE:    WE DO, YOUR HONOR.

01:23PM   17                     THE COURT:    THANK YOU.   IT'S ADMITTED, AND IT MAY BE

01:23PM   18        PUBLISHED.

01:23PM   19             (GOVERNMENT'S EXHIBIT 1109 WAS RECEIVED IN EVIDENCE.)

01:23PM   20                     MR. LEACH:    LET'S PLEASE LOOK AT PAGE 6 OF 1109.     IF

01:23PM   21        WE CAN ZOOM IN ON THE SUBSTANCE.

01:24PM   22             IF THERE'S ANY WAY WE CAN GET THE DATE, TOO, MS. HOLLIMAN.

01:24PM   23              THANK YOU.   WONDERFUL.

01:24PM   24        Q.   DO YOU RECOGNIZE THIS, MS. GANGAKHEDKAR?

01:24PM   25        A.   YES.



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01:24PM    1        Q.   AND WHAT IS THIS?

01:24PM    2        A.   THIS IS MY RESIGNATION LETTER.

01:24PM    3        Q.   OKAY.   DID YOU HAND THIS TO MS. HOLMES?

01:24PM    4        A.   YES.

01:24PM    5        Q.   AND DID YOU RESIGN ON OR ABOUT SEPTEMBER 5TH, 2013?

01:24PM    6        A.   YES.

01:24PM    7        Q.   AND WHY DID YOU RESIGN?

01:24PM    8        A.   BECAUSE I WAS VERY STRESSED AND UNHAPPY AND CONCERNED WITH

01:24PM    9        THE WAY THE LAUNCH PLANS OR THE LAUNCH WAS GOING.

01:24PM   10             I WAS NOT COMFORTABLE WITH THE PLANS THAT THEY HAD IN

01:24PM   11        PLACE SO I MADE A DECISION TO RESIGN AND NOT CONTINUE WORKING

01:24PM   12        THERE.

01:24PM   13        Q.   OKAY.   DID YOU SPEAK TO MS. HOLMES ABOUT YOUR RESIGNATION?

01:25PM   14        A.   YES.

01:25PM   15        Q.   WHERE DID YOU SPEAK WITH HER?

01:25PM   16        A.   IN HER OFFICE.

01:25PM   17        Q.   HOW LONG DID YOUR MEETING LAST?

01:25PM   18        A.   I HAD I THINK SEVERAL MEETINGS THROUGHOUT -- I MEAN, THAT

01:25PM   19        MORNING WITH HER.    SO EACH MEETING HAD LASTED SEVERAL MINUTES.

01:25PM   20        Q.   WAS ANYONE ELSE THERE WHILE YOU WERE MEETING WITH HER?

01:25PM   21        A.   NO.

01:25PM   22        Q.   AND IN ONE OF THOSE MEETINGS DID YOU HAND HER YOUR

01:25PM   23        RESIGNATION LETTER?

01:25PM   24        A.   YES.

01:25PM   25        Q.   AND DID YOU SPEAK WITH HER ABOUT SOME OF THE ISSUES THAT



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1216


01:25PM    1        PROMPTED YOUR RESIGNATION?

01:25PM    2        A.   I DID.

01:25PM    3        Q.   TAKE A MOMENT AND DESCRIBE FOR US AS BEST YOU CAN THE

01:25PM    4        SUBSTANCE OF WHAT WAS SAID.

01:25PM    5        A.   YES.    SO I DID RAISE THE CONCERNS OF HOW SHE PLANS TO

01:25PM    6        LAUNCH WITH THE EDISON 3.0'S GIVEN THAT WE HAVE SEEN IN THE

01:26PM    7        LAST FEW DAYS THAT THEY CONTINUE TO HAVE ISSUES.

01:26PM    8             AND AT THAT TIME SHE MENTIONED SOMETHING ALONG THE LINES

01:26PM    9        THAT WHEN SHE HAS A PROMISE TO DELIVER TO THE CUSTOMER, SHE

01:26PM   10        DOESN'T HAVE MUCH OF A CHOICE BUT TO GO AHEAD WITH THE LAUNCH.

01:26PM   11        Q.   MS. HOLMES SAID SHE DIDN'T HAVE MUCH OF A CHOICE?

01:26PM   12        A.   YEAH.

01:26PM   13        Q.   DID YOU RAISE WITH HER RELIABILITY ISSUES WITH THE 3.5?

01:26PM   14        A.   SO SINCE SHE WAS ON THE EMAILS THE LAST WEEK ABOUT WE ARE

01:26PM   15        CONTINUING TO SEE THE PROBLEMS WITH THE 3.5'S, I BELIEVE SHE

01:26PM   16        WAS FULLY AWARE THAT THE 3.5'S WERE NOT ANY MARKED IMPROVEMENT

01:26PM   17        COMPARED TO THE 3.0'S.

01:26PM   18        Q.   AND DID YOU DISCUSS WITH HER ANY ISSUES RELATING TO THE

01:27PM   19        NANOTAINERS?

01:27PM   20        A.   YES, I DID.

01:27PM   21        Q.   AND WHAT WAS SAID?

01:27PM   22        A.   SO I ALSO EXPRESSED CONCERNS OF HOW SHE PLANS TO LAUNCH

01:27PM   23        USING THE NANOTAINERS FOR BLOOD COLLECTION GIVEN THAT PRETTY

01:27PM   24        MUCH EACH DAY WE WOULD BE TESTING THOSE AND WE WOULD CONTINUE

01:27PM   25        TO SEE SIMILAR FAILURES.



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01:27PM    1             SO THAT IS WHEN SHE MENTIONED THAT SHE PLANS TO LAUNCH

01:27PM    2        WITH DRAWING TWO TUBES OF VENOUS BLOOD INSTEAD OF THE

01:27PM    3        NANOTAINERS.

01:27PM    4        Q.   WAS THAT EXPLANATION SATISFACTORY TO YOU?

01:27PM    5        A.   NO.

01:27PM    6        Q.   WHY NOT?

01:27PM    7        A.   WELL, BECAUSE I BELIEVED THAT THE LAUNCH WAS BASED ON

01:27PM    8        USING THE NANOTAINERS INSTEAD OF USING SAMPLES DRAWN BY VENOUS

01:27PM    9        BLOOD.

01:27PM   10        Q.   DID YOU FEEL IT WAS MISLEADING TO DRAW FROM VENOUS BLOOD?

01:28PM   11        A.   YES.

01:28PM   12                    MR. WADE:    OBJECTION.   MOVE TO STRIKE.

01:28PM   13                    THE COURT:    AS TO THE FORM OF THE QUESTION.

01:28PM   14             YOU CAN REASK THE QUESTION.      I SUSTAINED THE QUESTION.

01:28PM   15        THAT ANSWER IS STRICKEN, LADIES AND GENTLEMEN.

01:28PM   16             YOU CAN REASK A QUESTION.

01:28PM   17        BY MR. LEACH:

01:28PM   18        Q.   WHY WAS IT, MS. GANGAKHEDKAR, YOU WERE NOT SATISFIED WITH

01:28PM   19        THE EXPLANATION?    WHAT WAS IT ABOUT THE FACT THAT THERANOS

01:28PM   20        PLANNED TO DRAW FROM A VEIN THAT WAS NOT SATISFACTORY TO YOU?

01:28PM   21        A.   WELL, BECAUSE I UNDERSTOOD FOR THE LAUNCH THAT THE -- SOME

01:28PM   22        OF THE LAUNCH DETAILS INCLUDED THE USE OF NANOTAINERS TO TEST

01:28PM   23        FOR SAMPLES -- I'M SORRY.     THE USER BLOOD DRAWN OR COLLECTED IN

01:28PM   24        NANOTAINERS TO BE TESTED ON THE THERANOS SYSTEM.

01:28PM   25        Q.   AND WHAT IS IT ABOUT THAT BEING THE PLAN THAT MADE YOU NOT



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1218


01:28PM    1        SATISFIED?

01:28PM    2        A.   WELL, THE USE OF VENOUS DRAW WAS NOT, THAT INFORMATION WAS

01:29PM    3        NOT RELEASED TO EVERYONE.      I DON'T THINK -- I WAS NOT AWARE

01:29PM    4        THAT THE LAUNCH WOULD ACTUALLY USE VENOUS DRAW.       I WAS UNDER

01:29PM    5        THE IMPRESSION THAT WE WERE USING NANOTAINERS.

01:29PM    6        Q.   AND HOW DID YOU FEEL ABOUT THAT?

01:29PM    7                     MR. WADE:    OBJECTION, YOUR HONOR.

01:29PM    8                     THE COURT:    OVERRULED.   YOU CAN ANSWER THE QUESTION.

01:29PM    9                     THE WITNESS:    SO I DIDN'T FEEL -- I FELT THAT IT WAS

01:29PM   10        NOT THE RIGHT THING TO DO.

01:29PM   11        BY MR. LEACH:

01:29PM   12        Q.   AT THIS POINT IN 2013, HOW LONG HAD YOU BEEN WORKING AT

01:29PM   13        THERANOS?

01:29PM   14        A.   EIGHT YEARS.

01:29PM   15        Q.   AND COULD WE HAVE THE RESIGNATION LETTER BACK UP, PLEASE.

01:30PM   16             AND YOU WROTE IN YOUR LETTER, "I'VE MADE THE DIFFICULT

01:30PM   17        DECISION OF RESIGNING FROM MY POSITION AT THERANOS."

01:30PM   18             WHY WAS THIS A DIFFICULT DECISION FOR YOU?

01:30PM   19        A.   IT WAS DIFFICULT BECAUSE THE LAST EIGHT YEARS OF WORKING

01:30PM   20        AT THERANOS IT REALLY FELT THAT IF I'M GOING TO MAKE A

01:30PM   21        DIFFERENCE IN DEVELOPING A NEW PRODUCT, AND EACH TIME THE

01:30PM   22        COMPANY CHANGED DIRECTION TO LIKE A VERSION OF A NEW SYSTEM I

01:30PM   23        WAS STILL MOTIVATED, AND IT PUSHED US TO DO THE BEST THAT WE

01:30PM   24        COULD DOING WHAT WAS BEST FOR THE ASSAY DEVELOPMENT AND IN THE

01:30PM   25        PRODUCT.



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01:30PM    1             SO COMING AND HEARING IN THE LAST FEW YEARS THAT THERE

01:30PM    2        WERE -- OF COURSE COMMUNICATING THAT THERE WERE ISSUES WITH THE

01:30PM    3        EDISON SYSTEMS, AND AFTER HAVING HEARD THAT THE EDISON 3.0'S

01:31PM    4        WILL ONLY BE USED FOR A SHORT TIME UNTIL WE HAVE A NEW IMPROVED

01:31PM    5        SYSTEM THAT WOULD RUN INTO ALL OF THE ISSUES THAT WE HAD

01:31PM    6        BEFORE, IT SEEMS LIKE A HUGE LETDOWN FROM ALL, FROM ALL OF THE

01:31PM    7        HARD WORK THAT WAS CONDUCTED.

01:31PM    8             IT FELT THAT ALL OF -- LIKE MY EFFORTS AND THE EFFORTS OF

01:31PM    9        MY TEAM MEMBERS ARE GOING TO WASTE BECAUSE WE ARE NOW LAUNCHING

01:31PM   10        NO MATTER WHAT WITH 3.0'S.

01:31PM   11             SO ALL IN ALL IT WAS A DIFFICULT SITUATION.

01:31PM   12        Q.   DID ANY MEMBERS OF YOUR STAFF RESIGN TO YOU THAT SAME DAY?

01:31PM   13        A.   YES.

01:31PM   14        Q.   WHO WAS THAT?

01:31PM   15        A.   TINA NOYES.

01:31PM   16        Q.   AND DID YOU IN ANY WAY COORDINATE WITH MS. NOYES OR WAS IT

01:32PM   17        A FORTUITY THAT YOU TWO RESIGNED ON THE SAME DAY?

01:32PM   18        A.   NO, THERE WAS NO COORDINATION.

01:32PM   19             SO ON THE DAY I SUBMITTED MY RESIGNATION TO MS. HOLMES AND

01:32PM   20        I WENT BACK TO MY DESK, AND THAT IS WHEN TINA NOYES APPROACHED

01:32PM   21        ME AND SAID SHE WANTED TO SPEAK TO ME AND PRIVATELY, AND SO IN

01:32PM   22        THE CONFERENCE ROOM SHE SUBMITTED HER RESIGNATION TO ME.

01:32PM   23             THAT IS WHEN I INFORMED HER THAT, YES, I ALSO HAVE

01:32PM   24        RESIGNED.   SO WE HADN'T SPOKEN ABOUT OUR PLANS BEFORE.

01:32PM   25                    MR. WADE:   OBJECTION, YOUR HONOR.     MOVE TO STRIKE.



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                    GANGAKHEDKAR DIRECT BY MR. LEACH                                   1220


01:32PM    1                    MR. LEACH:    IT'S NOT HEARSAY.   IT'S A VERBAL ACT.

01:32PM    2                    THE COURT:    I WAS THINKING ABOUT THE ENTIRETY OF THE

01:32PM    3        STATEMENT TO COME IN.      I'LL ALLOW IT TO COME IN.      THE OBJECTION

01:32PM    4        IS OVERRULED.

01:33PM    5        BY MR. LEACH:

01:33PM    6        Q.   AFTER RESIGNING TO MS. HOLMES ON OR ABOUT SEPTEMBER 5TH,

01:33PM    7        DID YOU PRINT OUT ANY DOCUMENTS RELATING TO YOUR WORK AT

01:33PM    8        THERANOS?

01:33PM    9        A.   YES.

01:33PM   10        Q.   AND WHEN YOU PRINTED THEM OUT, WHERE DID YOU PUT THEM?

01:33PM   11        WHAT DID YOU DO WITH IT?

01:33PM   12        A.   SO I TOOK THEM HOME.

01:33PM   13        Q.   AT THE TIME THAT YOU TOOK THOSE HOME, HAD YOU SIGNED ANY

01:33PM   14        FORM OF NONDISCLOSURE AGREEMENT WITH THERANOS?

01:33PM   15        A.   YES.

01:33PM   16        Q.   IN PRINTING OUT THOSE DOCUMENTS AND TAKING THEM HOME WITH

01:33PM   17        YOU, DID YOU HAVE CONCERNS IN LIGHT OF THE NONDISCLOSURE

01:33PM   18        AGREEMENT THAT YOU SIGNED?

01:33PM   19        A.   YES.

01:33PM   20        Q.   AND WHY?

01:33PM   21        A.   BECAUSE THERANOS WAS, WAS PRETTY TOUGH ON THEIR NDA'S AS

01:33PM   22        WELL AS THEIR PROPRIETARY INFORMATION.

01:33PM   23        Q.   AND NOTWITHSTANDING THE FACT THAT YOU HAD SIGNED AN NDA,

01:34PM   24        WHY DID YOU PRINT OUT AND TAKE HOME DOCUMENTS FROM THERANOS?

01:34PM   25                    MR. WADE:    OBJECTION, YOUR HONOR.    401.    403.



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01:34PM    1                    THE COURT:    I'LL ALLOW HER TO TESTIFY SUBJECT TO A

01:34PM    2        MOTION TO STRIKE.

01:34PM    3             YOU CAN ANSWER THE QUESTION.

01:34PM    4                    THE WITNESS:    YEAH.   SO THE REASON I TOOK THOSE

01:34PM    5        PRINTOUTS IS BECAUSE I WAS WORRIED ABOUT THE LAUNCH.       I WAS

01:34PM    6        ACTUALLY SCARED THAT THINGS WOULD NOT GO WELL.

01:34PM    7             AND I WAS ALSO WORRIED THAT I WOULD BE BLAMED, THAT

01:34PM    8        MS. HOLMES WAS NOT AWARE OF WHAT WAS HAPPENING WITH THE 3.0'S.

01:34PM    9             SO ESSENTIALLY I TOOK THOSE TO PROTECT MYSELF AND TO HAVE

01:34PM   10        AS A RECORD IN THE EVENT ISSUES CAME UP IN THE FUTURE.

01:35PM   11        BY MR. LEACH:

01:35PM   12        Q.   WHY WERE YOU SCARED?

01:35PM   13                    MR. WADE:    SAME OBJECTION, YOUR HONOR.

01:35PM   14                    THE COURT:    SUSTAINED.   THE PREVIOUS ANSWER WILL

01:35PM   15        REMAIN.   SUSTAIN THE OBJECTION.

01:35PM   16                    MR. LEACH:    THANK YOU, YOUR HONOR.

01:35PM   17        Q.   AND WE LOOKED EARLIER AT EXHIBIT 972, PAGE 4.       IS THAT ONE

01:35PM   18        OF THE DOCUMENTS THAT YOU PRINTED OUT AND TOOK WITH YOU?

01:35PM   19        A.   YES.

01:35PM   20                    MR. LEACH:    MAY I HAVE A MOMENT, YOUR HONOR?

01:35PM   21                    THE COURT:    YES.

01:35PM   22             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

01:35PM   23        BY MR. LEACH:

01:35PM   24        Q.   THANK YOU, MS. GANGAKHEDKAR.

01:36PM   25             I HAVE NOTHING FURTHER.



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1222


01:36PM    1                     THE COURT:    ANY CROSS-EXAMINATION?

01:36PM    2                     MR. WADE:    I DO, YOUR HONOR.

01:36PM    3                     THE COURT:    FOLKS, IF YOU WANT TO STAND AND STRETCH

01:36PM    4        FOR A MOMENT, FEEL FREE.

01:36PM    5             YOU, TOO, MS. GANGAKHEDKAR.

01:36PM    6             (STRETCHING.)

01:37PM    7                     THE COURT:    MR. WADE?

01:37PM    8                     MR. WADE:    THANK YOU, YOUR HONOR.

01:37PM    9                                   CROSS-EXAMINATION

01:37PM   10        BY MR. WADE:

01:37PM   11        Q.   GOOD AFTERNOON, MS. GANGAKHEDKAR.

01:37PM   12             MY NAME IS LANCE WADE, AND I REPRESENT MS. HOLMES, AND I

01:37PM   13        HAVE A FEW QUESTIONS FOR YOU TODAY, TOO.

01:37PM   14        A.   SURE.

01:37PM   15        Q.   OKAY.    I'D LIKE TO START JUST BY MAKING SURE THAT WE

01:37PM   16        UNDERSTAND YOUR ROLE.

01:37PM   17             YOU WORKED IN THE RESEARCH AND DEVELOPMENT DEPARTMENT; IS

01:37PM   18        THAT RIGHT?

01:37PM   19        A.   YES.

01:37PM   20        Q.   AND NOT IN THE CLIA LAB?

01:37PM   21        A.   YES, CORRECT.

01:37PM   22        Q.   AND SO YOUR -- A LOT OF YOUR WORK WAS TO BE IN ADVANCE OF

01:37PM   23        MOVING THE ASSAYS OVER INTO THE CLIA LAB; IS THAT RIGHT?

01:37PM   24        A.   YES.

01:37PM   25        Q.   AND AT THE TIME -- I FORGOT I COULD TAKE THIS OFF.



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01:37PM    1             AT THE TIME THAT YOU -- IN THIS TIME IN SEPTEMBER OF 2013

01:38PM    2        THAT YOU'RE JUST TALKING ABOUT, NONE OF THE ASSAYS THAT WERE

01:38PM    3        UNDER DISCUSSION HAD GONE INTO THE CLIA LAB; RIGHT?

01:38PM    4        A.   YES.

01:38PM    5        Q.   AND WE HAD SEEN SOME DOCUMENTS FROM MR. YOUNG WHERE HE HAD

01:38PM    6        PROPOSED SOMETHING IN THE ORDER OF 62 SMALL SAMPLE ASSAYS THAT

01:38PM    7        WERE TO GO ON TO THE EDISON; IS THAT RIGHT?

01:38PM    8        A.   YES.

01:38PM    9        Q.   AND THEN THERE WAS ANOTHER SET OF DOCUMENTS WHERE THAT

01:38PM   10        NUMBER WAS WHITTLED DOWN TO MAYBE A DOZEN OR SOMETHING.

01:38PM   11             DO YOU RECALL THAT?

01:38PM   12        A.   I DON'T RECOLLECT.

01:38PM   13        Q.   OKAY.   BUT YOU RECALL THAT IT WAS SUBSTANTIALLY -- THE

01:38PM   14        LIST WAS NARROWED DOWN JUST IN THAT TIME PERIOD AFTER YOU WERE

01:38PM   15        BACK FROM INDIA.

01:38PM   16             DO YOU RECALL THAT?

01:38PM   17        A.   SO -- CAN YOU PLEASE REPEAT THE QUESTION AND --

01:38PM   18        Q.   SURE.   THE BEGINNING UNIVERSE OF ASSAYS THAT YOU'RE

01:39PM   19        FOCUSSED ON WITH THE EDISON WAS 62 IN THE PLAN THAT DR. YOUNG

01:39PM   20        LAID OUT.

01:39PM   21             DO YOU RECALL THAT?

01:39PM   22        A.   YES.

01:39PM   23        Q.   OKAY.   AND THEN IN THE PERIOD -- THERE WAS A -- THAT WAS

01:39PM   24        RIGHT AFTER YOU CAME BACK FROM INDIA; ISN'T THAT RIGHT?

01:39PM   25        A.   YES.



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01:39PM    1        Q.   AND IN THE PERIOD BETWEEN WHEN YOU CAME BACK FROM INDIA

01:39PM    2        AND WHEN YOU RESIGNED, THERE WERE -- THEY NARROWED THAT LIST

01:39PM    3        DOWN.    THEY DECIDED THEY WEREN'T GOING TO GO FORWARD WITH 62;

01:39PM    4        RIGHT?

01:39PM    5        A.   I DON'T RECOLLECT ALL OF THOSE DETAILS.

01:39PM    6        Q.   YOU DON'T.   OKAY.   WELL, WE'LL GO THROUGH SOME DOCUMENTS

01:39PM    7        TODAY AND MAYBE ON TUESDAY, OKAY?

01:39PM    8        A.   OKAY.

01:39PM    9        Q.   THE VALIDATION PROCESS, THE CLIA VALIDATION PROCESS WHERE,

01:39PM   10        WHERE AN ASSAY IS CERTIFIED BEFORE IT GOES INTO THE LAB, WHO

01:40PM   11        WAS RESPONSIBLE FOR THE CLIA VALIDATION?

01:40PM   12        A.   I THINK IT WOULD BE THE CLIA LAB DIRECTOR.

01:40PM   13        Q.   AND WHO WAS THAT DURING THAT TIME PERIOD OF 2013?

01:40PM   14        A.   DR. ADAM ROSENDORFF.

01:40PM   15        Q.   AND HE'S A MEDICAL DOCTOR?

01:40PM   16        A.   YES.

01:40PM   17        Q.   AND DID YOU DEAL WITH DR. ROSENDORFF ON ANY CLIA

01:40PM   18        VALIDATION ISSUES?

01:40PM   19        A.   SO HE -- I THINK HE HAD AN OVERVIEW OF THE PLAN, BUT WHAT

01:40PM   20        EXACTLY DO YOU MEAN WITH YOUR QUESTION?      CAN YOU ELABORATE?

01:40PM   21        Q.   I'M SORRY TO INTERRUPT YOU.

01:40PM   22             DID YOU WORK WITH HIM ON ANY OF THE CLIA VALIDATION

01:40PM   23        REPORTS?

01:40PM   24        A.   NO.

01:40PM   25        Q.   OKAY.   AND YOU LEFT BEFORE THE LAUNCH ACTUALLY HAPPENED;



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01:40PM    1        RIGHT?

01:40PM    2        A.   YES.

01:40PM    3        Q.   AND SO YOU DON'T KNOW WHAT ULTIMATELY HAPPENED IN TERMS OF

01:40PM    4        CLIA VALIDATION?

01:40PM    5        A.   I DON'T KNOW.

01:41PM    6        Q.   OKAY.    THERE WERE A LOT OF DOCUMENTS THAT THE GOVERNMENT

01:41PM    7        WENT THROUGH WITH YOU WITH RESPECT TO VARIOUS ISSUES THAT WERE

01:41PM    8        COMING UP ON DIFFERENT DEVICES.

01:41PM    9             DO YOU RECALL SOME OF THOSE DOCUMENTS THAT, THAT CAME UP

01:41PM   10        TODAY?

01:41PM   11        A.   YES.

01:41PM   12        Q.   AND I JUST WANT TO MAKE SURE THAT EVERYONE IS CLEAR, ALL

01:41PM   13        OF THAT WORK WAS DONE WITHIN RESEARCH AND DEVELOPMENT; RIGHT?

01:41PM   14        A.   YES.

01:41PM   15        Q.   TO TRY AND GET THE EQUIPMENTS AND THE ASSAYS AND

01:41PM   16        EVERYTHING FUNCTIONING PROPERLY BEFORE THEY WERE USED ON

01:41PM   17        PATIENTS; RIGHT?

01:41PM   18        A.   YES.

01:41PM   19        Q.   AND THERE WERE ABSOLUTELY NO PATIENT SAMPLES THAT WERE

01:41PM   20        IMPLICATED BY ANY OF THOSE ISSUES THAT YOU TALKED ABOUT AT THE

01:41PM   21        TIME OF THOSE DOCUMENTS; RIGHT?

01:41PM   22        A.   I DON'T KNOW BECAUSE WE WERE STILL RUNNING THE TESTS TO

01:41PM   23        PREPARE FOR THE VALIDATION.

01:41PM   24        Q.   RIGHT.   SO THEY WEREN'T IN THE LAB WHERE PATIENTS WERE

01:41PM   25        BEING TESTED; RIGHT?



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01:41PM    1        A.   I DON'T RECOLLECT THAT.

01:42PM    2        Q.   OKAY.   WELL, IS IT YOUR UNDERSTANDING THAT IN THE TIME

01:42PM    3        THAT YOU WERE AT THERANOS, THAT THE 4 SERIES DEVICE THAT THE

01:42PM    4        GOVERNMENT WAS ASKING YOU ABOUT, WAS THAT EVER USED IN THE CLIA

01:42PM    5        LAB IN THE TIME THAT YOU WERE THERE?

01:42PM    6        A.   I DON'T THINK SO.

01:42PM    7        Q.   OKAY.   AND I THINK WE'VE TALKED ABOUT THERE WERE SOME

01:42PM    8        EFFORTS TO TRY TO GET SOME ASSAYS WORKING ON THE 3 SERIES

01:42PM    9        DEVICES; RIGHT?

01:42PM   10        A.   YES.

01:42PM   11        Q.   AND AT THE TIME THAT YOU LEFT, NONE OF THEM HAD ACTUALLY

01:42PM   12        BEEN VALIDATED TO GO INTO THE CLIA LAB; RIGHT?

01:42PM   13        A.   AT THE TIME OF MY RESIGNATION, I WAS NOT AWARE OF ANY

01:42PM   14        VALIDATION FOR THE 3.0'S HAD COMPLETED.

01:42PM   15        Q.   AND YOU TALKED A LITTLE BIT ABOUT THE VENOUS SAMPLES.

01:43PM   16             DO YOU RECALL THAT?

01:43PM   17        A.   SO IS THIS WITH RELATION TO THE NANOTAINERS?

01:43PM   18        Q.   NO.    IT WAS IN CONNECTION -- YOU RECALL WITH THE VENOUS

01:43PM   19        SAMPLES, TO DO THE LAUNCH, IF NECESSARY, SOME VENOUS SAMPLES

01:43PM   20        WOULD BE USED.

01:43PM   21             DO YOU RECALL THAT IN YOUR DISCUSSION WITH MS. HOLMES?

01:43PM   22        A.   YES.

01:43PM   23        Q.   AND THE THOUGHT WOULD BE IF THE TEST ON THE FINGERSTICK

01:43PM   24        WEREN'T FUNCTIONING PROPERLY, YOU WOULD DO THEM ON A DIFFERENT

01:43PM   25        METHOD; RIGHT?



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01:43PM    1        A.   I WAS NOT AWARE OF THAT BACKUP PLAN.

01:43PM    2        Q.   OKAY.   BUT YOU KNEW THAT THEY HAD OTHER COMMERCIAL DEVICES

01:43PM    3        WITHIN THE LABORATORIES; RIGHT?

01:43PM    4        A.   YES.

01:43PM    5        Q.   AND THEY HAD THE ABILITY TO DO OTHER TESTS IF NEED BE;

01:43PM    6        RIGHT?

01:43PM    7        A.   YES.

01:43PM    8        Q.   AND ALMOST ALL OF THOSE TESTS WERE VENOUS TESTS; RIGHT?

01:44PM    9        A.   YES.

01:44PM   10        Q.   NOW, THERE'S BEEN SOME DISCUSSION ABOUT THE NUMBER OF

01:44PM   11        ASSAYS THAT WERE DEVELOPED WITHIN THE R&D GROUP THAT HAD

01:44PM   12        COMPLETED -- WHERE YOU HAD COMPLETED YOUR WORK.

01:44PM   13             DO YOU RECALL TALKING A LITTLE BIT ABOUT THAT?

01:44PM   14        A.   SO IS THIS SPECIFICALLY RELATED TO THE RETAIL LAUNCH?

01:44PM   15        Q.   NO.    NO.   MORE GENERALLY.   LET'S STEP BACK A BIT HERE IF

01:44PM   16        WE COULD, OKAY?

01:44PM   17             AND YOU HAD WORKED, I BELIEVE YOU TESTIFIED, IN THE R&D

01:44PM   18        DEPARTMENT, FOR MANY YEARS; RIGHT?

01:44PM   19        A.   UH-HUH.

01:44PM   20        Q.   AND YOU HAD WORKED ON ASSAY DEVELOPMENT VIRTUALLY THAT

01:44PM   21        WHOLE TIME; RIGHT?

01:44PM   22        A.   YES.

01:44PM   23        Q.   AND IN THE EARLY YEARS THE ASSAY DEVELOPMENT WAS ALMOST

01:45PM   24        ALL IMMUNOASSAYS; RIGHT?

01:45PM   25        A.   CORRECT.



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01:45PM    1        Q.   AND THEN THERE CAME A TIME IN MAYBE 2009 OR 2010 WHERE

01:45PM    2        THERE WERE SOME ADDITIONAL ASSAY TEAMS THAT WERE SET UP; RIGHT?

01:45PM    3        A.   YES.

01:45PM    4        Q.   AND WHAT WERE THOSE TEAMS?

01:45PM    5        A.   SO BASICALLY THEY HAD GENERAL CHEMISTRY, THEY HAD SOME

01:45PM    6        MOLECULAR BIOLOGY ASSAYS, AS WELL AS THE CYTOMETRY ASSAYS.

01:45PM    7        Q.   OKAY.   AND YOU DIDN'T REALLY WORK THAT MUCH WITH THOSE;

01:45PM    8        RIGHT?

01:45PM    9        A.   NO.

01:45PM   10        Q.   AND YOUR FOCUS REMAINED ON THE ELISA ASSAYS?

01:45PM   11        A.   YES.

01:45PM   12        Q.   AND THOSE ARE SOMETIMES CALLED IMMUNOASSAYS; IS THAT

01:45PM   13        RIGHT?

01:45PM   14        A.   CORRECT.

01:45PM   15        Q.   AND IN THAT PERIOD OF YEARS WHERE YOU WORKED THERE, YOU

01:45PM   16        WERE TO DEVELOP A LOT OF IMMUNOASSAYS; RIGHT?

01:45PM   17        A.   YES.

01:45PM   18        Q.   AND DO YOU RECALL THE APPROXIMATE NUMBER OF IMMUNOASSAYS

01:45PM   19        THAT YOU HAD COMPLETED WORK ON IN THE R&D LAB?

01:45PM   20        A.   IT WOULD BE APPROXIMATELY A HUNDRED.

01:46PM   21        Q.   OKAY.   ABOUT A HUNDRED?

01:46PM   22        A.   YEAH.

01:46PM   23        Q.   OKAY.   AND THAT WAS JUST THE WORK OF IMMUNOASSAYS?

01:46PM   24        A.   YEAH.

01:46PM   25        Q.   AND THERE WERE OTHER ASSAYS DEVELOPED WITH THOSE THREE



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1229


01:46PM    1        OTHER TEAMS; RIGHT?

01:46PM    2        A.   CORRECT.

01:46PM    3        Q.   I'D LIKE TO ASK YOU A LITTLE BIT ABOUT THAT WORK WITH

01:46PM    4        GLAXO SMITH KLINE.

01:46PM    5             DO YOU RECALL THE QUESTIONS ABOUT THAT EARLIER?

01:46PM    6        A.   YES.

01:46PM    7        Q.   AND THE GLAXO SMITH KLINE WORK, WHICH ASSAYS WERE INVOLVED

01:46PM    8        IN THAT?

01:46PM    9        A.   SO THERE WERE A PANEL, LIKE A METABOLIC PANEL.       SO THEY

01:46PM   10        HAD ONE TARGET CALLED GLP-1, AND THEY HAD ANOTHER ONE CALLED

01:47PM   11        C-PEPTIDE.

01:47PM   12        Q.   AND THOSE ARE TECHNICALLY TWO ASSAYS; CORRECT?

01:47PM   13        A.   YES.

01:47PM   14        Q.   AND BEFORE YOU, YOU HAVE BROUGHT THOSE ASSAYS OUT TO WORK

01:47PM   15        WITH GSK, DID YOU DO THE WORK NECESSARY TO BE COMFORTABLE HOW

01:47PM   16        THEY WERE GOING TO PERFORM?

01:47PM   17        A.   YES.

01:47PM   18        Q.   AND DID YOU DO THAT IN CONNECTION WITH A TEAM OF PEOPLE AT

01:47PM   19        THERANOS?

01:47PM   20        A.   YES.

01:47PM   21        Q.   AND SO THE ASSAY DEVELOPMENT WORK FOR THOSE HAD BEEN

01:47PM   22        COMPLETED?

01:47PM   23        A.   I WOULD THINK SO.

01:47PM   24        Q.   AND THE CARTRIDGES USED IN THAT STUDY, DO YOU RECALL HOW

01:47PM   25        MANY ASSAYS THEY WOULD RUN?      WOULD THEY RUN THE ASSAYS IN A



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1230


01:48PM    1        SINGLE CARTRIDGE?

01:48PM    2        A.    YES.

01:48PM    3        Q.    AND I THINK THERE WAS A COMMUNICATION -- WHY DON'T WE

01:48PM    4        BRING UP 112, WHICH I THINK IS IN EVIDENCE.

01:48PM    5              AND IF WE CAN GO -- DO YOU RECALL THIS EMAIL?

01:48PM    6        A.    YES.

01:48PM    7        Q.    AND IF WE CAN GO -- ACTUALLY, BEFORE WE GO THERE,

01:48PM    8        DR. RHODES, DO YOU RECALL THAT HE WAS THE LAB DIRECTOR FOR THE

01:48PM    9        BIOMARKER LAB AT GSK?

01:48PM   10        A.    YES.

01:48PM   11        Q.    AND A COMPANY THAT SIZE, THAT'S A PRETTY BIG JOB, ISN'T

01:48PM   12        IT?

01:48PM   13        A.    IT IS.

01:48PM   14        Q.    AND CAN WE GO TO THE ATTACHMENT, AND THE NEXT PAGE,

01:48PM   15        PLEASE.   IF WE CAN BLOW UP THE OVERALL CONCLUSIONS.      I THINK WE

01:49PM   16        DIDN'T FOCUS TOO MUCH ON THIS.

01:49PM   17              THIS WAS A DOCUMENT THAT WAS PREPARED BY DR. RHODES; IS

01:49PM   18        THAT RIGHT?

01:49PM   19        A.    I THINK SO.

01:49PM   20        Q.    WELL, WHY DON'T WE LOOK BACK AT THE EMAIL JUST SO WE CAN

01:49PM   21        SEE IF WE CAN REFRESH YOUR RECOLLECTION.

01:49PM   22              DO YOU SEE DOWN BELOW DR. RHODES IS SENDING THIS AND

01:49PM   23        COMMUNICATING IT TO THE COMPANY AT LEAST; RIGHT?

01:49PM   24        A.    YES.

01:49PM   25        Q.    AND NOW, HE HAS A TEAM OF PEOPLE AT GLAXO SMITH KLINE THAT



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01:49PM    1        HE SEEMS TO BE WORKING WITH ON THAT, SOME COMBINATION OF THEM

01:49PM    2        ASSUMEDLY WROTE THIS DOCUMENT?

01:49PM    3        A.   UH-HUH.

01:49PM    4        Q.   THE ATTACHMENT?

01:49PM    5        A.   I THINK SO.

01:49PM    6        Q.   OKAY.   LET'S GO BACK TO THAT SECOND PAGE, AND LET'S LOOK

01:49PM    7        AT THE OVERALL CONCLUSIONS.

01:49PM    8             THIS SAYS THAT "THE THERANOS SYSTEM ELIMINATES THE NEED

01:50PM    9        FOR A LAB AND PROVIDED QUALITY DATA."

01:50PM   10             DO YOU SEE THAT?

01:50PM   11        A.   YES.

01:50PM   12        Q.   AND THIS WAS YOUR WORK?

01:50PM   13        A.   YES.

01:50PM   14        Q.   AND WERE YOU PROUD OF THAT?

01:50PM   15        A.   YES, OF COURSE.

01:50PM   16        Q.   AND YOU RECALL ACTUALLY AS A RESULT OF THIS WORK, THERE

01:50PM   17        WAS A CELEBRATION AT THE COMPANY AFTERWARD; RIGHT?

01:50PM   18        A.   YES, THERE WAS.

01:50PM   19        Q.   A PARTY?

01:50PM   20        A.   YEAH.

01:50PM   21        Q.   AND LET'S LOOK AT THE SECOND BULLET POINT.

01:50PM   22             OKAY.   THIS SAYS, "THE METABOLIC BIOMARKER LAB," THAT

01:50PM   23        MEANS THE METABOLIC BIOMARKER LAB AT GSK; IS THAT RIGHT?

01:50PM   24        A.   YES.

01:50PM   25        Q.   AND AGAIN, THAT'S KIND OF A BIG OPERATION WITHIN A



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1232


01:50PM    1        PHARMACEUTICAL COMPANY; RIGHT?

01:50PM    2        A.   YEAH.

01:50PM    3        Q.   OKAY.    AND THIS SAYS THEY HAVE A FAVORABLE IMPRESSION OF

01:50PM    4        THE TECHNOLOGY AND SYSTEM AND RECOMMENDS THAT GSK CLINICAL

01:50PM    5        GROUPS WORK WITH THERANOS TO IDENTIFY THE BEST USE OF THIS

01:50PM    6        TECHNOLOGY.

01:50PM    7             DO YOU SEE THAT?

01:51PM    8        A.   YES.

01:51PM    9        Q.   AND TO BE FAIR, I PARAPHRASED THAT.

01:51PM   10        A.   OKAY.

01:51PM   11        Q.   AND SO THEY WERE RECOMMENDING TO OTHER CLINICAL GROUPS

01:51PM   12        WITHIN GLAXO SMITH KLINE THAT THEY SHOULD THINK ABOUT USING

01:51PM   13        THERANOS AS A RESULT OF YOUR WORK; RIGHT?

01:51PM   14        A.   I THINK SO.

01:51PM   15        Q.   AND THAT'S KIND OF A BIG DEAL, ISN'T IT?

01:51PM   16        A.   YES.

01:51PM   17        Q.   AND YOU UNDERSTOOD THAT DR. RHODES WAS PLEASED WITH THE

01:51PM   18        RESULTS; RIGHT?

01:51PM   19        A.   YES.

01:51PM   20        Q.   AND YOU KNEW WHEN YOU HAD DONE A GOOD JOB.

01:51PM   21             IS THAT FAIR?

01:51PM   22        A.   YES.

01:51PM   23        Q.   OKAY.    ARE YOU AWARE THAT DR. RHODES ACTUALLY WROTE

01:51PM   24        SEPARATELY TO MS. HOLMES TO PRAISE YOUR WORK?

01:51PM   25                     MR. LEACH:    OBJECTION.   FOUNDATION.



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                    GANGAKHEDKAR CROSS BY MR. WADE                                       1233


01:51PM    1                     THE COURT:    WOULD YOU LAY A FOUNDATION.

01:51PM    2                     MR. WADE:    I WAS JUST ASKING IF SHE'S AWARE.     IF

01:52PM    3        SHE'S NOT AWARE, I CAN LAY THE FOUNDATION.

01:52PM    4             BUT I CAN DO IT IF YOUR HONOR WOULD PREFER.

01:52PM    5                     THE COURT:    WELL, DID YOU UNDERSTAND HIS QUESTION?

01:52PM    6                     THE WITNESS:    YES.

01:52PM    7                     THE COURT:    YOU CAN ANSWER.

01:52PM    8                     THE WITNESS:    I WAS NOT AWARE.   I HADN'T SEEN

01:52PM    9        THAT -- I DON'T THINK I HAD SEEN THAT EMAIL DIRECTLY.

01:52PM   10        BY MR. WADE:

01:52PM   11        Q.   OKAY.    LET ME SEE IF I CAN REFRESH YOUR RECOLLECTION.

01:52PM   12             I THINK IF YOU LOOK IN YOUR BOOK AT 13764.

01:52PM   13        A.   CAN YOU PLEASE REPEAT THAT NUMBER AGAIN, THE NUMBER FOR

01:52PM   14        THE --

01:52PM   15        Q.   SURE.    THE 13764.

01:52PM   16                     THE CLERK:    I THINK SHE ONLY HAS THE GOVERNMENT

01:53PM   17        BINDER.

01:53PM   18                     THE WITNESS:    I DON'T THINK I HAVE THAT IN THIS

01:53PM   19        BINDER.

01:53PM   20                     MR. WADE:    MY APOLOGIES.   I FORGOT TO GIVE YOU OUR

01:53PM   21        BINDER.   ONE MOMENT, PLEASE.

01:53PM   22             WE CAN JUST PUT IT ON THE SCREEN, YOUR HONOR.        WE WON'T

01:53PM   23        NEED TO --

01:53PM   24                     THE COURT:    OKAY.    IF WE CAN HAVE COUNSEL ADJUST

01:53PM   25        THEIR MONITORS.



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1234


01:53PM    1                     MR. WADE:    MY APOLOGIES.

01:53PM    2             MAY I APPROACH, YOUR HONOR?

01:53PM    3                     THE COURT:    PLEASE.

01:53PM    4                     MR. WADE:    (HANDING.)

01:53PM    5        Q.   IT'S 13764.    JUST TAKE A MINUTE AND READ THAT TO YOURSELF

01:54PM    6        IF YOU COULD.

01:54PM    7        A.   OKAY.

01:54PM    8        Q.   AND DOES THIS REFRESH YOUR RECOLLECTION THAT DR. RHODES

01:54PM    9        HAD COMMUNICATED THAT YOU HAD DONE A GREAT JOB?

01:54PM   10        A.   I THINK SO.

01:54PM   11        Q.   AND DOES IT REFRESH YOUR RECOLLECTION THAT DR. RHODES

01:54PM   12        THOUGHT THE INSTRUMENTS PERFORMED WELL?

01:54PM   13        A.   YES.

01:54PM   14        Q.   AND PART OF THE ISSUE WITH GLAXO SMITH KLINE WAS ALSO THAT

01:54PM   15        THEY WERE LOOKING FOR AN ASSAY THAT WOULD RUN A LITTLE FASTER;

01:54PM   16        RIGHT?

01:54PM   17        A.   YES.

01:54PM   18        Q.   AND THE THERANOS ASSAY DID; CORRECT?

01:54PM   19        A.   IT DID.

01:54PM   20        Q.   IF WE CAN GO BACK TO THAT ATTACHMENT FOR JUST ONE SECOND.

01:55PM   21        AGAIN, WE'RE AT 112, WHICH IS IN EVIDENCE.      I APOLOGIZE.   JUST

01:55PM   22        SO THE RECORD IS CLEAR, I WOULD LIKE TO BRING YOU BACK TO

01:55PM   23        EXHIBIT 112, WHICH IS THE DOCUMENT REALLY AT THE

01:55PM   24        GLAXO SMITH KLINE THAT WE WERE TALKING ABOUT EARLIER.

01:55PM   25        A.   UH-HUH.



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01:55PM    1        Q.     AND I'D LIKE TO DRAW YOUR ATTENTION TO THE FIRST PAGE OF

01:55PM    2        THE ATTACHMENT AND THE TOP PARAGRAPH.

01:55PM    3               I DON'T THINK YOU WERE ASKED ABOUT THIS PREVIOUSLY.

01:55PM    4               DO YOU SEE THERE WHERE IT SAYS THAT THE TWO ASSAYS WERE

01:55PM    5        COMPARED TO GOLD STANDARD ELISA'S.

01:55PM    6               DO YOU SEE THAT?

01:55PM    7        A.     YES.

01:55PM    8        Q.     AND COULD YOU EXPLAIN TO US WHAT GOLD STANDARD ELISA'S

01:55PM    9        ARE?

01:55PM   10        A.     SO GSK WAS USING A SET OF ASSAYS IN THEIR LAB FOR THEIR

01:55PM   11        STUDIES FOR THESE PARTICULAR TARGETS, AND THEY WERE CONSIDERED

01:56PM   12        TO BE THE BEST ASSAY TO USE FOR THOSE PURPOSES.

01:56PM   13        Q.     AND THERANOS'S ASSAYS MATCHED UP WELL?

01:56PM   14        A.     IT DID.

01:56PM   15        Q.     AND YOUR ASSAYS THAT YOU DEVELOPED?

01:56PM   16        A.     YES.

01:56PM   17        Q.     AND IF WE CAN GO BACK TO THE LAST PAGE ONE MORE TIME.       DO

01:56PM   18        YOU SEE -- FOCUS ON THE TOP.

01:56PM   19               DO YOU SEE AT THE TOP THERE THAT IT SAYS THE DATA SHOWED

01:56PM   20        GOOD CORRELATION.

01:56PM   21               DO YOU SEE THAT?

01:56PM   22        A.     UH-HUH.

01:56PM   23        Q.     AND THEN IT SAYS THE MACHINES WORKED WELL.

01:56PM   24               AND DID YOU FEEL THAT WAY AT THE TIME?

01:56PM   25        A.     YES, I DID.



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                    GANGAKHEDKAR CROSS BY MR. WADE                                     1236


01:56PM    1        Q.   I DON'T HAVE ANY OTHER QUESTIONS ON THAT DOCUMENT.

01:56PM    2             IF I CAN ASK YOU, I THINK THE DOCUMENT THAT YOU SENT TO

01:57PM    3        MS. HOLMES THAT RELATED TO SOME WORK THAT WAS DONE FOR CELGENE;

01:57PM    4        IS THAT RIGHT?

01:57PM    5        A.   YES.

01:57PM    6        Q.   AND ULTIMATELY THAT WORK WAS COMPLETED; RIGHT?

01:57PM    7        A.   IT WAS.

01:57PM    8        Q.   AND I'D LIKE TO ASK YOU A FEW QUESTIONS ABOUT THAT WORK,

01:57PM    9        IF I COULD?

01:57PM   10        A.   SURE.

01:57PM   11        Q.   TELL US ABOUT THAT PROJECT GENERALLY IF YOU WOULD?

01:57PM   12                     THE COURT:    YOU KNOW, EXCUSE ME.

01:57PM   13             BEFORE WE MOVE IN -- I DON'T WANT TO BREAK UP --

01:57PM   14                     MR. WADE:    ANOTHER CLIFFHANGER.

01:57PM   15             (LAUGHTER.)

01:57PM   16                     THE COURT:    THIS TIME I WON'T LET YOU ASK A

01:57PM   17        QUESTION.    THE WEEKEND IS TOO LONG TO WAIT FOR THE ANSWER SO.

01:57PM   18                     MR. WADE:    I'LL WITHDRAW THE QUESTION, AND I'LL PICK

01:57PM   19        UP HERE ON TUESDAY.

01:57PM   20                     THE COURT:    LET'S DO THAT.   I APPRECIATE THAT.

01:57PM   21        WE'RE GOING TO RECESS FOR THE DAY AND THE WEEKEND AND WE'LL

01:57PM   22        COME BACK ON TUESDAY NEXT AT 9:00 O'CLOCK, AND I HOPE WE CAN

01:57PM   23        BEGIN -- LADIES AND GENTLEMEN, LET ME -- YES, SORRY.

01:58PM   24             LET ME AGAIN REMIND YOU, LADIES AND GENTLEMEN, THAT AFTER

01:58PM   25        YOU LEAVE TONIGHT, YOU'RE NOT TO CONDUCT ANY INDEPENDENT



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01:58PM    1        RESEARCH ABOUT THE CASE, THE MATTERS DEALING WITH THE CASE, OR

01:58PM    2        ANY OF THE PARTIES INVOLVED WITH THE CASE, INCLUDING ANY LEGAL

01:58PM    3        ISSUES INVOLVED IN THE CASE.

01:58PM    4             YOU ALSO MUST NOT COMMUNICATE WITH ANYONE ABOUT THE CASE.

01:58PM    5        AND YOU MUST IGNORE ANY INFORMATION THAT YOU MAY COME UPON

01:58PM    6        WHILE BROWSING THE INTERNET OR ANY OF YOUR SOCIAL MEDIA.

01:58PM    7             AND PLEASE DO NOT DISCUSS THE CASE WITH ANYONE UNTIL THE

01:58PM    8        MATTER HAS BEEN DELIVERED TO YOU FOR YOUR DELIBERATIONS.

01:58PM    9             THANK YOU FOR YOUR PATIENCE.       IT'S IMPORTANT THAT I MAKE A

01:58PM   10        RECORD OF THIS EACH TIME WE BREAK.

01:58PM   11             AND YOU KNOW THE QUESTION I'M GOING TO ASK YOU WHEN WE SEE

01:58PM   12        EACH OTHER ON TUESDAY, AND I'D LIKE A REPORT IF ANY OF THIS HAS

01:58PM   13        OCCURRED TO YOU OVER THE WEEKEND, INADVERTENT OR NOT.

01:58PM   14             HAVE A GOOD WEEKEND.    BE SAFE.    ENJOY THE WEEKEND.   WE

01:58PM   15        WILL SEE YOU TUESDAY NEXT, TUESDAY NEXT, AND I HOPE WE CAN

01:58PM   16        START AT 9:00 O'CLOCK.

01:58PM   17             THANK YOU.   YOU CAN STAND DOWN, AND WE'LL SEE YOU TUESDAY

01:59PM   18        AS WELL.   THANK YOU.

01:59PM   19             (JURY OUT AT 1:59 P.M.)

01:59PM   20                   THE COURT:    PLEASE, YOU CAN STAND DOWN.

01:59PM   21             IS THAT A BINDER OF THE EXHIBITS?

01:59PM   22                   THE WITNESS:    NO.    THIS BELONGS TO THE PROSECUTION.

01:59PM   23                   THE COURT:    OH, YOU CAN LEAVE THAT.    THANK YOU SO

01:59PM   24        MUCH.

01:59PM   25             PLEASE BE SEATED.     THANK YOU.   PLEASE BE SEATED.   THANK



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01:59PM    1        YOU, LADIES AND GENTLEMEN.

02:00PM    2             ALL RIGHT.    THANK YOU.       THE JURY AND ALTERNATES HAVE LEFT

02:00PM    3        FOR THE WEEKEND AND MS. HOLMES AND COUNSEL ARE STILL PRESENT.

02:00PM    4             ANYTHING BEFORE WE BREAK FOR THE WEEKEND, COUNSEL?

02:00PM    5             I HEAR NO RESPONSE.        THAT SUGGESTS YOU'RE COMPLETELY

02:00PM    6        SATISFIED.

02:00PM    7                     MR. WADE:    NO.   HAVE A NICE WEEKEND.

02:00PM    8                     THE COURT:    YOU AS WELL.    THANK YOU.

02:00PM    9                     MR. LEACH:    YOUR HONOR, ONE MATTER FROM THE

02:00PM   10        GOVERNMENT.

02:00PM   11                     THE COURT:    SURE.

02:00PM   12                     MR. LEACH:    I THINK WE WENT UNTIL 3:00 O'CLOCK ON

02:00PM   13        WEDNESDAY, AND I UNDERSTAND FROM THE DEFENSE THAT THEY MIGHT BE

02:00PM   14        OPEN TO GOING UNTIL 3:00 O'CLOCK ON OTHER DAYS, AND WE JUST

02:00PM   15        WANTED TO SEE IF THE COURT WAS AMENABLE TO ONE ADDITIONAL HOUR

02:00PM   16        EACH DAY.    I THINK THAT WOULD AID US IN EFFICIENTLY PRESENTING

02:00PM   17        THE CASE.

02:00PM   18             OF COURSE, WE DON'T WANT TO IMPEDE ON THE EXPECTATIONS OF

02:01PM   19        THE JURORS.

02:01PM   20                     THE COURT:    THANK YOU.    I WAS GOING TO ASK THEM

02:01PM   21        THAT.   I DON'T THINK IT'S FAIR TO HAVE THEM THINK ABOUT THAT

02:01PM   22        OVER THE WEEKEND.    BUT WHEN THEY COME BACK ON TUESDAY, I THINK

02:01PM   23        I WILL ASK IF WE CAN ADJUST THE SCHEDULE AGAIN.

02:01PM   24             I KNOW THERE MAY BE SOME EMPLOYMENT ISSUES.        I DON'T KNOW.

02:01PM   25        MS. KRATZMANN MAY HAVE SOME INFORMATION ON THAT FROM THE



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02:01PM    1        JURORS, I JUST DON'T KNOW.

02:01PM    2             BUT I'M GOING TO ASK IF WE CAN EXTEND MAYBE AN HOUR AT

02:01PM    3        LEAST TWO DAYS A WEEK OR SOMETHING TO SEE IF THAT WOULD WORK

02:01PM    4        JUST TO KEEP US ON TRACK.

02:01PM    5                   MR. LEACH:    WONDERFUL.

02:01PM    6                   THE COURT:    IS THAT ALL RIGHT WITH YOU?

02:01PM    7                   MR. DOWNEY:    THAT'S FINE, YOUR HONOR.

02:01PM    8                   THE COURT:    GREAT.   OKAY.   THANK YOU.

02:01PM    9             THANK YOU VERY MUCH.    ENJOY YOUR WEEKENDS.

02:01PM   10                   THE CLERK:    COURT IS ADJOURNED.

02:01PM   11             (COURT ADJOURNED AT 2:01 P.M.)

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 1

 2

 3                              CERTIFICATE OF REPORTERS

 4

 5

 6

 7               WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9         CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10         HEREBY CERTIFY:

11               THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12         A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13         ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   SEPTEMBER 17, 2021

22

23

24

25



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 1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                               SAN JOSE DIVISION

 5
        UNITED STATES OF AMERICA,            )    CR-18-00258-EJD
 6                                           )
                           PLAINTIFF,        )    SAN JOSE, CALIFORNIA
 7                                           )
                    VS.                      )    VOLUME 9
 8                                           )
        ELIZABETH A. HOLMES,                 )    SEPTEMBER 21, 2021
 9                                           )
                           DEFENDANT.        )    PAGES 1240 - 1449
10                                           )

11
                        TRANSCRIPT OF TRIAL PROCEEDINGS
12                   BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:       UNITED STATES ATTORNEY'S OFFICE
15                               BY: JOHN C. BOSTIC
                                      JEFFREY B. SCHENK
16                               150 ALMADEN BOULEVARD, SUITE 900
                                 SAN JOSE, CALIFORNIA 95113
17
                                 BY:  ROBERT S. LEACH
18                                    KELLY VOLKAR
                                 1301 CLAY STREET, SUITE 340S
19                               OAKLAND, CALIFORNIA 94612

20
        (APPEARANCES CONTINUED ON THE NEXT PAGE.)
21

22      OFFICIAL COURT REPORTERS:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
23                              CERTIFICATE NUMBER 8074
                                LEE-ANNE SHORTRIDGE, CSR, CRR
24                              CERTIFICATE NUMBER 9595

25           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                   TRANSCRIPT PRODUCED WITH COMPUTER


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 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
                                 BY: KEVIN M. DOWNEY
 4                                    LANCE A. WADE
                                      KATHERINE TREFZ
 5                                    ANDREW LEMENS
                                      J.R. FLEURMONT
 6                                    PATRICK LOOBY
                                 725 TWELFTH STREET, N.W.
 7                               WASHINGTON, D.C. 20005

 8                               LAW OFFICE OF JOHN D. CLINE
                                 BY: JOHN D. CLINE
 9                               ONE EMBARCADERO CENTER, SUITE 500
                                 SAN FRANCISCO, CALIFORNIA 94111
10

11      ALSO PRESENT:            FEDERAL BUREAU OF INVESTIGATION
                                 BY: ADELAIDA HERNANDEZ
12
                                 OFFICE OF THE U.S. ATTORNEY
13                               BY: LAKISHA HOLLIMAN, PARALEGAL
                                      MADDI WACHS, PARALEGAL
14
                                 WILLIAMS & CONNOLLY
15                               BY: TIMIKA ADAMS-SHERMAN, PARALEGAL

16                               TBC
                                 BY:   BRIAN BENNETT, TECHNICIAN
17

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           DIRECT EXAM BY MR. BOSTIC                     P. 1378
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 8
           BRITTANY GOULD
 9         DIRECT EXAM BY MR. LEACH                      P. 1436

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           1        SAN JOSE, CALIFORNIA                              SEPTEMBER 21, 2021

           2                                  P R O C E E D I N G S

08:33AM    3                (COURT CONVENED AT 8:33 A.M.)

08:33AM    4             (JURY OUT AT 8:33 A.M.)

08:33AM    5                     THE COURT:    LET'S GO ON THE RECORD IN 18-258,

08:33AM    6        UNITED STATES VERSUS ELIZABETH HOLMES.

08:33AM    7             LET ME JUST SAY THAT I SEE ALL COUNSEL PRESENT, AND

08:33AM    8        DEFENDANT IS PRESENT.

08:33AM    9             GOOD MORNING EVERYONE.

08:33AM   10                     MR. WADE:    GOOD MORNING.

08:33AM   11                     THE COURT:    WE'RE OUTSIDE OF THE PRESENCE OF THE

08:33AM   12        JURY.    BEFORE WE START TODAY, I UNDERSTAND THAT THE PARTIES

08:33AM   13        WANTED TO DISCUSS SOME MATTERS?

08:33AM   14                     MS. TREFZ:    WE DO, YOUR HONOR.

08:33AM   15                     THE COURT:    YES, MS. TREFZ.

08:34AM   16                     MS. TREFZ:    GOOD MORNING, YOUR HONOR.

08:34AM   17             KATIE TREFZ ON BEHALF OF MS. HOLMES.

08:34AM   18             WE HAVE THREE ISSUES WITH RESPECT TO WITNESSES THAT ARE

08:34AM   19        EXPECTED TO COME AFTER MS. GANGAKHEDKAR.        I'M NOT SURE WHAT

08:34AM   20        ORDER THOSE WITNESSES WILL COME IN BECAUSE THAT'S UP TO THE

08:34AM   21        GOVERNMENT, BUT I WANTED TO RAISE THEM NOW SO THAT THE COURT

08:34AM   22        COULD BE AWARE OF POTENTIAL ISSUES THAT MIGHT COME UP.

08:34AM   23             THE MOST SUBSTANTIVE ONE IS ON CERTAIN TEXT MESSAGES THAT

08:34AM   24        WE EXPECT THE GOVERNMENT TO SEEK TO INTRODUCE THROUGH A WITNESS

08:34AM   25        NAMED JUSTIN OFFEN.



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08:34AM    1             WE EXPECT THE GOVERNMENT -- YESTERDAY AFTERNOON WE

08:34AM    2        RECEIVED NOTICE OF CERTAIN PARTICULAR TEXT MESSAGES THAT THE

08:34AM    3        GOVERNMENT WOULD SEEK TO INTRODUCE THROUGH MR. OFFEN.       IT

08:35AM    4        SHOULD BE NO SURPRISE TO THE COURT THAT WE HAVE SOME OBJECTIONS

08:35AM    5        TO CERTAIN OF THOSE TEXT MESSAGES.

08:35AM    6             WE'VE BEEN -- WE'VE DONE OUR BEST TO GO THROUGH THEM

08:35AM    7        PROMPTLY, BUT SINCE WE RECEIVED THE DISCLOSURE YESTERDAY

08:35AM    8        AFTERNOON, WE HAVE NOT HAD THE CHANCE TO FULLY PUT SOMETHING

08:35AM    9        BEFORE THE COURT TO IDENTIFY THE OBJECTIONS.

08:35AM   10             WE THOUGHT THAT SINCE MOST OF THOSE OBJECTIONS ARE TO

08:35AM   11        RELEVANCE ON 403 GROUNDS OR, YOU KNOW, TO COMPLETENESS, THEN WE

08:35AM   12        THOUGHT IT WOULD BE MOST EFFICIENT TO HAVE THE CHANCE TO KIND

08:35AM   13        OF PROVIDE THAT INFORMATION TO THE COURT IN ADVANCE OF THE

08:35AM   14        ACTUAL MESSAGES BEING INTRODUCED AND SHOWN TO THE JURY SIMPLY

08:35AM   15        BECAUSE THIS PARTICULAR WITNESS CANNOT RESOLVE -- THIS WITNESS

08:35AM   16        IS A CUSTODIAL WITNESS FROM PRICEWATERHOUSECOOPERS AND CANNOT

08:35AM   17        RESOLVE THE ISSUES WITH RESPECT TO RELEVANCE OR PREJUDICE OR

08:36AM   18        COMPLETENESS.

08:36AM   19             WE HAVE PROPOSED TO THE GOVERNMENT SOME PARTICULAR

08:36AM   20        MESSAGES TO WHICH WE DON'T OBJECT THAT THE GOVERNMENT MIGHT USE

08:36AM   21        IN ITS EXAMINATION OF MR. OFFEN.

08:36AM   22             IT SOUNDS LIKE FROM COUNSEL ABOUT 15 OR 20 MINUTES AGO

08:36AM   23        THAT THEY WOULD LIKE TO PRESENT A BROADER SET, AND I JUST

08:36AM   24        WANTED TO RAISE THIS WITH THE COURT AND, YOU KNOW, PROVIDE KIND

08:36AM   25        OF A SUGGESTED PROCEDURE FOR HOW WE MIGHT DO THAT.



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08:36AM    1                   THE COURT:    OKAY.    WELL, THANK YOU.   THANKS FOR

08:36AM    2        BRINGING IT TO MY ATTENTION.

08:36AM    3             LET ME ASK, IT SOUNDS LIKE THERE WILL NOT BE ANY ISSUE OF

08:36AM    4        AUTHENTICITY UNDER 902 OR ANY OF THOSE -- IT SOUNDS LIKE THAT'S

08:36AM    5        GOING TO -- THAT'S NOT WHAT THE ISSUE IS, AUTHENTICITY, BUT

08:36AM    6        RATHER ANY OTHER COLLATERAL OBJECTIONS LIKE YOU'VE INDICATED

08:36AM    7        UNDER 403, 401 OR OTHERS.

08:37AM    8                   MS. TREFZ:    THE AUTHENTICITY WE HAVE, YOUR HONOR, IS

08:37AM    9        THESE MESSAGES WERE COMPILED INTO A SPREADSHEET THAT CAME FROM

08:37AM   10        A BUNCH OF DIFFERENT SOURCES.

08:37AM   11             WE DO NOT HAVE OBJECTIONS TO AUTHENTICITY OF THE

08:37AM   12        INDIVIDUAL MESSAGES INSOFAR AS THEY ARE MESSAGES FROM, YOU

08:37AM   13        KNOW, MS. HOLMES TO MR. BALWANI OR VICE VERSA ON A PARTICULAR

08:37AM   14        DATE OR A PARTICULAR TIME.

08:37AM   15                   THE COURT:    PARDON ME FOR INTERRUPTING YOU, BUT ARE

08:37AM   16        WE TALKING ABOUT TEXT MESSAGES FROM A CELLULAR DEVICE TO

08:37AM   17        ANOTHER CELLULAR DEVICE?

08:37AM   18                   MS. TREFZ:    IT'S A COMBINATION OF IMESSAGES, SKYPE

08:37AM   19        MESSAGES, AND SMS MESSAGES, AND THEY'VE BEEN COMPILED INTO A

08:37AM   20        SPREADSHEET BY DATE AND TIME IS OUR UNDERSTANDING.

08:37AM   21                   THE COURT:    I SEE.

08:37AM   22                   MS. TREFZ:    AS WE INFORMED THE GOVERNMENT, WE DON'T

08:37AM   23        HAVE AN OBJECTION TO THE INDIVIDUAL MESSAGES.

08:37AM   24             WHAT WE DO HAVE AN OBJECTION TO IN TERMS OF AUTHENTICITY,

08:37AM   25        AND I THINK IT'S A 403 ISSUE, IS KIND OF HOW THEY'RE EXPECTED



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08:37AM    1        TO BE PRESENTED TO THE JURY.

08:38AM    2             THE GOVERNMENT'S SUGGESTION IS TO TAKE BASICALLY EXCERPTS

08:38AM    3        FROM THE SPREADSHEET, REDACT EVERYTHING EXCEPT FOR THE TEXT

08:38AM    4        MESSAGES AT ISSUE.

08:38AM    5             AND OUR REQUEST INSTEAD WOULD BE TO HAVE THE GOVERNMENT

08:38AM    6        JUST SHOW AND JUST INTRODUCE THE MESSAGES THAT ARE ADMITTED ON

08:38AM    7        A SEPARATE SHEET OF PAPER.

08:38AM    8             THE REASON WHY THAT IS IMPORTANT TO US IS BECAUSE WE

08:38AM    9        BELIEVE THAT PRESENTING THE MESSAGES AS A WHOLE OR SUGGESTING

08:38AM   10        THAT THEY ARE PART OF A WHOLE IS -- MISLEADINGLY SUGGESTS THAT

08:38AM   11        THIS IS THE COMPLETE SET OF MESSAGES BETWEEN THESE TWO

08:38AM   12        INDIVIDUALS, AND WE KNOW THAT THERE ARE LARGE GAPS IN THE TIME

08:38AM   13        PERIODS AND STUFF LIKE THAT.

08:38AM   14                   THE COURT:    OKAY.    MR. LEACH.

08:38AM   15                   MR. LEACH:    THANK YOU, YOUR HONOR.

08:38AM   16             ROBERT LEACH ON BEHALF OF THE UNITED STATES.

08:38AM   17             I JUST WANT TO BE CLEAR WHAT WE'RE TALKING ABOUT.

08:38AM   18        MR. OFFEN IS GOING TO TESTIFY THAT AS PART OF HIS WORK AT PWC

08:39AM   19        ON BEHALF OF WILMER HALE AND THERANOS HE GENERATED VERY LENGTHY

08:39AM   20        SPREADSHEETS OF TEXTS, IMS AND OTHER MESSAGES, FROM THREE

08:39AM   21        DEVICES OR FROM SIX DEVICES GATHERED FROM THE DEFENDANT.

08:39AM   22             IN CONNECTION WITH THE TRIAL I RECEIVED A RULE 17 SUBPOENA

08:39AM   23        TO ESSENTIALLY PRODUCE THOSE DOCUMENTS AGAIN, WHICH HE DID FROM

08:39AM   24        A SUBSET OF THOSE DEVICES, AND HE'LL EXPLAIN ALL OF THAT.

08:39AM   25             THE DOCUMENT IS QUITE LONG.      IT'S 447 PAGES.   IT CONSISTS



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08:39AM    1        OF 12,000 TEXTS.    NOT ALL OF THEM ARE RELEVANT.

08:39AM    2             THE GOVERNMENT SEEKS TO ADMIT A SUBSET OF THEM.

08:39AM    3             TO FACILITATE THAT, THE GOVERNMENT HAS REDACTED ALL BUT

08:39AM    4        THE MESSAGES THAT IT INTENDS TO OFFER.      WE'RE DOING THAT IN THE

08:39AM    5        DOCUMENT THAT THE DEFENDANT CREATED -- OR THAT THE WITNESS

08:39AM    6        OVERSAW THE CREATION OF AND CAN EXPLAIN WHAT IT IS.

08:40AM    7             SO WHATEVER CONCERNS THEY HAVE THAT THERE MIGHT BE OTHER

08:40AM    8        DEVICES OUT THERE, HE CAN EXPLAIN ALL OF THOSE, WHICH I THINK

08:40AM    9        RESOLVES ANY 403 ISSUE.

08:40AM   10             WE DO WANT TO PRESENT SOME OF THEM IN THE MOMENT AS HE'S

08:40AM   11        TESTIFYING.   WE WANT TO AVOID THE NEED FOR A CUSTODIAL WITNESS

08:40AM   12        TO COME BACK AS FURTHER ONES ARE ADMITTED.

08:40AM   13             I THINK THE COURT IN ITS ORDER ON THE MOTION IN LIMINE

08:40AM   14        REVIEWED MANY OF THE EXCERPTS OR AT LEAST SIX OF THE EXCERPTS

08:40AM   15        THAT WE INTEND TO PRESENT TODAY AND ASSESS THAT THEY'RE

08:40AM   16        RELEVANT IN ITS MOTION IN LIMINE ORDER.

08:40AM   17             SO I SEE NO REASON WHY THOSE CANNOT BE PRESENTED TODAY.         I

08:40AM   18        THINK THE REMAINDER THAT WE CAN DEMONSTRATE THE RELEVANCE

08:40AM   19        THROUGH EVENTS THAT DANISE YAM TESTIFIED ABOUT, EVENTS THAT

08:40AM   20        ERIKA CHEUNG -- DANISE YAM OR SO HAN SPIVEY TESTIFIED ABOUT.

08:41AM   21        SO WE WOULD LIKE TO PRESENT SOME OF THEM TODAY.      I BELIEVE

08:41AM   22        THOSE OBJECTIONS CAN BE -- IF THERE'S A RELEVANCE OBJECTION, IT

08:41AM   23        CAN BE RESOLVED IN THE MOMENT.

08:41AM   24             I HEAR WHAT MY COLLEAGUES ARE SAYING ABOUT COMPLETENESS.

08:41AM   25        I DON'T THINK THAT'S A REASON NOT TO ADMIT A TEXT MESSAGE.



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08:41AM    1        THAT'S A REASON TO ADMIT ADDITIONAL TEXT MESSAGES AND IF THE

08:41AM    2        DEFENSE HAS MORE THEY WANT TO OFFER, WE'RE WILLING TO CONSIDER

08:41AM    3        THEIR PROPOSALS THERE.

08:41AM    4             SO WE HAVE THOUGHT ABOUT A NUMBER OF DIFFERENT WAYS TO

08:41AM    5        HANDLE THIS.   I -- ONE WAY WOULD BE TO ADMIT THE REDACTED

08:41AM    6        VERSION THAT WE HAVE PREPARED FOR MR. OFFEN SUBJECT TO ANY 403

08:41AM    7        OR RELEVANCE OBJECTIONS THAT THEY WANT TO RAISE DOWN THE ROAD.

08:41AM    8              I'M ONLY GOING TO DISPLAY TODAY A SUBSET OF THEM, AND I'M

08:41AM    9        NOT SURE WE'RE GETTING TO THEM TODAY, BUT EITHER TODAY OR

08:41AM   10        TOMORROW, AND WE'RE HAPPY TO PROCEED WHICHEVER WAY THE COURT

08:41AM   11        WISHES.

08:41AM   12                   THE COURT:    THANK YOU.

08:41AM   13             I HEAR MS. TREFZ SAYING THAT IT SOUNDS LIKE IT'S THE

08:41AM   14        PRESENTATION, ONE OF THE ISSUES IS THE PRESENTATION.       AND I

08:42AM   15        THINK THERE IS -- I DON'T KNOW WHAT THIS SPREADSHEET IS,

08:42AM   16        HOWEVER, THERE ARE 55 TEXTS ON ONE LINE AND WITH CORRESPONDING

08:42AM   17        DATES AND THEN THE MESSAGE TO AND FROM, ET CETERA.

08:42AM   18             MS. TREFZ, ARE YOU SAYING THAT IF THE GOVERNMENT JUST PUTS

08:42AM   19        ONE -- DISPLAYS ONE TEXT MESSAGE BUT EVEN REDACT ALL OF THE

08:42AM   20        OTHERS, THAT WOULD BE AN UNTOWARD PRESENTATION THAT WOULD GIVE

08:42AM   21        SOME TYPE OF NEGATIVE PRESENTATION TO THE JURY?

08:42AM   22                   MS. TREFZ:    YES, YOUR HONOR.

08:42AM   23             WE'VE PROVIDED THEM WITH AN EXAMPLE OF WHAT WE WOULD DO

08:42AM   24        WITH A MESSAGE EXCHANGE THAT WE DON'T HAVE ANY OBJECTION TO.

08:42AM   25        I'M HAPPY TO GIVE THE COURT AN EXAMPLE, AND EVERYBODY ELSE AN



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08:42AM    1        EXAMPLE, OF WHAT WE WERE PROPOSING THAT THEY DO INSTEAD.

08:42AM    2                   THE COURT:    SURE.

08:42AM    3                   MS. TREFZ:    WE THOUGHT THAT THIS WOULD BE

08:42AM    4        APPROPRIATE.

08:42AM    5                   THE COURT:    SURE.    YOU'VE SEEN THIS, MR. LEACH?

08:42AM    6                   MR. LEACH:    I HAVE SEEN THIS.

08:43AM    7             MAY I HAVE ONE MOMENT, YOUR HONOR?

08:43AM    8                   THE COURT:    CAN WE GET ANOTHER COPY?

08:43AM    9                   MS. TREFZ:    OH, SURE.

08:43AM   10             (PAUSE IN PROCEEDINGS.)

08:43AM   11                   THE COURT:    ALL RIGHT.   THANK YOU.

08:43AM   12             SO, MS. TREFZ, THIS IS YOUR SUGGESTION OR IT LOOKS LIKE AN

08:43AM   13        EXAMPLE OF THREE MESSAGES, BUT MY SENSE IS THAT THESE THREE ARE

08:43AM   14        RELATED?

08:43AM   15                   MS. TREFZ:    CORRECT, YOUR HONOR.

08:43AM   16             WHAT WE HAVE DONE IN THAT EXAMPLE IS TO TAKE WHAT THE

08:43AM   17        GOVERNMENT DESIGNATED AND WE DON'T HAVE A RELEVANCE OR A

08:43AM   18        COMPLETION -- OR A COMPLETENESS OR 403 OBJECTION TO THOSE

08:43AM   19        MESSAGES, AND SO OUR SUGGESTION IS WHY WOULD THEY NOT JUST BE

08:44AM   20        PRESENTED LIKE THAT.

08:44AM   21             WE ALSO DON'T HAVE AN AUTHENTICATION PROBLEM WITH THOSE

08:44AM   22        MESSAGES, AND OUR SUGGESTION IS THAT THAT'S MORE LIKE A FAIR

08:44AM   23        AND EFFICIENT WAY TO PRESENT THE MESSAGES.

08:44AM   24                   THE COURT:    MR. LEACH.

08:44AM   25                   MR. LEACH:    I THINK IT'S AN ODD SOLUTION TO AN



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08:44AM    1        AUTHENTICITY OBJECTION WITH A SEPARATE TEXT TAKEN OUT OF

08:44AM    2        CONTEXT.

08:44AM    3             SO IF WE CAN DISPLAY WHAT THE GOVERNMENT PREPARED.

08:44AM    4             I THINK THE BETTER APPROACH, YOUR HONOR, IS TO SIMPLY

08:44AM    5        REDACT THE RELEVANT MATERIAL.

08:44AM    6                   THE COURT:    I WANTED TO SEE BOTH VERSIONS.

08:44AM    7                   MR. LEACH:    I REGRET, I DON'T HAVE A HARD COPY

08:44AM    8        HANDY.   WE'RE TRYING TO PULL UP THE GOVERNMENT'S PROPOSAL UP ON

08:44AM    9        THE SCREEN.

08:44AM   10                   THE COURT:    AND I THINK MS. TREFZ'S POSITION IS

08:44AM   11        THAT, JUDGE, IF THE JUDGE SEES THIS BIG SHEET THAT HAS 57, 60

08:45AM   12        REDACTIONS AND THEN ONLY 4 OR 5 LINES OF THE TEXT, IT MIGHT

08:45AM   13        SUGGEST THAT THERE'S SOMETHING ELSE THERE, BUT HIDDEN FROM THE

08:45AM   14        JURY OR SOMETHING.

08:45AM   15             IT COULD BE, MS. TREFZ, THAT THE JURY IS GOING TO THINK

08:45AM   16        THAT, GEE, WITH ALL OF THAT SPACE AND THESE ARE THE ONLY THINGS

08:45AM   17        THAT THEY CAN FIND THAT ARE NEGATIVE.

08:45AM   18                   MS. TREFZ:    THAT'S POSSIBLE, YOUR HONOR.

08:45AM   19                   MR. LEACH:    SO WE HAVE AN EXAMPLE ON THE SCREEN.

08:45AM   20                   THE COURT:    RIGHT.   SO, MS. TREFZ, TELL ME WHAT IS

08:45AM   21        THE ISSUE WITH THIS, WITH THE WAY IT'S PRESENTED.

08:45AM   22                   MS. TREFZ:    THE ISSUE WITH THIS IS SEVERAL FOLD.

08:45AM   23        ONE IS THAT IT SAYS PAGE 8 OF 449.

08:45AM   24                   THE COURT:    OH, I SEE.

08:45AM   25                   MS. TREFZ:    ANOTHER IS THAT IT'S HEAVILY REDACTED



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08:45AM    1        EXCEPT THIS ONE PARTICULAR LINE.

08:45AM    2             AND THEN WITH RESPECT TO THIS ONE PARTICULAR -- THIS

08:46AM    3        PARTICULAR EXAMPLE, WE DO HAVE RELEVANCE AND COMPLETENESS

08:46AM    4        OBJECTIONS TO IT.

08:46AM    5                     THE COURT:    SURE.

08:46AM    6                     MS. TREFZ:    BUT THAT'S NOT THE --

08:46AM    7                     THE COURT:    WE'RE TALKING ABOUT FORM NOW.     SO IF THE

08:46AM    8        PAGE AND NUMBERS ARE REDACTED ON THE BOTTOM, IS THAT SOMETHING

08:46AM    9        THAT YOU COULD DO, MR. LEACH?

08:46AM   10                     MR. LEACH:    YEAH, THAT'S FINE, YOUR HONOR.

08:46AM   11                     MS. TREFZ:    YOUR HONOR, WE STILL HAVE AN ISSUE WITH

08:46AM   12        THE FACT THAT IT'S BASICALLY ENTIRELY REDACTED EXCEPT FOR ONE

08:46AM   13        LINE, BUT, YOU KNOW -- SO THAT'S WHY WE SUGGESTED THIS ONE WAY.

08:46AM   14                     THE COURT:    SURE.

08:46AM   15                     MS. TREFZ:    WE WOULD ALSO, AS I NOTED, SUGGEST THAT

08:46AM   16        THE PARTIES GIVE THE COURT A CHANCE TO LET THIS PLAY OUT A

08:46AM   17        LITTLE BIT IN TERMS OF, YOU KNOW, WE JUST RECEIVED THESE

08:46AM   18        YESTERDAY AND IT'S A SELECTION, BUT IT'S 122 PAGES, AND SO

08:46AM   19        WE'VE DONE OUR BEST TO DO THIS ON SHORT NOTICE BUT --

08:46AM   20                     THE COURT:    THIS IS TRIAL.   THIS IS TRIAL,

08:46AM   21        MS. TREFZ.

08:46AM   22                     MS. TREFZ:    AS OUR EMAIL TIME STAMPS WILL

08:46AM   23        ACKNOWLEDGE, WE HAVE BEEN WORKING HARD.       BUT WE THOUGHT THE

08:47AM   24        COURT WOULD APPRECIATE GETTING THE OPPORTUNITY TO UNDERSTAND

08:47AM   25        KIND OF SEEING IT LAID OUT OVER OF COURSE OF A COUPLE OF DAYS.



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08:47AM    1                   THE COURT:    ALL RIGHT.   WELL, THANK YOU FOR BRINGING

08:47AM    2        IT TO MY ATTENTION.

08:47AM    3             AS MR. LEACH SUGGESTS, WE MAY NOT GET TO THIS WITNESS

08:47AM    4        TODAY, OR IF WE DO, IT SOUNDS LIKE IT MAY ONLY CAPTURE THE SIX

08:47AM    5        OR SEVEN TEXTS THAT YOU TALK ABOUT THAT SEEM TO BE

08:47AM    6        OBJECTIONABLE.

08:47AM    7                   MR. LEACH:    I'LL BE GUIDED BY THE COURT, YOUR HONOR.

08:47AM    8        I THINK THERE'S SIX THAT THE COURT CONSIDERED IN THE MOTION IN

08:47AM    9        LIMINE.

08:47AM   10             THERE'S A SLIGHTLY BROADER UNIVERSE THAT I THINK THE

08:47AM   11        RELEVANCE IS MANIFEST BASED ON THE TESTIMONY THAT HAS ALREADY

08:47AM   12        COME IN.   I WOULD LIKE TO DO THOSE WITH MR. OFFEN IN THE

08:47AM   13        MOMENT.

08:47AM   14             MY INTEREST IS JUST MAKING SURE HE DOESN'T HAVE TO COME

08:47AM   15        BACK FOR FURTHER AUTHENTICITY ISSUES.

08:47AM   16                   THE COURT:    SURE.

08:47AM   17                   MR. LEACH:    IF I COULD JUST RESPOND BRIEFLY.     I DO

08:47AM   18        THINK THAT WE CAN INSTRUCT THE JURY TO IGNORE REDACTIONS.          WE

08:48AM   19        CAN INSTRUCT THE JURY, YOU KNOW -- SO I REALLY DON'T SEE WHY

08:48AM   20        BLANK SPACES ARE PREJUDICIAL.

08:48AM   21             BUT THERE'S ALSO -- YOU KNOW, THE FACT THAT MS. HOLMES AND

08:48AM   22        MR. BALWANI ARE COMMUNICATING SO FREQUENTLY AND SO REGULARLY,

08:48AM   23        REGARDLESS OF THE SUBSTANCE, HAS SOME RELEVANCE TO THEIR

08:48AM   24        CLOSENESS, THE EXISTENCE OF A CONSPIRACY.

08:48AM   25             I, FRANKLY, DON'T SEE THE PREJUDICE BETWEEN -- THAT CAN BE



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08:48AM    1        DRAWN FROM THAT THEY TALKED ALL OF THE TIME.       IT'S A SIMPLE

08:48AM    2        MATTER OF INSTRUCTION TO SAY THAT NOT ALL OF THESE ARE RELEVANT

08:48AM    3        OR PERTINENT TO THE ISSUES OF THE CASE FOR REASONS THAT YOU

08:48AM    4        DON'T NEED TO BE CONCERNED ABOUT.

08:48AM    5             I DON'T WANT TO HAVE A CREATE A SEPARATE DOCUMENT.

08:48AM    6                   THE COURT:    RIGHT.

08:48AM    7                   MR. LEACH:    I REALLY DON'T SEE A NEED.

08:48AM    8                   THE COURT:    THANK YOU.

08:48AM    9             I WAS THINKING, AS I WAS LOOKED AT IT, I WAS CURIOUS WHAT

08:48AM   10        THE PRESENTATION WOULD BE.    THE DARK REDACTIONS, IT SUGGESTS

08:48AM   11        SOMETHING, I SUPPOSE.

08:48AM   12             BUT THE COURT COULD AND WOULD INSTRUCT THE JURY THAT THIS

08:48AM   13        IS SHOWN AS A DEMONSTRATIVE, AND THIS IS THE MOST EFFICIENT WAY

08:49AM   14        TO CAPTURE IT, AND THEY SHOULD NOT BE GUIDED BY ANY REDACTION.

08:49AM   15             WHAT IS IMPORTANT ON THIS DOCUMENT IS WHAT IS NOT

08:49AM   16        REDACTED, AND ANYTHING ELSE IS PURELY BY CONSTRUCTION FOR EASE

08:49AM   17        OF PRESENTATION.

08:49AM   18             I DON'T THINK -- I DON'T THINK THAT WE'LL -- AND IF WE

08:49AM   19        REDACT THOSE PAGE AND THINGS ON THE BOTTOM, TALKING ABOUT

08:49AM   20        CONFIDENTIALITY AND PAGES OF 455 PAGES, ET CETERA.

08:49AM   21             I THINK PEOPLE UNDERSTAND THAT IN TRIAL DOCUMENTS ARE

08:49AM   22        PRESENTED AS BEST THEY CAN BE, AND WHAT IS RELEVANT TO THEM IS

08:49AM   23        WHAT IS SHOWN, THAT IS, THE WRITTEN, THE WRITTEN LANGUAGE, NOT

08:49AM   24        THE REDACTION.

08:49AM   25             THAT'S JUST A FUNCTION OF PRESENTATION THAT SHOULD HAVE NO



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08:49AM    1        IMPACT ON THEIR JUDGMENT AS TO HOW TO WEIGH THE EVIDENCE.

08:50AM    2                    MS. TREFZ:    IF IT IS A MATTER OF JUST PRESENTATION,

08:50AM    3        YOUR HONOR, THEN I WOULD REQUEST THAT ONE ADDITIONAL COMPROMISE

08:50AM    4        MIGHT BE THAT WHEN THEY'RE EXAMINING ABOUT PARTICULAR MESSAGES,

08:50AM    5        IF THEY BLOW IT UP LIKE WE ALL HAVE SEEN ON THE TRIAL GRAPHIC

08:50AM    6        SOFTWARE YOU'RE ALLOWED TO DO SO THE JURY IS NOT FOCUSSED ON

08:50AM    7        THE DARK SPACE, BUT IS FOCUSSED ON THAT PART.

08:50AM    8               I ASSUME THEY WILL DO THAT ANYWAY, BUT I JUST WANTED

08:50AM    9        TO MAKE THAT --

08:50AM   10                    THE COURT:    I EXPECT THAT THEY WILL.

08:50AM   11                    MR. LEACH:    WE'RE HAPPY TO DO IT THAT WAY,

08:50AM   12        YOUR HONOR.   OUR INTEREST IS NOT IN DRAWING TO THE BLACK.         WE

08:50AM   13        WANT TO FOCUS ON THE SUBSTANCE.

08:50AM   14                    THE COURT:    OKAY.    GREAT.   WELL, LET'S DO THAT TO

08:50AM   15        START WITH AND LET'S SEE HOW THAT WORKS.

08:50AM   16               MY SENSE IS THAT'S A GOOD PROTOCOL TO ENGAGE.

08:50AM   17                    MS. TREFZ:    IN TERMS OF THE SUBSTANCE THAT WE HAVE

08:50AM   18        WITH THE TEXT MESSAGES, HOW IS THAT TO BE PRESENTED?

08:50AM   19                    THE COURT:    WELL, I WAS CURIOUS, MR. LEACH, THAT'S

08:50AM   20        WHY I ASKED WHETHER YOU THOUGHT WE WOULD GET INTO THIS TODAY OR

08:50AM   21        NOT.

08:50AM   22               THAT'S DEPENDENT ON YOUR COLLEAGUE SITTING AT THE END OF

08:51AM   23        THE TABLE AND HOW MUCH LONGER HE HAS TO GO, MS. TREFZ, AND I

08:51AM   24        DON'T KNOW THE ANSWER TO THAT.

08:51AM   25                    MS. TREFZ:    NEITHER DO I, YOUR HONOR.



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08:51AM    1                    THE COURT:    AND MAYBE HE DOESN'T.    THAT WILL GUIDE

08:51AM    2        US AS TO THE WITNESSES TODAY AND WHO FOLLOWS.

08:51AM    3             SO, I DON'T KNOW, MR. LEACH, MAYBE YOU'RE IN THE BEST

08:51AM    4        POSITION TO TELL US IF YOU THINK THAT WE'LL GET TO THE TEXT

08:51AM    5        MESSAGES.

08:51AM    6                    MR. LEACH:    I THINK THERE'S AN OUTSIDE CHANCE LATER

08:51AM    7        IN THE DAY HE'LL BE CALLED.        IT REALLY DOES DEPEND ON THE CROSS

08:51AM    8        OF MS. GANGAKHEDKAR.      WE HAVE TWO RELATIVELY BRIEF WITNESSES

08:51AM    9        BEFORE THAT.

08:51AM   10             I'M PREPARED TO LIMIT IT TO THE MESSAGES THAT THE COURT

08:51AM   11        HAS SEEN BEFORE AND THE ONES THAT I THINK YOUR HONOR WILL BE

08:51AM   12        ABLE TO RULE IN THE MOMENT BASED ON WHAT YOU HEARD FROM MS. YAM

08:51AM   13        AND MS. CHEUNG.

08:51AM   14                    THE COURT:    THANK YOU FOR THAT.

08:51AM   15             SO MY SENSE IS THAT WE'LL START WITH THE WITNESS, OF

08:52AM   16        COURSE, WHO IS ON THE STAND NOW AND FINISH HER CROSS AND ANY

08:52AM   17        REDIRECT.

08:52AM   18             IT MAY BE THAT THAT WILL TAKE US TO A BREAK TIME, AND

08:52AM   19        YOU'LL HAVE TO TELL ME WHAT YOU SUGGEST FOR A BREAK THIS

08:52AM   20        MORNING, AND THEN MAYBE YOU CAN REASSESS WHERE THINGS ARE.

08:52AM   21                    MR. LEACH:    OKAY.

08:52AM   22                    THE COURT:    AND THEN IF YOU HAVE ADDITIONAL EMAILS

08:52AM   23        THAT YOU WISH TO SHARE WITH MS. TREFZ TO RESOLVE THIS ISSUE IF

08:52AM   24        YOU CAN, AND THAT WILL BE HELPFUL, TOO.       WE'LL TAKE A BREAK OF

08:52AM   25        ABOUT 45 MINUTES OR SOMETHING.       I DON'T MEAN TO DEPRIVE YOU OF



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08:52AM    1        NOURISHMENT, BUT THAT MAY BE A GOOD TIME TO DISCUSS SOME

08:52AM    2        THINGS.    I THINK WE CAN WORK IT OUT TODAY.

08:52AM    3             AND THEN THAT WILL GIVE YOU SOME TIME THIS AFTERNOON TO

08:52AM    4        LOOK AT IT, MS. TREFZ, AND WE CAN MEET AGAIN TOMORROW MORNING

08:52AM    5        IF WE NEED TO.

08:52AM    6                    MS. TREFZ:    OKAY.    THANK YOU, YOUR HONOR.

08:52AM    7                    MR. LEACH:    THANK YOU, YOUR HONOR.

08:52AM    8                    MS. TREFZ:    WE HAVE TWO MUCH SMALLER ISSUES, I

08:52AM    9        BELIEVE.

08:52AM   10                    THE COURT:    SURE.

08:52AM   11                    MS. TREFZ:    ONE IS ASIDE FROM MR. OFFEN, THE OTHER

08:52AM   12        TWO WITNESSES WHO ARE COMING TODAY, WE UNDERSTAND AFTER

08:52AM   13        MS. GANGAKHEDKAR ARE A PATIENT AND HER NURSE PRACTITIONER.

08:53AM   14             WITH RESPECT TO THOSE INDIVIDUALS, WE ASSUME THAT THE

08:53AM   15        GOVERNMENT INTENDS TO ABIDE BY THE RULING ON THE CUSTOMER

08:53AM   16        IMPACT IN THE MOTION IN LIMINE ORDER, BUT WE WONDERED IF THEY

08:53AM   17        COULD, YOU KNOW, TELL US WHETHER THEY'VE INSTRUCTED THE

08:53AM   18        WITNESSES NOT TO KIND OF VOLUNTEER, IN RESPONSE TO A QUESTION,

08:53AM   19        INFORMATION THAT IS BARRED UNDER THAT ORDER.

08:53AM   20             YOU KNOW, WE OBVIOUSLY SOUGHT THE ORDER IN ORDER TO AVOID

08:53AM   21        HAVING TO DO IT IN FRONT OF THE JURY.

08:53AM   22                    THE COURT:    SO LET ME ASK MR. LEACH IF HE INTENDS TO

08:53AM   23        FOLLOW THE COURT'S ORDER.

08:53AM   24                    MS. TREFZ:    I EXPECT THAT HE DOES, YOUR HONOR.

08:53AM   25             MY QUESTION WAS ABOUT THE WITNESS AND IF HIS WITNESSES



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08:53AM    1        ARE --

08:53AM    2                   THE COURT:    SURE.    MR. LEACH, CAN YOU HELP US OUT?

08:53AM    3                   MR. LEACH:    THE ANSWER IS YES.

08:53AM    4             IN ADDITION, YOUR HONOR, THE GOVERNMENT ADMONISHED BOTH

08:53AM    5        DR. ZACHMAN AND MS. GOULD ABOUT THE COURT'S ORDER.       WE'VE

08:54AM    6        ADMONISHED THEM ABOUT THE SUBSTANCE OF THE ORDER AND HAVE EVERY

08:54AM    7        REASON TO BELIEVE THAT THEY UNDERSTAND IT AND WILL ABIDE BY IT.

08:54AM    8                   THE COURT:    GREAT.   OKAY.

08:54AM    9                   MS. TREFZ:    THAT RESOLVES THAT.

08:54AM   10             AND THEN THE LAST ISSUE, YOUR HONOR, IS THAT WE UNDERSTAND

08:54AM   11        THAT TWO OF THE EXHIBITS THAT WERE DISCLOSED TO US LAST NIGHT

08:54AM   12        WITH RESPECT TO -- WE BELIEVE WITH RESPECT TO THE PATIENT ARE

08:54AM   13        TWO EXHIBITS THAT -- EXHIBITS 5262 AND 5263 WHICH WE BELIEVE

08:54AM   14        PRESENT ISSUES UNDER THE COURT'S ORDER WITH RESPECT TO VOIDED

08:54AM   15        TESTS.

08:54AM   16             THESE ARE CORRECTED TEST REPORTS THAT WERE PROVIDED TO THE

08:54AM   17        DOCTOR'S OFFICE IN 2016, YOU KNOW, IN CONNECTION WITH THE CMS

08:54AM   18        ACTIONS.

08:54AM   19             WE BELIEVE THAT THE COURT'S ORDER IN THE MOTION IN LIMINE

08:54AM   20        AND THAT RULE 407 WOULD BAR THOSE.

08:54AM   21             WE ALSO BELIEVE THAT THERE IS OTHER EVIDENCE TO WHICH WE

08:55AM   22        HAVE INDICATED NO OBJECTION THAT THEY CAN USE TO GET THE SAME

08:55AM   23        INFORMATION.

08:55AM   24                   MR. LEACH:    YOUR HONOR, IT WAS NOT OUR INTENTION TO

08:55AM   25        INTRODUCE VOIDED TEST RESULTS THROUGH THESE PARTICULAR



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08:55AM    1        WITNESSES.

08:55AM    2             I DO THINK THE ISSUE OF VOIDED TESTS IS GOING TO COME UP

08:55AM    3        AT A SUBSEQUENT POINT, BUT IT'S NOT OUR INTENTION TO INTRODUCE

08:55AM    4        THE FACT THAT CERTAIN TESTS WERE VOIDED THROUGH THESE TWO

08:55AM    5        WITNESSES.

08:55AM    6             I THINK THERE'S SOME POSSIBILITY THAT THE DOCUMENT MAY BE

08:55AM    7        NECESSARY TO REFRESH SOMEBODY'S RECOLLECTION, BUT WE CAN DO IT

08:55AM    8        IN A WAY THAT DOESN'T ELICIT THE FACT THAT TESTS WERE VOIDED AT

08:55AM    9        THE END OF THE DAY.

08:55AM   10             THIS IS GOING TO COME UP LATER ON I ANTICIPATE, BUT I

08:55AM   11        DON'T THINK IT'S AN ISSUE FOR TODAY.

08:55AM   12                     THE COURT:    OKAY.

08:56AM   13                     MS. TREFZ:    THAT SHOULD BE SUFFICIENT, YOUR HONOR.

08:56AM   14                     THE COURT:    GREAT.   ANYTHING FURTHER FROM YOUR SIDE,

08:56AM   15        MR. LEACH?

08:56AM   16                     MR. LEACH:    NO, YOUR HONOR, THANK YOU.

08:56AM   17                     THE COURT:    MS. TREFZ?

08:56AM   18                     MS. TREFZ:    NO.

08:56AM   19                     THE COURT:    WHAT TIME SHOULD WE BREAK THIS MORNING

08:56AM   20        FOR OUR BREAK?

08:56AM   21                     MS. TREFZ:    11:00 O'CLOCK.

08:56AM   22                     THE COURT:    ALL RIGHT.   IS THAT OKAY?

08:56AM   23                     MR. LEACH:    YES.

08:56AM   24                     THE COURT:    AND I'LL ASK OUR JURY IF WE CAN STAY

08:56AM   25        TOMORROW UNTIL 3:00, AND ALSO FRIDAY PERHAPS UNTIL 3:00 OR



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08:56AM    1        MAYBE LATER.   WE'LL SEE WHAT THEIR FEELING IS.

08:56AM    2             I KNOW I INQUIRED ABOUT STARTING EARLIER, AND I THINK ONE

08:56AM    3        OF OUR JURORS HAS A DAYCARE/CHILDCARE ISSUE THAT PRECLUDES

08:56AM    4        THAT, SO I DON'T THINK WE'LL BE ABLE TO START EARLIER THAN OUR

08:56AM    5        9:00 O'CLOCK START.     BUT WE CAN SEE IF WE CAN EXTEND THE DAY.

08:56AM    6                   MS. TREFZ:    THANK YOU, YOUR HONOR.

08:56AM    7                   MR. LEACH:    THANK YOU.

08:56AM    8                   THE CLERK:    COURT IS IN RECESS.

08:56AM    9             (RECESS FROM 8:56 A.M. UNTIL 9:04 A.M.)

09:04AM   10             (JURY IN AT 9:04 A.M.)

09:04AM   11                   THE COURT:    ALL RIGHT.   THANK YOU.   WE'RE BACK ON

09:04AM   12        THE RECORD IN UNITED STATES VERSUS ELIZABETH HOLMES.

09:04AM   13             ALL COUNSEL AND THE DEFENDANT IS PRESENT.      OUR JURY AND

09:04AM   14        ALTERNATE ARE PRESENT.

09:04AM   15             GOOD MORNING, LADIES AND GENTLEMEN.

09:04AM   16             BEFORE WE START AND BEFORE I INVITE THE WITNESS TO COME

09:04AM   17        FORWARD, LET ME JUST ASK YOU A QUESTION THAT I PROMISED YOU I

09:05AM   18        WOULD ASK YOU EACH TIME WE START.

09:05AM   19             DURING OUR BREAK, HAVE YOU OR ANY OF YOU -- DID ANY OF YOU

09:05AM   20        SEE, LISTEN, HEAR OR HAVE ANY ATTENTION DRAWN TO ANYTHING ABOUT

09:05AM   21        THIS CASE, EITHER IN MEDIA OR CONVERSATIONS OR OTHER TYPE OF

09:05AM   22        INFORMATION?   IF SO, IF YOU COULD PLEASE RAISE YOUR HAND SO I

09:05AM   23        COULD KNOW THAT.

09:05AM   24             I SEE NO HANDS.

09:05AM   25             ALL RIGHT.    THANK YOU VERY MUCH, LADIES AND GENTLEMEN.



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09:05AM    1             I'LL ASK THE WITNESS TO COME FORWARD, PLEASE.

09:05AM    2             GOOD MORNING, MS. GANGAKHEDKAR.

09:05AM    3             IF YOU COULD PLEASE TAKE THE STAND AGAIN AND MAKE YOURSELF

09:05AM    4        COMFORTABLE.   ADJUST THE MICROPHONE AS YOU NEED.      I'LL

09:06AM    5        ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

09:06AM    6             I'LL REMIND YOU YOU'RE STILL UNDER OATH.        IF YOU COULD

09:06AM    7        PLEASE STATE YOUR NAME.

09:06AM    8                    THE WITNESS:    SUREKHA GANGADKHEDKAR.

09:06AM    9             (GOVERNMENT'S WITNESS, SUREKHA GANGAKHEDKAR, WAS

09:06AM   10       PREVIOUSLY SWORN.)

09:06AM   11                    THE COURT:    THANK YOU VERY MUCH.

09:06AM   12             MR. WADE.

09:06AM   13                    MR. WADE:    THANK YOU, YOUR HONOR.

09:06AM   14                            CROSS-EXAMINATION (RESUMED)

09:06AM   15        BY MR. WADE:

09:06AM   16        Q.   GOOD MORNING, MS. GANGAKHEDKAR.

09:06AM   17        A.   GOOD MORNING.

09:06AM   18        Q.   I HAVE SOME ADDITIONAL QUESTIONS FOR YOU TODAY.

09:06AM   19             DO YOU STILL HAVE THE TWO BINDERS UP IN FRONT OF YOU ON

09:06AM   20        THE WITNESS STAND?

09:06AM   21        A.   YES, I DO.

09:06AM   22        Q.   I WANT TO STEP BACK A BIT TO WHEN YOU JOINED THE COMPANY.

09:06AM   23             I BELIEVE YOU TESTIFIED THAT YOU WERE RECRUITED BY

09:06AM   24        DR. IAN GIBBONS TO JOIN THE COMPANY; IS THAT CORRECT?

09:07AM   25        A.   YES.



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09:07AM    1        Q.   AND WHO IS DR. GIBBONS?     CAN YOU TELL US ABOUT HIM AND HIS

09:07AM    2        EXPERIENCE AT THAT TIME?

09:07AM    3        A.   SO DR. GIBBONS I BELIEVE WAS FUNCTIONING AS A DIRECTOR FOR

09:07AM    4        TECHNOLOGY AND ASSAY DEVELOPMENT.

09:07AM    5        Q.   AND DR. GIBBONS HAD A PH.D. IN BIOCHEMISTRY?

09:07AM    6        A.   I THINK SO.

09:07AM    7        Q.   AND HE HAD HELD NUMEROUS POSITIONS IN A LONG CAREER IN

09:07AM    8        WORKING IN SILICON VALLEY; IS THAT RIGHT?

09:07AM    9        A.   I THINK SO.

09:07AM   10        Q.   HE WAS SOMEONE YOU LOOKED UP TO?

09:07AM   11        A.   YES.

09:07AM   12        Q.   YOU FOCUSSED ON DEVELOPING ASSAYS FOR WORK WITH

09:07AM   13        PHARMACEUTICAL COMPANIES INITIALLY; CORRECT?

09:07AM   14        A.   YES.

09:07AM   15        Q.   AND WE TALKED ABOUT SOME OF THOSE LAST WEEK, YOU RECALL?

09:07AM   16        A.   YES.

09:07AM   17        Q.   AND THIS WAS ESSENTIALLY DEVELOPING ASSAYS FROM SCRATCH;

09:08AM   18        RIGHT?

09:08AM   19        A.   YES.

09:08AM   20        Q.   AND THEY WERE CUSTOMIZED FOR PARTICULAR CUSTOMERS FOR THE

09:08AM   21        MOST PART?

09:08AM   22        A.   YES.

09:08AM   23        Q.   AND THESE WERE TESTS THAT WERE DEVELOPED THAT REQUIRED

09:08AM   24        SIGNIFICANTLY SMALLER SAMPLES OF BLOOD THAN WAS TYPICAL AT THAT

09:08AM   25        TIME; IS THAT RIGHT?



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09:08AM    1        A.   YES.

09:08AM    2        Q.   AND I THINK WE SAW SOME OF THE SUCCESSES LAST WEEK.

09:08AM    3             DO YOU RECALL THAT?

09:08AM    4        A.   YES.

09:08AM    5        Q.   AND EVERYONE WAS WORKING HARD DURING THIS EARLY PERIOD OF

09:08AM    6        THE COMPANY?

09:08AM    7        A.   I BELIEVE SO.

09:08AM    8        Q.   AND YOU WERE WORKING HARD; RIGHT?

09:08AM    9        A.   YES.

09:08AM   10        Q.   MR. GIBBONS WAS WORKING HARD?

09:08AM   11        A.   YES.

09:08AM   12        Q.   AND MS. HOLMES WAS WORKING HARD?

09:08AM   13        A.   I THINK SO.

09:08AM   14        Q.   AND YOU WERE MAKING PROGRESS?

09:08AM   15        A.   YES.

09:08AM   16        Q.   AND ACCOMPLISHING THINGS ALONG THE WAY?

09:08AM   17        A.   I THINK SO.

09:08AM   18        Q.   AND WE SAW SOME OF THE ACCOMPLISHMENTS LAST WEEK.

09:09AM   19             BUT YOU WERE ALSO RECOGNIZED BY SOME OF THE LEADERS OF THE

09:09AM   20        COMPANY; RIGHT?

09:09AM   21        A.   YES.

09:09AM   22        Q.   LET ME SHOW YOU WHAT SHOULD BE IN YOUR BINDER AS

09:09AM   23        EXHIBIT 10492.

09:09AM   24             DO YOU HAVE THAT EMAIL IN FRONT OF YOU?

09:09AM   25        A.   I DO.



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09:09AM    1        Q.   AND IS THIS AN EMAIL THAT YOU RECEIVED WHILE YOU WERE

09:09AM    2        WORKING AT THE COMPANY?

09:09AM    3        A.   I THINK SO.

09:09AM    4        Q.   IT WAS A CONGRATULATORY EMAIL FROM MS. HOLMES; IS THAT

09:09AM    5        RIGHT?

09:09AM    6        A.   YES.

09:09AM    7        Q.   AS A RESULT OF SOME WORK THAT YOU HAD DONE ON AN ASSAY?

09:10AM    8        A.   YES.

09:10AM    9                     MR. WADE:    I MOVE THE ADMISSION OF EXHIBIT 10492.

09:10AM   10                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:10AM   11                     THE COURT:    IT'S ADMITTED AND MAY BE PUBLISHED.

09:10AM   12             (DEFENDANT'S EXHIBIT 10492 WAS RECEIVED IN EVIDENCE.)

09:10AM   13        BY MR. WADE:

09:10AM   14        Q.   AND THIS IS IN SEPTEMBER OF 2005?

09:10AM   15        A.   YES.

09:10AM   16        Q.   NOT LONG AFTER YOU JOINED THE COMPANY?

09:10AM   17        A.   CORRECT.

09:10AM   18        Q.   AND DO YOU RECALL WHAT PROGRESS THAT YOU HAD MADE THAT

09:10AM   19        GENERATED THIS EMAIL?

09:10AM   20        A.   I DON'T EXACTLY REMEMBER THE PROJECT, BUT IT COULD RELATE

09:10AM   21        TO SOME OF THE ASSAYS THAT WERE DEVELOPED IN HOUSE.

09:10AM   22        Q.   OKAY.    SOME OF THAT WORK THAT YOU WERE DOING WITH

09:10AM   23        DR. GIBBONS AND OTHERS?

09:10AM   24        A.   I THINK SO.

09:10AM   25        Q.   LET ME SHOW YOU EXHIBIT 10493.      DO YOU HAVE THAT EMAIL IN



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09:11AM    1        FRONT OF YOU?

09:11AM    2        A.   YES.

09:11AM    3        Q.   AND THIS IS AN EMAIL FROM FEBRUARY 2006?

09:11AM    4        A.   CORRECT.

09:11AM    5        Q.   AND DO YOU SEE YOUR INITIAL EMAIL RELATED TO THE

09:11AM    6        C-REACTIVE PROTEIN SERUM CORRELATION?

09:11AM    7        A.   YES.

09:11AM    8        Q.   AND YOU COMMUNICATED THAT TO MS. HOLMES?

09:11AM    9        A.   YES, I DID.

09:11AM   10                    MR. WADE:    I WOULD MOVE THE ADMISSION OF

09:11AM   11        EXHIBIT 10493, YOUR HONOR.

09:11AM   12                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:11AM   13                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:11AM   14             (DEFENDANT'S EXHIBIT 10493 WAS RECEIVED IN EVIDENCE.)

09:11AM   15        BY MR. WADE:

09:11AM   16        Q.   CAN YOU SEE THE EMAIL ON THE SCREEN NOW?

09:11AM   17        A.   YES.

09:11AM   18        Q.   THE BOTTOM EMAIL IS AN EMAIL WITH AN UPDATE THAT YOU SENT;

09:11AM   19        RIGHT?

09:11AM   20        A.   YES.

09:11AM   21        Q.   AND CAN YOU TELL US WHAT YOU HAD ACCOMPLISHED IN

09:12AM   22        CONNECTION WITH YOUR WORK HERE?

09:12AM   23        A.   SO I DEVELOPED AN ASSAY FOR C-REACTIVE PROTEIN.       THE ASSAY

09:12AM   24        CONDITIONS ARE SPECIFIED IN THE EMAIL.

09:12AM   25             SO WHAT WE ARE SAYING -- WHAT I AM SAYING IN THIS EMAIL IS



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09:12AM    1        I CONFIRMED THAT THE ASSAY THAT WAS DEVELOPED WAS THE -- THE

09:12AM    2        RESPONSE WAS CONFIRMED BY TESTING A SET OF CLINICAL SERUM ON

09:12AM    3        THE TEST THAT WAS DEVELOPED AGAINST A REFERENCE TEST.

09:12AM    4        Q.   AGAINST A REFERENCE TEST?

09:12AM    5        A.   YES.

09:12AM    6        Q.   AND YOU HAD COMPARED THE ASSAY YOU DEVELOPED AGAINST A

09:12AM    7        PREEXISTING ASSAY?

09:12AM    8        A.   YES.

09:12AM    9        Q.   AND THAT IT PERFORMED WELL?

09:12AM   10        A.   YES.

09:12AM   11        Q.   AND WERE YOU PROUD OF THAT WORK?

09:12AM   12        A.   YES.

09:12AM   13        Q.   AND OTHERS AT THE COMPANY WERE HAPPY ABOUT THAT WORK AS

09:12AM   14        WELL?

09:12AM   15        A.   I THINK SO.

09:12AM   16        Q.   OKAY.   DO YOU RECALL LAST WEEK, I THINK JUST BEFORE WE HAD

09:13AM   17        THE BREAK, WE STARTED TO TALK ABOUT HOW YOU HAD DONE SOME WORK

09:13AM   18        WITH CELGENE.

09:13AM   19             DO YOU RECALL THAT?

09:13AM   20        A.   YES.

09:13AM   21        Q.   AND YOU WERE INVOLVED IN DEVELOPING AN ASSAY FOR THERANOS

09:13AM   22        FOR THERANOS'S WORK FOR DEVELOPING AN ASSAY FOR CELGENE;

09:13AM   23        CORRECT?

09:13AM   24        A.   YES.

09:13AM   25        Q.   AND YOU WERE THE PRINCIPAL INVESTIGATOR ON THAT PROJECT?



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09:13AM    1        A.   YES.

09:13AM    2        Q.   AND THIS INVOLVED DEVELOPING A CUSTOM ASSAY FOR CELGENE;

09:13AM    3        CORRECT?

09:13AM    4        A.   YES.

09:13AM    5        Q.   AND IT WAS ONE THAT WOULD MEASURE A PARTICULAR COMPOUND

09:13AM    6        THAT CELGENE WAS LOOKING TO DEVELOP?

09:13AM    7        A.   YES.

09:13AM    8        Q.   AND SO THIS WAS SO ULTIMATELY THAT THEY COULD DEVELOP OR

09:13AM    9        USE THAT ASSAY IN A CLINICAL TRIAL?

09:13AM   10        A.   YES.

09:13AM   11        Q.   THE WORK THAT YOU DID WAS DOCUMENTED IN A WRITTEN REPORT;

09:14AM   12        IS THAT RIGHT?

09:14AM   13        A.   YES.

09:14AM   14        Q.   IF I COULD HAVE YOU LOOK AT EXHIBIT 9002.

09:14AM   15             DO YOU HAVE THAT IN FRONT OF YOU?

09:14AM   16        A.   I DO.

09:14AM   17        Q.   AND WHAT IS THIS DOCUMENT?

09:14AM   18        A.   SO BASICALLY THIS IS A REPORT OF THE STUDY THAT WAS

09:14AM   19        CONDUCTED.

09:14AM   20        Q.   THE VALIDATION REPORT?

09:14AM   21        A.   YES.

09:14AM   22                     MR. WADE:    I WOULD MOVE THE ADMISSION OF 9002,

09:14AM   23        YOUR HONOR.

09:14AM   24                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:14AM   25                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.



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09:14AM    1             (DEFENDANT'S EXHIBIT 9002 WAS RECEIVED IN EVIDENCE.)

09:15AM    2        BY MR. WADE:

09:15AM    3        Q.   AND THIS IS THE COVER PAGE OF THE REPORT?

09:15AM    4        A.   I THINK SO.

09:15AM    5        Q.   AND IT IDENTIFIES YOU AS THE PRINCIPAL INVESTIGATOR?

09:15AM    6        A.   YES.

09:15AM    7        Q.   AND IT SHOWS THE DATE OF THAT WORK AS STARTING ON

09:15AM    8        DECEMBER 13TH OF 2010?

09:15AM    9        A.   YES.

09:15AM   10        Q.   I'D LIKE TO DRAW YOUR ATTENTION TO PAGE 8150 AT THE

09:15AM   11        BOTTOM, NUMBER ENDING 8150, AND DRAW YOUR ATTENTION TO THE TOP

09:15AM   12        THERE.

09:15AM   13             THIS WAS THE ELISA -- THIS IS A DESCRIPTION OF THE ELISA

09:15AM   14        ASSAY THAT YOU HAD DEVELOPED FOR CELGENE?

09:15AM   15        A.   YES.

09:16AM   16        Q.   USING SMALL SAMPLES OF BLOOD?

09:16AM   17        A.   YES.

09:16AM   18        Q.   AND IF I COULD BRING YOU TO 8203.

09:16AM   19             THIS IS THE PORTION OF THE DOCUMENT THAT SET FORTH THE

09:16AM   20        PROTOCOL THAT WAS USED; IS THAT RIGHT?

09:16AM   21        A.   YES.

09:16AM   22        Q.   AND THAT PROTOCOL DEFINES THE WORK THAT IS TO BE

09:16AM   23        COMPLETED?

09:16AM   24        A.   YES.

09:16AM   25        Q.   AND THIS WAS A METHOD VALIDATION PROTOCOL; CORRECT?



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09:16AM    1        A.   YES.

09:16AM    2        Q.   AND THE METHOD INVOLVED USING THERANOS'S 3.0 DEVICE?

09:16AM    3        A.   YES.

09:16AM    4        Q.   THIS IS WHAT YOU FOLLOWED IN CONDUCTING THE VALIDATION?

09:17AM    5        A.   YES.

09:17AM    6        Q.   AND IF WE JUST GO BACK.

09:17AM    7             THAT PROTOCOL ON 8205, THAT PROTOCOL WAS APPROVED;

09:17AM    8        CORRECT?

09:17AM    9        A.   YES.

09:17AM   10        Q.   AND IT WAS APPROVED BY MEMBERS OF THERANOS?

09:17AM   11        A.   YES.

09:17AM   12        Q.   AND INCLUDING YOU AND MR. FRENZEL; CORRECT?

09:17AM   13        A.   YES.

09:17AM   14        Q.   AND IS IT DR. VU?

09:17AM   15        A.   I THINK IT'S DON VU.

09:17AM   16        Q.   DON VU, MR. VU?

09:17AM   17        A.   YES.

09:17AM   18        Q.   AND THERE'S A PERSON FROM CELGENE WHO APPROVED THIS METHOD

09:17AM   19        VALIDATION; CORRECT?

09:17AM   20        A.   YES.

09:17AM   21        Q.   AND WHO IS THAT?

09:17AM   22        A.   HE'S DR. PETER BRYAN.

09:17AM   23        Q.   AND WHO IS HE?

09:17AM   24        A.   SO HE WAS THE STUDY SPONSOR.

09:18AM   25        Q.   AT CELGENE?



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09:18AM    1        A.   YES.

09:18AM    2        Q.   OKAY.   AND IF WE CAN GO TO -- I'M GOING TO GO BACK TO PAGE

09:18AM    3        8145.

09:18AM    4             THIS IS THE GLP COMPLIANCE STATEMENT; IS THAT RIGHT?

09:18AM    5        A.   YES.

09:18AM    6        Q.   AND THIS WAS THE CERTIFICATION THAT THERANOS'S WORK WAS

09:18AM    7        DONE IN COMPLIANCE WITH THE RULES AND GUIDANCE FROM THE FDA?

09:18AM    8        A.   YES.

09:18AM    9        Q.   GOOD LABORATORY PRACTICE REGULATIONS?

09:18AM   10        A.   YES.

09:18AM   11        Q.   THAT'S WHAT GLP STANDS FOR?

09:18AM   12        A.   YES.

09:18AM   13        Q.   OKAY.   AND THIS IS FDA GUIDANCE FOR THE INDUSTRY; CORRECT?

09:18AM   14        A.   YES.

09:18AM   15        Q.   AND YOU SIGNED THIS PAGE?

09:18AM   16        A.   YES.

09:18AM   17        Q.   BECAUSE YOU COMPLIED WITH THOSE STANDARDS; CORRECT?

09:18AM   18        A.   YES.

09:18AM   19        Q.   AND IF I CAN BRING YOU TO THE NEXT PAGE WHERE IT SAYS

09:19AM   20        QUALITY ASSURANCE STATEMENT.

09:19AM   21             DO YOU SEE THAT?

09:19AM   22        A.   YES.

09:19AM   23        Q.   AND STEPS WERE MADE TO ENSURE THE QUALITY OF THIS AS WELL;

09:19AM   24        IS THAT CORRECT?

09:19AM   25        A.   YES.



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09:19AM    1        Q.   AND THERE ARE MULTIPLE SIGNOFFS IN CONNECTION WITH THE

09:19AM    2        QUALITY ASSURANCE?

09:19AM    3        A.   YES.

09:19AM    4        Q.   AND THERE ARE TWO INDIVIDUALS IDENTIFIED THERE AS

09:19AM    5        CERTIFYING TO THAT.

09:19AM    6             DO YOU KNOW WHO THOSE INDIVIDUALS ARE?

09:19AM    7        A.   SO THEY WERE IN EITHER THE QUALITY DEPARTMENT OR THE

09:19AM    8        MANUFACTURING DEPARTMENT.

09:19AM    9        Q.   OKAY.    AND AT THERANOS?

09:19AM   10        A.   YES.

09:19AM   11        Q.   AND THEY HAD TO CERTIFY THAT THEY HAD MET THE QUALITY

09:19AM   12        ASSURANCE STANDARDS?

09:19AM   13        A.   YES.

09:19AM   14        Q.   IF I CAN DRAW YOUR ATTENTION TO THE PAGE MARKED 8156 AT

09:20AM   15        THE BOTTOM.    AND WITHIN -- DO YOU SEE THE SECTION 14.2, THE

09:20AM   16        METHOD ACCEPTANCE?

09:20AM   17        A.   YES.

09:20AM   18        Q.   AND I'D LIKE TO DRAW YOUR ATTENTION TO THE SECOND

09:20AM   19        PARAGRAPH IN THAT SECTION, THE INTRA-DAY ACCURACY AND

09:20AM   20        PRECISION.

09:20AM   21             DO YOU SEE THAT?

09:20AM   22        A.   YES.

09:20AM   23        Q.   AND THE LAST SENTENCE HERE DESCRIBES HOW NO MORE THAN ONE

09:20AM   24        QC OUTLIER MAY BE EXCLUDED FROM THE STATISTICAL CALCULATIONS

09:20AM   25        FOR A GIVEN VALIDATION RUN, AND A MAXIMUM OF 2 QC OUTLIERS MAY



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09:20AM    1        BE EXCLUDED FROM THE COMBINATION -- FROM THE COMBINED THREE

09:21AM    2        CORE RUNS.

09:21AM    3             DO YOU SEE THAT?

09:21AM    4        A.   YES.

09:21AM    5        Q.   AND THIS SET FORTH AN APPROPRIATE STANDARD FOR OUTLIER

09:21AM    6        REMOVAL?

09:21AM    7        A.   YES.

09:21AM    8        Q.   AND THAT'S ACCORDING TO THE DIXON TEST?

09:21AM    9        A.   YES.

09:21AM   10        Q.   AND THAT WAS A RECOGNIZED PRINCIPLE THAT WAS USED IN

09:21AM   11        LABORATORY SCIENCE; CORRECT?

09:21AM   12        A.   I THINK SO.

09:21AM   13        Q.   AND THERE ARE SOME OTHER OUTLIER PRINCIPLES THAT ARE USED

09:21AM   14        WITHIN LABORATORY SCIENCE AS WELL; CORRECT?

09:21AM   15        A.   YES.

09:21AM   16        Q.   AND IF I COULD DRAW YOUR ATTENTION TO THE NEXT PAGE,

09:21AM   17        PAGE 19.    THERE'S ANOTHER SECTION THIS TIME ON INTER-DAY

09:21AM   18        ACCURACY AND PRECISION.

09:21AM   19             DO YOU SEE THAT?

09:21AM   20        A.   YES.

09:21AM   21        Q.   AND THE LAST SECTION WAS ON INTRA-DAY ACCURACY AND

09:21AM   22        PRECISION; RIGHT?

09:21AM   23        A.   YES.

09:21AM   24        Q.   AND THIS, TOO, DISCUSSES THE APPLICATION OF OUTLIER

09:22AM   25        REMOVAL PRINCIPLES?



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09:22AM    1        A.   YES.

09:22AM    2        Q.   UNDER THE DIXON TEST?     YES?

09:22AM    3        A.   YES.

09:22AM    4        Q.   AND IF WE CAN GO TO 8152.

09:22AM    5             THIS IS THE CONCLUSION OF THE REPORT?

09:22AM    6        A.   YES.

09:22AM    7        Q.   AND YOU DETERMINED THAT THE ELISA METHOD WAS VALIDATED?

09:22AM    8        A.   YES.

09:22AM    9        Q.   AND THAT THE METHOD WAS SENSITIVE, SELECTIVE, ACCURATE,

09:22AM   10        AND REPRODUCIBLE?

09:23AM   11        A.   YES.

09:23AM   12        Q.   AND JUST ONE LAST REFERENCE ON PAGE 8194.

09:23AM   13             THIS IS WHERE YOU AND MR. FRENZEL SIGNED OFF ON THIS

09:23AM   14        VALIDATION REPORT; CORRECT?

09:23AM   15        A.   YES.

09:23AM   16        Q.   AND THIS DOCUMENT WAS SHARED WITH CELGENE?

09:23AM   17        A.   I THINK SO.

09:23AM   18        Q.   LET'S LOOK AT EXHIBIT 10500.

09:23AM   19             DO YOU HAVE THAT IN FRONT OF YOU?

09:24AM   20        A.   CAN YOU REPEAT THE NUMBER, PLEASE?

09:24AM   21        Q.   SURE.   IT'S 10500, 10,500?

09:24AM   22        A.   YES.

09:24AM   23        Q.   AND IS THIS AN EMAIL THAT TRANSMITTED THAT REPORT TO

09:24AM   24        CELGENE?

09:24AM   25        A.   I THINK SO.



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09:24AM    1        Q.   AND YOU'RE ON THIS EMAIL?

09:24AM    2        A.   YES.

09:24AM    3        Q.   OKAY.

09:24AM    4             I WOULD MOVE THE ADMISSION OF 10500.

09:24AM    5                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:24AM    6                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:24AM    7             (DEFENDANT'S EXHIBIT 10500 WAS RECEIVED IN EVIDENCE.)

09:25AM    8        BY MR. WADE:

09:25AM    9        Q.   THIS EMAIL IS SENT BY DR. GADKAR?

09:25AM   10        A.   YES.

09:25AM   11        Q.   AND I'M SORRY.       GADKAR.

09:25AM   12             WHO IS DR. GADKAR?

09:25AM   13        A.   HE WAS THE PROJECT MANAGER FOR THIS PROJECT.

09:25AM   14        Q.   AND HE SENDS THIS TO MR. -- TO DR. BRYAN; IS THAT RIGHT?

09:25AM   15        A.   YES.

09:25AM   16        Q.   AND THIS IS THE MEANS BY WHICH THIS WAS COMMUNICATED TO

09:25AM   17        CELGENE; CORRECT?

09:25AM   18        A.   CORRECT.

09:25AM   19        Q.   AND IF WE JUST GO TO 2470, WHICH IS NEAR THE END.

09:26AM   20             THIS REPORT WAS SIGNED OFF ON BY YOU AS THE STUDY

09:26AM   21        DIRECTOR; RIGHT?

09:26AM   22        A.   YES.

09:26AM   23        Q.   AND BY THE COMPANY AS WELL?

09:26AM   24        A.   YEAH.

09:26AM   25        Q.   AND IF I COULD DRAW YOUR ATTENTION TO 13763.



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09:26AM    1             ACTUALLY, YOU RECALL THAT THE COMPANY ACKNOWLEDGED RECEIPT

09:26AM    2        OF THIS REPORT; IS THAT RIGHT?

09:26AM    3        A.   I THINK SO.

09:26AM    4        Q.   YEAH.    WE CAN SKIP THAT EXHIBIT THEN.

09:26AM    5             I WANT TO ASK YOU ABOUT SOME WORK FOR ANOTHER

09:26AM    6        PHARMACEUTICAL COMPANY.

09:26AM    7             DO YOU RECALL THAT YOU WORKED ON A PROJECT FOR CENTOCOR?

09:27AM    8        A.   YES.

09:27AM    9        Q.   AND WHAT WAS THAT PROJECT?

09:27AM   10        A.   SO WE HAD TO DEVELOP ASSAYS FOR A CENTOCOR PRODUCT, AS

09:27AM   11        WELL AS OTHER BIOMARKERS, THAT WOULD BE AS PER THEIR

09:27AM   12        RECOMMENDATIONS.

09:27AM   13        Q.   OKAY.    AND YOU WERE TO DEVELOP AND VALIDATE AN ASSAY FOR

09:27AM   14        THEM?

09:27AM   15        A.   YES.

09:27AM   16        Q.   AND YOU DOCUMENTED THAT IN A WRITTEN REPORT?

09:27AM   17        A.   YES.

09:27AM   18        Q.   AND LET'S TAKE A LOOK AT 9110.

09:27AM   19             DO YOU RECOGNIZE THIS DOCUMENT?

09:27AM   20        A.   YES.

09:27AM   21        Q.   AND WHAT IS THIS DOCUMENT?

09:27AM   22        A.   SO THIS IS MY SUMMARY OF THE ASSAY DEVELOPMENT THAT WAS

09:28AM   23        CONDUCTED FOR THE PRODUCT FROM CENTOCOR.

09:28AM   24                     MR. WADE:    I WOULD MOVE THE ADMISSION OF 9110.

09:28AM   25                     MR. LEACH:    NO OBJECTION, YOUR HONOR.



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09:28AM    1                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:28AM    2             (DEFENDANT'S EXHIBIT 9110 WAS RECEIVED IN EVIDENCE.)

09:28AM    3        BY MR. WADE:

09:28AM    4        Q.   WE'RE LOOKING AT 9110; CORRECT?

09:28AM    5        A.   YES.

09:28AM    6        Q.   AND DO YOU HAVE THAT IN FRONT OF YOU?

09:28AM    7        A.   YES.

09:28AM    8        Q.   AND THIS IDENTIFIES YOU AS THE DEVELOPER OF THAT ASSAY?

09:28AM    9        A.   CORRECT.

09:28AM   10        Q.   AND IT SET FORTH THE BACKGROUND ON THE ANALYTE?

09:29AM   11        A.   YES.

09:29AM   12        Q.   AND THE SPECIFICATIONS THAT YOU WERE GOING TO USE IN DOING

09:29AM   13        THAT WORK?

09:29AM   14        A.   YES.

09:29AM   15        Q.   AND THIS IS ANOTHER CUSTOMIZED ASSAY THAT YOU DESIGNED FOR

09:29AM   16        CENTOCOR?

09:29AM   17        A.   YES.

09:29AM   18        Q.   AND THIS WAS TO MEASURE A NEW ASTHMA DRUG THAT CENTOCOR

09:29AM   19        HAD DEVELOPED; CORRECT?

09:29AM   20        A.   CORRECT.

09:29AM   21        Q.   A TEST THAT THEY COULD THEN USE IN FUTURE CLINICAL TRIALS;

09:29AM   22        RIGHT?

09:29AM   23        A.   YES.

09:29AM   24        Q.   LET'S GO TO PAGE 10, SECTION 14.

09:30AM   25             DO YOU SEE WHERE IT DISCUSS MATRIX EFFECT?



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09:30AM    1        A.   YES.

09:30AM    2        Q.   AND WHAT IS MATRIX EFFECT?

09:30AM    3        A.   ESSENTIALLY LOOKING AT THE IMPACT ON THE ASSAY OF

09:30AM    4        DIFFERENT MATRIXES LIKE HEMOLYZED BLOOD, LIPEMIC PLASMA, AND

09:30AM    5        SERUM.

09:30AM    6        Q.   AND MATRIXES ARE DIFFERENT THINGS THAT ARE WITHIN THE

09:30AM    7        BLOOD?

09:30AM    8        A.   YES.

09:30AM    9        Q.   AND SOMETIMES THOSE MATERIALS CAN AFFECT THE PERFORMANCE

09:30AM   10        OF THE ASSAY?

09:30AM   11        A.   YES, THEY CAN.

09:30AM   12        Q.   AND SO YOU HAVE TO ASSESS THAT IN ORDER TO MAKE SURE THAT

09:30AM   13        THE ASSAY FUNCTIONS PROPERLY?

09:30AM   14        A.   YES.

09:30AM   15        Q.   AND THAT IT PERFORMS CORRECTLY?

09:30AM   16        A.   YES.

09:30AM   17        Q.   IF WE CAN GO TO 9251, SECTION 17.

09:31AM   18             DO YOU SEE THAT?

09:31AM   19        A.   YES.

09:31AM   20        Q.   AND THIS SECTION IS ENTITLED OPTIMIZING FOR SAMPLE

09:31AM   21        DILUTIONS ON THERANOS READER?

09:31AM   22        A.   YES.

09:31AM   23        Q.   AND IN THE COURSE OF DEVELOPING THIS ASSAY, YOU TESTED

09:31AM   24        VARIOUS DILUTION LEVELS IN ORDER TO OPTIMIZE THE ASSAYS;

09:31AM   25        CORRECT?



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09:31AM    1        A.   SO ESSENTIALLY BECAUSE THE RANGE OF THE TARGET WAS REALLY

09:31AM    2        WIDE, WHAT WE HAD REALIZED IS THE ASSAY DID REQUIRE TWO

09:31AM    3        SEPARATE DILUTIONS TO FUNCTION, TO COVER BOTH ENDS OF THE ASSAY

09:31AM    4        RANGE.

09:31AM    5        Q.   AND SO TO ASCERTAIN THAT, YOU ACTUALLY TESTED MULTIPLE

09:31AM    6        DIFFERENT DILUTION LEVELS; CORRECT?

09:32AM    7        A.   YES.

09:32AM    8        Q.   AND THAT'S A STANDARD PRACTICE IN YOUR WORK?

09:32AM    9        A.   IT IS.

09:32AM   10        Q.   AND IN THIS CASE YOU ASSESSED DILUTION BETWEEN 40X AND

09:32AM   11        4000X; IS THAT CORRECT?

09:32AM   12        A.   YES.

09:32AM   13        Q.   AND BY THAT YOU MEAN DILUTED 40 TIMES OR 4000 TIMES THE

09:32AM   14        ORIGINAL DILUTED MATERIAL?

09:32AM   15        A.   YES.

09:32AM   16        Q.   AND WHAT WAS THE OPTIMIZED DILUTION PERFORMANCE LEVEL?

09:32AM   17        A.   SO I'M SUMMARIZING HERE THAT THE FINALIZED INSTRUMENT

09:32AM   18        PROTOCOL USES A 2 DILUTION SCHEME, 20 AND 8000X.

09:32AM   19        Q.   SO YOU ACTUALLY ENDED UP USING 8,000 TIMES DILUTION IN THE

09:32AM   20        FINAL?

09:32AM   21        A.   YES.

09:32AM   22        Q.   AND IF WE CAN GO TO PAGE ENDING 9257.

09:33AM   23             UP AT THE TOP, DO YOU SEE WHERE IT SAYS ASSAY VALIDATION?

09:33AM   24        A.   YES.

09:33AM   25        Q.   AND THE TEXT OF THIS CONFIRMS THAT THE ASSAY WAS



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09:33AM    1        VALIDATED?

09:33AM    2        A.   I THINK SO.

09:33AM    3        Q.   AND THAT CENTOCOR WAS INVOLVED IN THE PROCESS; CORRECT?

09:33AM    4        A.   YES.

09:33AM    5        Q.   I DON'T HAVE ANY MORE QUESTIONS ABOUT THAT DOCUMENT.

09:34AM    6             I WANT TO FOCUS BEYOND THE WORK ON PHARMACEUTICAL ASSAY

09:34AM    7        DEVELOPMENT AND SOME OF THE OTHER IMMUNOASSAY R&D WORK THAT

09:34AM    8        YOUR TEAM COMPLETED.

09:34AM    9        A.   OKAY.

09:34AM   10        Q.   THE TEAM COMPLETED WORK ON A LARGE NUMBER OF IMMUNOASSAYS

09:34AM   11        THAT IT DEVELOPED FROM SCRATCH; CORRECT?

09:34AM   12        A.   YES.

09:34AM   13        Q.   AND PART OF WHAT YOU WERE WORKING ON WITH THOSE ASSAYS WAS

09:34AM   14        THE ABILITY TO USE A MUCH SMALLER SAMPLE?

09:34AM   15        A.   YES.

09:34AM   16        Q.   THAT WAS THE FUNDAMENTAL GOAL?

09:34AM   17        A.   YEAH.

09:34AM   18        Q.   AND PART OF YOUR WORK WAS ALSO DESIGNED TO DEVELOP ASSAYS

09:34AM   19        THAT COULD RUN MORE QUICKLY; RIGHT?

09:34AM   20        A.   YES.

09:34AM   21        Q.   AND THOSE WERE TWO SIGNIFICANT ADVANCEMENTS; RIGHT?

09:34AM   22        A.   YES.

09:34AM   23        Q.   AND YOU HAD SUCCESS ON BOTH FRONTS?

09:34AM   24        A.   WE DID.

09:34AM   25        Q.   NOW, DEVELOPING ASSAYS WAS HARD WORK; RIGHT?



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09:35AM    1        A.   IT IS.

09:35AM    2        Q.   IT TAKES A LONG TIME TO DEVELOP A SINGLE ASSAY?

09:35AM    3        A.   YES.

09:35AM    4        Q.   AND ABOUT HOW LONG WOULD YOU SAY IT TAKES TO DEVELOP A

09:35AM    5        SINGLE ASSAY?

09:35AM    6        A.   SOME CAN BE DEVELOPED IN THREE MONTHS.        SOME CAN TAKE A

09:35AM    7        YEAR OR MORE.

09:35AM    8        Q.   OKAY.    AND THERE WAS A TEAM OF PEOPLE WORKING ON THIS?

09:35AM    9        A.   YES.

09:35AM   10        Q.   AFTER THE INITIAL WORK OF DEVELOPING THE ASSAYS WITH THE

09:35AM   11        PHARMACEUTICAL COMPANIES, THERE WAS A SHIFT IN FOCUS; RIGHT?

09:35AM   12        A.   YES.

09:35AM   13        Q.   AND THE FOCUS BEGAN TO BE DEVELOPING ASSAYS THAT WERE THE

09:35AM   14        MOST COMMONLY ORDERED TESTS; CORRECT?

09:35AM   15        A.   YES.

09:35AM   16        Q.   AND THAT STARTED IN AROUND 2009?

09:35AM   17        A.   I WOULD -- I THINK SO.

09:35AM   18        Q.   AND THAT WAS PART OF AN EFFORT TO DEVELOP ASSAYS FOR

09:35AM   19        THERANOS'S RETAIL PARTNERSHIPS; RIGHT?

09:36AM   20        A.   YES.

09:36AM   21        Q.   AND JUST SO WE CAN HAVE A SENSE OF IMMUNOASSAYS, THERE ARE

09:36AM   22        HUNDREDS OF IMMUNOASSAYS; RIGHT?

09:36AM   23        A.   YES.

09:36AM   24        Q.   ARE THERE A THOUSAND IMMUNOASSAYS?

09:36AM   25        A.   SEVERAL HUNDRED, YES.



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09:36AM    1        Q.   AND YOUR TEAM DIDN'T NEED TO DEVELOP EACH AND EVERY ASSAY;

09:36AM    2        RIGHT?

09:36AM    3        A.   SO WE HAD A PRIORITY LIST, SO WE WERE DEVELOPING ALONG THE

09:36AM    4        LIST THAT WAS PROVIDED TO US.

09:36AM    5        Q.   AND THE PRIORITY LIST WAS BASED ON THE MOST FREQUENTLY

09:36AM    6        ORDERED ASSAYS?

09:36AM    7        A.   I THINK SO.

09:36AM    8        Q.   AND THERE ARE SOME ASSAYS THAT ARE ALMOST NEVER ORDERED;

09:36AM    9        RIGHT?

09:36AM   10        A.   YES.

09:36AM   11        Q.   BUT THERE'S A SMALLER SUBSET OF ASSAYS THAT ARE THE MOST

09:36AM   12        COMMONLY ORDERED AND USED IN TRADITIONAL MEDICAL SETTINGS?

09:36AM   13        A.   I THINK SO.

09:36AM   14        Q.   AND THAT'S WHERE YOUR WORK WAS FOCUSSED?

09:37AM   15        A.   YES.

09:37AM   16        Q.   AND THE GOAL WAS TO COVER TESTS THAT WOULD COVER

09:37AM   17        APPROXIMATELY 95 TO 98 PERCENT OF THE RETAIL ORDERS.

09:37AM   18             DO YOU RECALL THAT?

09:37AM   19        A.   YES.

09:37AM   20        Q.   AND YOU TRACKED THOSE 95 TO 98 PERCENT ASSAYS?

09:37AM   21        A.   I'M SORRY, WHAT DO YOU MEAN BY "TRACKED"?

09:37AM   22        Q.   YOU PRIORITIZED THE DEVELOPMENT OF THE 95 TO 98 PERCENT

09:37AM   23        ASSAYS?

09:37AM   24        A.   YES.

09:37AM   25        Q.   AND THEN YOU TRACKED THE DEVELOPMENT OF THEM OVER TIME?



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09:37AM    1        A.   YES.

09:37AM    2        Q.   AND WE'LL GO THROUGH SOME OF THEM.

09:37AM    3             IF I COULD CALL YOUR ATTENTION TO EXHIBIT 10496.

09:38AM    4             THIS IS AN EMAIL CHAIN BETWEEN YOU AND MS. HOLMES?

09:38AM    5        A.   YES.

09:38AM    6        Q.   FROM JANUARY OF 2011?

09:38AM    7        A.   YES.

09:38AM    8        Q.   AND I BELIEVE YOU TESTIFIED BEFORE, BUT THE RESEARCH AND

09:38AM    9        DEVELOPMENT WORK WAS SOMETHING THAT MS. HOLMES CARED A LOT

09:38AM   10        ABOUT; RIGHT?

09:38AM   11        A.   YES.

09:38AM   12        Q.   AND SHE WAS FOCUSSED ON THIS WORK?

09:38AM   13        A.   I THINK SO.

09:38AM   14        Q.   AND THIS IS AN EMAIL EXCHANGE BETWEEN THE TWO OF YOU

09:38AM   15        DISCUSSING A PLAN FOR THE DEVELOPMENT OF ASSAYS; IS THAT RIGHT?

09:38AM   16        A.   YES.

09:38AM   17                    MR. WADE:    I WOULD MOVE THE ADMISSION OF

09:38AM   18        EXHIBIT 10496.

09:38AM   19                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:38AM   20                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:38AM   21             (DEFENDANT'S EXHIBIT 10496 WAS RECEIVED IN EVIDENCE.)

09:38AM   22        BY MR. WADE:

09:38AM   23        Q.   AND IF WE START WITH THAT BOTTOM EMAIL.

09:39AM   24             DO YOU SEE IT SAYS, "DANIEL WILL BE SENDING THE LIST OF

09:39AM   25        ELISA ASSAYS FOR OUR INITIAL ROUTINE TESTING CARTRIDGE?"



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09:39AM    1             DO YOU SEE THAT?

09:39AM    2        A.   YES.

09:39AM    3        Q.   AND THIS WAS AN INDICATION THAT DR. YOUNG WAS GOING TO

09:39AM    4        WORK TO PRIORITIZE THE ASSAYS?

09:39AM    5        A.   YES.

09:39AM    6        Q.   AND HE HAD A STATISTICAL BACKGROUND?

09:39AM    7        A.   HE DID.

09:39AM    8        Q.   AND HE WAS DOING AN ANALYSIS OF THE MOST FREQUENTLY

09:39AM    9        ORDERED TESTS?

09:39AM   10        A.   YES.

09:39AM   11        Q.   AND THAT WAS GUIDING MUCH OF THE WORK?

09:39AM   12        A.   YES.

09:39AM   13        Q.   AND IT SAYS IN THE THIRD FULL PARAGRAPH, "WE NEED TO

09:39AM   14        DEVELOP A PROJECT PLAN FOR THE DEVELOPMENT TIMELINES OF THESE

09:39AM   15        ASSAYS."

09:39AM   16             DO YOU SEE THAT?

09:39AM   17        A.   YES.

09:39AM   18        Q.   AND ULTIMATELY YOU DID DEVELOP THAT PLAN?

09:39AM   19        A.   YEAH.

09:39AM   20        Q.   AND THEN ON THE BOTTOM IT SAYS, LAST PARAGRAPH, IT SAYS,

09:40AM   21        "WHEN WE MEET, I ALSO WANT TO CONNECT ON THE RECRUITING PLAN

09:40AM   22        AND TIMELINES FOR GETTING MORE ELISA TEAM MEMBERS IN HOUSE."

09:40AM   23             DO YOU SEE THAT?

09:40AM   24        A.   YES.

09:40AM   25        Q.   AND THERE WAS A GOAL -- THERE WAS WORK TO STAFF UP THE R&D



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09:40AM    1        TEAMS ON ASSAY DEVELOPMENT?

09:40AM    2        A.   YES.

09:40AM    3        Q.   AND, IN FACT, IF YOU LOOK UP AT THE TOP EMAIL, IN THIS

09:40AM    4        EMAIL MS. HOLMES ACTUALLY RESPONDS TO HERSELF TO MAKE ANOTHER

09:40AM    5        POINT.

09:40AM    6             DO YOU SEE THAT?

09:40AM    7        A.   YES.

09:40AM    8        Q.   AND SHE SAYS THAT YOU SHOULD ASSUME THAT YOU HAVE AT LEAST

09:40AM    9        ANOTHER 8 TO 15 PEOPLE ON THE TEAM WORKING ON THAT?

09:40AM   10        A.   YES.

09:40AM   11        Q.   AND ULTIMATELY YOU HAD A BIG TEAM WORKING ON THE

09:40AM   12        DEVELOPMENT; RIGHT?

09:40AM   13        A.   I DID.

09:41AM   14        Q.   LET ME TURN YOUR ATTENTION TO 7215.

09:41AM   15             DO YOU HAVE THAT IN FRONT OF YOU, MA'AM?

09:41AM   16        A.   YES, I DO.

09:41AM   17        Q.   AND AS PART OF THE PRIORITY THAT WAS PUT ON ASSAY

09:41AM   18        DEVELOPMENT, YOU SERVED TO HOLD REGULAR TEAM MEETINGS TO

09:41AM   19        DISCUSS ASSAY DEVELOPMENT.

09:41AM   20             DO YOU RECALL THAT?

09:41AM   21        A.   YES.    SO BASICALLY THIS IS SHARING THE UPDATE OR THE

09:41AM   22        PROGRESS ON THE ASSAYS THAT WERE BEING DEVELOPED WITH THE

09:41AM   23        LARGER TEAM, INCLUDING OTHER MEMBERS OF THE ORGANIZATION.

09:42AM   24        Q.   OKAY.    AND THIS IS -- YOU'RE REFERRING TO 7215?

09:42AM   25        A.   YES.



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09:42AM    1                    MR. WADE:    I WOULD MOVE THE ADMISSION OF THAT,

09:42AM    2        YOUR HONOR.

09:42AM    3                    MR. LEACH:    NO OBJECTION.

09:42AM    4                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:42AM    5             (DEFENDANT'S EXHIBIT 07215 WAS RECEIVED IN EVIDENCE.)

09:42AM    6        BY MR. WADE:

09:42AM    7        Q.   THIS IS AN OUTLOOK INVITE FOR A MEETING; RIGHT?

09:42AM    8        A.   YES.

09:42AM    9        Q.   AND THIS IS THE MEETING WHERE YOU DISCUSSED YOU WOULD

09:42AM   10        SHARE THE RESULTS OF YOUR WORK WITH OTHER MEMBERS OF THE TEAM?

09:42AM   11        A.   YES.

09:42AM   12        Q.   AND DR. PANGARKAR WAS INVITED?

09:42AM   13        A.   YES.

09:42AM   14        Q.   AND HE DIDN'T WORK ON THE ELISA TEAM; CORRECT?

09:42AM   15        A.   CORRECT.

09:42AM   16        Q.   AND HE WORKED ON -- WAS IT CYTOMETRY?

09:42AM   17        A.   YES.

09:42AM   18        Q.   AND MS. HOLMES WAS INVITED?

09:42AM   19        A.   YES.

09:42AM   20        Q.   AND DR. GELB WAS INVITED?

09:43AM   21        A.   YES.

09:43AM   22        Q.   AND DR. GELB WAS THE LABORATORY DIRECTOR AT THIS TIME?

09:43AM   23        A.   CORRECT.

09:43AM   24        Q.   AND ULTIMATELY YOU KNEW THAT THESE ASSAYS WERE GOING TO BE

09:43AM   25        IMPLEMENTED IN THE CLIA LABORATORY?



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09:43AM    1        A.   I THINK SO.

09:43AM    2        Q.   AND SO DID YOU THINK IT WAS PRUDENT TO HAVE DR. GELB

09:43AM    3        INVOLVED IN SOME OF THESE DISCUSSIONS?

09:43AM    4        A.   YES.

09:43AM    5        Q.   AND I SEE DR. PATEL'S NAME THERE.

09:43AM    6        A.   YES.

09:43AM    7        Q.   AND WHAT ROLE DID DR. PATEL HAVE WITHIN THE ORGANIZATION?

09:43AM    8        A.   SO HE WAS LEADING THE DEVELOPMENT FOR THE GENDER CHEMISTRY

09:43AM    9        ASSAYS.

09:43AM   10        Q.   OKAY.   SO THAT WAS THE DIFFERENT TEAM FROM THE ELISA

09:43AM   11        GROUP?

09:43AM   12        A.   YES.

09:43AM   13        Q.   AND SO THIS WAS AN INFORMATION SHARING MEETING?

09:43AM   14        A.   YES.

09:43AM   15        Q.   ON THE WORK THAT YOUR GROUP HAD BEEN WORKING SO HARD ON?

09:43AM   16        A.   YES.

09:43AM   17        Q.   AND PART OF THIS WORK THAT YOU WERE DOING, YOU GAVE

09:44AM   18        MS. HOLMES REGULAR UPDATES ON THE PROGRESS OF THE TEAM?

09:44AM   19        A.   YES, I DID.

09:44AM   20        Q.   AND LET'S LOOK AT 10497.

09:44AM   21             AND THESE ARE A SERIES OF EMAILS BETWEEN YOU AND

09:44AM   22        MS. HOLMES ON THE ASSAY DEVELOPMENT WORK?

09:44AM   23        A.   I THINK SO.

09:44AM   24        Q.   IN MARCH OF 2011?

09:44AM   25        A.   YES.



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09:45AM    1                    MR. WADE:    I WOULD MOVE THE ADMISSION OF 10497.

09:45AM    2                    MR. LEACH:    NO OBJECTION.

09:45AM    3                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:45AM    4             (DEFENDANT'S EXHIBIT 10497 WAS RECEIVED IN EVIDENCE.)

09:45AM    5                    MR. WADE:    IF WE CAN START ON THE SECOND PAGE.

09:45AM    6        Q.   DO YOU SEE THERE'S AN EMAIL JANUARY 11TH, 2011, WHERE YOU

09:45AM    7        HAD PROVIDED MS. HOLMES WITH AN UPDATE?

09:45AM    8        A.   YES.

09:45AM    9        Q.   AND THEN IT LOOKS LIKE A COUPLE OF MONTHS LATER SHE ASKED

09:45AM   10        FOR AN UPDATE ON THE TOP 95 PERCENT.

09:45AM   11             DO YOU SEE THAT?

09:45AM   12        A.   YES.

09:45AM   13        Q.   AND THIS WAS THE 95 PERCENT -- THIS WAS THE PROJECT THAT

09:45AM   14        WE TALKED ABOUT A COUPLE MINUTES AGO WHERE YOU WERE TRYING TO

09:45AM   15        DEVELOP THE ASSAYS THAT WOULD COVER 95 PERCENT OF THE TESTS?

09:45AM   16        A.   YES.

09:45AM   17        Q.   AND SHE WAS ASKING FOR AN UPDATE ON THIS?

09:45AM   18        A.   YES.

09:45AM   19        Q.   AND HOW MANY WERE COMPLETE?     IS THAT RIGHT?

09:46AM   20        A.   YES.

09:46AM   21        Q.   AND YOU RESPONDED TO MS. HOLMES ON MONDAY, MARCH 21ST.

09:46AM   22             DO YOU SEE THAT?

09:46AM   23        A.   YES.

09:46AM   24        Q.   AND IT LOOKS LIKE YOU WERE WORKING REMOTELY AND SO YOU

09:46AM   25        WEREN'T ABLE TO GET YOUR -- ACCESS ONE OF YOUR DOCUMENTS ON THE



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09:46AM    1        VPN; RIGHT?

09:46AM    2        A.   RIGHT.

09:46AM    3        Q.   BUT YOU GAVE AN UPDATE SORT OF FROM MEMORY; IS THAT RIGHT?

09:46AM    4        A.   I WAS REFERRING TO THE EXCEL FILE AND TO THE PREVIOUS

09:46AM    5        EXCEL FILE AND THEN GIVING THE UPDATE.

09:46AM    6        Q.   OKAY.    SO YOU COULDN'T ATTACH IT, BUT YOU REFERRED TO IT

09:46AM    7        AND GAVE A TEXTURAL UPDATE TO MS. HOLMES?

09:46AM    8        A.   I THINK SO.

09:46AM    9        Q.   OKAY.    AND WE'LL SEE IN THE FUTURE A LOT OF TIMES YOUR

09:46AM   10        SPREADSHEETS ARE SENT AROUND, AREN'T THEY?

09:47AM   11        A.   YEAH.

09:47AM   12        Q.   OFTENTIMES YOU SEND YOUR SPREADSHEETS AROUND, MA'AM?

09:47AM   13        A.   YES, I DID.

09:47AM   14        Q.   AND HERE YOU TOLD MS. HOLMES THAT THE FERTILITY ASSAYS

09:47AM   15        WERE COMPLETE?

09:47AM   16        A.   YES.

09:47AM   17        Q.   AND THAT THE DEVELOPMENT WAS ONGOING FOR SEVERAL OTHER

09:47AM   18        ASSAYS?

09:47AM   19        A.   YES.

09:47AM   20        Q.   DO YOU SEE THAT?

09:47AM   21             AND THEN IT LOOKS LIKE MAYBE WHEN YOU GOT BACK INTO THE

09:47AM   22        OFFICE, UP ON THE TOP, THAT YOU HAD SENT THE SPREADSHEET THAT

09:47AM   23        YOU HAD REFERRED TO.

09:47AM   24             DO YOU SEE THAT?

09:47AM   25        A.   YES.



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09:47AM    1        Q.   AND LET'S TAKE A LOOK AT THAT ATTACHMENT.      WE'LL PULL IT

09:47AM    2        UP ON THE SCREEN FOR YOU.

09:48AM    3             MR. BENNETT, IF WE CAN BLOW THAT UP JUST A LITTLE BIT.

09:48AM    4             THANK YOU.

09:48AM    5             AND THIS IS A LIST OF THE 30 PRIORITY ASSAYS THAT YOUR

09:48AM    6        TEAM WAS WORKING ON AT THE TIME?

09:48AM    7        A.   YES.

09:48AM    8        Q.   AND THESE ARE ASSAYS ON THE 95 PERCENT LIST?

09:48AM    9        A.   I THINK SO.

09:48AM   10        Q.   AND YOU TOLD MS. HOLMES THAT FIVE WERE COMPLETE?

09:48AM   11        A.   YES.

09:48AM   12        Q.   AND THOSE ARE THE FIVE GREEN BOXES THAT ARE IDENTIFIED IN

09:48AM   13        YOUR CHART THERE?

09:48AM   14        A.   I THINK SO.

09:48AM   15        Q.   AND THEN IT LOOKS LIKE THERE WERE ANOTHER NINE ASSAYS THAT

09:48AM   16        WERE UNDER DEVELOPMENT; RIGHT?

09:48AM   17        A.   YES.

09:48AM   18        Q.   AND THIS WAS IN MARCH OF 2011?

09:48AM   19        A.   YES.

09:48AM   20        Q.   IF WE CAN LOOK AT DOCUMENT 7202.

09:49AM   21             DO YOU HAVE THAT IN FRONT OF YOU?

09:49AM   22        A.   YES.

09:49AM   23        Q.   AND THIS IS AN EMAIL FROM YOU TO MS. HOLMES IN AUGUST OF

09:49AM   24        2011?

09:49AM   25        A.   YES.



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09:49AM    1        Q.   AND THAT'S ABOUT FIVE MONTHS AFTER THE LAST REPORT?

09:49AM    2        A.   I THINK SO.

09:49AM    3        Q.   AND YOU'RE PROVIDING HER AN UPDATED REPORT ON THAT

09:49AM    4        95 PERCENT LIST?

09:49AM    5        A.   YES.

09:49AM    6                     MR. WADE:    I WOULD MOVE THE ADMISSION OF

09:49AM    7        EXHIBIT 7202, YOUR HONOR.

09:49AM    8                     MR. LEACH:    NO OBJECTION.

09:49AM    9                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:49AM   10             (DEFENDANT'S EXHIBIT 7202 WAS RECEIVED IN EVIDENCE.)

09:49AM   11        BY MR. WADE:

09:49AM   12        Q.   AND DO YOU SEE IN THE EMAIL AT THE TOP THIS PROVIDES AN

09:49AM   13        UPDATE OF ALL ASSAYS IN THE 95 PERCENT LIST?

09:50AM   14        A.   YES.

09:50AM   15        Q.   OKAY.    LET'S TAKE A LOOK AT THE ATTACHMENT.

09:50AM   16             ARE YOU ABLE TO READ THAT?

09:50AM   17        A.   YES.

09:50AM   18        Q.   AND YOU'RE INCREDIBLY ORGANIZED SO YOU ACTUALLY CODE

09:50AM   19        THINGS BY COLOR ACCORDING TO PROGRESS; IS THAT RIGHT?

09:50AM   20        A.   YES.

09:50AM   21        Q.   AND GREEN EQUALS COMPLETE?

09:50AM   22        A.   YES.

09:50AM   23        Q.   AND THERE ARE 11 ASSAYS?

09:50AM   24        A.   YES.

09:50AM   25        Q.   AND 10 IS IN DEVELOPMENT.



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09:50AM    1             DO YOU SEE THAT?

09:50AM    2        A.   YES.

09:50AM    3        Q.   AND THERE ARE 15 ASSAYS?

09:50AM    4        A.   YEAH.

09:50AM    5        Q.   AND THE YELLOW ARE THE ONES THAT ARE NOT STARTED?

09:50AM    6        A.   YES.

09:50AM    7        Q.   AND THAT'S ONLY TWO ASSAYS; RIGHT?

09:50AM    8        A.   YES.

09:50AM    9        Q.   AND THIS WAS AUGUST 2011?

09:51AM   10        A.   YES.

09:51AM   11        Q.   AND IF I COULD CALL YOUR ATTENTION TO EXHIBIT 10941.

09:51AM   12             DO YOU HAVE THAT IN FRONT OF YOU?

09:51AM   13        A.   I DO.

09:51AM   14        Q.   AND THIS IS AN EMAIL FROM YOU TO MS. HOLMES IN JUNE OF

09:51AM   15        2012?

09:51AM   16        A.   YES.

09:51AM   17        Q.   YOU SENT HER THE WEEKLY UPDATE FOR THE ELISA PROJECTS?

09:51AM   18        A.   YEAH.

09:51AM   19        Q.   AND ELISA IS SYNONYMOUS WITH IMMUNOASSAYS?

09:51AM   20        A.   YES.

09:51AM   21        Q.   AND THERE'S A SPREADSHEET ATTACHMENT AGAIN.

09:52AM   22             CAN WE -- I'M SORRY.      COULD I --

09:52AM   23             COULD WE ADMIT, YOUR HONOR, EXHIBIT 10941?

09:52AM   24                     MR. LEACH:    NO OBJECTION.

09:52AM   25                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.



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09:52AM    1             (DEFENDANT'S EXHIBIT 10491 WAS RECEIVED IN EVIDENCE.)

09:52AM    2        BY MR. WADE:

09:52AM    3        Q.   LET'S START WITH THE EMAIL.

09:52AM    4             AND THIS IS THE UPDATE THAT YOU PROVIDED MS. HOLMES?

09:52AM    5        A.   YES.

09:52AM    6        Q.   AND IT EXPLAINS HOW THE SPREADSHEET WORKS IN TERMS OF

09:52AM    7        TRACKING PROGRESS; RIGHT?

09:52AM    8        A.   YES.

09:52AM    9        Q.   AND LET'S TAKE A LOOK AT THE SPREADSHEET.

09:52AM   10             AND DO YOU SEE THERE'S A TAB THAT SAYS COMPLETED 6-8-12?

09:52AM   11        A.   YES.

09:52AM   12        Q.   AND LET'S LOOK AT THAT TAB.

09:53AM   13             DO YOU SEE THAT?

09:53AM   14        A.   YES.

09:53AM   15        Q.   AND THAT TRACKS THE ASSAYS THAT WERE COMPLETE AS OF THAT

09:53AM   16        DATE?

09:53AM   17        A.   I THINK SO.

09:53AM   18        Q.   AND IF WE SCROLL DOWN YOU SEE THAT 40 ASSAYS WERE

09:53AM   19        IDENTIFIED AS COMPLETE?

09:53AM   20        A.   YES.

09:53AM   21        Q.   AND IF WE CAN GO TO THE FIRST TAB THAT SAYS TIMELINES.

09:53AM   22             DO YOU SEE UP AT THE TOP IT IDENTIFIES ADDITIONAL ASSAYS

09:53AM   23        ACROSS THE COLUMNS THAT IDENTIFIES ADDITIONAL ASSAYS THAT ARE

09:53AM   24        IN DEVELOPMENT?

09:53AM   25        A.   YES.



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09:53AM    1        Q.   AND THAT INDICATES THERE ARE ANOTHER 18 ASSAYS THAT WERE

09:53AM    2        IN DEVELOPMENT AT THIS TIME?

09:54AM    3        A.   I THINK SO.

09:54AM    4        Q.   AND THIS IS JUNE OF 2012?

09:54AM    5        A.   YES.

09:54AM    6        Q.   IF I COULD CALL YOUR ATTENTION TO EXHIBIT 7297.       AND THIS

09:54AM    7        IS ANOTHER UPDATE FROM THE ELISA TEAM ON ITS PROGRESS?

09:54AM    8        A.   YES.

09:54AM    9        Q.   AND YOU SENT THAT TO MS. HOLMES?

09:54AM   10        A.   I DID.

09:54AM   11                    MR. WADE:    I MOVE THE ADMISSION OF EXHIBIT 7297.

09:54AM   12                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

09:54AM   13                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:54AM   14             (DEFENDANT'S EXHIBIT 7297 WAS RECEIVED IN EVIDENCE.)

09:55AM   15        BY MR. WADE:

09:55AM   16        Q.   AND IT'S A PRETTY SIMPLE TRANSMITTAL EMAIL.      AT THIS POINT

09:55AM   17        SHE PROBABLY GETS A SENSE OF YOUR WORK AND YOU'RE TRACKING

09:55AM   18        PROGRESS; RIGHT?

09:55AM   19        A.   SHE DID.

09:55AM   20        Q.   AND LET'S LOOK AT THE ATTACHMENT.      THIS IS ANOTHER

09:55AM   21        SPREADSHEET.

09:55AM   22             DO YOU SEE THAT?

09:55AM   23             AND DO YOU RECALL THAT THE PREVIOUS TABS HAD TRACKED

09:55AM   24        ASSAYS BASED ON 95 PERCENT OF COVERAGE?

09:55AM   25        A.   YES.



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09:55AM    1        Q.   AND ONCE THERE WAS SUFFICIENT PROGRESS MADE, ADDITIONAL

09:55AM    2        ASSAYS WERE PROVIDED TO THE PLAN; RIGHT?

09:55AM    3        A.   YES.

09:55AM    4        Q.   TO COVER 98 PERCENT OF THE ASSAYS?

09:55AM    5        A.   YES.

09:55AM    6        Q.   AND THAT'S WHAT THIS SPREADSHEET IS TRACKING?

09:55AM    7        A.   IT IS.

09:55AM    8        Q.   AND -- NOW, WE DISCUSSED EARLIER THAT THERE ARE HUNDREDS

09:56AM    9        OF ASSAYS; RIGHT?

09:56AM   10        A.   UH-HUH, YES.

09:56AM   11        Q.   AND MAYBE I SAW ONE OF YOUR SPREADSHEETS THAT TRACKED

09:56AM   12        POTENTIALLY 400 IMMUNOASSAYS.

09:56AM   13             DOES THAT SEEM LIKE THE RIGHT NUMBER?

09:56AM   14        A.   YES.

09:56AM   15        Q.   AND THIS IS A LIST THAT IS FOCUSSED AGAIN ON COVERING

09:56AM   16        98 PERCENT OF THE ORDERS?

09:56AM   17        A.   YES.

09:56AM   18        Q.   AND THAT'S -- TO DO THAT, 74 ASSAYS WERE NEEDED; IS THAT

09:56AM   19        RIGHT?

09:56AM   20             I CAN SCROLL DOWN FOR YOU.

09:56AM   21        A.   I THINK SO.

09:56AM   22        Q.   THE COMPANY'S ANALYSIS THAT HAD IDENTIFIED 74 ASSAYS THAT

09:56AM   23        WOULD COVER 98 PERCENT OF THE ORDERS; IS THAT RIGHT?

09:56AM   24        A.   I THINK SO.

09:56AM   25        Q.   AND YOUR WORK, YOUR WORK IN YOUR TEAM WAS DEVELOPED



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09:56AM    1        TOWARDS THOSE ASSAYS IN THE FIRST INSTANCE?

09:56AM    2        A.   YES.

09:56AM    3        Q.   AND NOW, YOU HAD DEVELOPED MORE THAN 74 ASSAYS; RIGHT?

09:57AM    4        A.   YES.

09:57AM    5        Q.   AND BECAUSE YOU HAD DONE SOME IN CONNECTION WITH YOUR

09:57AM    6        PHARMACEUTICAL WORK; RIGHT?

09:57AM    7        A.   YES.

09:57AM    8        Q.   AND YOU HAD DONE SOME FOR SOME OTHER SPECIAL PURPOSES?

09:57AM    9        A.   YES.

09:57AM   10        Q.   LIKE SOME DOD WORK?

09:57AM   11        A.   YES.

09:57AM   12        Q.   BUT THIS PARTICULAR PROJECT AND THE FOCUS AT THIS TIME WAS

09:57AM   13        COVERING 98 PERCENT FOR RETAIL?

09:57AM   14        A.   YES.

09:57AM   15        Q.   IF WE CAN GO -- IF YOU LOOK AT THE GREEN ROWS, I COUNT 63

09:57AM   16        COMPLETED ASSAYS AND 8 THAT ARE UNDER DEVELOPMENT.

09:57AM   17             DOES THAT SEEM ABOUT RIGHT?

09:57AM   18        A.   I THINK SO.

09:57AM   19        Q.   AND IF WE GO TO THE ATTACHMENT -- OR, I'M SORRY, THE TAB

09:58AM   20        THAT SAYS COMPLETED, THE SECOND TO LAST.

09:58AM   21             DO YOU SEE THAT?

09:58AM   22             AND THIS WAS A SHEET THAT COVERED ALL OF THE ASSAYS THAT

09:58AM   23        YOU HAD DEVELOPED?

09:58AM   24        A.   YES.

09:58AM   25        Q.   AND LET'S GO TO THE BOTTOM THERE AND TAKE A LOOK.



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09:58AM    1             AT THIS POINT THERE HAD BEEN 93 THAT HAD BEEN COMPLETED;

09:58AM    2        RIGHT?

09:58AM    3        A.   YES.

09:58AM    4        Q.   AND THIS IS AN UPDATE THAT YOU SENT MS. HOLMES IN JUNE OF

09:58AM    5        2013?

09:58AM    6        A.   YES.

09:58AM    7        Q.   AND IF WE CAN GO TO THE ATTACHMENT THAT SAYS -- OR I'M

09:58AM    8        SORRY, THE TAB THAT SAYS PROGRESS.

09:59AM    9             DO YOU SEE THAT?

09:59AM   10        A.   YES.

09:59AM   11        Q.   AND AGAIN, ACROSS THE TOP THIS TRACKS THE PRODUCT -- THE

09:59AM   12        PROGRESS OF ASSAYS THAT WERE IN DEVELOPMENT BUT NOT YET

09:59AM   13        COMPLETED; IS THAT RIGHT?

09:59AM   14        A.   YES.

09:59AM   15        Q.   AND IF WE CAN FOCUS FOR A SECOND ON THIS LEFT-HAND ROW

09:59AM   16        WHERE IT SAYS EXPERIMENT UP AT THE TOP.

09:59AM   17             DO YOU SEE THAT?

09:59AM   18        A.   YES.

09:59AM   19        Q.   AND THEN IT SAYS RESOURCE UNDERNEATH THAT.

09:59AM   20             DO YOU SEE THAT?

09:59AM   21        A.   UH-HUH.

09:59AM   22        Q.   AND THEN THERE ARE 26 DIFFERENT STEPS IDENTIFIED THERE?

09:59AM   23        A.   YES.

09:59AM   24        Q.   ARE THOSE THE 26 DIFFERENT STEPS THAT EVERY ASSAY WOULD GO

09:59AM   25        THROUGH IF IT WAS APPLICABLE TO THAT ASSAY?



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09:59AM    1        A.   YES, THEY WOULD.

09:59AM    2        Q.   AND YOU AND YOUR TEAM WOULD TRACK EVERY INDIVIDUAL STEP?

09:59AM    3        A.   YES.

09:59AM    4        Q.   AND IN THE END THE GOAL WAS TO DESIGN AN ASSAY THAT

10:00AM    5        CORRELATED TO AN EXISTING COMMERCIALLY AVAILABLE ASSAY?

10:00AM    6        A.   YES.

10:00AM    7        Q.   BECAUSE THAT IS THE BEST PRACTICE IN THE ASSAY

10:00AM    8        DEVELOPMENT; RIGHT?

10:00AM    9        A.   YES.

10:00AM   10        Q.   AND BECAUSE YOU KNEW THAT CLIA VALIDATION REQUIRES A

10:00AM   11        COMPARISON TO AN EXISTING METHOD?

10:00AM   12        A.   YES.

10:00AM   13        Q.   AND THAT THIS DATA AND THIS WORK WOULD HELP FACILITATE THE

10:00AM   14        CLIA VALIDATION PROCESS?

10:00AM   15        A.   YES.

10:00AM   16        Q.   AND JUST SO WE'RE ALL CLEAR, THE CLIA VALIDATION, THAT

10:00AM   17        MEANS VALIDATED SO YOU CAN USE ON PATIENTS?

10:00AM   18        A.   YES.

10:00AM   19        Q.   AND YOUR WORK IS NOT DESIGNED TO DO -- YOUR WORK DID NOT

10:00AM   20        ACCOMPLISH THAT CONCLUSIVELY?

10:00AM   21        A.   IT DIDN'T BECAUSE THIS WAS -- ESSENTIALLY WE ARE MAKING

10:00AM   22        SURE THAT OF THE ASSAY THAT IS DEVELOPED APPROPRIATELY AND IS

10:00AM   23        SPECIFIC OR SENSITIVE ENOUGH THAT WHEN IT GOES INTO THE NEXT

10:00AM   24        STAGE OF VALIDATION WE DON'T HAVE ANY SURPRISES.

10:00AM   25        Q.   RIGHT.   AND THEN IT GOES OVER THE CLIA LAB, AND THE CLIA



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10:01AM    1        LAB PEOPLE PICK IT UP AND THEY DO THE VALIDATION FOR CLIA

10:01AM    2        PURPOSES?

10:01AM    3        A.   YES.

10:01AM    4        Q.   AND PICKING UP ON THE HARD WORK THAT YOUR TEAM HAD DONE

10:01AM    5        OVER THE YEARS?

10:01AM    6        A.   YES.

10:01AM    7        Q.   AND ONCE THE WORK FOR AN ASSAY WAS COMPLETE, THAT WOULD BE

10:01AM    8        DOCUMENTED IN A WRITTEN REPORT?

10:01AM    9        A.   YES.

10:01AM   10        Q.   AND THERE WAS A REPORT PREPARED FOR EACH ASSAY?

10:01AM   11        A.   YES.

10:01AM   12        Q.   SO, FOR EXAMPLE, FOR THE 93 ASSAYS THAT WE HAD IDENTIFIED

10:02AM   13        THERE WOULD BE A REPORT FOR EACH INDIVIDUAL ONE?

10:02AM   14        A.   I THINK SO.

10:02AM   15        Q.   AND THOSE REPORTS WERE MAINTAINED BY THE COMPANY AND IN A

10:02AM   16        DRIVE WITHIN THE R&D GROUP?

10:02AM   17        A.   YES.

10:02AM   18        Q.   AND THEY WOULD VARY A BIT FROM ASSAY TO ASSAY, BUT THE

10:02AM   19        GENERAL IDEA WAS TO CONFIRM EACH OF THE STEPS THAT HAD BEEN

10:02AM   20        TAKEN IN THE DEVELOPMENT OF THE ASSAY?

10:02AM   21        A.   YES.

10:02AM   22        Q.   LET ME JUST GO BACK BRIEFLY TO THAT SPREADSHEET THAT WE

10:02AM   23        JUST LOOKED AT IN THE COMPLETED TAB.

10:02AM   24             IF WE GO TO THE TOP, WHAT IS THE FIRST ASSAY THERE?

10:03AM   25        A.   THYROID STIMULATING HORMONE.



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10:03AM    1        Q.   OKAY.    SO THERE WOULD BE AN ASSAY DEVELOPMENT REPORT FOR

10:03AM    2        THAT?

10:03AM    3        A.   YES.

10:03AM    4        Q.   LET'S TAKE A LOOK AT 9397.

10:03AM    5             IS THIS A COPY OF THAT ASSAY DEVELOPMENT REPORT?

10:03AM    6        A.   YES.

10:03AM    7                     MR. WADE:    MOVE THE ADMISSION OF 9397.

10:03AM    8                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

10:03AM    9                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

10:03AM   10             (DEFENDANT'S EXHIBIT 9397 WAS RECEIVED IN EVIDENCE.)

10:03AM   11                     THE COURT:    9397?

10:03AM   12                     MR. WADE:    CORRECT, YOUR HONOR.

10:03AM   13                     THE COURT:    I THINK THAT WAS ADMITTED.

10:04AM   14                     THE CLERK:    IT WAS IDENTIFICATION BY ANOTHER

10:04AM   15        WITNESS, YOUR HONOR.

10:04AM   16        BY MR. WADE:

10:04AM   17        Q.   AND THIS IS AN EXAMPLE OF ONE OF THOSE REPORTS?

10:04AM   18        A.   YES.

10:04AM   19        Q.   AND THYROID STIMULATING HORMONE IS SOMETIMES REFERRED TO

10:04AM   20        AS TSH?

10:04AM   21        A.   YES.

10:04AM   22        Q.   AND SO IF I USE TSH, YOU'LL KNOW WHAT I'M REFERRING TO?

10:04AM   23        A.   YES.

10:04AM   24        Q.   AND THIS DOCUMENT WAS PREPARED BY TINA NOYES?

10:04AM   25        A.   CORRECT.



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10:04AM    1        Q.     AND MS. NOYES WAS PART OF YOUR TEAM?

10:04AM    2        A.     YES.

10:04AM    3        Q.     AND IT WAS PREPARED IN APRIL 2011?

10:04AM    4        A.     YES.

10:04AM    5        Q.     AND YOU WOULD HAVE LOOKED AT THIS AT THE TIME?

10:04AM    6        A.     YEAH.

10:04AM    7        Q.     LET'S TAKE A LOOK ON PAGE 946 IN THE BOTTOM.

10:04AM    8               DO YOU SEE THAT?

10:04AM    9        A.     YES.

10:04AM   10        Q.     AND THIS -- ACTUALLY, IF I CAN GET THE WHOLE PART AT THE

10:05AM   11        TOP.

10:05AM   12               THIS SET FORTH THE ASSAY INFORMATION?

10:05AM   13        A.     YES.

10:05AM   14        Q.     AND THIS LOOKS KIND OF COMPLICATED.       WE WON'T GO THROUGH

10:05AM   15        ALL OF THE DETAIL HERE, BUT DO YOU THINK THIS ACCURATELY

10:05AM   16        DESCRIBES THE WORK THAT WAS DONE?

10:05AM   17        A.     I THINK SO.

10:05AM   18        Q.     AND THAT WAS GENERALLY THE IDEA THAT YOU ASKED -- THAT WAS

10:05AM   19        GENERALLY THE GOAL OF THE PREPARATION OF THE REPORT?

10:05AM   20        A.     YES.

10:05AM   21        Q.     AND ONE PARTICULAR THING I NOTE HERE IN 1.1.2 IS THE TOTAL

10:05AM   22        TIME TO RUN THIS ASSAY WAS 30 MINUTES?

10:05AM   23        A.     THE DIFFERENT STEPS FOR THOSE STAGES WERE 30 MINUTES, BUT

10:05AM   24        ON THE READER THE TIME WOULD BE LONGER.

10:05AM   25        Q.     OKAY.   OKAY.



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10:05AM    1             BUT THE ASSAY WAS DESIGNED FOR THREE 10 MINUTE INTERVALS;

10:05AM    2        IS THAT RIGHT?

10:06AM    3        A.   YEAH.

10:06AM    4        Q.   AND IF YOU LOOK AT 947 AND IF WE CAN BLOW UP THE ANTIBODY

10:06AM    5        SCREENING THERE.

10:06AM    6             DO YOU SEE THAT?

10:06AM    7        A.   YES.

10:06AM    8        Q.   AND THIS INDICATES THAT YOUR TEAM TESTED 22 DIFFERENT

10:06AM    9        POTENTIAL ANTIBODIES IN THE COURSE OF DETERMINING WHICH ONE

10:06AM   10        WOULD WORK BEST FOR THIS ASSAY; RIGHT?

10:06AM   11        A.   CORRECT.

10:06AM   12        Q.   AND IT WAS A TREMENDOUS AMOUNT OF WORK, IS IT NOT?

10:06AM   13        A.   IT IS.

10:06AM   14        Q.   AND THE GOAL OF DOING THAT IS TO FIGURE OUT WHICH ANTIBODY

10:06AM   15        WOULD, WOULD ATTACH MOST SUCCESSFULLY.      AM I USING THE RIGHT

10:06AM   16        WORD THERE?

10:06AM   17        A.   SO BASICALLY FINDING THE BEST REAGENT THAT COULD BE USED

10:06AM   18        IN THE THERANOS SYSTEM.

10:06AM   19        Q.   AND WHAT DO YOU MEAN BY "BEST REAGENT"?        CAN YOU EXPLAIN

10:06AM   20        THAT TO THE JURY?

10:06AM   21        A.   SO BASICALLY THE COMBINATION OF THE REAGENT, THAT WOULD

10:06AM   22        GIVE US THE DESIRED SPECIFICITY AND SENSITIVITY.

10:07AM   23        Q.   AND MAKE IT MOST EFFICIENT TO COUNT.      IS THAT A FAIR --

10:07AM   24        A.   YES.

10:07AM   25        Q.   OKAY.    AND IF WE GO TO 955, SECTION 1.4.



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10:07AM    1             THIS ASSAY DEVELOPMENT PROCESS INVOLVED TESTING THE ASSAY

10:07AM    2        ON A THERANOS DEVICE?

10:07AM    3        A.   YES.

10:07AM    4        Q.   AND IN 2005 THAT WOULD HAVE BEEN A 3.0 DEVICE?

10:07AM    5        A.   YES.

10:07AM    6        Q.   IF WE CAN GO BACK AGAIN TO 7297 IN THAT COMPLETED TAB.

10:08AM    7             SO FOR ALL OF THESE IMMUNOASSAYS YOU WOULD EXPECT TO SEE

10:08AM    8        COMPLETED REPORTS?

10:08AM    9        A.   YES.

10:08AM   10        Q.   AND THERE WERE ALSO REPORTS FOR THE GROUP OUTSIDE OF

10:08AM   11        IMMUNOASSAYS; RIGHT?

10:08AM   12        A.   YES.

10:08AM   13        Q.   BUT YOU WERE ONLY RESPONSIBLE FOR THE IMMUNOASSAY TEAM?

10:08AM   14        A.   YES.

10:08AM   15                    MR. WADE:    AND I THINK BY STIPULATION WE'RE GOING TO

10:08AM   16        MOVE FOR THE ADMISSION OF THE IMMUNOASSAY REPORTS.

10:08AM   17                    MR. LEACH:    YES.

10:08AM   18                    MR. WADE:    MAY I APPROACH, YOUR HONOR?

10:08AM   19                    THE COURT:    YES.

10:08AM   20                    MR. WADE:    (HANDING.)

10:09AM   21             AND I THINK BY STIPULATION, YOUR HONOR, WITH AGREEMENT

10:09AM   22        FROM THE GOVERNMENT AND FOR THE BENEFIT OF OUR BELOVED COURT

10:09AM   23        REPORTER, WE WILL ENTER THE PARTICULAR EXHIBIT NUMBERS FOR

10:09AM   24        THESE VIA WRITTEN STIPULATION THAT WE'LL SUBMIT TO THE COURT.

10:09AM   25                    MR. LEACH:    THAT'S FINE, YOUR HONOR, YES.



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10:09AM    1                     THE COURT:    ALL RIGHT.   THANK YOU.

10:09AM    2        BY MR. WADE:

10:09AM    3        Q.   AND I'VE HANDED YOU TWO BINDERS THAT ARE MAYBE FIVE OR SIX

10:09AM    4        INCHES TALL; IS THAT RIGHT?

10:09AM    5        A.   YES.

10:09AM    6        Q.   AND IF YOU CAN JUST LOOK GENERALLY AT THE FIRST VOLUME OF

10:09AM    7        THE BINDERS, THESE ARE THE TYPES OF REPORTS THAT YOUR TEAM

10:09AM    8        PREPARED FOR EACH AND EVERY ONE OF THE ASSAYS?

10:10AM    9        A.   YEAH.

10:10AM   10        Q.   AND IT'S A TREMENDOUS VOLUME OF WORK, IS IT NOT?

10:10AM   11        A.   IT IS.

10:10AM   12        Q.   DID YOU FEEL PROUD OF YOUR TEAM AND ALL OF THE WORK THAT

10:10AM   13        IT HAD DONE TO ACCOMPLISH THIS?

10:10AM   14        A.   I THINK SO.

10:10AM   15        Q.   DO YOU RECALL THAT SOMETIMES MANY OF THESE REPORTS ARE

10:10AM   16        LABELLED ASSAY DEVELOPMENT REPORT?

10:10AM   17             DO YOU SEE THAT?

10:10AM   18        A.   YES.

10:10AM   19        Q.   AND DO YOU RECALL SOMETIMES PEOPLE WOULD JUST REFER TO

10:10AM   20        THESE AS DEVELOPMENT REPORTS?

10:10AM   21        A.   YES.

10:10AM   22        Q.   AND SOMETIMES WOULD REFER TO THEM AS R&D VALIDATION

10:10AM   23        REPORTS?

10:10AM   24        A.   SO I'M MORE ALIGNED WITH CALLING THEM DEVELOPMENT REPORTS.

10:10AM   25        Q.   OKAY.    BUT YOU KNOW THAT SOME PEOPLE DID CALL THEM R&D



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10:10AM    1        VALIDATION REPORTS?

10:11AM    2        A.   YES.    YES.

10:11AM    3        Q.   AND IF I WOULD JUST DRAW YOUR ATTENTION TO ONE

10:11AM    4        EXHIBIT 9143, WHICH IS IN EVIDENCE AS PART OF THIS COMPILATION.

10:11AM    5        IT MAY BE IN THE SECOND VOLUME WHICH IS ON THE --

10:11AM    6        A.   YES.

10:11AM    7        Q.   -- GROUND NEXT TO YOU.

10:11AM    8             DO YOU SEE THAT ONE?

10:11AM    9        A.   I DO.

10:11AM   10        Q.   AND DO YOU SEE AT THE TOP IT SAYS ASSAY DEVELOPMENT

10:12AM   11        REPORT.

10:12AM   12             DO YOU SEE THAT?

10:12AM   13        A.   YES.

10:12AM   14        Q.   AND THEN DOWN IN THE BOTTOM IT SAYS THIS VALIDATION

10:12AM   15        REPORT?

10:12AM   16        A.   YES.

10:12AM   17        Q.   AND THAT TYPE OF PATTERN HAPPENED RELATIVELY FREQUENTLY

10:12AM   18        WITHIN THE COMPANY?

10:12AM   19        A.   THAT WAS BECAUSE THE PROJECT MANAGERS WOULD SEEK THESE,

10:12AM   20        THESE ASSAY DEVELOPMENT REPORTS AND THEN THEY WOULD PROPOSE

10:12AM   21        USING THOSE AS CALLING THEM LIKE VALIDATION REPORTS.

10:12AM   22             AND EACH TIME WE WERE CONSISTENT THAT THESE ARE ASSAY

10:12AM   23        DEVELOPMENT REPORTS.

10:12AM   24        Q.   OKAY.   AND BECAUSE I WANT TO BE CLEAR OF THE DIFFERENCE

10:12AM   25        THAT WE'RE TALKING ABOUT HERE.



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10:12AM    1             THESE REPORTS WERE NOT CLIA VALIDATION REPORTS?

10:12AM    2        A.   CORRECT.

10:12AM    3        Q.   AND THAT WAS A SEPARATE PROCESS?

10:12AM    4        A.   YES.

10:12AM    5        Q.   AND THAT REQUIRED SEPARATE DOCUMENTATION?

10:12AM    6        A.   YES.

10:12AM    7        Q.   AND YOU WANTED TO MAKE SURE THAT THAT WAS UNDERSTOOD?

10:12AM    8        A.   YES.

10:12AM    9        Q.   OKAY.   AND I BELIEVE YOU LEFT THE COMPANY BEFORE MANY OF

10:13AM   10        THE CLIA VALIDATION REPORTS WERE FINALIZED, BUT IT IS YOUR

10:13AM   11        UNDERSTANDING THAT THEY WERE WORKING ON CLIA VALIDATION REPORTS

10:13AM   12        IN THE CLIA LAB AS WELL; RIGHT?

10:13AM   13        A.   YES.

10:13AM   14        Q.   I'M HAPPY TO TELL YOU WE WON'T SPEND ANY MORE TIME GOING

10:13AM   15        THROUGH THE DETAILS OF ALL OF THAT WORK.

10:13AM   16             SO IF YOU WANT TO MOVE THE BINDERS ASIDE, WE CAN DO THAT.

10:13AM   17        A.   OKAY.

10:13AM   18        Q.   AND YOU MENTIONED THE PROJECT MANAGERS.       THERE WERE TIMES

10:13AM   19        WHERE YOU UNDERSTOOD THAT MS. HOLMES WOULD BE OUT TALKING TO

10:13AM   20        DIFFERENT OUTSIDE AUDIENCES; RIGHT?

10:13AM   21        A.   YES.

10:13AM   22        Q.   AND SHE WOULD WANT TO GIVE UPDATES ON THE LATEST R&D WORK?

10:13AM   23        A.   YES.

10:13AM   24        Q.   AND AHEAD OF THOSE MEETINGS SOMETIMES MS. HOLMES OR ONE OF

10:13AM   25        THE PROJECT MANAGERS WOULD COME TO YOU TO GET AN UPDATE ON WHAT



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10:14AM    1        WAS GOING ON?

10:14AM    2        A.   YES.

10:14AM    3        Q.   AND YOU WOULD PROVIDE THAT?

10:14AM    4        A.   YES.

10:14AM    5        Q.   AND I THINK SOMETIMES THOSE REQUESTS CAME FROM MS. HOLMES?

10:14AM    6        A.   YES.

10:14AM    7        Q.   AND SOMETIMES FROM DR. YOUNG?

10:14AM    8        A.   YEAH.

10:14AM    9        Q.   AND SOMETIMES FROM ONE OF THE PROJECT MANAGERS WHO WAS

10:14AM   10        WORKING WITH MS. HOLMES?

10:14AM   11        A.   YES.

10:14AM   12        Q.   AND THESE WERE FOR INTERACTIONS WITH CUSTOMERS LIKE

10:14AM   13        WALGREENS?

10:14AM   14        A.   I WOULD THINK SO.

10:14AM   15        Q.   OR THE DEPARTMENT OF DEFENSE?

10:14AM   16        A.   I THINK SO.

10:14AM   17        Q.   LET'S LOOK AT 7216.

10:15AM   18             DO YOU SEE THAT THIS IS AN EMAIL CHAIN WHERE MS. HOLMES IS

10:15AM   19        WORKING TO GET AN UPDATE IN ADVANCE OF A MEETING?

10:15AM   20        A.   YES.

10:15AM   21        Q.   OKAY.

10:15AM   22             I WOULD MOVE THE ADMISSION OF --

10:15AM   23             AND YOU'RE ON THAT EMAIL, RIGHT, MA'AM?       YOU'RE ON THIS

10:15AM   24        EMAIL?

10:15AM   25        A.   YES, I AM.



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10:15AM    1                    MR. WADE:    I WOULD MOVE THE ADMISSION OF

10:15AM    2        EXHIBIT 7216.

10:15AM    3                    MR. LEACH:    OBJECTION.    FOUNDATION.   802.

10:15AM    4                    THE COURT:    YOU NEED TO LAY A LITTLE BIT MORE

10:15AM    5        FOUNDATION, MR. WADE, IF YOU WOULD.

10:15AM    6                    MR. WADE:    SURE.

10:15AM    7        Q.   YOU HAD TALKED ABOUT HOW IN ADVANCE OF THESE MEETINGS THE

10:15AM    8        WAY THAT THE COMPANY WOULD GET UPDATED INFORMATION TO PROVIDE

10:15AM    9        TO EXTERNAL AUDIENCES WAS TO COMMUNICATE TO YOU VIA EMAIL AND

10:15AM   10        TO REQUEST UPDATES?

10:15AM   11        A.   YES.

10:15AM   12        Q.   AND YOU KNEW THAT THEY WERE GOING TO BE TALKING TO PEOPLE

10:15AM   13        OUTSIDE OF THE COMPANY ABOUT THE INFORMATION?

10:15AM   14        A.   I THINK SO.

10:15AM   15        Q.   SO DID YOU ALWAYS WORK TO MAKE SURE THAT YOU WERE

10:16AM   16        PROVIDING ACCURATE UP-TO-DATE INFORMATION?

10:16AM   17        A.   YES.

10:16AM   18        Q.   AND IN THE MANNER THAT THE COMPANY USED TO COMMUNICATE

10:16AM   19        THAT WAS EMAIL?

10:16AM   20        A.   YES.

10:16AM   21        Q.   BECAUSE PEOPLE WORKED IN DIFFERENT PLACES; RIGHT?

10:16AM   22        A.   YES.

10:16AM   23        Q.   AND THIS WAS THE MOST EFFICIENT WAY TO DO THIS?

10:16AM   24        A.   YES.

10:16AM   25        Q.   AND YOU KNEW THAT THESE EMAILS WERE CONFIDENTIAL



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10:16AM    1        DOCUMENTS?

10:16AM    2        A.   YES.

10:16AM    3        Q.   AND THEY WERE KEPT AS PART OF THE COMPANY'S ORDINARY

10:16AM    4        RECORD?

10:16AM    5        A.   YES.

10:16AM    6        Q.   AND THAT THIS WOULD GIVE MS. HOLMES THE INFORMATION THAT

10:16AM    7        SHE NEEDED TO GO OUT AND COMMUNICATE TO THOSE EXTERNAL

10:16AM    8        AUDIENCES?

10:16AM    9        A.   I THINK SO.

10:16AM   10                     MR. WADE:    I WOULD MOVE THE ADMISSION, YOUR HONOR.

10:16AM   11                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

10:16AM   12                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

10:16AM   13             (DEFENDANT'S EXHIBIT 7216 WAS RECEIVED IN EVIDENCE.)

10:17AM   14        BY MR. WADE:

10:17AM   15        Q.   AND IF WE LOOK DOWN AT THE BOTTOM EMAIL, DO YOU SEE THAT?

10:17AM   16        A.   YES.

10:17AM   17        Q.   AND HERE THIS IS AN EMAIL BETWEEN YOU AND MS. HOLMES ON

10:17AM   18        NOVEMBER 16TH AND 17TH OF 2011?

10:17AM   19        A.   YES.

10:17AM   20        Q.   AND SHE ASKED THE ASSAY TEAM LEADS TO IDENTIFY UPDATES FOR

10:17AM   21        AN UPCOMING MEETING WITH REPRESENTATIVES FROM THE DEPARTMENT OF

10:17AM   22        DEFENSE?

10:17AM   23        A.   YES.

10:17AM   24        Q.   AND IN ADDITION TO THE TWO OF YOU, THERE WERE MANY OTHER

10:17AM   25        PEOPLE ON THIS EMAIL CHAIN?



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10:17AM    1        A.   YES.

10:17AM    2        Q.   AND THE OTHER ASSAY TEAM LEADS?

10:17AM    3        A.   YES.

10:17AM    4        Q.   AND SOME OF THE PROJECT MANAGERS?

10:17AM    5        A.   I THINK SO.

10:17AM    6        Q.   AND DR. YOUNG MADE A SUGGESTION OF POTENTIAL UPDATE TO

10:17AM    7        PROVIDE?

10:18AM    8        A.   YES.

10:18AM    9        Q.   AND WHAT ASSAYS DID HE RECOMMEND THAT YOU PROVIDE?

10:18AM   10        A.   PSA AND VITAMIN D.

10:18AM   11        Q.   AND YOU RESPONDED TO THAT; RIGHT?

10:18AM   12        A.   YES.

10:18AM   13        Q.   AND WHAT WAS YOUR RESPONSE TO HIS SUGGESTION?

10:18AM   14        A.   SO I'M RESPONDING HERE SAYING THAT VITAMIN D IS NOT

10:18AM   15        COMPLETE SO THERE IS NO ADDITIONAL DATA.

10:18AM   16             AND FOR PSA I COULD RESEND THE EARLIER DATA.

10:18AM   17        Q.   AND MS. HOLMES RESPONDED.

10:18AM   18             DO YOU SEE THAT?

10:18AM   19        A.   YES.

10:18AM   20        Q.   AND SHE SAID PLEASE DO SEND THE PSA DATA; RIGHT?

10:18AM   21        A.   YES.

10:18AM   22        Q.   BUT IF THE R&D DATA WASN'T READY, SHE DIDN'T ASK FOR THAT;

10:18AM   23        CORRECT?    CORRECT?

10:18AM   24        A.   SO SHE'S ASKING TO SEND THE PSA DATA.

10:19AM   25        Q.   YEAH.   AND SHE DIDN'T ASK FOR THE --



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10:19AM    1        A.   THE VITAMIN D DATA.

10:19AM    2        Q.   BECAUSE YOU SAID THAT WASN'T READY; RIGHT?

10:19AM    3        A.   CORRECT.

10:19AM    4        Q.   OKAY.   AND YOU TALKED ABOUT THIS HAPPENING GENERALLY, BUT

10:19AM    5        IS THIS THE EXAMPLE OF THE KIND OF REQUEST THAT YOU WOULD

10:19AM    6        RECEIVE IN YOUR POSITION?

10:19AM    7        A.   YES.

10:19AM    8        Q.   IF WE CAN GO TO THE GOVERNMENT BINDER, EXHIBIT 1109, WHICH

10:19AM    9        IS IN EVIDENCE, AND I'D LIKE YOU TO LOOK AT PAGE 5.

10:19AM   10             I'M SORRY, I KNOW YOU HAVE A LOT OF BINDERS UP THERE.

10:19AM   11        I'LL GIVE YOU A SECOND.

10:19AM   12             SO EXHIBIT 1109?

10:19AM   13        A.   YES.

10:19AM   14        Q.   PAGE 5.

10:19AM   15             DO YOU SEE THAT?    BATES ENDING 237.

10:20AM   16             AND IF WE CAN PUBLISH THAT.

10:20AM   17        A.   YES.

10:20AM   18        Q.   DO YOU SEE THAT IN FRONT OF YOU?

10:20AM   19        A.   I DO.

10:20AM   20        Q.   OKAY.   THIS IS A DOCUMENT WHERE YOU SET FORTH SOME OF YOUR

10:20AM   21        ORGANIZATIONAL PRINCIPLES IN CONNECTION WITH HOW YOU TRACKED

10:20AM   22        YOUR PROJECTS?

10:20AM   23        A.   YES.

10:20AM   24        Q.   AND WE TALKED ABOUT THE ASSAY DEVELOPMENT REPORTS, BUT YOU

10:20AM   25        ALSO MAINTAINED OTHER ADDITIONAL DATA FILES AND THE LIKE?



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10:20AM    1        A.   YES.

10:20AM    2        Q.   WE NOW HAVE IT UP ON THE SCREEN.

10:20AM    3             AND SOME OF THOSE FILES WERE MAINTAINED ON THE J DRIVE

10:21AM    4        UNDER THE EXPERIMENTAL LOG?

10:21AM    5        A.   YES.

10:21AM    6        Q.   AND THAT INCLUDED EXPERIMENT LOGS FOR THE INDIVIDUAL

10:21AM    7        ASSAYS?

10:21AM    8        A.   YES.

10:21AM    9        Q.   SO BEYOND THOSE REPORTS THAT WE TALKED ABOUT, THERE WERE

10:21AM   10        OFTENTIMES MANY, MANY SPREADSHEETS AND TABLES OF DATA THAT SORT

10:21AM   11        OF FED INTO A SUMMARY -- THE SUMMARY OF THAT REPORT; RIGHT?

10:21AM   12        A.   YES.

10:21AM   13        Q.   AND YOUR TEAM CAREFULLY TRACKED ALL OF THAT?

10:21AM   14        A.   YES.

10:21AM   15        Q.   BECAUSE THAT COULD FEED INTO THE CLIA VALIDATION PROCESS

10:21AM   16        DOWN THE ROAD?

10:21AM   17        A.   YES.

10:21AM   18        Q.   AND BECAUSE IT WAS THE BEST PRACTICE?

10:21AM   19        A.   RIGHT.

10:21AM   20        Q.   AND YOU STORED THAT ON THE J DRIVE SO OTHERS COULD ACCESS

10:21AM   21        IT IF THEY HAD A NEED TO?

10:21AM   22        A.   YES.

10:21AM   23        Q.   AND THE REST OF THE FILES WERE STORED IN THE THERANOS

10:21AM   24        T DRIVE?

10:21AM   25        A.   UH-HUH.



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10:21AM    1        Q.   RIGHT?

10:21AM    2        A.   YES.

10:21AM    3        Q.   AND THAT WAS THE ASSAY SYSTEM'S TEAM FOLDER?

10:21AM    4        A.   RIGHT.

10:21AM    5        Q.   AND THERE WAS A SUBFOLDER FOR ASSAY DEVELOPMENT REPORTS.

10:22AM    6             DO YOU RECALL THAT?

10:22AM    7        A.   YES.

10:22AM    8        Q.   AND THERE WERE OTHER SUBFOLDERS THAT WERE SORT OF PROJECT

10:22AM    9        SPECIFIC; RIGHT?

10:22AM   10        A.   YES.

10:22AM   11        Q.   AGAIN, EXTENSIVE AMOUNTS OF DATA AND WORK WAS MEMORIALIZED

10:22AM   12        WITHIN THOSE FILES?

10:22AM   13        A.   RIGHT.

10:22AM   14        Q.   NOW, YOU RECALL ON YOUR DIRECT EXAMINATION YOU WERE ASKED

10:22AM   15        SOME QUESTIONS ABOUT EMAILS REGARDING THE R&D PROCESS ON THE

10:22AM   16        4 SERIES DEVICE?

10:22AM   17             DO YOU RECALL THAT?

10:22AM   18        A.   YES.

10:22AM   19        Q.   AND I JUST WANT TO CLARIFY A COUPLE OF THINGS ABOUT THE

10:22AM   20        R&D PROCESS.   OKAY?

10:22AM   21        A.   SURE.

10:22AM   22        Q.   AND THE R&D PROCESS IS ACTUALLY DESIGNED TO IDENTIFY

10:23AM   23        PROBLEMS AND POTENTIAL ISSUES AS YOU'RE DEVELOPING PRODUCT;

10:23AM   24        RIGHT?

10:23AM   25        A.   SO THE R&D PROCESS SPECIFICALLY FOR DEVELOPING ASSAYS WE



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10:23AM    1        DID HAVE A PLAN WITH HOW WE WOULD PROCEED WITH DEVELOPING THE

10:23AM    2        ASSAYS.

10:23AM    3        Q.   RIGHT.    YOU HAD A PLAN?

10:23AM    4        A.   UH-HUH.

10:23AM    5        Q.   AND OCCASIONALLY AS YOU'RE WORKING ON THE DEVELOPMENT,

10:23AM    6        THERE WOULD BE A SETBACK WITHIN THE PLAN?

10:23AM    7        A.   YES.

10:23AM    8        Q.   AND THAT WAS TO BE EXPECTED?

10:23AM    9        A.   IT IS.

10:23AM   10        Q.   AND YOU WOULD RUN AN EXPERIMENT?

10:23AM   11        A.   UH-HUH.

10:23AM   12        Q.   AND YOU WOULD EVALUATE THE RESULTS; RIGHT?

10:23AM   13        A.   RIGHT.

10:23AM   14        Q.   AND YOU WOULD SEE IF ANY SETBACKS OR ISSUES AROSE; IS THAT

10:23AM   15        RIGHT?

10:23AM   16        A.   YES.

10:23AM   17        Q.   AND YOU WOULD WORK TO IDENTIFY THE ROOT CAUSE OF THE

10:23AM   18        PROBLEM?

10:23AM   19        A.   YES.

10:23AM   20        Q.   AND YOU WOULD THEN TRY TO IMPROVE IT?

10:23AM   21        A.   YES.

10:23AM   22        Q.   AND THEN YOU WOULD RUN THE EXPERIMENT AGAIN?

10:23AM   23        A.   YEAH.

10:23AM   24        Q.   AND IF THERE WAS A SETBACK OR A MISTAKE, YOU WOULD GO

10:24AM   25        THROUGH THAT SAME PROCESS AGAIN; RIGHT?



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10:24AM    1        A.   YES.

10:24AM    2        Q.   THAT'S A FUNDAMENTAL PART OF THE RESEARCH AND DEVELOPMENT

10:24AM    3        PROCESS, IS IT NOT?

10:24AM    4        A.   IT IS.

10:24AM    5        Q.   AND IN RESEARCH AND DEVELOPMENT SOMETIMES YOU HAVE TO FAIL

10:24AM    6        BEFORE YOU COULD SUCCEED; RIGHT?

10:24AM    7        A.   YES.

10:24AM    8        Q.   NOW, WE TALKED ABOUT HOW ALL OF THIS HARD WORK THAT YOU

10:24AM    9        WERE DOING IN RESEARCH AND DEVELOPMENT WAS ULTIMATELY GEARED

10:25AM   10        TOWARDS USE OUT IN THE FIELD IF YOU WILL; RIGHT?

10:25AM   11        A.   YES.

10:25AM   12        Q.   AND THERE ARE TWO WAYS THAT THERANOS WAS LOOKING AT

10:25AM   13        DEPLOYING THE SMALL SAMPLE ASSAYS; RIGHT?

10:25AM   14        A.   YES.

10:25AM   15        Q.   AND THE -- ONE WAY WAS TO USE THE ASSAY ON A THERANOS

10:25AM   16        DEVICE THAT WAS DEPLOYED OUT IN THE FIELD; RIGHT?

10:25AM   17        A.   YES.

10:25AM   18        Q.   AND THAT WOULD REQUIRE FDA APPROVAL TO DO THAT?

10:25AM   19        A.   YES.

10:25AM   20        Q.   THAT'S REFERRED TO AS A 510K APPROVAL; RIGHT?       ARE YOU

10:25AM   21        FAMILIAR WITH THAT?

10:25AM   22        A.   YES.

10:25AM   23        Q.   AND THIS WAS SOMETHING THAT WAS DISCUSSED WITH TEAM

10:25AM   24        LEADERS AT THERANOS?

10:25AM   25        A.   NOT VERY -- NOT IN TOO MUCH DETAIL.



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10:25AM    1        Q.   NOT SPECIFICALLY, BUT GENERALLY THAT THE GOAL WAS TO

10:25AM    2        DEPLOY THESE AFTER FDA APPROVAL.     THAT WAS ONE PATH THAT SOME

10:26AM    3        IN THE COMPANY WERE WORKING ON; RIGHT?

10:26AM    4        A.   YES.

10:26AM    5        Q.   IS THAT RIGHT?

10:26AM    6        A.   YES.

10:26AM    7        Q.   AND THE SECOND WAY WAS TO VALIDATE THERANOS'S ASSAYS FOR

10:26AM    8        USE IN THE CLIA LABORATORY?

10:26AM    9        A.   YES.

10:26AM   10        Q.   AND THAT WOULD BE -- THEY WOULD BE REFERRED TO THEN AS LAB

10:26AM   11        DEVELOPED TESTS; RIGHT?

10:26AM   12        A.   CORRECT.

10:26AM   13        Q.   WHICH ARE SOMETIMES REFERRED TO AS LDT'S?

10:26AM   14        A.   YES.

10:26AM   15        Q.   THAT'S THE ACRONYM, LAB DEVELOPED TESTS OR LDT'S; RIGHT?

10:26AM   16        A.   CORRECT.

10:26AM   17        Q.   AND THERANOS WAS WORKING ON A PROCESS TO TAKE THE ASSAYS

10:26AM   18        THAT YOUR TEAM HAD DEVELOPED AND USE THEM AS LDT'S WITHIN THE

10:27AM   19        CLIA LAB?

10:27AM   20        A.   YES.

10:27AM   21        Q.   LET'S LOOK AT 487, WHICH MAY BE IN THE GOVERNMENT'S

10:27AM   22        BINDER.

10:27AM   23        A.   YEAH, I HAVE THAT.

10:27AM   24                    MR. WADE:   I MOVE THE ADMISSION OF THIS PER

10:27AM   25        STIPULATION, YOUR HONOR.



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10:27AM    1                     MR. LEACH:    NO OBJECTION.

10:27AM    2                     THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

10:27AM    3             (GOVERNMENT'S EXHIBIT 487 WAS RECEIVED IN EVIDENCE.)

10:27AM    4        BY MR. WADE:

10:27AM    5        Q.   AND LET'S LOOK IN THE FIRST EMAIL IN THE CHAIN AT THE

10:27AM    6        BOTTOM, WHICH IS ON PAGE 2.         SORRY.

10:28AM    7             DO YOU SEE THAT THERE?

10:28AM    8        A.   YEAH.

10:28AM    9        Q.   AND THIS IS AN EMAIL FROM DR. GELB TO YOU?

10:28AM   10        A.   YES.

10:28AM   11        Q.   IN OCTOBER OF 2011?

10:28AM   12        A.   YES.

10:28AM   13        Q.   AND DR. GELB AT THE TIME WAS THE LAB DIRECTOR FOR

10:28AM   14        THERANOS?

10:28AM   15        A.   YES.

10:28AM   16        Q.   AND HE WAS AN EXPERIENCED LAB DIRECTOR?

10:28AM   17        A.   YES.

10:28AM   18        Q.   AND WITHIN THIS EMAIL HE'S OUTLINING A GENERAL APPROACH TO

10:28AM   19        VALIDATING AN ASSAY AS A LABORATORY DEVELOPED TEST UNDER THE

10:28AM   20        CLIA REGULATIONS; RIGHT?

10:29AM   21        A.   YES.

10:29AM   22        Q.   AND BECAUSE THIS WAS THE END GOAL FOR THE ASSAY

10:29AM   23        DEVELOPMENT PROCESS?

10:29AM   24        A.   YES.

10:29AM   25        Q.   LET'S TURN TO 9921.



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10:30AM    1             DO YOU SEE THAT IN FRONT OF YOU?

10:30AM    2        A.   YES.

10:30AM    3        Q.   AND WHAT IS 9921?

10:30AM    4        A.   IT LOOKS LIKE AN OVERALL MASTER VALIDATION PLAN FOR ELISA

10:30AM    5        ASSAYS ON THERANOS DEVICES.

10:30AM    6        Q.   OKAY.    AND DO YOU SEE YOUR SIGNATURE THERE ON THE

10:30AM    7        DOCUMENT?

10:30AM    8        A.   YES.

10:30AM    9        Q.   OKAY.    AND THIS WAS A POLICY OR PROCEDURAL DOCUMENT THAT

10:30AM   10        WAS KEPT BY THE COMPANY?

10:30AM   11        A.   I THINK SO.

10:30AM   12                     MR. WADE:    I WOULD MOVE THE ADMISSION OF 9921.

10:30AM   13                     MR. LEACH:    NO OBJECTION.

10:30AM   14                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

10:30AM   15             (DEFENDANT'S EXHIBIT 9921 WAS RECEIVED IN EVIDENCE.)

10:30AM   16        BY MR. WADE:

10:30AM   17        Q.   IF WE CAN LOOK AT THE FIRST PAGE.

10:30AM   18             IF YOU LOOK AT THE DATE IT SAYS NOVEMBER 4TH, 2011?

10:31AM   19        A.   YES.

10:31AM   20        Q.   AND THIS WAS JUST OVER A WEEK AFTER DR. GELB HAD SENT YOU

10:31AM   21        THE BASIC OUTLINE OF THE -- HOW TO VALIDATE AN ASSAY.

10:31AM   22             DO YOU RECALL THAT?

10:31AM   23        A.   YES.

10:31AM   24        Q.   AND THIS DOCUMENT WAS -- APPEARS TO HAVE BEEN CREATED IN

10:31AM   25        THAT ONE WEEK INTERIM?



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10:31AM    1        A.   I THINK SO.

10:31AM    2        Q.   AND THIS IS A DOCUMENT THAT IS APPROVED BY DR. GELB?

10:31AM    3        A.   YES.

10:31AM    4        Q.   AND WHO IS A MEDICAL DOCTOR?

10:31AM    5        A.   RIGHT.

10:31AM    6        Q.   IT'S APPROVED BY YOU?

10:31AM    7        A.   YEAH, I'M THE REVIEWER, YES.

10:31AM    8        Q.   AND IT WAS REVIEWED AND APPROVED BY DR. YOUNG AS WELL?

10:31AM    9        A.   YES.

10:31AM   10        Q.   OKAY.    IF WE CAN GO TO THE THIRD PAGE OF THE DOCUMENT AND

10:31AM   11        LOOK AT THE TOP TWO NUMBERS THERE.

10:31AM   12             NOW, THE FIRST -- SECTION 1 SETS FORTH THE SECTION THAT IS

10:32AM   13        CONSISTENT WITH I BELIEVE YOUR PRIOR TESTIMONY WHICH IS TO

10:32AM   14        DEFINE THE MASTER VALIDATION PLAN FOR THE CLIA VALIDATION OF

10:32AM   15        ELISA ASSAYS; RIGHT?

10:32AM   16        A.   YES.

10:32AM   17        Q.   AND THEN IN THE SCOPE SECTION IT SETS FORTH THE STANDARDS

10:32AM   18        THAT ARE TO BE APPLIED FOR THAT VALIDATION; RIGHT?

10:32AM   19        A.   YES.

10:32AM   20        Q.   AND THAT STANDARD INCORPORATES SOME SPECIFIC PROVISION OF

10:32AM   21        FEDERAL REGULATIONS?

10:32AM   22        A.   I THINK SO.

10:32AM   23        Q.   DO YOU SEE IT MENTIONED THERE?

10:32AM   24        A.   YES.

10:32AM   25        Q.   AND IT REFERENCES A NUMBER OF SPECIFIC ITEMS THAT NEED TO



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10:33AM    1        BE SATISFIED?

10:33AM    2        A.   YES.

10:33AM    3        Q.   OKAY.   IF I CAN DRAW YOUR ATTENTION TO PAGE 14,

10:33AM    4        PARAGRAPH 3.

10:33AM    5             DO YOU SEE THAT?

10:33AM    6        A.   YES.

10:33AM    7        Q.   AND IT SETS FORTH THE OPERATIONAL TIMELINE FOR THE

10:33AM    8        VALIDATION OF THE LAB DEVELOPED TESTS?

10:33AM    9        A.   YES.

10:33AM   10        Q.   AND JUST SO WE'RE CLEAR ON TERMINOLOGY, THE COMPANY'S GOAL

10:34AM   11        AT THIS TIME WAS FOR ALL OF THE ASSAYS THAT YOU WERE DEVELOPING

10:34AM   12        IN R&D TO BECOME LAB DEVELOPED TESTS WITHIN THE CLIA LAB?

10:34AM   13        A.   YES.

10:34AM   14        Q.   IF I CAN DIRECT YOU TO PAGE 6.

10:34AM   15             DO YOU SEE WHERE IT SAYS TESTING SYSTEMS UP AT THE TOP

10:34AM   16        THERE?

10:34AM   17        A.   YES.

10:34AM   18        Q.   AND THIS TALKS ABOUT THE THERANOS DEVICES AND SYSTEMS?

10:34AM   19        A.   YES.

10:34AM   20        Q.   AND AT THIS POINT IN 2011 THE 3.0 WAS THE ONLY THERANOS

10:34AM   21        DEVICE; RIGHT?

10:34AM   22        A.   I THINK THEY HAD STARTED SOME DEVELOPMENT ON THE 4.0'S.

10:35AM   23        Q.   OKAY.   DO YOU THINK THAT MAYBE THE DEVELOPMENT HAD STARTED

10:35AM   24        BUT THE ONLY SYSTEM THAT HAD ACTUALLY PERFORMED ASSAYS

10:35AM   25        EXTERNALLY WAS THE 3.0; IS THAT RIGHT?



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10:35AM    1        A.   YES.    YES.

10:35AM    2        Q.   IF I CAN DRAW YOUR ATTENTION TO EXHIBIT 5388, WHICH IS IN

10:35AM    3        THE GOVERNMENT'S BINDER, I BELIEVE, AND IN EVIDENCE.

10:35AM    4             IF WE CAN PULL THAT UP.     AND IF WE JUST BLOW UP THE TOP

10:36AM    5        THIRD OF THE DOCUMENT.

10:36AM    6             THIS IS A DOCUMENT I THINK YOU HAVE BEEN ASKED SOME

10:36AM    7        QUESTIONS ABOUT LAST WEEK.

10:36AM    8             DO YOU RECALL?

10:36AM    9        A.   YES.

10:36AM   10        Q.   AND THIS IS AN EMAIL FROM DR. SIVARAMAN TO YOU AND

10:36AM   11        DR. YOUNG AT THE END OF JULY OF 2013?

10:36AM   12        A.   YES.

10:36AM   13        Q.   AND THERE ARE SOME ATTACHMENTS TO THIS DOCUMENT?

10:36AM   14        A.   YES.

10:36AM   15        Q.   AND ONE OF THEM IS A WORD DOCUMENT OF THAT 2011 VALIDATION

10:36AM   16        PLAN THAT WE HAD JUST GONE THROUGH; IS THAT RIGHT?

10:36AM   17        A.   I THINK SO.

10:36AM   18        Q.   OKAY.   AND IF YOU LOOK AT THE TOP EMAIL, DR. SIVARAMAN

10:36AM   19        NOTES THAT SHE'S ATTACHING A VALIDATION PLAN FOR THE SIX ASSAYS

10:37AM   20        IN A CARTRIDGE SUMMARY FORMAT.

10:37AM   21             DO YOU SEE THAT?

10:37AM   22        A.   YES.

10:37AM   23        Q.   AND SHE SAYS AND ALSO ATTACHED IS THE LDT VALIDATION PLAN

10:37AM   24        WORD DOCUMENT THAT ARNE HELPED DEVELOP IN 2011.

10:37AM   25             DO YOU SEE THAT?



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10:37AM    1        A.   YES.

10:37AM    2        Q.   AND THAT IT NOTES THAT THAT PLAN WAS BEING USED AS THE

10:37AM    3        TEMPLATE FOR THE CLIA VALIDATION WORK THAT THE COMPANY WAS

10:37AM    4        DOING IN 2013?

10:37AM    5        A.   YES.

10:37AM    6        Q.   AND DR. GELB'S TEMPLATE?

10:37AM    7        A.   YES.

10:37AM    8        Q.   IF I CAN CALL YOUR ATTENTION TO EXHIBIT 1031.

10:38AM    9        A.   WHAT WAS THE NUMBER AGAIN?

10:38AM   10        Q.   1031.    IT SHOULD BE IN THE BLACK BINDER I THINK.

10:38AM   11             I CAN HAND YOU A COPY IF THAT'S EASIER.

10:38AM   12             MAY I APPROACH, YOUR HONOR?

10:38AM   13                     THE WITNESS:    YEAH, I DON'T FIND IT HERE.

10:38AM   14                     MR. WADE:    MAY I APPROACH, YOUR HONOR?

10:39AM   15                     THE COURT:    GO RIGHT AHEAD.   PLEASE.

10:39AM   16                     MR. WADE:    (HANDING.)

10:39AM   17        Q.   DO YOU HAVE 1031 IN FRONT OF YOU?

10:39AM   18        A.   I HAVE IT.

10:39AM   19        Q.   AND THIS IS AN EMAIL FROM YOU TO DR. YOUNG,

10:39AM   20        DR. ROSENDORFF, MS. HOLMES IN AUGUST OF 2013?

10:39AM   21        A.   YES.

10:39AM   22        Q.   AND YOU WERE WORKING WITH DR. YOUNG AND DR. ROSENDORFF ON

10:39AM   23        THE CLIA VALIDATION PLAN AT THIS TIME?

10:39AM   24        A.   YES.

10:39AM   25                     MR. WADE:    I WOULD MOVE THE ADMISSION OF 1031.



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10:39AM    1                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

10:39AM    2                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

10:39AM    3             (GOVERNMENT'S EXHIBIT 1031 WAS RECEIVED IN EVIDENCE.)

10:40AM    4        BY MR. WADE:

10:40AM    5        Q.   AND WE TALKED ABOUT THIS PERIOD IN AUGUST.       THIS WAS A

10:40AM    6        SHORT TIME AFTER YOU RETURNED FROM INDIA.

10:40AM    7             DO YOU RECALL THAT?

10:40AM    8        A.   YES.

10:40AM    9        Q.   AND THIS IS WORKING TO GET EVERYONE ON THE SAME PAGE WITH

10:40AM   10        RESPECT TO THE VALIDATION EFFORTS?

10:40AM   11        A.   YES.

10:40AM   12        Q.   AND IT ALSO SERVED TO KEEP MS. HOLMES ABREAST OF THAT?

10:40AM   13        A.   YES.

10:40AM   14        Q.   AND YOU ATTACHED A MASTER VALIDATION PLAN FOR ELISA

10:40AM   15        ASSAYS.

10:40AM   16             DO YOU SEE THAT?

10:40AM   17        A.   YES.

10:40AM   18        Q.   AND THIS IS AN UPDATED DOCUMENT THAT CONTINUED TO SERVE AS

10:40AM   19        A TEAM'S GUIDE FOR THE ASSAY DEVELOPMENT WORK?

10:40AM   20        A.   I THINK SO.

10:40AM   21        Q.   AND IT SETS FORTH THE STANDARDS TO BE USED IN THE

10:40AM   22        VALIDATION PROCESS?

10:40AM   23        A.   YES.

10:40AM   24        Q.   AND LET'S TAKE A LOOK AT THAT ATTACHMENT.

10:41AM   25             THIS IS THAT ATTACHMENT?



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10:41AM    1        A.   YES.

10:41AM    2        Q.   THE MASTER VALIDATION PLAN.

10:41AM    3             AND THIS IS SIMILAR FROM THE DOCUMENT FROM DR. GELB?

10:41AM    4        A.   YES.

10:41AM    5        Q.   AND DID YOU USE THE DR. GELB REPORT AS THE STANDING POINT

10:41AM    6        FOR THIS DOCUMENT?

10:41AM    7        A.   I THINK SO.

10:41AM    8        Q.   AND THE EFFECTIVE DATE OF THIS WAS 8/23/13.

10:41AM    9             WAS THE IDEA THAT YOU WERE GOING TO UPDATE THIS?

10:41AM   10        A.   YES.

10:41AM   11        Q.   AND, IN FACT, IT SAYS "REVISION:     A" IN THE CORNER; RIGHT?

10:41AM   12        A.   YES.

10:41AM   13        Q.   AND SO THIS WOULD BE THE FIRST REVISION TO THAT REPORT,

10:41AM   14        THAT DOCUMENT?

10:41AM   15        A.   YES.

10:41AM   16        Q.   LET'S TAKE A LOOK AT PAGE 227 AT THE BOTTOM.

10:42AM   17             THIS, AGAIN, DISCUSSES THE PURPOSE OF THE DOCUMENT IS TO

10:42AM   18        SET FORTH THE PLAN FOR THE VALIDATION OF THE IMMUNOASSAYS?

10:42AM   19        A.   YES.

10:42AM   20        Q.   AND THE SECOND SECTION AGAIN SETS FORTH THE SCOPE?

10:42AM   21        A.   YES.

10:42AM   22        Q.   AND THIS WAS TO BE APPLIED TO ALL OF THE ELISA ASSAYS THAT

10:42AM   23        WERE GOING TO BE PUT UNDER THE THERANOS DEVICES?

10:42AM   24        A.   I THINK SO.

10:42AM   25        Q.   AND IT DEFINED THE PERFORMANCE SPECIFICATIONS THAT WOULD



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10:42AM    1        BE NEEDED IN ORDER TO VALIDATE THE ASSAYS?

10:42AM    2        A.   YES.

10:42AM    3        Q.   THINGS LIKE ACCURACY?

10:42AM    4        A.   YES.

10:42AM    5        Q.   AND PRECISION?

10:42AM    6        A.   YES.

10:42AM    7        Q.   AND QUALITY CONTROL?

10:42AM    8        A.   YES.

10:42AM    9        Q.   AND THESE STANDARDS CAME RIGHT OUT OF THE FEDERAL

10:42AM   10        REGULATIONS?

10:42AM   11        A.   I THINK SO.

10:42AM   12        Q.   AND WERE YOU GENERALLY FAMILIAR WITH THOSE REGULATIONS AT

10:42AM   13        THIS TIME?

10:42AM   14        A.   YES.

10:42AM   15        Q.   AND DO YOU RECALL THE CLIA REGULATIONS WERE A VERY LENGTHY

10:43AM   16        THICK SET OF MATERIALS THAT SET FORTH ALL SORTS OF DIFFERENT

10:43AM   17        REQUIREMENTS?

10:43AM   18        A.   I THINK SO.

10:43AM   19        Q.   GENERALLY?

10:43AM   20        A.   YEAH.

10:43AM   21        Q.   BUT THE MASTER VALIDATION PLAN HERE SETS FORTH ONE

10:43AM   22        SPECIFIC SECTION WITH RESPECT TO THE PERFORMANCE CRITERIA;

10:43AM   23        CORRECT?

10:43AM   24        A.   YES.

10:43AM   25        Q.   AND THAT'S 42 CFR 493.1253?



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10:43AM    1        A.   YES.

10:44AM    2                     MR. WADE:    YOUR HONOR, I WOULD MOVE THE ADMISSION OF

10:44AM    3        7603A, WHICH IS JUST THAT ONE PROVISION OF THE CFR THAT IS

10:44AM    4        INCORPORATED INTO THE COMPANY DOCUMENT.

10:44AM    5                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

10:44AM    6                     THE COURT:    IT'S RECEIVED, ADMITTED, AND IT MAY BE

10:44AM    7        PUBLISHED.

10:44AM    8             (DEFENDANT'S EXHIBIT 7603A WAS RECEIVED IN EVIDENCE.)

10:44AM    9        BY MR. WADE:

10:44AM   10        Q.   AND DO YOU RECOGNIZE THIS AS A SUBSECTION OF THE CLIA

10:44AM   11        REGULATIONS?

10:44AM   12        A.   YES.

10:44AM   13        Q.   IT'S 493.1253?

10:44AM   14        A.   YES.

10:44AM   15        Q.   AND THAT'S THE SECTION THAT WAS INCORPORATED INTO THE

10:44AM   16        MASTER VALIDATION PLAN?

10:44AM   17        A.   YES.

10:44AM   18        Q.   AND IT SPECIFICALLY SETS FORTH THE SPECIFICATIONS THAT ARE

10:45AM   19        REQUIRED UNDER THE FEDERAL CLIA REGULATIONS?

10:45AM   20        A.   YES.

10:45AM   21        Q.   AND THOSE SPECIFIC PROVISIONS WERE INCORPORATED INTO THE

10:45AM   22        MASTER VALIDATION PLAN TO BE APPLIED TO EACH ELISA ASSAY;

10:45AM   23        CORRECT?

10:45AM   24        A.   YES.

10:45AM   25        Q.   I CAN TAKE DOWN THAT REGULATION.



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10:45AM    1             I'D LIKE TO MOVE BACK TO THE MASTER VALIDATION PLAN AND

10:45AM    2        LOOK AT 3.1.

10:45AM    3             DO YOU SEE THAT?

10:45AM    4        A.   YES.

10:45AM    5        Q.   AND THIS DEFINES ACCURACY?

10:45AM    6        A.   YES.

10:45AM    7        Q.   AND WHAT IS ACCURACY WITHIN A CLIA LAB?

10:45AM    8        A.   SO HOW CLOSE THE TEST RESULT IS TO AN ACCEPTED REFERENCE

10:46AM    9        VALUE.

10:46AM   10        Q.   AND THERE ARE A LOT OF MATERIALS THAT HELP DEFINE WHAT

10:46AM   11        "ACCURATE" MEANS WITHIN LABORATORIES; RIGHT?

10:46AM   12        A.   YES.

10:46AM   13        Q.   AND WE JUST LOOKED AT THE REGULATIONS AND THOSE TALK ABOUT

10:46AM   14        SOME OF THOSE ISSUES?

10:46AM   15        A.   YES.

10:46AM   16        Q.   AND THIS REPORT REFERS TO THE CLSI.

10:46AM   17             DO YOU SEE THAT?

10:46AM   18        A.   YES.

10:46AM   19        Q.   AND DO YOU RECALL WHAT THE CLSI STANDS FOR?

10:46AM   20        A.   I THINK IT'S CLINICAL LAB STANDARDS INSTITUTE.

10:46AM   21        Q.   AND THOSE ARE INDUSTRY STANDARDS FOR ACCURACY?

10:46AM   22        A.   YES.

10:46AM   23        Q.   AND AGAIN, THEY'RE VERY DENSE MATERIALS THAT SET FORTH A

10:47AM   24        LOT OF SPECIFICITY TO THE PERFORMANCE CHARACTERISTICS THAT A

10:47AM   25        LAB IS SUPPOSED TO MEET; RIGHT?



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10:47AM    1        A.   YES.

10:47AM    2        Q.   AND THOSE, THOSE STANDARDS ARE BEING INCORPORATED INTO

10:47AM    3        THIS POLICY WITHIN THE CLIA LAB AT THERANOS?

10:47AM    4        A.   YES.

10:47AM    5        Q.   AND INCLUDED IN THIS DOCUMENT BY REFERENCE?

10:47AM    6        A.   I THINK SO.

10:47AM    7        Q.   AND WE WON'T PUT IT UP, BUT IF YOU WOULD JUST LOOK QUICKLY

10:47AM    8        AT THE BOTTOM OF 23 -- WELL, WHY DON'T WE PUT IT UP.       WHY DON'T

10:47AM    9        YOU PUT UP 239 AT THE BOTTOM.

10:47AM   10             NO, I'M SORRY.    NOT -- PAGE 239.

10:48AM   11             DO YOU SEE THERE IT STARTS ON PAGE 239 BUT CONTINUES ON

10:48AM   12        THE SECOND HALF OF 240, AND THERE ARE A NUMBER OF REFERENCES

10:48AM   13        AND STANDARDS THAT ARE INCORPORATED WITHIN TO THIS PLAN; RIGHT?

10:48AM   14        A.   YES.

10:48AM   15        Q.   AND SO THE EXPERTS IN THE CLIA LAB KIND OF KNEW WHAT THE

10:48AM   16        RULES OF THE ROAD WERE?

10:48AM   17        A.   I THINK SO.

10:48AM   18        Q.   AND WHAT STANDARDS TO MEET WHEN THEY VALIDATED THE ASSAYS?

10:48AM   19        A.   YES.

10:48AM   20        Q.   IF WE CAN GO BRIEFLY TO PAGE ENDING IN 228, SECTION 3.5.

10:48AM   21             THIS DEFINES CALIBRATION.

10:48AM   22             AND WHAT IS CALIBRATION?

10:48AM   23        A.   SO THEY ALREADY HAVE DEFINED CALIBRATION HERE.

10:49AM   24        ESSENTIALLY ESTABLISHING THE RELATIONSHIP BETWEEN THE VALUES OF

10:49AM   25        QUANTITIES INDICATED BY THE MEASURING INSTRUMENT OR VALUES THAT



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10:49AM    1        ARE PRESENTED BY A REFERENCE MATERIAL OR STANDARDS.

10:49AM    2        Q.   AND THIS SETS FORTH THE STANDARD THAT THERANOS USED FOR

10:49AM    3        CALIBRATION, WHICH -- DO YOU SEE THAT?

10:49AM    4        A.   SO THIS IS THE DEFINITION SECTION ON WHAT CALIBRATION

10:49AM    5        MEANS.

10:49AM    6        Q.   SURE.   WHY DON'T WE GO TO 11, WHICH IS ON PAGE 230.

10:50AM    7        A.   YES.

10:50AM    8        Q.   AND THERE IT ACTUALLY SETS FORTH THE CALIBRATION

10:50AM    9        STANDARDS?

10:50AM   10        A.   YES.

10:50AM   11        Q.   AND IT INCORPORATES AGAIN FEDERAL REGULATIONS THAT SET

10:50AM   12        THAT STANDARD?

10:50AM   13        A.   YES.

10:50AM   14        Q.   AND YOU MAY HAVE NO REASON TO KNOW, BUT DO YOU KNOW THAT

10:50AM   15        SECTION 1255 INCORPORATES A WHOLE ANOTHER SET OF STANDARDS?

10:50AM   16        A.   YES.

10:50AM   17        Q.   LET'S GO BACK TO PAGE -- SECTION 4 WHICH IS ON PAGE 229.

10:50AM   18             AND DO YOU SEE THE RESPONSIBILITY SECTION THERE?

10:51AM   19        A.   YES.

10:51AM   20        Q.   AND IT SAYS THAT UNDER THIS POLICY WHO IS RESPONSIBLE FOR

10:51AM   21        DIFFERENT FUNCTIONS.

10:51AM   22             DO YOU SEE THAT?

10:51AM   23        A.   YES.

10:51AM   24        Q.   AND UNDER THE POLICY, WHO IS RESPONSIBLE FOR ENSURING THAT

10:51AM   25        THE IMMUNOASSAYS ARE QUALIFIED AND VALIDATED BEFORE THEY'RE



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10:51AM    1        USED WITH PATIENTS?

10:51AM    2        A.   SO 4.1 SAYS THAT IT'S THE RESPONSIBILITY OF THE LABORATORY

10:51AM    3        DIRECTOR.

10:51AM    4        Q.   THE LAB DIRECTOR?

10:51AM    5        A.   YES.

10:51AM    6        Q.   AND, IN FACT, THE CLIA REGULATION SPECIFICALLY PUT THAT

10:51AM    7        RESPONSIBILITY ON THE LAB DIRECTOR, DID THEY NOT?

10:51AM    8        A.   YES.

10:51AM    9        Q.   AND AT THIS TIME IT WAS DR. ROSENDORFF?

10:51AM   10        A.   YES.

10:51AM   11        Q.   IF WE GO BACK TO THE COVER EMAIL, THIS IS ACTUALLY

10:52AM   12        ADDRESSED TO DR. ROSENDORFF?

10:52AM   13        A.   YES.

10:52AM   14        Q.   AND IT ALSO SERVES TO MAKE MS. HOLMES AWARE OF ALL OF

10:52AM   15        THESE IMPORTANT STANDARDS WITHIN THE LAB, DOES IT NOT?

10:52AM   16        A.   IT DOES.

10:52AM   17        Q.   DO YOU RECALL LAST WEEK YOU WERE ASKED SOME QUESTIONS BY

10:52AM   18        THE GOVERNMENT ABOUT THE SHARING OF INFORMATION WITHIN THE

10:52AM   19        COMPANY?

10:52AM   20        A.   YES.

10:52AM   21        Q.   AND THE GOVERNMENT SUGGESTED THAT THE INFORMATION WAS

10:53AM   22        SILOED.

10:53AM   23             DO YOU RECALL THAT?

10:53AM   24        A.   YES.

10:53AM   25        Q.   AND THEY ASKED YOU IF THIS MADE YOUR WORK HARDER, AND I



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10:53AM    1        THINK YOU SAID IT DID?

10:53AM    2        A.   I'M SORRY, COULD YOU REPEAT.

10:53AM    3        Q.   YEAH.   I BELIEVE YOU TESTIFIED THAT THE SILOING OF

10:53AM    4        INFORMATION MADE YOUR WORK HARDER?

10:53AM    5        A.   YES.

10:53AM    6        Q.   IN THE COURSE OF THESE EVENTS YOU'VE MET WITH THE

10:53AM    7        GOVERNMENT A COUPLE OF TIMES; RIGHT?

10:53AM    8        A.   YES.

10:53AM    9        Q.   AND ONE OF THOSE INTERVIEWS WAS IN MAY OF THIS YEAR.

10:53AM   10             DO YOU RECALL THAT?

10:53AM   11        A.   I THINK SO.

10:53AM   12        Q.   AND DO YOU RECALL THAT IN THAT MEETING YOU TOLD THE

10:53AM   13        GOVERNMENT THAT RESTRICTIONS ON SHARING INFORMATION DID NOT

10:53AM   14        HAVE MUCH IMPACT ON YOUR WORK?

10:54AM   15             DO YOU RECALL THAT?

10:54AM   16        A.   BECAUSE I WAS FOCUSSING ON THE ELISA WORK, THE INFORMATION

10:54AM   17        RELATED TO THE OTHER GROUPS I WAS NOT AWARE OF.

10:54AM   18        Q.   OKAY.   BUT THE GOVERNMENT -- DO YOU RECALL THAT THE

10:54AM   19        GOVERNMENT ASKED YOU IF THE RESTRICTIONS ON SHARING INFORMATION

10:54AM   20        WITH OTHER GROUPS MADE YOUR WORK HARDER AND YOU SAID IT DID NOT

10:54AM   21        HAVE MUCH IMPACT ON YOUR WORK?

10:54AM   22        A.   BECAUSE WE WERE FOCUSSED ON CONTINUING TO DEVELOP THE

10:54AM   23        ELISA ASSAYS, AND AS PART OF -- I THINK MANY TIMES WE WERE PART

10:54AM   24        OF THIS OMNIPLEX PROTOCOL, AND SO WE TRIED TO FOCUS ON WHAT WE

10:54AM   25        HAD TO DO FOR OUR OWN TECHNOLOGY.



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10:54AM    1        Q.   OKAY.   DO YOU RECALL THAT YOU TOLD THE GOVERNMENT THAT

10:54AM    2        THERE WERE A FEW ENGINEERS THAT WERE ASSIGNED TO WORK WITH YOUR

10:54AM    3        GROUP THAT AIDED INTER-GROUP COORDINATION?

10:55AM    4        A.   YES.

10:55AM    5        Q.   AND THAT WAS TRUE; RIGHT?

10:55AM    6        A.   YES.

10:55AM    7        Q.   AND WE SAW THAT MEETING INVITE FOR YOUR ELISA TEAM MEETING

10:55AM    8        WHERE YOU INVITED PEOPLE FROM OTHER GROUPS IN TO OBSERVE THE

10:55AM    9        PROGRESS THAT YOUR WORK HAD MADE; RIGHT?

10:55AM   10        A.   YES.

10:55AM   11        Q.   AND, IN FACT, MANY OF THE DOCUMENTS THAT YOU'VE BEEN ASKED

10:55AM   12        ABOUT HAVE INCLUDED DR. PANGARKAR; RIGHT?

10:55AM   13        A.   YES.

10:55AM   14        Q.   AND HE WAS IN A DIFFERENT GROUP?

10:55AM   15        A.   YES.

10:55AM   16        Q.   WORKING ON CYTOMETRY?

10:55AM   17        A.   YES.

10:55AM   18        Q.   AND MANY OF THE DOCUMENTS THAT YOU HAVE BEEN SHOWN

10:55AM   19        INCLUDED DR. PATEL; RIGHT?

10:55AM   20        A.   YES.

10:55AM   21        Q.   AND DR. PATEL WAS THE HEAD OF THE GENERAL CHEMISTRY GROUP;

10:55AM   22        RIGHT?

10:55AM   23        A.   YES.

10:55AM   24        Q.   THAT WAS A DIFFERENT GROUP?

10:55AM   25        A.   YES.



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10:55AM    1        Q.   AND MANY OF THE DOCUMENTS THAT YOU'VE BEEN SHOWN WERE --

10:55AM    2        SHOWED THE INVOLVEMENT OF DR. ANEKAL.

10:56AM    3             DO YOU RECALL THAT?

10:56AM    4        A.   YES.

10:56AM    5        Q.   AND HE WAS IN A DIFFERENT GROUP AS WELL?

10:56AM    6        A.   YES.    SO THE EMAILS, WE WOULD SHARE THE UPDATE WITH THE

10:56AM    7        KEY LEADS OF WHO WERE INVOLVED FOR A COMBINED CARTRIDGE.

10:56AM    8             BUT THE GENERAL GUIDANCE IN THE ORGANIZATION WAS ALWAYS

10:56AM    9        NOT TO SHARE INFORMATION WITH OTHER GROUPS.

10:56AM   10        Q.   OR --

10:56AM   11        A.   AND VICE VERSA.

10:56AM   12        Q.   OKAY.   I'M SORRY TO INTERRUPT YOU.

10:56AM   13             OR MAYBE TO SHARE -- TO BE CAREFUL ABOUT HOW IT WAS SHARED

10:56AM   14        WITH THE GROUP LEAD IF IT WAS TO BE SHARED?

10:56AM   15        A.   SO IF YOU SEE THE EMAILS ONLY HAVE HIGH LEVEL INFORMATION.

10:56AM   16        IT DIDN'T GO INTO ALL THE DETAILS OF EACH OTHER LIKE CHEMISTRY

10:56AM   17        FUNCTIONS.

10:56AM   18             SO TYPICALLY IT WAS MENTIONED SEVERAL TIMES IN MEETINGS

10:56AM   19        NOT TO TALK ABOUT YOUR DETAILS OF YOUR ASSAYS OR YOUR PROJECTS

10:57AM   20        OR ISSUES.

10:57AM   21        Q.   WELL, LET'S LOOK AT 853, WHICH IS IN EVIDENCE.       IF WE CAN

10:57AM   22        PUT THAT UP.

10:57AM   23             THIS IS ONE OF THE EMAILS THAT THE GOVERNMENT ASKED YOU

10:57AM   24        ABOUT YESTERDAY --

10:57AM   25        A.   YES.



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10:57AM    1        Q.   -- OR FRIDAY?

10:57AM    2        A.   UH-HUH.

10:57AM    3        Q.   AND THIS INCLUDED SOME OF THE DETAILED INFORMATION ABOUT

10:57AM    4        THE 4 SERIES DEVICE?

10:57AM    5        A.   YES.

10:57AM    6        Q.   AND THE RESULTS?

10:57AM    7        A.   YES.

10:57AM    8        Q.   AND THIS PARTICULAR EMAIL WAS SHARED WITH SEVERAL PEOPLE

10:57AM    9        OUTSIDE OF YOUR GROUP; RIGHT?

10:57AM   10        A.   YES.

10:57AM   11        Q.   IF WE CAN GO TO 5084, PLEASE, WHICH IS IN EVIDENCE, WE CAN

10:57AM   12        PUBLISH THAT.

10:58AM   13        A.   YES.

10:58AM   14        Q.   AND THIS IS AN EMAIL THAT THE GOVERNMENT SHOWED YOU ON

10:58AM   15        FRIDAY?

10:58AM   16        A.   YES.

10:58AM   17        Q.   AND THIS INCLUDES SOME PRETTY DETAILED INFORMATION ABOUT

10:58AM   18        SOME OF THE WORK THAT HAD BEEN DONE?

10:58AM   19        A.   IT DOES.

10:58AM   20        Q.   AND IT'S INCLUDED WITH MANY PEOPLE FROM OUTSIDE OF YOUR

10:58AM   21        GROUP?

10:58AM   22        A.   YES.

10:58AM   23        Q.   AND IF WE CAN JUST LOOK AT 3968.

10:58AM   24             THIS IS A DOCUMENT THAT ACTUALLY SETS FORTH SOME SETBACKS

10:58AM   25        THE COMPANY HAD WITH RESPECT TO CERTAIN DEVICES SO IT COULD BE



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10:58AM    1        UPGRADED; RIGHT?

10:58AM    2        A.   YES.

10:58AM    3        Q.   AND THEY'RE SHARING INFORMATION ACROSS DIFFERENT GROUPS?

10:58AM    4        A.   THIS IS SPECIFICALLY WHERE THE INDIVIDUALS IN THE TEAM

10:59AM    5        THAT IS UPGRADING THE 3.0'S TO 3.5'S IS ASKING SPECIFICALLY.

10:59AM    6             SO THE ELISA TEAM WAS USING THESE DEVICES SO THE

10:59AM    7        INDIVIDUALS WHO ARE RESPONSIBLE FOR UPGRADING THE DEVICES WERE

10:59AM    8        SEEKING THE INFORMATION.

10:59AM    9             BUT IF YOU SEE SOME OF THE OTHER EMAILS, I THINK IT'S

10:59AM   10        STILL A HIGH LEVEL.       I WOULDN'T KNOW HOW EXACTLY THEY ARE

10:59AM   11        DEVELOPING THE GENERAL CHEMISTRY ASSAYS, WHAT PROGRESS THEY ARE

10:59AM   12        MAKING, WHAT KIND OF CHALLENGES THEY ARE FACING EVEN THOUGH I

10:59AM   13        THINK AT SOME POINT THEY WERE USING THE EDISON, MODIFIED

10:59AM   14        VERSION OF THE ELISA EDISONS FOR THEIR WORK AS WELL.

10:59AM   15        Q.   SO SOMETIMES ON A NEED-TO-KNOW BASIS INFORMATION WAS

10:59AM   16        SHARED AND YOU'RE SUGGESTING OTHER TIMES IT WAS NOT; IS THAT

11:00AM   17        FAIR?

11:00AM   18        A.   YES.

11:00AM   19        Q.   AND I JUST HAVE TWO MORE QUESTIONS ON THIS DOCUMENT TO ASK

11:00AM   20        YOU ABOUT.

11:00AM   21             MAY I APPROACH, YOUR HONOR?

11:00AM   22                     THE COURT:    YES.

11:00AM   23                     MR. WADE:    (HANDING.)

11:00AM   24        Q.   I'M PUTTING IN FRONT OF YOU WHAT HAS BEEN MARKED AS

11:00AM   25        EXHIBIT 10521 AND 10522.



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11:00AM    1             DO YOU SEE THOSE?

11:00AM    2        A.   YES.

11:00AM    3        Q.   AND ARE THESE BOTH OUTLOOK CALENDAR ENTRIES?

11:01AM    4        A.   YES.

11:01AM    5        Q.   AND THEY IDENTIFIED YOU AS AN ATTENDEE?

11:01AM    6        A.   YES.

11:01AM    7                     MR. WADE:    I WOULD MOVE THE ADMISSION OF THESE TWO

11:01AM    8        DOCUMENTS.

11:01AM    9                     MR. LEACH:    NO OBJECTION.

11:01AM   10                     THE COURT:    THEY'RE ADMITTED.   THEY MAY BE

11:01AM   11        PUBLISHED.

11:01AM   12             (DEFENDANT'S EXHIBITS 10521 AND 10522 WERE ADMITTED.)

11:01AM   13        BY MR. WADE:

11:01AM   14        Q.   LET'S START WITH 10521.        THIS IS A MEETING AND THE SUBJECT

11:01AM   15        IS THE ELISA VALIDATION PLANS ON THE ADVIA.

11:01AM   16             DO YOU SEE THAT?

11:01AM   17        A.   YES.

11:01AM   18        Q.   AND IT WAS CALLED BY DR. YOUNG?

11:01AM   19        A.   YES.

11:01AM   20        Q.   AND HE INVITED YOURSELF AND DR. ROSENDORFF.

11:01AM   21             DR. ROSENDORFF IS IN A DIFFERENT GROUP; RIGHT?          HE WAS THE

11:02AM   22        CLIA LAB DIRECTOR?

11:02AM   23        A.   YES.

11:02AM   24        Q.   AND MR. GONG, HE WORKED IN HARDWARE?

11:02AM   25        A.   I DON'T RECOLLECT EXACTLY WHICH DEPARTMENT HE WAS IN.



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11:02AM    1        Q.   AND DO YOU RECOGNIZE THE OTHER PEOPLE WHO WAS AN ATTENDEE?

11:02AM    2        A.   I BELIEVE HE WAS -- I DON'T RECOLLECT WHICH DEPARTMENT HE

11:02AM    3        WAS IN.    I DON'T RECOLLECT.

11:02AM    4        Q.   WHAT WAS HIS NAME?     DO YOU KNOW HOW TO PRONOUNCE HIS NAME?

11:02AM    5        A.   I BELIEVE IT WAS EREZ GALIL.

11:02AM    6        Q.   AND THIS MEETING WAS CALLED TO SHARE INFORMATION ABOUT THE

11:02AM    7        PROJECT; RIGHT?

11:02AM    8        A.   YES.

11:02AM    9        Q.   AND LET'S LOOK AT 10522.       AND IS THIS ANOTHER SIMILAR

11:03AM   10        MEETING?

11:03AM   11        A.   YES.

11:03AM   12        Q.   AND THIS WAS CALLED TO REVIEW ELISA VALIDATION STUDIES?

11:03AM   13        A.   YES.

11:03AM   14        Q.   AND WITH THESE PEOPLE FROM DIFFERENT GROUPS WHO WERE

11:03AM   15        WORKING ON THIS SAME PROJECT; RIGHT?

11:03AM   16        A.   SO ESSENTIALLY IT IS MEMBERS OF THE ELISA TEAM AND CLIA

11:03AM   17        LAB DIRECTOR, ADAM.

11:03AM   18        Q.   AND DR. YOUNG?

11:03AM   19        A.   YES.

11:03AM   20        Q.   AND DO YOU KNOW IF THE OTHER PERSON WAS FROM THE HARDWARE

11:03AM   21        GROUP?

11:03AM   22        A.   NO, I DON'T RECOLLECT WHICH DEPARTMENT HE WAS

11:04AM   23        REPRESENTING.

11:04AM   24                    MR. WADE:   OKAY.     NOW MIGHT BE A GOOD TIME FOR OUR

11:04AM   25        BREAK, YOUR HONOR.



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11:04AM    1                     THE COURT:    ALL RIGHT.   LET'S TAKE OUR BREAK NOW,

11:04AM    2        LADIES AND GENTLEMEN.       LET'S TAKE 45 MINUTES, PLEASE.

11:04AM    3             SO WE'LL HOPEFULLY BE BACK IN SESSION JUST BEFORE NOON.

11:04AM    4        SO PLEASE REMEMBER THE ADMONITION THAT IS IN PLACE.

11:04AM    5             WE ARE GOING TO END TODAY AT 2:00 O'CLOCK, LADIES AND

11:04AM    6        GENTLEMEN.

11:04AM    7             I'M GOING TO ASK YOU, HOPEFULLY TOMORROW WE CAN END AT

11:04AM    8        3:00?   AND PERHAPS FRIDAY IF YOU CAN CHECK WITH YOUR SCHEDULES

11:04AM    9        AND SEE IF THAT COMPORTS.

11:04AM   10             AT SOME POINT, FAIR WARNING, I'M GOING TO ASK IF WE CAN GO

11:04AM   11        TO 4:00 ONE DAY, TOO, JUST TO CATCH UP.       AND YOU CAN BE

11:04AM   12        THINKING ABOUT THAT AND LET ME KNOW IF THAT PRESENTS AN ISSUE.

11:04AM   13             ALL RIGHT.    WE'LL BE IN RECESS.     THANK YOU.

11:49AM   14             (LUNCH RECESS TAKEN AT 11:04 A.M.)

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11:49AM    1                                    AFTERNOON SESSION

11:57AM    2

11:57AM    3             (COURT CONVENED AT 11:57 A.M.)

11:57AM    4             (JURY IN AT 11:57 A.M.)

11:57AM    5                     THE COURT:    ALL RIGHT.   WE'RE BACK ON THE RECORD.

11:57AM    6        ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN, ALL COUNSEL

11:57AM    7        AND MS. HOLMES, AND OUR JURY AND ALTERNATES.

11:57AM    8             AND THE WITNESS IS ON THE STAND.

11:57AM    9             WOULD YOU LIKE TO CONTINUE, MR. WADE?

11:57AM   10                     MR. WADE:    I WOULD, YOUR HONOR.

11:57AM   11        Q.   GOOD AFTERNOON.       BEFORE THE BREAK WE WERE TALKING A LITTLE

11:57AM   12        BIT ABOUT INTERACTIONS WITH DR. ROSENDORFF.

11:57AM   13             DO YOU RECALL THAT?

11:57AM   14        A.   YES.

11:57AM   15        Q.   AND I'D LIKE TO ASK YOU A COUPLE MORE QUESTIONS ABOUT YOUR

11:57AM   16        INVOLVEMENT WITH HIM IN THE PERIOD LEADING UP TO THE CLIA

11:57AM   17        VALIDATION PROCESS?

11:58AM   18        A.   SURE.

11:58AM   19        Q.   IF I COULD DRAW YOUR ATTENTION TO EXHIBIT 3966.

11:58AM   20        A.   YES.

11:58AM   21        Q.   AND THIS IS AN EMAIL ON SEPTEMBER 4TH, 2013?

11:58AM   22        A.   YES.

11:58AM   23        Q.   AND IT'S A CHAIN THAT INVOLVES YOU, DR. SIVARAMAN,

11:58AM   24        DR. YOUNG, AND MS. HOLMES.

11:58AM   25             DO YOU SEE THAT?



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11:58AM    1        A.   YES.

11:58AM    2                     MR. WADE:    I WOULD MOVE THE ADMISSION, YOUR HONOR,

11:58AM    3        OF 3966.

11:58AM    4                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

11:58AM    5                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

11:59AM    6             (GOVERNMENT'S EXHIBIT 3966 WAS RECEIVED IN EVIDENCE.)

11:59AM    7        BY MR. WADE:

11:59AM    8        Q.   IF I CAN DRAW YOUR ATTENTION TO THE BOTTOM EMAIL BEFORE

11:59AM    9        DR. YOUNG.

11:59AM   10             IF WE CAN BLOW THAT UP.

11:59AM   11             DO YOU SEE THIS IS PART OF THE EFFORT TO WORK TOWARDS A

11:59AM   12        VALIDATION OF IMMUNOASSAYS ON THE ADVIA MACHINE?

11:59AM   13        A.   YES.

11:59AM   14        Q.   AND THERE WAS A QUESTION THAT WAS RAISED AS PART OF THAT

11:59AM   15        PROCESS ABOUT THE PROTOCOL THAT WAS TO BE USED.

11:59AM   16             DO YOU SEE THAT?

11:59AM   17        A.   YES.

11:59AM   18        Q.   AND IT LOOKS LIKE MAYBE THAT QUESTION WAS RAISED BY YOU?

11:59AM   19        A.   PERHAPS.    I DON'T RECOLLECT AT THIS POINT.

11:59AM   20        Q.   WELL, DR. YOUNG REPORTS THAT HE WENT AND CONFERRED WITH

11:59AM   21        ADAM TODAY.

11:59AM   22             DO YOU SEE THAT?

11:59AM   23        A.   YES.

11:59AM   24        Q.   AND THAT'S DR. ROSENDORFF?

11:59AM   25        A.   CORRECT.



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11:59AM    1        Q.   AND HE GAVE GUIDANCE AS THE BEST WAY TO PROCEED WITH THE

12:00PM    2        VALIDATION PROTOCOL?

12:00PM    3        A.   I THINK SO.

12:00PM    4        Q.   AND YOU ACKNOWLEDGED AND CONFIRMED THAT YOU HAD RECEIVED

12:00PM    5        THAT GUIDANCE?

12:00PM    6        A.   YES.

12:00PM    7        Q.   LET'S JUST LOOK AT THAT QUICKLY, THE EMAIL ABOVE.

12:00PM    8             THIS IS YOUR ACKNOWLEDGEMENT AND RECEIPT OF THE GUIDANCE

12:00PM    9        THAT HAD BEEN CONVEYED FROM DR. ROSENDORFF THROUGH DR. YOUNG;

12:00PM   10        CORRECT?

12:00PM   11        A.   YES.   YES.

12:00PM   12        Q.   IF WE COULD GO TO EXHIBIT 10503.

12:00PM   13             DO YOU HAVE THAT IN FRONT OF YOU?

12:00PM   14        A.   YES.

12:00PM   15        Q.   AND DO YOU SEE THAT THAT IS A -- THE BOTTOM EMAIL IS AN

12:01PM   16        EMAIL FROM DR. ROSENDORFF TO YOU AND OTHERS?

12:01PM   17        A.   YES.

12:01PM   18        Q.   AND THIS IS ABOUT THE PLAN FOR VALIDATION OF THE

12:01PM   19        IMMUNOASSAYS?

12:01PM   20        A.   YES.

12:01PM   21        Q.   AND IT ATTACHES A DOCUMENT?

12:01PM   22        A.   YES.

12:01PM   23        Q.   THAT'S A MASTER VERIFICATION PLAN FOR THE THERANOS

12:01PM   24        MODIFIED IMMUNOASSAYS ON THE ADVIA 1800?

12:01PM   25        A.   YES.



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12:01PM    1        Q.   AND DR. ROSENDORFF WAS COMMUNICATING THIS DOCUMENT IN

12:01PM    2        ORDER TO GET COMMENTS AND REVIEW?

12:01PM    3        A.   YES.

12:01PM    4                     MR. WADE:    I MOVE THE ADMISSION OF 10503.

12:01PM    5                     MR. LEACH:    NO OBJECTION.

12:01PM    6                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:02PM    7             (DEFENDANT'S EXHIBIT 10503 WAS RECEIVED IN EVIDENCE.)

12:02PM    8        BY MR. WADE:

12:02PM    9        Q.   AND THIS IS THE EMAIL I WAS REFERRING TO HERE?

12:02PM   10        A.   YES.

12:02PM   11        Q.   AND HERE DR. ROSENDORFF IS NOT ONLY COMMUNICATING TO YOU,

12:02PM   12        BUT HE'S COMMUNICATING TO DR. YOUNG AND COPYING MR. BALWANI.

12:02PM   13             DO YOU SEE THAT?

12:02PM   14        A.   YES.

12:02PM   15        Q.   AND IS IT MR. GHARAATI?

12:02PM   16        A.   MS. GHARAATI.

12:02PM   17        Q.   AND WHERE DID MS. GHARAATI WORK?

12:02PM   18        A.   SO SHE WAS ACTUALLY A MEMBER OF THE ELISA ASSAY

12:02PM   19        DEVELOPMENT TEAM, BUT I THINK SHE WAS WORKING WITH THE CLIA LAB

12:02PM   20        DIRECTOR.

12:02PM   21        Q.   SHE WAS HELPING WITH THE VALIDATION PROCESS?

12:02PM   22        A.   YES.

12:02PM   23        Q.   BUT SHE WAS INITIALLY PART OF YOUR TEAM?

12:02PM   24        A.   YES.

12:02PM   25        Q.   OKAY.    AND THIS IMMUNOASSAY VERIFICATION PLAN IS BEING



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12:02PM    1        CIRCULATED FOR COMMENTS FROM EVERYONE?

12:03PM    2        A.   I BELIEVE SO.

12:03PM    3        Q.   AND LET'S GO BRIEFLY TO THAT ATTACHMENT.

12:03PM    4             THIS IS THE MASTER VERIFICATION PLAN FOR THE

12:03PM    5        THERANOS'S-MODIFIED IMMUNOASSAYS ON THE ADVIA 1800.

12:03PM    6             DO YOU SEE THAT?

12:03PM    7        A.   YES.

12:03PM    8        Q.   AND THAT IS THE -- THESE ARE THE FINGERSTICK ASSAYS THAT

12:03PM    9        WERE GOING TO BE RUN ON THE ADVIA 1800?

12:03PM   10        A.   I DON'T REMEMBER EXACTLY.     IF IT SAYS FINGERSTICK, YES.

12:03PM   11        Q.   BUT THE THERANOS IMMUNOASSAYS WERE SMALL SAMPLES; RIGHT?

12:03PM   12        A.   YES.

12:03PM   13        Q.   AND THIS WAS THE VERIFICATION FOR THE SMALL SAMPLES OF

12:03PM   14        IMMUNOASSAYS TO BE RUN ON THE ADVIA 1800?

12:03PM   15        A.   YES.

12:03PM   16        Q.   AND DO YOU RECALL WHETHER YOU PROVIDED ANY COMMENTS TO

12:04PM   17        DR. ROSENDORFF ON THIS DOCUMENT?

12:04PM   18        A.   I DON'T REMEMBER IF I RESPONDED TO THIS OR NOT.

12:04PM   19        Q.   OKAY.   YOU DID HAVE SOME COMMUNICATIONS WITH

12:04PM   20        DR. ROSENDORFF ABOUT THE COMPANY'S APPROACH ON USING THE 3.0

12:04PM   21        AND 3.5 DEVICES IN THE ADVIA 1800; CORRECT?

12:04PM   22        A.   I MET WITH HIM, YES.

12:04PM   23        Q.   YEAH.   AND YOU CONVEYED SOME OF THE CONCERNS THAT YOU

12:04PM   24        TALKED ABOUT LAST WEEK TO DR. ROSENDORFF?

12:04PM   25        A.   YES.    I HAD QUESTIONS ON THE LAUNCH AND THE DETAILS OF HOW



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12:04PM    1        IT'S GOING TO GO.

12:04PM    2        Q.   AND ULTIMATELY YOU REMEMBER HIM NOT BEING CONCERNED ABOUT

12:04PM    3        SOME OF THE CHANGES THAT THE COMPANY HAD MADE IN THIS REGARD;

12:04PM    4        RIGHT?

12:04PM    5                     MR. LEACH:    OBJECTION.   FOUNDATION.   HEARSAY.

12:04PM    6                     THE COURT:    DO YOU WANT TO LAY A FOUNDATION,

12:04PM    7        COUNSEL.

12:05PM    8        BY MR. WADE:

12:05PM    9        Q.   WELL, WE JUST TALKED ABOUT A CONVERSATION THAT YOU HAD

12:05PM   10        ABOUT SOME OF THE CHANGES THAT THE COMPANY WAS IMPLEMENTING;

12:05PM   11        RIGHT?

12:05PM   12        A.   WELL, MY CONVERSATION WAS BASED UPON THE DETAILS OF THE

12:05PM   13        LAUNCH, HOW IT WAS GOING TO GO AHEAD, WHAT WAS SOME OF THE

12:05PM   14        PROCESS WORKFLOW.

12:05PM   15             SO IN MY CONVERSATIONS WITH HIM I TRIED TO GET SOME

12:05PM   16        ADDITIONAL DETAILS ABOUT THE LAUNCH PLANS.

12:05PM   17        Q.   OKAY.    AND DO YOU RECALL AS A RESULT OF YOUR INTERACTIONS

12:05PM   18        WITH DR. ROSENDORFF COMING TO THE VIEW THAT HE WASN'T CONCERNED

12:05PM   19        ABOUT THE APPROACH THAT THE COMPANY WAS TAKING?

12:05PM   20        A.   WHAT I DID FIND WAS HE WAS -- HE DIDN'T SHARE MUCH DETAILS

12:05PM   21        WITH ME.    HE DIDN'T GO INTO ALL OF THE DETAILS OF HOW THE

12:05PM   22        LAUNCH WOULD GO THROUGH, LIKE WHAT WAS THE PLAN, WHAT WAS THE

12:05PM   23        WORKFLOW.

12:05PM   24             SO HE DIDN'T SHARE DETAILS WITH ME.       SO BASICALLY GOING

12:05PM   25        INTO THAT MEETING I DIDN'T COME OUT WITH MORE INFORMATION THAN



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12:06PM    1        THAT WAS PREVIOUSLY ALREADY OUT THERE.

12:06PM    2        Q.   I UNDERSTAND THAT, MA'AM.     THANK YOU.

12:06PM    3             I'M ASKING A VERY SPECIFIC QUESTION, WHICH IS DO YOU

12:06PM    4        RECALL COMING TO THE VIEW THAT HE WAS NOT CONCERNED ABOUT THE

12:06PM    5        APPROACH?

12:06PM    6        A.   THAT WAS MY UNDERSTANDING.

12:06PM    7        Q.   YOU TESTIFIED A LITTLE BIT LAST WEEK ABOUT HOW YOU TOOK

12:07PM    8        SOME TIME OFF IN JULY AND AUGUST FOR WHAT WAS REFERRED TO AS A

12:07PM    9        VACATION BY THE GOVERNMENT.

12:07PM   10             DO YOU RECALL THAT?

12:07PM   11        A.   YES.

12:07PM   12        Q.   AND THIS WAS NOT JUST A TYPICAL VACATION; RIGHT?       THIS WAS

12:07PM   13        A LONG PLANNED FAMILY TRIP; RIGHT?

12:07PM   14        A.   YES.

12:07PM   15        Q.   AND YOU TOOK YOUR WHOLE FAMILY OVER TO INDIA FOR A MONTH;

12:07PM   16        RIGHT?

12:07PM   17        A.   YES.

12:07PM   18        Q.   AND THAT WAS TO BRING YOUR FAMILY TO VISIT YOUR EXTENDED

12:07PM   19        FAMILY OVER IN INDIA?

12:07PM   20        A.   YES.

12:07PM   21        Q.   AND PEOPLE WERE RESPECTFUL OF THAT TRIP AND YOUR NEED

12:07PM   22        TO -- AND YOUR DESIRE TO TAKE THAT TRIP; RIGHT?

12:07PM   23        A.   I THINK SO.

12:07PM   24        Q.   YEAH.   AND THERE WERE SOME ARRANGEMENTS THAT YOU HAD MADE

12:07PM   25        SO THAT DR. SIVARAMAN COULD TEND TO SOME OF YOUR



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12:07PM    1        RESPONSIBILITIES WHILE YOU WERE GONE?

12:07PM    2        A.   YES.

12:07PM    3        Q.   WERE YOU ABLE TO CHECK EMAIL REMOTELY OR ANYTHING WHILE

12:07PM    4        YOU WERE IN INDIA?

12:08PM    5        A.   I DON'T RECOLLECT AT THIS TIME.

12:08PM    6        Q.   YOU DON'T RECALL WHETHER YOU WERE OR NOT?

12:08PM    7        A.   NO.

12:08PM    8        Q.   AND WE SAW IN ONE OF THE PRIOR EMAILS THAT YOU WERE DOING

12:08PM    9        SOME EMAIL AND VPN WORK REMOTELY.

12:08PM   10             DO YOU REMEMBER WHETHER YOU HAD A CHANCE TO CHECK IN OR

12:08PM   11        CATCH UP AT ALL ON THOSE ISSUES WHILE YOU WERE THERE?

12:08PM   12        A.   I DON'T RECOLLECT.

12:08PM   13        Q.   OKAY.    WE HAVE ALSO TALKED ABOUT THE WORK THAT HAD BEEN

12:08PM   14        ONGOING FOR A NUMBER OF YEARS WORKING TO BRING SOME OF YOUR R&D

12:08PM   15        WORK TOWARD THE CLIA LAB.

12:08PM   16             DO YOU RECALL THAT?

12:08PM   17        A.   YES.

12:08PM   18        Q.   AND IN THE PERIOD BEFORE YOU LEFT FOR INDIA, THERE WAS

12:08PM   19        SOME WORK THAT HAD STARTED TOWARDS LDT VALIDATION ON THE 3.0

12:08PM   20        AND 3.5 DEVICES.

12:08PM   21             DO YOU RECALL THAT?

12:08PM   22        A.   NOT EXACTLY.

12:09PM   23        Q.   OKAY.    WELL, LET ME SHOW YOU A DOCUMENT.

12:09PM   24             MAY I APPROACH, YOUR HONOR?

12:09PM   25                     THE COURT:    YES.     IS THIS TO REFRESH THE WITNESS'S



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12:09PM    1        RECOLLECTION?

12:09PM    2                     MR. WADE:    I THINK I WILL OFFER THE DOCUMENT,

12:09PM    3        YOUR HONOR.

12:09PM    4                     THE COURT:    MR. LEACH, DO YOU HAVE THIS?

12:09PM    5                     MR. WADE:    I GAVE MR. LEACH A COPY OF THESE

12:09PM    6        MATERIALS BEFORE.

12:09PM    7                     THE COURT:    OKAY.

12:10PM    8        BY MR. WADE:

12:10PM    9        Q.   AGAIN, THE WORK ON THE LDT PROCESS HAD BEEN SOMETHING THAT

12:10PM   10        HAD BEEN IN PLACE FOR A NUMBER OF YEARS; RIGHT?

12:10PM   11        A.   YES.

12:10PM   12        Q.   AND THERE WERE DIFFERENT THINGS THAT WERE BEING DISCUSSED

12:10PM   13        AS PART OF THAT.    I THINK YOU TESTIFIED DIFFERENT DEVICES AND

12:10PM   14        THE LIKE.

12:10PM   15             DO YOU RECALL THAT?

12:10PM   16        A.   YES.

12:10PM   17        Q.   AND THIS IS AN EMAIL FROM JULY OF 2013 BETWEEN YOU AND

12:10PM   18        MS. HOLMES WITH RESPECT TO DOING SOME WORK ON THE 3.0'S IN

12:10PM   19        ANTICIPATION OF THE LDT VALIDATION; RIGHT?

12:10PM   20        A.   YES, THAT'S WHAT THIS EMAIL SAYS.

12:10PM   21        Q.   OKAY.

12:10PM   22                     MR. WADE:    I MOVE THE ADMISSION OF 13767.

12:10PM   23                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

12:10PM   24                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

12:10PM   25             (DEFENDANT'S EXHIBIT 13767 WAS RECEIVED IN EVIDENCE.)



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                    GANGAKHEDKAR CROSS BY MR. WADE (RES.)                              1347


12:11PM    1        BY MR. WADE:

12:11PM    2        Q.   THIS IS AN EMAIL SENT ON JULY 13TH OF 2013.      DO YOU SEE

12:11PM    3        THERE'S A QUESTION POSED BY MS. HOLMES ABOUT THE RESULTS OF THE

12:11PM    4        TESTING THAT WAS PERFORMED ON THE ELISA'S, ON THE 3.0'S, IN

12:11PM    5        ANTICIPATION OF THE LDT VALIDATION?

12:11PM    6             DO YOU SEE THAT?

12:11PM    7        A.   YES.

12:11PM    8        Q.   AND DO YOU RECALL WHAT TESTING THAT REFERRED TO?

12:11PM    9        A.   I DON'T RECALL AT THIS POINT.

12:11PM   10        Q.   OKAY.   AND DO YOU SEE THERE'S A REFERENCE IN THE NEXT

12:11PM   11        PARAGRAPH THAT CYTOMETRY AND GENERAL CHEMISTRY LDT VALIDATION

12:11PM   12        WAS GOING TO BEGIN ON MONDAY AS WELL?

12:11PM   13        A.   YES.

12:11PM   14        Q.   AND THOSE WERE DIFFERENT TEAMS; RIGHT?

12:11PM   15        A.   YES.

12:11PM   16        Q.   BUT SHE WAS SAYING THE HOPE WOULD BE TO PROCEED IN

12:11PM   17        PARALLEL WITH THIS VALIDATION?

12:11PM   18        A.   YES.

12:11PM   19        Q.   AND DO YOU RECALL STARTING THE BALL MOVING ON THIS PROCESS

12:12PM   20        IN THIS TIME PERIOD?

12:12PM   21        A.   I DON'T RECALL AT THIS POINT.

12:12PM   22        Q.   OKAY.   DO YOU RECALL IN THE SAME GENERAL TIME PERIOD THERE

12:12PM   23        WAS SOME WORK DONE ON THE MALE HEALTH CARTRIDGE AND WORKING TO

12:12PM   24        GET THAT VALIDATED?

12:12PM   25        A.   SO WE DID HAVE A MALE HEALTH CARTRIDGE, YES.



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12:12PM    1                     MR. WADE:    MAY I APPROACH, YOUR HONOR?

12:12PM    2                     THE COURT:    YES.

12:12PM    3                     MR. WADE:    (HANDING.)

12:13PM    4        Q.   I'M SHOWING YOU WHAT HAS BEEN MARKED AS EXHIBIT 13768.

12:13PM    5             AND DO YOU RECOGNIZE THIS IS AN EMAIL ABOUT WORK --

12:13PM    6        VALIDATION WORK BEING DONE ON THE MALE HEALTH CARTRIDGE?

12:13PM    7        A.   I THINK THIS IS A DEMO FOR THE DATA FOR THE MALE HEALTH

12:13PM    8        CARTRIDGE FOR A GROUP OF MULTIPLEX ASSAYS.

12:14PM    9        Q.   OKAY.    AND THIS IS AN EMAIL BETWEEN YOU AND MS. HOLMES AND

12:14PM   10        OTHERS ON THESE ISSUES?

12:14PM   11        A.   YES.

12:14PM   12        Q.   AND THIS IS A RESPONSE TO THE EMAIL I JUST SHOWED YOU?

12:14PM   13        A.   YES.

12:14PM   14                     MR. WADE:    I WOULD MOVE THE ADMISSION OF 13768.

12:14PM   15                     MR. LEACH:    NO OBJECTION.

12:14PM   16                     THE COURT:    AND IT'S ADMITTED AND MAY BE PUBLISHED.

12:14PM   17             (DEFENDANT'S EXHIBIT 13768 WAS RECEIVED IN EVIDENCE.)

12:14PM   18        BY MR. WADE:

12:14PM   19        Q.   AND THE BOTTOM EMAIL IS THE ONE WE LOOKED AT; RIGHT?

12:14PM   20        CORRECT?

12:14PM   21        A.   YES.

12:14PM   22        Q.   AND LET'S LOOK AT THE TOP EMAIL.      I THINK THIS IS YOUR

12:14PM   23        RESPONSE TO MS. HOLMES.

12:14PM   24             AND THIS DISCUSSES SOME WORK THAT WAS BEING DONE IN

12:14PM   25        CONNECTION WITH THIS CARTRIDGE ON THE 3.0 AND THE 3.5 READERS.



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                    GANGAKHEDKAR CROSS BY MR. WADE (RES.)                              1349


12:14PM    1             DO YOU SEE THAT?

12:14PM    2        A.   YES.

12:14PM    3        Q.   AND THIS WAS PUSHING TOWARDS THE VALIDATION OF THESE

12:14PM    4        TESTS?

12:15PM    5        A.   I'M NOT SURE IF THIS IS THE VALIDATION OR IF THIS WAS FOR

12:15PM    6        A DEMO CARTRIDGE.

12:15PM    7        Q.   WELL, LET'S BRING THAT PRIOR EMAIL UP ONE MORE TIME, THE

12:15PM    8        INITIAL EMAIL.

12:15PM    9             YOU WERE RESPONDING TO AN EMAIL WHERE SHE WAS ASKING YOU

12:15PM   10        QUESTIONS ABOUT TESTING THAT WAS DONE IN CONNECTION WITH LDT

12:15PM   11        VALIDATION; RIGHT?

12:15PM   12        A.   YEAH, SHE IS ASKING THAT QUESTION.

12:15PM   13        Q.   AND YOU WERE RESPONDING TO THAT?

12:15PM   14        A.   SO I'M RESPONDING TO THE DATA FOR THE MALE -- YES, THE ONE

12:15PM   15        THAT IS DONE FOR THIS PARTICULAR CARTRIDGE.

12:15PM   16        Q.   WITH RESPECT TO THE LDT VALIDATION; RIGHT?

12:15PM   17        A.   I DON'T EXACTLY REMEMBER TODAY --

12:15PM   18        Q.   OKAY.

12:15PM   19        A.   -- WHAT THIS WORK WAS FOR.

12:16PM   20        Q.   OKAY.   DO YOU RECALL THAT IN THIS JULY TIME PERIOD, THERE

12:16PM   21        WAS ALSO SOME WORK THAT WAS BEING DONE TO ASSESS WHETHER SOME

12:16PM   22        OF THOSE R&D ASSAYS THAT YOU HAD DEVELOPED COULD BE RUN ON OPEN

12:16PM   23        PLATFORMS THAT WERE COMMERCIALLY AVAILABLE?

12:16PM   24        A.   I DON'T RECOLLECT.    CAN YOU SHARE THE DETAILS.

12:16PM   25        Q.   LET ME SEE IF I CAN REFRESH YOUR RECOLLECTION.



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                    GANGAKHEDKAR CROSS BY MR. WADE (RES.)                              1350


12:16PM    1             MAY I APPROACH, YOUR HONOR?

12:16PM    2                     THE COURT:    YES.

12:16PM    3                     MR. WADE:    (HANDING.)

12:16PM    4        Q.   THIS IS AN EMAIL DATED JULY 8TH, 2013?

12:17PM    5                     THE COURT:    IS THIS TO REFRESH THE RECOLLECTION?

12:17PM    6                     MR. WADE:    I'M GOING TO MOVE TO ADMIT IT,

12:17PM    7        YOUR HONOR, SO I'LL LAY SOME FOUNDATION.

12:17PM    8                     THE COURT:    SURE.

12:17PM    9        BY MR. WADE:

12:17PM   10        Q.   THIS IS AN EMAIL DATED JULY 8TH, 2013, FROM YOU TO YOUR

12:17PM   11        TEAM TALKING ABOUT SOME ASSAY DEVELOPMENT WORK; IS THAT RIGHT?

12:17PM   12        A.   YES.

12:17PM   13        Q.   AND YOU SET FORTH AN AGENDA AND ASSIGNMENTS IN CONNECTION

12:17PM   14        WITH THAT?

12:17PM   15        A.   YES.

12:17PM   16        Q.   AND THIS WAS A MEANS OF COMMUNICATING THE ASSIGNMENTS OUT

12:17PM   17        SO THE WORK OF THE COMPANY COULD BE CARRIED OUT SWIFTLY AND

12:17PM   18        EFFICIENTLY?

12:17PM   19        A.   YES.

12:17PM   20        Q.   AND YOU TOOK CARE TO MAKE SURE THIS WAS ACCURATE?

12:17PM   21        A.   YES.

12:17PM   22                     MR. WADE:    I WOULD OFFER 13770.

12:17PM   23                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

12:17PM   24                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:17PM   25             (DEFENDANT'S EXHIBIT 13770 WAS RECEIVED IN EVIDENCE.)



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                    GANGAKHEDKAR CROSS BY MR. WADE (RES.)                              1351


12:18PM    1        BY MR. WADE:

12:18PM    2        Q.   SO AGAIN, IN THIS EMAIL IT TALKS ABOUT "WE ARE GOING AHEAD

12:18PM    3        WITH THE CLIA/LDT VALIDATION OF THE FOLLOWING ASSAYS ON THE 384

12:18PM    4        PLATES."

12:18PM    5             DO YOU SEE THAT?

12:18PM    6        A.   YES.

12:18PM    7        Q.   AND THE 384 PLATES ARE COMMERCIALLY AVAILABLE OPEN

12:18PM    8        PLATFORM; RIGHT?

12:18PM    9        A.   YES.

12:18PM   10        Q.   AND THESE ASSAYS WERE THE TOP PRIORITY ASSAYS; RIGHT?

12:18PM   11        A.   YES.

12:18PM   12        Q.   THAT WAS VITAMIN D, HBA1C, TSH, TPSA, FERRITIN, AND FREE

12:18PM   13        T4; RIGHT?

12:18PM   14        A.   YES.

12:18PM   15        Q.   AND YOU CONVEYED TO YOUR TEAM THAT YOU WERE GOING TO GO

12:18PM   16        FORWARD WITH THE VALIDATION OF THESE ASSAYS AND YOU GAVE

12:19PM   17        ASSIGNMENTS TO TRY AND -- TO ASSIGN THESE TASKS TO MEMBERS OF

12:19PM   18        YOUR TEAM; RIGHT?

12:19PM   19        A.   YES.

12:19PM   20        Q.   AND THE EXPECTATION WAS THAT THEY WOULD CARRY OUT THIS

12:19PM   21        WORK AND REPORT BACK TO YOU; RIGHT?

12:19PM   22        A.   YES.

12:19PM   23        Q.   AND NOW ULTIMATELY THE 384 PLATES WERE NOT USED AS A

12:19PM   24        COMMERCIALLY AVAILABLE PLATFORM; RIGHT?

12:19PM   25        A.   I THINK SO.



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                    GANGAKHEDKAR CROSS BY MR. WADE (RES.)                              1352


12:19PM    1        Q.   AND ULTIMATELY THE ADVIA 1800 WAS USED FOR A SMALL SAMPLE

12:19PM    2        OF ASSAYS?

12:19PM    3        A.   I BELIEVE THE PLAN LATER CHANGED TO USE THE EDISON 3.0'S

12:19PM    4        AND 3.5'S.

12:19PM    5        Q.   AND WE JUST LOOKED AT SOME DOCUMENTS DISCUSSING THE 3.0'S

12:19PM    6        AND 3.5'S; RIGHT?

12:19PM    7        A.   YES.

12:19PM    8        Q.   BUT THERE WAS WORK BEING DONE ON TWO TRACKS; RIGHT?

12:20PM    9        A.   YES.

12:20PM   10        Q.   THESE OPEN PLATFORM DEVELOPMENTS WERE BEING WORKED ON?

12:20PM   11        A.   YES.

12:20PM   12        Q.   AND THE 3.0 AND 3.5 WORK WAS BEING WORKED ON?

12:20PM   13        A.   YES.

12:20PM   14        Q.   IN JULY OF 2013?

12:20PM   15        A.   YES.

12:20PM   16        Q.   YOU MENTIONED THE 3.0 DEVICES.      DO YOU RECALL WORK BEING

12:20PM   17        DONE ON THE MALE HEALTH CARTRIDGE WITH RESPECT TO THOSE DEVICES

12:20PM   18        IN THIS GENERAL TIME PERIOD?

12:20PM   19        A.   YES.

12:20PM   20                     MR. WADE:    MAY I APPROACH ONE MORE TIME, YOUR HONOR?

12:20PM   21                     THE COURT:    YES.

12:20PM   22                     MR. WADE:    (HANDING.)

12:20PM   23        Q.   AND I'M SHOWING YOU WHAT HAS BEEN MARKED AS 13769.       THIS

12:21PM   24        IS AN EMAIL BETWEEN YOU AND DR. YOUNG DATED JULY 17TH, 2013; IS

12:21PM   25        THAT RIGHT?



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12:21PM    1        A.   YES.

12:21PM    2        Q.   AND THE SUBJECT OF THIS EMAIL IS THE TEST PROTOCOL FOR

12:21PM    3        EDISON DEVICES; IS THAT RIGHT?

12:21PM    4        A.   YES.

12:21PM    5        Q.   AND IT RELATES TO WORK THAT WAS DONE IN CONNECTION WITH

12:21PM    6        THAT MALE HEALTH CARTRIDGE; CORRECT?

12:21PM    7        A.   YES.

12:21PM    8                    MR. WADE:    I WOULD MOVE THE ADMISSION OF 13769.

12:21PM    9                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

12:21PM   10                    THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:21PM   11             (DEFENDANT'S EXHIBIT 13769 WAS RECEIVED IN EVIDENCE.)

12:22PM   12        BY MR. WADE:

12:22PM   13        Q.   AND IF WE LOOK AT THE BOTTOM EMAIL FIRST.        THIS TALKS

12:22PM   14        ABOUT SOME OF THE WORK THAT WAS BEING DONE TO UPDATE THE

12:22PM   15        ELECTRONICS AND PROTOCOLS ON THE EDISON 3.0?

12:22PM   16        A.   YES.

12:22PM   17        Q.   AND I THINK YOU TESTIFIED BEFORE DR. YOUNG WAS THE PERSON

12:22PM   18        WHO WAS WORKING ON THAT?

12:22PM   19        A.   YES.

12:22PM   20        Q.   AND ORGANIZING THOSE EFFORTS?

12:22PM   21        A.   YES.

12:22PM   22        Q.   AND HE ASKED YOU TO RECOMMEND AN ASSAY TO USE TO IMPLEMENT

12:22PM   23        THAT WORK ON THE 3.0 DEVICES; RIGHT?

12:22PM   24        A.   YES.

12:22PM   25        Q.   AND I BELIEVE YOU JUST TESTIFIED A MINUTE AGO THAT THERE



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12:22PM    1        WAS A SHIFT TO DO WORK ON THE 3.0 AND THE 3.5 DEVICES; RIGHT?

12:22PM    2        A.   YES.

12:22PM    3        Q.   AND THIS KIND OF REFLECTS THAT SHIFT?

12:22PM    4        A.   YES.

12:22PM    5        Q.   AND YOU RESPOND TO DR. YOUNG WITH A PLAN -- YOU SET FORTH

12:23PM    6        HOW THE PLAN IS TO TEST THE MALE HEALTH CARTRIDGE ON BOTH

12:23PM    7        SYSTEMS; RIGHT?

12:23PM    8        A.   YES.

12:23PM    9        Q.   AND THAT WAS BECAUSE IT ACTUALLY HAD FIVE OF THOSE SIX

12:23PM   10        ASSAYS THAT WE HAD IDENTIFIED JUST A MINUTE AGO; RIGHT?

12:23PM   11        A.   YES.

12:23PM   12        Q.   AND SO THAT WAS A GOOD WAY TO TEST THE PLATFORM; RIGHT?

12:23PM   13        A.   YES.

12:23PM   14        Q.   NOW, DO YOU RECALL LAST FRIDAY I ASKED YOU SOME QUESTIONS

12:23PM   15        ABOUT HOW THE FOCUS OF THE WORK IN AUGUST AND SEPTEMBER OF 2013

12:23PM   16        NARROWED DOWN TO A FEW ASSAYS THAT THEY WERE FOCUSSED ON

12:23PM   17        VALIDATING ON THE EDISON DEVICES?

12:24PM   18        A.   YES.

12:24PM   19        Q.   DO YOU RECALL THAT?

12:24PM   20             AND I DIDN'T HAVE MY NUMBERS IN ORDER AT THAT TIME, BUT DO

12:24PM   21        YOU RECALL THAT THERE WAS AN EMAIL THAT YOU WERE SHOWN WHERE

12:24PM   22        DR. YOUNG INITIALLY IDENTIFIED 63 ASSAYS THAT THEY WERE GOING

12:24PM   23        TO TRY TO PUT ON THE EDISON DEVICE?

12:24PM   24        A.   YES.

12:24PM   25        Q.   THAT WAS A PRETTY AMBITIOUS GOAL IN THAT TIME PERIOD, WAS



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                       CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the Ninth Circuit by

using the appellate CM/ECF system on April 17, 2023. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.


                                                  /s/ Amy Mason Saharia
                                                  AMY MASON SAHARIA
April 17, 2023
